Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 1 of 155 Page ID
                                  #:1986




                     EXHIBIT 1
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 2 of 155 Page ID
                                     #:1987
Year: 2012                                                                             Engine: V6 Cylinder Engine
Make: Acura                                                                            Transmission: 6-Speed A/T
Model: TL 4dr Sdn Auto 2WD                                                             Colors: Bellanova White Pearl / Ebony
VIN: 19UUA8F29CA019443                                                                 Mileage: 109,496                                                                                 Stock #: 2018-193

                                             · Outside temp gauge                                 CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Trip computer

· 3.5L SOHC PGM-FI 24-valve VTEC V6
                                             · Maintenance Minder system
                                             · Alarm system (2011)                                   20                                                                                         29
engine                                       · Pwr windows w/front auto up-down, auto-
                                                                                                       Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Drive-by-wire throttle system              reverse, remote open, key-off operation
· 6-speed sequential SportShift              · HomeLink universal garage door opener
automatic transmission -inc: paddle          · Dual zone/mode automatic climate
shifters, grade logic control                control -inc: air filtration, automatic humidity   New
· Front wheel drive                          control, rear vents w/controls
· Independent double wishbone front          · Rear window defroster w/timer (2011)
                                                                                                MSRP                                                                                           $35,705.00
suspension                                   · Auto-dimming rearview mirror
· Independent multi-link rear suspension     · Dual illuminated vanity mirrors -inc: driver     INSTALLED OPTIONS
· Front/rear stabilizer bars                 card holder (2011)                                 Bellanova White Pearl                                                                          $0
· Electric variable pwr-assisted rack &      · Ambient cabin lighting -inc: footwell            Ebony, Leather Seat Trim                                                                       $0
pinion steering                              lighting, console lighting
· Pwr ventilated front/solid rear disc       · Footwell lighting                                Original Shipping Charge                                                                       $895
brakes                                       · Door-mounted courtesy lights (2011)              RETAIL PRICE (ORIGINALLY NEW)                                                                  $36,600.00
· Integrated dual outlet exhaust             · Front/rear LED map lights
                                             · Leather-wrapped gearshift knob
EXTERIOR                                     · Front/rear beverage holders
                                             · (2) 12-volt pwr outlets
· 17" x 8" 7-spoke alloy wheels              · Simulated wood trim                              Get more information on your smartphone:
· P245/50VR17 all-season tires
· Temporary spare tire                       SAFETY
· Pwr operated moonroof w/tilt -inc: auto-
open/close, auto-reverse, key-off            · 4-wheel anti-lock braking system (ABS) -
operation                                    inc: electronic brake force distribution,
· Xenon high-intensity discharge (HID)       brake assist
headlights w/auto-on/off                     · Vehicle stability assist (VSA) w/traction
· Front fog lights                           control
· LED tail lights                            · Advanced compatibility engineering
· Acoustic glass windshield (2011)           (ACE) body structure
· Heated pwr mirrors w/memory, reverse-      · Side-impact door beams (2011)
gear tilt down, integrated LED directional   · Impact absorbing front/rear crumple
signals                                      zones (2011)
· Speed-sensitive variable intermittent      · Daytime running lights
windshield wipers (2011)                     · Dual stage multiple threshold front
· Body-color door handles                    airbags
                                             · Front side-impact airbags w/passenger
ENTERTAINMENT                                occupant position detection system
                                             · Front/rear side-curtain airbags
· XM satellite radio *Available in 48        · 3-point seat belts
contiguous United States, first 90 days      · Front seat belt height adjusters, load
are free*                                    limiters, pretensioners
· Radio data system                          · Lower anchors & tethers for children
· Speed-sensitive volume control             (LATCH)
                                             · Rear child safety door locks
INTERIOR                                     · Emergency trunk release
                                             · Tire pressure monitor w/location &
· Active front headrests                     pressure indicators
· Rear bench seat w/adjustable
headrests
· Rear seat center armrest w/locking
trunk pass-through
· Front center console -inc: sliding tray
· Black carpeting
· Front/rear carpeted floor mats
· Theft deterrent system w/electronic
immobilizer
· LED back-lit instruments w/progressive
illumination (2011)
· Multi-info display
                                                                                                       www.redsautoandtruck.com
                                                                                                             303-726-5520
                                                                           MonroneyLabels.com
                                                                             Ex. 1 - Page 1
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 3 of 155 Page ID
                                     #:1988
Year: 2011                                                                            Engine: V6 Cylinder Engine
Make: Chrysler                                                                        Transmission: 6-SPEED AUTOMATIC TRANSMISSION -inc: Autostick, tip start
Model: 200 4dr Sdn Limited                                                            Exterior: Black
VIN: 1C3BC2FG4BN571968                                                                Interior: Black

                                               · Sentry Key theft deterrent system
                                                                                                    CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                     · Instrument panel storage bin

· 2.4L DOHC SMPI 16-valve I4 dual VVT
                                               · Instrument panel silver bezel
                                               · Instrument cluster w/display screen
                                               · Instrument cluster w/LED lighting
                                                                                                       19                                                                                         29
engine
· 6-speed automatic transmission -inc:         · 120-mph speedometer                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

Autostick, tip start                           · Tachometer
· Remote start system                          · Temp & compass gauge
· Hood insulation
· Front wheel drive
                                               · Traveler/mini trip computer
                                               · Decklid/liftgate ajar warning lamp               New
· 525 CCA maintenance-free battery             · Door ajar warning lamp
· 140-amp alternator                           · Pwr windows w/front 1-touch up/down
                                                                                                  MSRP                                                                                           $23,945.00
· Tip start ignition                           · Pwr door locks
· Touring suspension                           · Pwr trunklid release                             INSTALLED OPTIONS
· Front & rear stabilizer bars                 · Universal garage door opener                     50 State Emissions                                                                             $0
· Pwr rack & pinion steering                   · Speed control
· 4-wheel anti-lock disc brakes                · Remote keyless entry                             3.6 L VVT Flex Fuel 24 Valve V6 Engine                                                         $1,795
                                               · Pwr accessory delay                                 160 amp alternator
EXTERIOR                                       · Security alarm                                      dual exhaust w/polished tips
                                               · Air conditioning w/auto temp control                engine oil cooler
· 18" x 7.0" polished aluminum wheels          · Air filtering                                    27 V Limited Customer Preferred Order                                                          $0
· P225/50R18 BSW all-season touring tires      · Rear window defroster                            Selection PKG
· Compact spare tire                           · Analog clock                                        3.6L V6 engine
· Body-color fascias                           · 12V pwr outlet in center console                    6-speed auto trans
· Black windshield moldings                    · 12V auxiliary pwr outlet                         Black                                                                                          $0
· Dark argent grille w/bright accents          · Front & rear aimable LED lamps
                                               · Auto-dimming rearview mirror w/microphone        Black, Leather Trimmed Bucket Seats                                                            $0
· Bi-function halogen projector headlamps
· Automatic headlamps                          · Dual sun visors w/illuminated vanity mirrors     Original Shipping Charge                                                                       $750
· Headlamp off time delay                      · Rear compartment assist handles
                                               · Illuminated entry                                RETAIL PRICE (ORIGINALLY NEW)                                                                  $26,490.00
· Fog lamps
· LED taillamps                                · Trunk lamp
· Pwr heated fold-away mirrors -inc: chrome    · Trunk mat
casings                                        · Leather-wrapped shift knob
· Tinted windows
· Front & rear solar control glass             SAFETY                                             Get more information on your smartphone:
· Variable intermittent windshield wipers
· Bright door handles                          · Electronic stability control
· Decklid liner                                · Traction control
                                               · Brake/park interlock
ENTERTAINMENT                                  · Advanced multistage front air bags
                                               · Supplemental side air bags
· Media center 430 -inc: AM/FM stereo,         · Supplemental front & rear side curtain air
CD/DVD/MP3 player, 30GB hard disk drive        bags
w/6700 song capacity, 6.5" touch screen        · Supplemental front seat side air bags
display, aux input jack, Bluetooth streaming   · Occupant classification sensor
audio                                          · Front height adjustable shoulder belts
· speakers                                     · Rear center 3-point seat belt
· SIRIUS satellite radio w/ year service       · Rear door child safety locks
subscription *N/A in HI, GU or PR*             · Child seat upper tether anchors
· Steering wheel mounted audio controls        · Child seat anchor system ready
· Removable short mast antenna                 · Tire pressure monitoring display
· UConnect voice command w/Bluetooth -         · Internal emergency trunk release
inc: auto-dimming rearview mirror              · Dual note horns
w/microphone, Bluetooth streaming audio,
aux audio input
· Aux audio input

INTERIOR

· Low back bucket seats
· Leather-trimmed seats
· Manual driver lumbar adjust
· Pwr 8-way driver seat
· Heated front seats
· Active head restraints
· 60/40 split-folding rear seat
· Rear seat armrest
· Floor console w/sliding armrest
· Floor carpeting
· Luxury front & rear floor mats
                                                                                                      www.fredmartinsuperstore.com
· Leather-wrapped steering wheel
· Tilt/telescoping steering column
                                                                                                             888-230-0517
                                                                             MonroneyLabels.com
                                                                              Ex. 1 - Page 2
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 4 of 155 Page ID
                                     #:1989
Year: 2012                                                                       Engine: V6 Cylinder Engine
Make: Chrysler                                                                   Transmission: 6-SPEED AUTOMATIC TRANSMISSION -inc: Autostick, tip start
Model: 200 4dr Sdn Limited                                                       Exterior: Tungsten Metallic
VIN: 1C3CCBCGXCN326568                                                           Interior: Black

                                            · Tilt/telescoping steering column                CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Sentry Key theft deterrent system

· Remote start system
                                            · Instrument panel storage bin
                                            · Instrument panel silver bezel                      19                                                                                         28
· Hood insulation                           · Instrument cluster w/display screen
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Instrument cluster w/LED lighting
· 525-CCA maintenance-free battery          · 120-mph speedometer
· 140-amp alternator                        · Tachometer
· Tip start ignition                        · Temp & compass gauge                          New
· GVW rating - 4600#                        · Traveler/mini trip computer
· Touring suspension                        · Decklid/liftgate ajar warning lamp
                                                                                            MSRP                                                                                           $24,685.00
· Front & rear stabilizer bars              · Door ajar warning lamp
· Pwr rack & pinion steering                · Pwr windows w/front 1-touch up/down           INSTALLED OPTIONS
· 4-wheel anti-lock disc brakes             · Pwr trunklid release                          50 State Emissions                                                                             $0
                                            · Universal garage door opener                  3.6 L VVT Flex Fuel 24 Valve V6 Engine                                                         $1,795
EXTERIOR                                    · Speed control
                                                                                               160 amp alternator
                                            · Pwr accessory delay                              dual exhaust w/polished tips
· 18" x 7.0" polished aluminum wheels       · Security alarm                                   engine oil cooler
· P225/50R18 BSW all-season touring         · Air conditioning w/auto temp control          27 V Limited Customer Preferred Order                                                          $0
tires                                       · Air filtering                                 Selection PKG
· Compact spare tire                        · Rear window defroster                            3.6L V6 engine
· Body-color fascias                        · Analog clock                                     6-speed auto trans
· Black windshield moldings                 · Front & rear aimable LED lamps                Tungsten Metallic                                                                              $0
· Dark argent grille w/bright accents       · Dual sun visors w/illuminated vanity
                                                                                            Black, Leather Trimmed Bucket Seats                                                            $0
· Bi-function halogen projector             mirrors
headlamps                                   · Rear compartment assist handles               Original Shipping Charge                                                                       $850
· Fog lamps                                 · Illuminated entry                             RETAIL PRICE (ORIGINALLY NEW)                                                                  $27,330.00
· LED taillamps                             · Trunk lamp
· Pwr heated fold-away mirrors -inc:        · Trunk mat
chrome casings                              · Leather-wrapped shift knob
· Tinted windows
· Front & rear solar control glass          SAFETY                                          Get more information on your smartphone:
· Variable intermittent windshield wipers
· Bright door handles                       · Brake/park interlock
· Decklid liner                             · Supplemental front & rear side curtain air
                                            bags
ENTERTAINMENT                               · Front height adjustable shoulder belts
                                            · Rear center 3-point seat belt
· (6) speakers                              · Rear door child safety locks
· Steering wheel mounted audio controls     · Child seat upper tether anchors
· Removable short mast antenna              · Child seat anchor system (LATCH) ready
                                            · Tire pressure monitoring display
INTERIOR                                    · Internal emergency trunk release
                                            · Dual note horns
· Manual driver lumbar adjust
· Pwr 8-way driver seat
· Heated front seats
· Active head restraints
· 60/40 split-folding rear seat
· Rear seat armrest
· Floor console w/sliding armrest
· Floor carpeting
· Luxury front & rear floor mats
· Leather-wrapped steering wheel




                                                                                                                www.BillMarsh.com
                                                                                                                  800-596-2774
                                                                       MonroneyLabels.com
                                                                         Ex. 1 - Page 3
A
THIS MODEL INCLUDING DEALER PREPARATION

             Base Price:
CHRYSLER 200 LIMITED
                                      $24,685
Exterior Color: Billet Silver Metallic Clear Coat Exterior Paint
Interior Color: Black / Light Frost Beige Interior Colors
Interior: Leather-Trimmed Bucket Seats
Engine: 2.4-Liter I4 PZEV 16-Valve Dual VVT Engine
Transmission: 6-Speed Automatic Transmission
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)

3
          FUNCTIONAL/SAFETY FEATURES
Advanced Multistage Front Airbags
Supplemental Front Seat-Mounted Side Airbags
Supplemental Side-Curtain Front and Rear Airbags
Front Seat Active Head Restraints
Center Rear 3-Point Seat Belt
Rear Door Child Protection Locks
Child Seat Anchor System-LATCH Ready
                                                             4
                                                                        2
                                                                        0
                                                                        1
                                                                        3

THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.

MANUFACTURER’S SUGGESTED RETAIL PRICE OF
                                                                                          Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 5 of 155 Page ID




                                                                                  200 LIMITED



                                                                                          Tilt / Telescoping Steering Column
                                                                                          Luxury Front and Rear Floor Mats
                                                                                                     EXTERIOR FEATURES
                                                                                          Dual Rear Exhaust with Chrome Tips


                                                                                          Projector Fog Lamps
                                                                                          LED Tail Lamps
                                                                                          Chrome Exterior Mirrors
                                                                                                                            #:1990




                                                                                          Bi-Function Halogen Projector Headlamps
                                                                                          Automatic Headlamps




                                                                                          Power Heated Exterior Mirrors w/ Manual Fold-Away
                                                                                          17-Inch x 6.5-Inch Aluminum Wheels
                                                                                          225/55R17 BSW All Season Touring Tires

                                                                                          OPTIONAL EQUIPMENT
                                                                                          Customer Preferred Package 26V
                                                                                          Smoker’s Group
                                                                                           Cigar Lighter
                                                                                          2.4-Liter I4 PZEV 16-Valve Dual VVT Engine
                                                                                                                                                                      $50

                                                                                                                                                                     -$500
                                                                                                                                                                                 C EPA
                                                                                                                                                                                   DOT Fuel Economy and Environment


                                                                                                                                                                                       C




                                                                                                                                                                                       $2,300
                                                                                                                                                                                               Fuel Economy




                                                                                                                                                                                               23
                                                                                                                                                                                               combined city/hwy
                                                                                                                                                                                                                         For more information visit: www.chrysler.com




                                                                                                                                                                                                 4.3 gallons per 100 miles
                                                                                                                                                                                       Annual fuel           cost
                                                                                                                                                                                                                            MPG

                                                                                                                                                                                                                             20 31
                                                                                                                                                                                                                              city
                                                                                                                                                                                                                                   or call 1-800-CHRYSLER




                                                                                                                                                                                                                                           highway
                                                                                                                                                                                                                                                  Midsize cars range from 13 to 99 MPG.
                                                                                                                                                                                                                                                  The best vehicle rates 112 MPGe.




                                                                                                                                                                                                                                       Fuel Economy & Greenhouse Gas Rating (tailpipe only)


                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                           P
                                                                                                                                                                                                                                                                                                     You

                                                                                                                                                                                                                                                                                                     $100


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                                                                                                                                                                                                                                                                                                         Chrysler Group LLC


                                                                                                                                                                                                                                                                                                               C
                                                                                                                                                                                                                                                                                                                save
                                                                                                                                                                                                                                                                                                        in fuel costs
                                                                                                                                                                                                                                                                                                        over 5 years
                                                                                                                                                                                                                                                                                                        compared to the
                                                                                                                                                                                                                                                                                                        average new vehicle.




                                                                                                                                                                                                                                                                                                         Best
                                                                                                                                                                                                                                                                                                                                   Gasoline Vehicle




                                                                                                                                                                                                                                                                                                                       Smog Rating (tailpipe only)


                                                                                                                                                                                                                                                                                                                          1               S 10
                                                                                                                                                                                                                                                                                                                                              Best
                                                                                                                                                                                                                                       This vehicle emits 381 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                       distributing fuel also creates emissions; learn more at fueleconomy.gov

                                                                                                                                                                                   Actual results will vary for many reasons, including driving conditions and how you drive and maintain your




                                                                                                                                                                                                                                                                                                                                  Smartphone
Anti-Lock 4-Wheel Disc Brakes                                                              140-Amp Alternator                                                                      vehicle. The average new vehicle gets 23 MPG and cost $11,600 to fuel over 5 years. Cost estimates are
                                                                                           225/55R17 BSW All Season Touring Tires                                                  based on 15,000 miles per year at $3.55 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle




                                                                                                                                                                                                                                                           A
Tire Pressure Monitoring Display




                                                                                                                                                                                                                                                                                                                                  QR Code
                                                                                                                                                                                   emissions are a significant cause of climate change and smog.
Electronic Stability Control                                                               18.5-Gallon Fuel Tank



                                                                                                                                                                                                                                                                                            Bil
                                                                                          California Emissions
Traction Control
Variable Intermittent Windshield Wipers                                                   Fleet Incentive Waiver                                                                   fueleconomy.gov
                                                                                                                                                                                   Calculate personalized estimates and compare vehicles
Sentry Key® Theft Deterrent System                                                        Delete Group Funds-Fleet




                                                                                                                                                                                                                                                           A
Keyless Entry                                                                             DESTINATION CHARGE                                                         $995
Security Alarm                                                                                                                                                                            GOVERNMENT 5-STAR SAFETY RATINGS                                                                          PARTS CONTENT INFORMATION
Speed Control
                                                                                                                                                                                       Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
Power Door Locks                                                                                          TOTAL PRICE: * $25,230                                                                                                                                                                U.S./CANADIAN PARTS CONTENT: 73 %
Auto-Dimming Rearview Mirror w/ Microphone                                                                                                                                             Based on the combined ratings of frontal, side, and rollover.




                                                                                                                                                                                                                                                           A
                                                                                                                                                                                       Should ONLY be compared to other vehicles of similar size and weight.                                   NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL
Power Front Windows w/ 1-Touch Up and Down Feature                                       WARRANTY COVERAGE                                                                                                                                                                                     ASSEMBLY, DISTRIBUTION, OR OTHER
                                                                                                                                                                                       C Safety concern: visit www.safercar.gov or call 1-888-327-4236 for more details.
Rear Window Defroster                                                                    5-year or 100,000-mile Powertrain Limited Warranty.                                                                                                                                                   NON-PARTS COSTS.
Remote Start System                                                                      3-year or 36,000-mile Basic Limited Warranty.                                                 Frontal                            Driver                                                               FOR THIS VEHICLE:
Universal Garage Door Opener                                                             Roadside assistance; certain restrictions apply.                                                                                                                                                       FINAL ASSEMBLY POINT:




                                                                                                                                                                                                                                                           A
          INTERIOR FEATURES                                                              Ask Dealer for a copy of the limited warranties or
                                                                                                                                                                                       Crash                              Passenger
                                                                                                                                                                                       Based on the risk of injury in a frontal impact.                                                          STERLING HTS, MICH., U.S.A.
Heated Front Seats                                                                       see your owner’s manual for details.
                                                                                                                                                                                       Should ONLY be compared to other vehicles of similar size and weight.                                   COUNTRY OF ORIGIN:
                                                                                     H
                                                                                                       A                                                               I
Power 8-Way Driver Seat
Uconnect® 130 AM/FM/CD/MP3                                                                                                                                                                                                                                                                      ENGINE: UNITED STATES
                                                                                                                                                                                       Side                               Front seat                                                            TRANSMISSION: UNITED STATES
Six 276W Boston Acoustics® Speakers
SiriusXM Satellite Radio w/ 1-Yr Radio Subscription
                                                                                                                                                                                       Crash                              Rear seat
                                                                                                                                                                                       Based on the risk of injury in a side impact.
For More Information, Call 888-539-7474
Audio Jack Input for Mobile Devices
                                                                                                                                                                                       Rollover
Steering Wheel Mounted Audio Controls
                                                                                                                                                                                       Based on the risk of rollover in a single-vehicle crash.
Air Conditioning with Automatic Temperature Control
Leather-Wrapped Steering Wheel                                                                                                                                                    Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
Leather-Wrapped Shift Knob                                                                                                                                                           Source: National Highway Traffic Safety Administration (NHTSA)
                                                                                                                                                                                                www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: STERLING HTS, MICH., U.S.A.
                                                            S.L.                                                                                                                 The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   1C3-CCBCB5DN-568030               L4-VON:   9601     1018                                                                                                                 equipped with certain features and options. The performance of this vehicle may differ.
                                                                       THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                                 Bumper Performance
                                                                       OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                   This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I1C3CCBCB5DN568030
                                                                       STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                           speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                                   *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                                 more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                       IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                                 allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                                 conducted at 2.5 miles per hour.



                                                                                                                                                                      Ex. 1 - Page 4
A
MANUFACTURER’S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION

             Base Price:
CHRYSLER 200 LX
                                      $21,795
Exterior Color: Billet Silver Metallic Clear Coat Exterior Paint
Interior Color: Black Interior Color
Interior: Premium Cloth Bucket Seats
Engine: 2.4-Liter I4 DOHC 16-Valve Dual VVT Engine
Transmission: 4-Speed Automatic Transmission
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)

3
          FUNCTIONAL/SAFETY FEATURES
Advanced Multistage Front Airbags
                                                             4
                                                                        2
                                                                        0
                                                                        1
                                                                        4

THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.
                                                                                  200 LX
                                                                                          Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 6 of 155 Page ID




                                                                                          Tilt / Telescope Steering Column
                                                                                                                            #:1991




                                                                                          Steering Wheel Mounted Audio Controls
                                                                                          Instrument Cluster with LED Lighting
                                                                                          Outside Temperature Display in Odometer
                                                                                          Tachometer

                                                                                          12-Volt Center Console Power Outlet
                                                                                          12-Volt Auxiliary Power Outlet
                                                                                          Luxury Front and Rear Floor Mats
                                                                                          Analog Clock
                                                                                                     EXTERIOR FEATURES
                                                                                          Bi-Function Halogen Projector Headlamps
                                                                                          Headlamps with Turn-Off Time Delay
                                                                                                                                                                                   EPA
                                                                                                                                                                                   DOT Fuel Economy and Environment


                                                                                                                                                                                       C
                                                                                                                                                                                               Fuel Economy




                                                                                                                                                                                               24
                                                                                                                                                                                               combined city/hwy
                                                                                                                                                                                                                         For more information visit: www.chrysler.com




                                                                                                                                                                                                 4.2 gallons per 100 miles
                                                                                                                                                                                       Annual fuel           cost
                                                                                                                                                                                                                            MPG

                                                                                                                                                                                                                             21 30
                                                                                                                                                                                                                              city
                                                                                                                                                                                                                                   or call 1-800-CHRYSLER




                                                                                                                                                                                                                                           highway
                                                                                                                                                                                                                                                  Midsize cars range from 13 to 58 MPG.
                                                                                                                                                                                                                                                  The best vehicle rates 121 MPGe.




                                                                                                                                                                                                                                       Fuel Economy & Greenhouse Gas Rating (tailpipe only)

                                                                                                                                                                                                                                                                           P
                                                                                                                                                                                                                                                                                                         Chrysler Group LLC


                                                                                                                                                                                                                                                                                                               C
                                                                                                                                                                                                                                                                                                                You

                                                                                                                                                                                                                                                                                                                $500
                                                                                                                                                                                                                                                                                                                           save
                                                                                                                                                                                                                                                                                                                   in fuel costs
                                                                                                                                                                                                                                                                                                                   over 5 years
                                                                                                                                                                                                                                                                                                                   compared to the
                                                                                                                                                                                                                                                                                                                                   Gasoline Vehicle




                                                                                                                                                                                                                                                                                                                   average new vehicle.

                                                                                                                                                                                                                                                                                                                       Smog Rating (tailpipe only)

                                                                                                                                                                                                                                                                                                                                   P
                                                                                                                                                                                       $2,200
Supplemental Front Seat-Mounted Side Airbags
                                                                                          LED Tail Lamps                                                                                                                                   1                                                          10                  1                    10
Supplemental Side-Curtain Front and Rear Airbags
                                                                                          Power Heated Exterior Mirrors w/ Manual Fold-Away                                                                                                                                                              Best                                 Best
Front Seat Active Head Restraints
                                                                                          17-Inch x 6.5-Inch Steel Wheels                                                                                                              This vehicle emits 369 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
Center Rear 3-Point Seat Belt                                                                                                                                                                                                          distributing fuel also creates emissions; learn more at fueleconomy.gov
                                                                                          225/55R17 BSW All Season Touring Tires
Rear Door Child Protection Locks                                                                                                                                                   Actual results will vary for many reasons, including driving conditions and how you drive and maintain your
                                                                                          Compact Spare Tire




                                                                                                                                                                                                                                                                                                                                  Smartphone
Child Seat Anchor System-LATCH Ready                                                                                                                                               vehicle. The average new vehicle gets 23 MPG and cost $11,500 to fuel over 5 years. Cost estimates are




                                                                                                                                                                                                                                                                                                                                  QR Code™
                                                                                                                                                                                   based on 15,000 miles per year at $3.50 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle




                                                                                                                                                                                                                                                          A
Anti-Lock 4-Wheel Disc Brakes                                                                                                                                                      emissions are a significant cause of climate change and smog.
                                                                                          OPTIONAL EQUIPMENT



                                                                                                                                                                                                                                                                                            Bil
Tire Pressure Monitor with Warning Lamp
Power Rack-and-Pinion Steering
Electronic Stability Control
                                                                                          Customer Preferred Package 24H
                                                                                          4-Speed Automatic Transmission
                                                                                                                                                                     -$300
                                                                                                                                                                     -$200
                                                                                                                                                                                   fueleconomy.gov
                                                                                                                                                                                   Calculate personalized estimates and compare vehicles
                                                                                          2.4-Liter I4 DOHC 16-Valve Dual VVT Engine                                 -$800




                                                                                                                                                                                                                                                          A
Traction Control
Variable Intermittent Windshield Wipers                                                   DESTINATION CHARGE                                                         $995
                                                                                                                                                                                          GOVERNMENT 5-STAR SAFETY RATINGS                                                                          PARTS CONTENT INFORMATION
Sentry Key® Theft Deterrent System
Keyless Entry with Panic Alarm                                                                                                                                                         Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
Security Alarm
                                                                                                          TOTAL PRICE: * $21,490                                                       Based on the combined ratings of frontal, side, and rollover.                                            U.S./CANADIAN PARTS CONTENT: 73 %




                                                                                                                                                                                                                                                          A
                                                                                                                                                                                       Should ONLY be compared to other vehicles of similar size and weight.                                   NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL
Speed Control
                                                                                         WARRANTY COVERAGE                                                                                                                                                                                     ASSEMBLY, DISTRIBUTION, OR OTHER
Power Door Locks                                                                                                                                                                                                                                                                               NON-PARTS COSTS.
                                                                                         5-year or 100,000-mile Powertrain Limited Warranty.
Power Windows with Driver’s One-Touch-Down Feature                                       3-year or 36,000-mile Basic Limited Warranty.                                                 Frontal                            Driver                                                               FOR THIS VEHICLE:
                                                                                                                                                                                                                                                                                                FINAL ASSEMBLY POINT:




                                                                                                                                                                                                                                                          A
Rearview Day / Night Mirror                                                              5-year or 100,000-mile Roadside Assistance; certain                                           Crash                              Passenger
Rear Window Defroster                                                                    restrictions apply.                                                                           Based on the risk of injury in a frontal impact.                                                          STERLING HTS, MICH., U.S.A.
Tinted Glass Windows                                                                     Ask Dealer for a copy of the limited warranties or                                            Should ONLY be compared to other vehicles of similar size and weight.                                   COUNTRY OF ORIGIN:
                                                                                     H                                                                                 I
                                                                                         see your owner’s manual for details.                                                                                                                                                                   ENGINE: UNITED STATES
Power Accessory Delay


                                                                                                       A
Laminated Windshield and Front Door Glass
                                                                                                                                                                                       Side                               Front seat                                                            TRANSMISSION: UNITED STATES
          INTERIOR FEATURES
                                                                                                                                                                                       Crash                              Rear seat
                                                                                                                                                                                       Based on the risk of injury in a side impact.
Air Conditioning
Driver Seat Height Adjuster                                                                                                                                                            Rollover
Manual Driver Lumbar Adjust                                                                                                                                                            Based on the risk of rollover in a single-vehicle crash.
Uconnect® 130 AM/FM/CD/MP3
                                                                                                                                                                                  Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
4 Speakers
                                                                                                                                                                                     Source: National Highway Traffic Safety Administration (NHTSA)
Audio Jack Input for Mobile Devices
                                                                                                                                                                                                www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: STERLING HTS, MICH., U.S.A.
                                                            S.L.                                                                                                                 The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   1C3-CCBAB5EN-143444               L4-VON:   5040     1004                                                                                                                 equipped with certain features and options. The performance of this vehicle may differ.
                                                                       THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                                 Bumper Performance
                                                                       OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                   This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I1C3CCBAB5EN143444
                                                                       STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                           speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                                   *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                                 more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                       IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                                 allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                                 conducted at 2.5 miles per hour.



                                                                                                                                                                      Ex. 1 - Page 5
                                                                                          Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 7 of 155 Page ID
                                                                                                                            #:1992


                                                                        2

A
                                                                        0                                                                                                                                                                                                                                          FCA US LLC
                                                                        1         200 LIMITED                                                                                                                            For more information visit: www.chrysler.com
                                                                        5                                                                                                                                                          or call 1-800-CHRYSLER
                                                                                                                                                                                  EPA




                                                                                                                                                                                              J
                                                                                                                                                                                  DOT Fuel Economy and Environment
                                                                                                                                                                                                                                                                                                             E85
                                                                                                                                                                                                                                                                                                                         Flexible-Fuel Vehicle
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS                                                                                                                                                                                                                                C         Gasoline-Ethanol (E85)
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.

MANUFACTURER’S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION
                                                                                          12-Volt Auxiliary Power Outlet in Console                                                           Fuel Economy
                                                                                                                                                                                                                                                                                                               You        save
                                                                                                                                                                                              28
                                                                                          Rear Seat Armrest with Storage Cup Holder                                                                                                              Midsize cars range from 13 to 114 MPG.
                                                                                                                                                                                                                           MPG                   The best vehicle rates 119 MPGe. Values
                                                                                                                                                                                      C
                                                                                                                                                                                                                                                                                                               $1,500
                                                                                          Front Center Sliding Armrest                                                                                                                           are based on gasoline and do not reflect
             Base Price:              $23,950                                             Overhead Console with Sunglass Holder                                                                                                                  performance and ratings based on E85.
                                                                                          Sun Visors with Vanity Mirrors
CHRYSLER 200 LIMITED
Exterior Color: Black Clear Coat Exterior Paint                                                     EXTERIOR FEATURES                                                                                                       23 36                           3.6                                                    in fuel costs
Interior Color: Black / Linen Interior Colors                                             Automatic Headlamps                                                                                 combined city/hwy              city         highway         gallons per 100 miles                                    over 5 years
Interior: Premium Cloth Bucket Seats                                                      Compact Spare Tire                                                                                  Driving Range
Engine: 2.4-Liter I4 MultiAir® Engine                                                                                                                                                         Gasoline:   442 miles                                                                                                compared to the
Transmission: 9-Speed 948TE Automatic Transmission                                        Bi-Function Halogen Projector Headlamps with LEDs
                                                                                                                                                                                              Ethanol (E85): 332 miles                                                                                             average new vehicle.
                                                                                          Headlamps with Turn-Off Time Delay
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)
                                                                                          LED Tail Lamps
           FUNCTIONAL/SAFETY FEATURES                                                                                                                                                                                                 Fuel Economy & Greenhouse Gas Rating (tailpipe only)                            Smog Rating (tailpipe only)
3
Advanced Multistage Front Airbags
                                                             4
                                                                                          17-Inch x 7.5-Inch Tech Silver Aluminum Wheels
                                                                                          Body-Color Power Mirrors
                                                                                                                                                                                      Annual fuel              cost
Supplemental Front Seat-Mounted Side Airbags
                                                                                                                                                                                                                                                                               Q                                                  P
Supplemental Side-Curtain Front and Rear Airbags
Driver Inflatable Knee-Bolster Airbag
Passenger Inflatable Knee-Bolster Airbag
                                                                                          Active Grille Shutters

                                                                                          OPTIONAL EQUIPMENT (May Replace Standard Equipment)
                                                                                          Customer Preferred Package 28E
                                                                                                                                                                                      $1,900                                              1                                                          10
                                                                                                                                                                                                                                                                                                        Best
                                                                                                                                                                                                                                                                                                                         1                    10
                                                                                                                                                                                                                                                                                                                                             Best
                                                                                                                                                                                                                                      This vehicle emits 322 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                      distributing fuel also creates emissions; learn more at fueleconomy.gov
LATCH Ready Child Seat Anchor System
                                                                                          Front Floor Mats
Electronic Stability Control                                                                                                                                                      Actual results will vary for many reasons, including driving conditions and how you drive and maintain your




                                                                                                                                                                                                                                                                                                                                 Smartphone
                                                                                          Rear Floor Mats                                                                         vehicle. The average new vehicle gets 24 MPG and cost $11,000 to fuel over 5 years. Cost estimates are
Traction Control




                                                                                                                                                                                                                                                                                                                                 QR Code™
                                                                                          Low Beam Daytime Running Headlamps                                         $55          based on 15,000 miles per year at $3.50 per gallon. This is a dual fueled automobile. MPGe is miles per




                                                                                                                                                                                                                                                          A
Anti-Lock 4-Wheel Disc Brakes                                                                                                                                                     gasoline gallon equivalent. Vehicle emissions are a signficant cause of climate change and smog.
Brake Assist



                                                                                                                                                                                                                                                                                           Bil
                                                                                          003GS-30F-CA003   9C.1
Electric Park Brake
Electric Power Steering                                                                   *
                                                                                            RPN-N-JL095 GB2015                                                                    fueleconomy.gov
                                                                                                                                                                                  Calculate personalized estimates and compare vehicles
Keyless Enter ’n Go™                                                                      *




                                                                                                                                                                                                                                                          A
                                                                                          BILL HOOVER
Variable Intermittent Windshield Wipers                                                   603-437-5700
Security Alarm                                                                                                                                                                            GOVERNMENT 5-STAR SAFETY RATINGS                                                                         PARTS CONTENT INFORMATION
Speed Control                                                                             DESTINATION CHARGE                                                          $0
                                                                                                                                                                                      Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
Rear Window Defroster
                                                                                                                                                                                      Based on the combined ratings of frontal, side, and rollover.                                            U.S./CANADIAN PARTS CONTENT: 67 %
           INTERIOR FEATURES




                                                                                                                                                                                                                                                          A
Air Conditioning
                                                                                                          TOTAL PRICE: * $24,005                                                      Should ONLY be compared to other vehicles of similar size and weight.                                   MAJOR SOURCES OF FOREIGN PARTS
Uconnect® 5.0 AM/FM/BT                                                                                                                                                                                                                                                                        CONTENT:
6 Speakers                                                                               WARRANTY COVERAGE                                                                                                                                                                                     MEXICO: 16 %
                                                                                         5-year or 100,000-mile Powertrain Limited Warranty.                                          Frontal                            Driver
Audio Jack Input for Mobile Devices                                                                                                                                                                                                                                                           NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL




                                                                                                                                                                                                                                                          A
Remote USB Port                                                                          3-year or 36,000-mile Basic Limited Warranty.                                                Crash                              Passenger                                                            ASSEMBLY, DISTRIBUTION, OR OTHER
                                                                                         5-year or 100,000-mile Roadside Assistance; certain                                          Based on the risk of injury in a frontal impact.                                                        NON-PARTS COSTS.
Steering Wheel Mounted Audio Controls
Power Front Windows w/ 1-Touch Up and Down Feature
                                                                                         restrictions apply.                                                                          Should ONLY be compared to other vehicles of similar size and weight.                                   FOR THIS VEHICLE:
                                                                                         Ask Dealer for a copy of the limited warranties or                                                                                                                                                    FINAL ASSEMBLY POINT:
Manual 6-Way Driver Seat                                                                                                                                                              Side                               Front seat
                                                                                     H                                                                               I
                                                                                         see your owner’s manual for details.                                                                                                                                                                   STERLING HTS, MICH., U.S.A.
6-Way Manual Passenger Seat Adjust
                                                                                                                                                                                      Crash                              Rear seat

                                                                                                       A
Ambient LED Interior Lighting                                                                                                                                                                                                                                                                 COUNTRY OF ORIGIN:
                                                                                                                                                                                      Based on the risk of injury in a side impact.
Electronic Vehicle Information Center                                                                                                                                                                                                                                                          ENGINE: UNITED STATES
Tire Pressure Monitoring Display                                                                                                                                                                                                                                                               TRANSMISSION: UNITED STATES
                                                                                                                                                                                      Rollover
Compass Gauge
                                                                                                                                                                                      Based on the risk of rollover in a single-vehicle crash.
Outside Temperature Gauge
Rearview Mirror with Microphone                                                                                                                                                  Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
Tilt / Telescope Steering Column                                                                                                                                                    Source: National Highway Traffic Safety Administration (NHTSA)
                                                                                                                                                                                               www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: STERLING HTS, MICH., U.S.A.
                                                            S.L.                                                                                                                The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   1C3-CCCAB2FN-742650               L4-VON:   7302     0609                                                                                                                equipped with certain features and options. The performance of this vehicle may differ.
                                                                       THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                                Bumper Performance
                                                                       OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                  This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I1C3CCCAB2FN742650
                                                                       STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                          speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                                   *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                                more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                       IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                                allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                                conducted at 2.5 miles per hour.



                                                                                                                                                                     Ex. 1 - Page 6
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 8 of 155 Page ID
                                     #:1993
Year: 2010                                                                        Engine: V6 Cylinder Engine
Make: Chrysler                                                                    Transmission: 4-SPEED AUTOMATIC VLP TRANSMISSION
Model: Sebring 2dr Conv Touring                                                   Exterior: Bright Silver Metallic (PS2)
VIN: 1C3BC5ED9AN127895                                                            Interior: Dark slate gray

                                              · Instrument panel                              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Instrument panel storage bin

· 2.7L DOHC MPI 24-valve V6 engine
                                              · Instrument panel silver bezel
                                              · Instrument panel satin silver bezel              18                                                                                         26
(w/NAA or YCH Emissions REQ: XKN              · Instrument cluster w/display screen
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Flex-fuel system)                             · 120-mph speedometer
· 4-speed automatic VLP transmission          · Tachometer
· Hood insulation                             · Temp & compass gauge
· Front wheel drive                           · Traveler/mini trip computer                 New
· 525 CCA maintenance-free battery            · Decklid/liftgate ajar warning lamp
· 140-amp alternator                          · Door ajar warning lamp
                                                                                            MSRP                                                                                           $29,210.00
· Touring suspension                          · Pwr windows w/front 1-touch down
· Front & rear stabilizer bars                · Pwr door locks                              INSTALLED OPTIONS
· Pwr rack & pinion steering                  · Pwr trunklid release                        Federal Emissions                                                                              $0
· 4-wheel anti-lock disc brakes               · Speed control                               Flex Fuel System                                                                               $0
                                              · Remote keyless entry
EXTERIOR                                      · Pwr convertible top & windows down key      28 E Touring Customer Preferred Order                                                          $0
                                              fob                                           Selection PKG
· 17" x 6.5" aluminum wheels                  · Pwr accessory delay                            2.7L V6 engine
· P215/60R17 all-season BSW tires             · Air conditioning                               4-speed VLP auto trans
· Bridgestone tires                           · Air filtering                               Bright Silver Metallic                                                                         $0
· Compact spare tire                          · Rear window defroster                       Black Cloth Top                                                                                $0
· Body-color fascias                          · Locking glove box                           Dark Slate Gray, Premium Cloth Bucket Seats                                                    $0
· Pwr cloth top                               · Analog clock
· Pwr convertible top                         · 12V pwr outlet in center console            6 S7 Order Code                                                                                $0
· Black windshield moldings                   · 12V auxiliary pwr outlet                    Body Color Molding                                                                             $75
· Dark argent grille w/bright accents         · Premium door trim panel                     Highbeam Daytime Running Headlamps                                                             $40
· Quad headlamps                              · Rearview mirror w/reading lamps
                                                                                            Original Shipping Charge                                                                       $750
· Headlamp off time delay                     · Dual sun visors w/vanity mirrors
· Pwr heated mirrors                          · Illuminated entry                           RETAIL PRICE (ORIGINALLY NEW)                                                                  $30,075.00
· Tinted windows                              · Rear courtesy console lamp
· Front & rear solar control glass            · Trunk lamp
· Variable intermittent windshield wipers     · Trunk mat
· Body-color door handles                     · Trunk dress up
· Hard tonneau cover                          · Urethane shift knob                         Get more information on your smartphone:
                                              · Color-keyed park brake lever
ENTERTAINMENT
                                              SAFETY
· Media center 230 6-disc in-dash
CD/DVD/MP3 radio w/aux input jack             · Brake/park interlock
· (6) Speakers                                · Advanced multistage front air bags
· SIRIUS satellite radio w/(1) year service   · Supplemental side air bags
subscription *N/A in HI, GU or PR*            · Supplemental front seat side air bags
· Removable short mast antenna                · Occupant classification sensor
                                              · Child seat upper tether anchors
INTERIOR                                      · Child seat anchor system (LATCH) ready
                                              · Tire pressure monitoring display
· Low back bucket seats                       · Internal emergency trunk release
· Premium cloth seats                         · Dual note horns
· Manual driver lumbar adjust
· Pwr 6-way driver & front passenger
seats
· Stain repel seat fabric
· Active head restraints
· Center console cushioned armrest
· Floor console w/sliding armrest
· Floor carpeting

                                                                                            California Motors Direct
· Luxury front & rear floor mats
· Door sill scuff pads
· Tilt/telescoping steering column
· Sport steering wheel
· Sentry Key theft deterrent system                                                                 - Stanton
                                                                                                                ocmotorsdirect.com
                                                                                                                  714-947-1900
                                                                       MonroneyLabels.com
                                                                         Ex. 1 - Page 7
    Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 9 of 155 Page ID
                                      #:1994
Year: 2010                                                                           Engine: V6 Cylinder Engine
Make: Dodge                                                                          Transmission: 6-SPEED AUTOMATIC TRANSMISSION
Model: Avenger 4dr Sdn R/T                                                           Exterior: White Gold
VIN: 1B3CC5FV3AN146239                                                               Interior: Dark Slate Gray

                                              · Instrument cluster w/LED lighting               CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · 120-MPH speedometer

· 2.4L DOHC dual VVT 16-valve I4
                                              · Tachometer
                                              · Outside temp display                               16                                                                                         27
engine (REQ: NAA Emissions)                   · Decklid/liftgate ajar warning lamp
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 4-speed automatic transmission (N/A         · Door ajar warning lamp
w/EGF Engine)                                 · Pwr windows w/driver 1-touch
· Front wheel drive                           · Pwr door locks
· 525-amp maintenance-free battery            · Keyless entry                                 New
· 120-amp alternator                          · Pwr accessory delay
· Normal duty suspension                      · Pwr trunk lid release
                                                                                              MSRP                                                                                           $21,730.00
· Front stabilizer bar                        · Speed control
· Pwr rack & pinion steering                  · Sentry Key theft deterrent system             INSTALLED OPTIONS
· 4-wheel anti-lock disc brakes               · Security alarm                                Federal Emissions                                                                              $0
                                              · Air conditioning                              3.5 L Mpi 24 Valve Ho V6 Engine                                                                $2,050
EXTERIOR                                      · Air filtering
                                                                                              6 Speed Automatic Transmission                                                                 $200
                                              · Rear window defroster
· 17" x 6.5" aluminum wheels                  · 12V auxiliary pwr outlet                      26 L Customer Preferred Order Selection PKG                                                    $0
· P215/60R17 all-season BSW tires             · Chill zone storage bin                        18" X 7.0" Aluminum Wheels                                                                     $0
· Compact spare tire                          · Silver instrument panel bezel w/chrome        P215/55 R18 All Season Performance BSW                                                         included
· Trunk lid spoiler                           accent                                          Tires
· Body-color fascias                          · Premium door trim panel
· Bright/black grille                         · Rearview day/night mirror
                                                                                              White Gold                                                                                     $0
· Quad optics headlamps                       · Dual visors w/illuminated vanity mirrors      Dark Slate Gray, Leather Trimmed Front Bucket                                                  $0
· Headlamp off time delay                     · Front & rear aimable LED lamps                Seats
· Fog lamps                                   · Illuminated entry                             Premium Convenience Group                                                                      $965
· Pwr heated fold away mirrors                · Trunk lamp
                                                                                              Media Center 430                                                                               $300
· Tinted glass windows                        · Driver sunglass holder
· Front & rear solar control glass            · Passenger assist handles                      Original Shipping Charge                                                                       $750
· Variable-intermittent windshield wipers     · Leather-wrapped shift knob                    RETAIL PRICE (ORIGINALLY NEW)                                                                  $25,995.00
· Body-color door handles                     · Trunk dress-up
· Hood insulation                             · Decklid liner
                                              · Trunk mat
ENTERTAINMENT
                                              SAFETY                                          Get more information on your smartphone:
· Media center 230 -inc: AM/FM stereo,
6-disc CD/DVD/MP3 player                      · Brake/park interlock
· Sirius satellite radio w/(1) year service   · Front advanced multi-stage airbags -inc:
· Audio input jack                            front passenger occupant sensor
· (6) speakers                                · Supplemental front seat side airbags
· Removable short mast antenna                · Supplemental front & rear side-curtain
                                              airbags
INTERIOR                                      · Supplemental side airbags
                                              · Front height adjustable shoulder belts
· Leather-trimmed front bucket seats          · Rear center 3-point seat belt
· Low back bucket seats                       · Active head restraints
· Heated front seats                          · Child seat anchor system, LATCH ready
· 8-way pwr driver seat                       · Child seat upper tether anchors
· Manual driver lumbar                        · Rear door child protection locks
· Front passenger fold-flat seat              · Tire pressure monitor warning lamp
· 60/40 folding rear bench seat               · Inside trunk emergency release
· Rear seat armrest                           · Dual-note horn
· Center console w/instrument panel
storage bin
· Center console w/cushioned armrest
· Center console 12V pwr outlet
· Floor console w/sliding armrest
· Floor carpet
· Front & rear floor mats
· Tilt/telescopic steering column
· Leather-wrapped steering wheel
· Steering wheel audio controls

                                                                                                                  www.BillMarsh.com
                                                                                                                    800-596-2774
                                                                         MonroneyLabels.com
                                                                           Ex. 1 - Page 8
  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 10 of 155 Page ID
                                     #:1995
Year: 2011                                                                       Engine: V6 Cylinder Engine
Make: Dodge                                                                      Transmission: 6-SPEED AUTOMATIC TRANSMISSION W/AUTOSTICK -inc: tip start
Model: Avenger 4dr Sdn Heat                                                      Colors: Redline 2-Coat Pearl / Black Interior
VIN: 1B3BD1FG9BN509244                                                           Mileage: 83,766                                     Stock #: BH25758

                                                · Steering wheel audio controls
                                                                                                        CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                      · Instrument cluster w/LED lighting

· 3.6L VVT flex-fuel 24-valve V6 engine -
                                                · Instrument cluster display screen
                                                · Tachometer
                                                · Temperature & compass gauge
                                                                                                           19                                                                                          29
inc: 160-amp alternator, dual exhaust
w/bright tips, engine oil cooler                · Trip computer                                               Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 6-speed automatic transmission                · Decklid/liftgate ajar warning lamp
w/Autostick -inc: tip start                     · Door ajar warning lamp
· Front wheel drive                             · Pwr windows w/driver 1-touch                       INSTALLED OPTIONS
· 525-amp maintenance-free battery              · Pwr door locks                                     50 State Emissions                           $0
· 140-amp alternator                            · Keyless entry
· Touring suspension                            · Pwr accessory delay                                27 W Heat Customer Preferred Order Selection $705
· Front & rear stabilizer bars                  · Pwr trunk lid release                              PKG
· Pwr rack & pinion steering                    · Speed control                                           3.6L V6 engine
· 4-wheel anti-lock disc brakes                 · Sentry Key theft deterrent system                       6-speed auto trans
                                                · Security alarm                                          18" x 7" aluminum wheels
                                                · Air conditioning w/auto temp control                    P225/50R18 all-season BSW touring tires
EXTERIOR                                                                                                  automatic headlamps
                                                · Air filtering                                           30GB hard drive w/6700 song capacity
· 18" x 7.0" aluminum wheels                    · Rear window defroster                                   6.5" touch screen display
· P225/50R18 all-season touring BSW tires       · 12V auxiliary pwr outlet                                Media Center 430 CD/DVD/MP3/HDD radio
                                                · Silver instrument panel bezel                           premium fog lamps
· Compact spare tire                                                                                      red seat inserts
· Trunklid spoiler                              · Rearview day/night mirror
                                                                                                          touch screen display monitor
· Body-color fascias                            · Dual visors w/illuminated vanity mirrors                trunklid spoiler
· Bright/black grille                           · Front & rear aimable LED lamps                     Redline 2 Coat Pearl                                                                             $295
· Automatic headlamps                           · Illuminated entry
· Quad optics headlamps                         · Trunk lamp                                         Black Interior, Premium Cloth Low Back Front                                                     $0
· Headlamp off time delay                       · Glove box lamp                                     Bucket Seats
                                                · Rear passenger assist handles
· Premium fog lamps                                                                                  PWR Express Open/Close Sunroof                                                                   $845
· LED tail lamps                                · Leather-wrapped shift knob
· Body colored pwr heated fold away             · Trunk dress-up                                     Original Shipping Charge                                                                         $750
mirrors                                         · Decklid liner
· Tinted glass windows                          · Trunk mat
· Front & rear solar control glass
· Laminated windshield & front door glass       SAFETY
                                                                                                   Comments
· Variable-intermittent windshield wipers                                                           IMPORTANT NOTICE: The vehicle described above is a used vehicle.
· Body-color door handles                       · Electronic stability program
                                                                                                   This “Original Window Sticker” was created by a third party vendor
· Hood insulation                               · Traction control
                                                · Front advanced multi-stage airbags -inc:         based on information set forth in the original new vehicle Monroney
                                                front passenger occupant sensor                    sticker; therefore, the equipment and options described herein represent
ENTERTAINMENT
                                                · Supplemental front seat side airbags             original factory-installed items, and any Warranty Coverage, Vehicle
· Media center 430 -inc: AM/FM stereo           · Supplemental front & rear side-curtain           Prices, Manufacturer Suggested Retail Price (MSRP), Installed Options
w/CD/DVD/MP3 player, 30GB hard drive            airbags                                            or Optional Equipment Prices, and/or Destination, Delivery, Freight and
w/6700 song capacity, 6.5" touch screen         · Supplemental side airbags                        Handling, or Original Shipping Charges are from the original new vehicle
· SIRIUS satellite radio w/ year service *Not   · Front height adjustable shoulder belts           window sticker and DO NOT represent costs or charges being
available in Guam, Puerto Rico, Dominican       · Rear center 3-point seat belt                    assessed by the dealer. Dealer makes no representations or warranties,
Republic, St. Thomas/US Virgin Islands          · Active head restraints                           express or implied, as to the accuracy or reliability of the information in
and Barbados*                                   · Child seat anchor system, LATCH ready
                                                                                                   this window sticker, and is not responsible for any errors or omissions or
· Audio input jack                              · Child seat upper tether anchors
                                                                                                   missing, damaged, removed or third-party installed equipment/options.
· speakers                                      · Rear door child protection locks
· Removable short mast antenna                  · Tire pressure monitoring display
                                                · Inside trunk emergency release
INTERIOR                                        · Dual-note horn

· Premium cloth front bucket seats
· Low back bucket seats
· Red seat inserts
· 8-way pwr driver seat
· Manual driver lumbar
· 60/40 folding rear bench seat w/pass-
through
· Rear seat armrest
· Center console w/instrument panel
storage bin
· Center console 12V pwr outlet
· Floor console w/sliding armrest
· Floor carpet
· Front & rear floor mats
· Tilt/telescopic steering column
· Leather-wrapped steering wheel
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                                     #:1996
Year: 2012                                                                           Engine: 2.4L DOHC DUAL VVT 16-VALVE I4 ENGINE
Make: Dodge                                                                          Transmission: 4-SPEED AUTOMATIC TRANSMISSION
Model: Avenger 4dr Sdn SE                                                            Exterior: Tungsten Metallic
VIN: 1C3CDZABXCN128568                                                               Interior: Black Interior

                                            · Instrument cluster w/LED lighting               CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Tachometer

· 2.4L DOHC dual VVT 16-valve I4
                                            · Outside temp display
                                            · Decklid/liftgate ajar warning lamp                 21                                                                                         29
engine (REQ: NAA Emissions)                 · Door ajar warning lamp
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Pwr windows w/driver 1-touch down
· 525-amp maintenance-free battery          · Pwr accessory delay
· 140-amp alternator                        · Pwr trunk lid release
· GVW rating, 4600#                         · Speed control                                 New
· Touring suspension                        · Sentry Key theft deterrent system
· Front & rear stabilizer bars              · Security alarm
                                                                                            MSRP                                                                                           $18,995.00
· Pwr rack & pinion steering                · Air conditioning
· 4-wheel anti-lock disc brakes             · Air filtering                                 INSTALLED OPTIONS
                                            · Rear window defroster                         Federal Emissions                                                                              $0
EXTERIOR                                    · Silver instrument panel bezel                 24 Y Se Customer Preferred Order Selection                                                     $0
                                            · Rearview day/night mirror
                                                                                            PKG
· 17" wheel covers                          · Driver side visor w/vanity mirror
· Compact spare tire                        · Passenger side visor w/vanity mirror             2.4L DOHC I4 engine
                                                                                               4-speed auto trans
· Body-color fascias                        · Front courtesy/map lamps
                                                                                            Tungsten Metallic                                                                              $0
· Bright/black grille                       · Illuminated entry
· Quad optics headlamps                     · Trunk lamp                                    Black Interior, Premium Cloth Low Back Front                                                   $0
· Headlamp off time delay                   · Glove box lamp                                Bucket Seats
· LED tail lamps                            · Trunk dress-up                                Original Shipping Charge                                                                       $995
· Pwr mirrors                               · Decklid liner
· Tinted glass windows                                                                      RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,990.00
· Front & rear solar control glass          SAFETY
· Laminated windshield & front door
glass                                       · Brake/park interlock
· Variable-intermittent windshield wipers   · Front advanced multi-stage airbags -inc:
· Body-color door handles                   front passenger occupant sensor                 Get more information on your smartphone:
· Hood insulation                           · Supplemental front & rear side-curtain
                                            airbags
ENTERTAINMENT                               · Front height adjustable shoulder belts
                                            · Rear center 3-point seat belt
· (4) speakers                              · Active head restraints
· Removable short mast antenna              · Child seat anchor system, LATCH ready
                                            · Child seat upper tether anchors
INTERIOR                                    · Rear door child protection locks
                                            · Tire pressure monitor warning lamp
· Driver seat height adjust                 · Inside trunk emergency release
· Manual driver seat adjust                 · Dual-note horn
· Manual driver lumbar
· 60/40 folding rear bench seat w/pass-
through
· Rear seat armrest
· Center console w/instrument panel
storage bin
· Floor console w/sliding armrest
· Floor carpet
· Tilt/telescopic steering column
· Steering wheel audio controls




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                                     #:1997
Year: 2013                                                                           Engine: 2.4L DOHC DUAL VVT 16-VALVE I4 ENGINE
Make: Dodge                                                                          Transmission: Automatic 4-spd
Model: Avenger 4dr Sdn SE                                                            Exterior: Black
VIN: 1C3CDZAB5DN753879                                                               Interior: Black Interior

                                            · Instrument cluster w/LED lighting               CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Tachometer

· 2.4L DOHC dual VVT 16-valve I4
                                            · Outside temp display
                                            · Decklid/liftgate ajar warning lamp                 21                                                                                         28
engine (REQ: NAA Emissions)                 · Door ajar warning lamp
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Pwr windows w/driver 1-touch down
· 525-amp maintenance-free battery          · Pwr accessory delay
· 140-amp alternator                        · Pwr trunk lid release
· GVW rating, 4600#                         · Speed control                                 New
· Touring suspension                        · Sentry Key theft deterrent system
· Front & rear stabilizer bars              · Security alarm
                                                                                            MSRP                                                                                           $19,795.00
· 4-wheel anti-lock disc brakes             · Air conditioning
                                            · Air filtering                                 INSTALLED OPTIONS
EXTERIOR                                    · Rear window defroster                         Federal Emissions                                                                              $0
                                            · Silver instrument panel bezel                 24 Y Se Customer Preferred Order Selection                                                     $0
· 17" wheel covers                          · Rearview day/night mirror
                                                                                            PKG
· Compact spare tire                        · Driver side visor w/vanity mirror
· Body-color fascias                        · Passenger side visor w/vanity mirror             2.4L DOHC I4 engine
                                                                                               4-speed auto trans
· Bright/black grille                       · Front courtesy/map lamps
                                                                                            Black                                                                                          $0
· Quad optics headlamps                     · Illuminated entry
· Headlamp off time delay                   · Trunk lamp                                    Black Interior, Premium Cloth Low Back Front                                                   $0
· LED tail lamps                            · Glove box lamp                                Bucket Seats
· Pwr mirrors                               · Trunk dress-up                                Front License Plate Attachment Screws                                                          $0
· Tinted glass windows                      · Decklid liner
                                                                                            Siriusxm Satellite Radio W/(1) Year Service                                                    $195
· Front & rear solar control glass
· Laminated windshield & front door         SAFETY                                          Original Shipping Charge                                                                       $995
glass                                                                                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $20,985.00
· Variable-intermittent windshield wipers   · Brake/park interlock
· Body-color door handles                   · Front advanced multi-stage airbags -inc:
· Hood insulation                           front passenger occupant sensor
                                            · Supplemental front & rear side-curtain
ENTERTAINMENT                               airbags                                         Get more information on your smartphone:
                                            · Front height adjustable shoulder belts
· (4) speakers                              · Rear center 3-point seat belt
· Removable short mast antenna              · Active head restraints
                                            · Child seat anchor system, LATCH ready
INTERIOR                                    · Child seat upper tether anchors
                                            · Rear door child protection locks
· Driver seat height adjust                 · Tire pressure monitor warning lamp
· Manual driver seat adjust                 · Inside trunk emergency release
· Manual driver lumbar                      · Dual-note horn
· 60/40 folding rear bench seat w/pass-
through
· Rear seat armrest
· Center console w/instrument panel
storage bin
· Floor console w/sliding armrest
· Floor carpet
· Front & rear floor mats
· Tilt/telescopic steering column
· Steering wheel audio controls




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                                        #:1998
Year: 2014                                                                                   Engine: 2.4L I4 DOHC 16V DUAL VVT
Make: Dodge                                                                                  Transmission: 4-SPEED AUTOMATIC VLP
Model: Avenger 4dr Sdn SE                                                                    Exterior: Bright White Clearcoat
VIN: 1C3CDZAB7EN115926                                                                       Interior: Black

                                                 · Power Rear Windows
MECHANICAL                                       · Front Cupholder
                                                                                                       CITY MPG                                                                          HIGHWAY MPG

· Front-Wheel Drive
· 3.91 Axle Ratio
                                                 · Rear Cupholder
                                                 · Remote Keyless Entry w/Integrated Key
                                                 Transmitter, Illuminated Entry and Panic Button
                                                                                                          21                                                                                         29
· 525CCA Maintenance-Free Battery w/Run          · Remote Releases -Inc: Power Cargo Access                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                  · Cruise Control w/Steering Wheel Controls
· 140 Amp Alternator                             · Manual Air Conditioning
· Gas-Pressurized Shock Absorbers                · HVAC -inc: Underseat Ducts
· Front And Rear Anti-Roll Bars                  · Illuminated Glove Box                             New
· Touring Suspension                             · Driver Foot Rest
· Hydraulic Power-Assist Steering                · Interior Trim -inc: Metal-Look Instrument Panel
· 16.9 Gal. Fuel Tank                            Insert and Chrome/Metal-Look Interior Accents       MSRP                                                                                           $20,595.00
· Single Stainless Steel Exhaust                 · Full Cloth Headliner
· Strut Front Suspension w/Coil Springs          · Cloth Door Trim Insert
                                                                                                     INSTALLED OPTIONS
· Multi-Link Rear Suspension w/Coil Springs      · Urethane Gear Shift Knob                          Quick Order Package 24 Y Se                                                                    $0
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front       · Premium Cloth Bucket Seats                           Engine: 2.4L I4 DOHC 16V Dual VVT
Vented Discs, Brake Assist and Hill Hold         · Day-Night Rearview Mirror                            Transmission: 4-Speed Automatic VLP
Control                                          · Driver And Passenger Visor Vanity Mirrors
                                                                                                     Tires: P225/55 R17 BSW As Touring                                                              $0
                                                 · Full Floor Console w/Covered Storage and 2
EXTERIOR                                         12V DC Power Outlets                                Bright White Clearcoat                                                                         $0
                                                 · Front Map Lights                                  Black, Premium Cloth Bucket Seats                                                              $0
· Wheels: 17" x 6.5" Steel                       · Fade-To-Off Interior Lighting
· Tires: P225/55R17 BSW AS Touring               · Full Carpet Floor Covering -inc: Carpet Front     Federal Emissions                                                                              $0
· 17" Wheel Covers                               And Rear Floor Mats                                 Manufacturer's Statement Of Origin                                                             $0
· Steel Spare Wheel                              · Carpet Floor Trim and Carpet Trunk Lid/Rear
· Compact Spare Tire Mounted Inside Under        Cargo Door Trim                                     Original Shipping Charge                                                                       $995
Cargo                                            · Cargo Space Lights
                                                 · FOB Controls -inc: Trunk/Hatch/Tailgate
                                                                                                     RETAIL PRICE (ORIGINALLY NEW)                                                                  $21,590.00
· Clearcoat Paint
· Body-Colored Front Bumper                      · Instrument Panel Bin, Driver / Passenger And
· Body-Colored Rear Bumper                       Rear Door Bins
· Black Side Windows Trim and Black Front        · Power 1st Row Windows w/Driver 1-Touch
Windshield Trim                                  Down
· Body-Colored Door Handles                      · Delayed Accessory Power                           Get more information on your smartphone:
· Black Power Side Mirrors                       · Power Door Locks w/Autolock Feature
· Fixed Rear Window w/Defroster                  · Outside Temp Gauge
· Light Tinted Glass                             · Analog Display
· Speed Sensitive Variable Intermittent Wipers   · Manual Anti-Whiplash w/Tilt Front Head
· Galvanized Steel/Aluminum Panels               Restraints and Fixed Rear Head Restraints
· Chrome Grille                                  · Sliding Front Center Armrest w/Storage and
· Trunk Rear Cargo Access                        Rear Center Armrest w/Pass-Thru
· Auto Off Aero-Composite Halogen                · 1 Seatback Storage Pocket
Headlamps w/Delay-Off                            · Perimeter Alarm
· Perimeter/Approach Lights                      · Sentry Key Engine Immobilizer
· LED Brakelights                                · 2 12V DC Power Outlets
· Laminated Glass                                · Air Filtration

ENTERTAINMENT                                    SAFETY

·   Radio: Uconnect 130 AM/FM/CD/MP3             · Electronic Stability Control
·   Radio w/Clock and Steering Wheel Controls    · ABS And Driveline Traction Control
·   4 Speakers                                   · Side Impact Beams
·   Graphic Equalizer                            · Dual Stage Driver And Passenger Seat-
·   Integrated Roof Antenna                      Mounted Side Airbags
                                                 · Low Tire Pressure Warning
INTERIOR                                         · Dual Stage Driver And Passenger Front Airbags
                                                 · Curtain 1st And 2nd Row Airbags
· Front Seats w/Premium Cloth Back Material      · Rear Child Safety Locks
and Manual Driver Lumbar                         · Outboard Front Lap And Shoulder Safety Belts -
· 6-Way Driver Seat -inc: Manual Recline,        inc: Rear Center 3 Point, Height Adjusters and
Height Adjustment, Fore/Aft Movement and         Pretensioners
Manual Lumbar Support
· 4-Way Passenger Seat -inc: Manual Recline
and Fore/Aft Movement
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer,


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                                     #:1999
Year: 2010                                                                         Engine: 4 Cylinder Engine
Make: Dodge                                                                        Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II
Model: Caliber 4dr HB Mainstreet                                                   Exterior: Deep Water Blue Pearl
VIN: 1B3CB3HA8AD546837                                                             Interior: Dark Slate Gray

                                            · Luxury front & rear floor mats                  CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Tilt steering column

· 2.0L DOHC dual VVT 16-valve I4
                                            · Tip start
                                            · 120-MPH speedometer                                23                                                                                         27
engine                                      · Tachometer
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Continuously variable transaxle II        · Outside temp display in odometer
· Front wheel drive                         · Pwr accessory delay
· 525 CCA maintenance-free battery          · Pwr windows w/driver 1-touch
· 120-amp alternator                        · Speed-sensitive pwr door locks                New
· Touring suspension                        · Keyless entry
· Pwr rack & pinion steering                · Speed control
                                                                                            MSRP                                                                                           $18,060.00
· Anti-lock front disc/rear drum brakes     · Sentry Key theft deterrent system
                                            · Air filtering                                 INSTALLED OPTIONS
EXTERIOR                                    · Rear seat heat ducts                          50 State Emissions                                                                             $0
                                            · Rear window defroster                         Continuously Variable Transaxle II                                                             $0
· 17" x 6.5" aluminum wheels                · Instrument panel cooler
· P215/60R17 all-season touring BSW         · Illuminated cupholders                        24 F Mainstreet Customer Preferred Order                                                       $0
tires                                       · Aux 12V pwr outlet                            Selection PKG
· Compact spare tire                        · Aux 115V pwr outlet                              2.0L I4 engine
· Rear spoiler                              · Removable/rechargeable interior lamp             continuously variable trans
· Bright grille                             · Sliding sunvisors w/mirrors                   Deep Water Blue Pearl                                                                          $245
· Body-color fascias                        · Auto-dimming rearview mirror                  Dark Slate Gray, Premium Cloth Front Bucket                                                    $0
· Halogen headlamps                         w/microphone                                    Seats
· Fog lamps                                 · Passenger assist handles
                                                                                            Original Shipping Charge                                                                       $750
· Pwr heated mirrors                        · Front dome lamp
· Solar control glass                       · Map/dome reading lamps                        RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,055.00
· Variable-intermittent windshield wipers   · Illuminated entry
· Rear window wiper/washer                  · Bright interior accents
· Liftgate door w/fixed glass               · Cluster bezel w/bright rings
· Body-color liftgate applique              · Satin silver I/P bezel
· Body-color door handles                   · Satin silver shift knob bezel                 Get more information on your smartphone:
                                            · Soft tonneau cover
ENTERTAINMENT                               · Cargo compartment carpeting
                                            · Fold-flat load floor storage
· Media center 130 -inc: AM/FM stereo,
CD/MP3 player                               SAFETY
· Audio input jack
· iPod control                              · Driver & front passenger multi-stage
· Sirius satellite radio w/1-year service   airbags -inc: front passenger occupant
(N/A in Hawaii or Puerto Rico Region)       sensor
· (4) speakers                              · Supplemental front & rear side-curtain
· Fixed mast antenna                        airbags
· Uconnect voice command w/Bluetooth        · Active head restraints
                                            · Tire pressure monitor warning lamp
INTERIOR                                    · Child protection rear door locks
                                            · Single low note horn
· Air conditioning w/Chill Zone storage
· Premium cloth front bucket seats
· Driver seat height adjuster
· Front passenger fold-flat seat
· Rear 60/40 split recline seat
· Rear fold-flat seat
· Sliding armrest
· Full-length floor console
· Floor carpeting




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                                     #:2000
Year: 2011                                                                         Engine: 4 Cylinder Engine
Make: Dodge                                                                        Transmission: Automatic (variable gear ratios)
Model: Caliber 4dr HB Mainstreet                                                   Exterior: Brilliant Black Crystal Pearl
VIN: 1B3CB3HA9BD154080                                                             Interior: Dark Slate Gray Interior

                                            · Tachometer                                      CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Outside temp display in odometer

· 2.0L DOHC dual VVT 16-valve I4
                                            · Pwr accessory delay
                                            · Pwr windows w/driver 1-touch                       23                                                                                          27
engine                                      · Speed control
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Sentry Key theft deterrent system
· 525 CCA maintenance-free battery          · Air conditioning w/Chill Zone storage
· 120-amp alternator                        · Air filtering
· Touring suspension                        · Rear seat heat ducts                          New
· Firm feel pwr rack & pinion steering      · Rear window defroster
· Anti-lock front disc/rear drum brakes     · Instrument panel cooler
                                                                                            MSRP                                                                                            $18,620.00
· Brake assist                              · Illuminated cupholders
                                            · Removable/rechargeable interior lamp          INSTALLED OPTIONS
EXTERIOR                                    · Sliding sunvisors w/mirrors                   50 State Emissions                                                                              $0
                                            · Auto-dimming rearview mirror                  24 F Mainstreet Customer Preferred Order                                                        $0
· 17" x 6.5" aluminum wheels                · Passenger assist handles
                                                                                            Selection PKG
· P215/60R17 all-season touring BSW         · Front dome lamp
tires                                       · Map/dome reading lamps                            2.0L I4 engine
                                                                                                continuously variable trans
· Compact spare tire                        · Illuminated entry
                                                                                            Brilliant Black Crystal Pearl                                                                   $0
· Rear spoiler                              · Bright interior accents
· Bright grille                             · Cluster bezel w/bright rings                  Dark Slate Gray Interior, Premium Cloth Front                                                   $0
· Body-color fascias                        · Satin silver instrument panel bezel           Bucket Seats
· Halogen headlamps                         · Satin silver prndl bezel                      6 Way PWR Driver Seat                                                                           $120
· Fog lamps                                 · Soft tonneau cover
                                                                                            Original Shipping Charge                                                                        $750
· Pwr heated mirrors                        · Cargo compartment carpeting
· Solar control glass                       · Fold-flat load floor storage                  RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,490.00
· Variable-intermittent windshield wipers
· Rear window wiper/washer                  SAFETY
· Liftgate door w/fixed glass
· Body-color liftgate applique              · Electronic stability control
· Body-color door handles                   · Driver & front passenger multi-stage          Get more information on your smartphone:
                                            airbags -inc: front passenger occupant
ENTERTAINMENT                               sensor
                                            · Supplemental front & rear side-curtain
· SIRIUS satellite radio w/1-year service   airbags
(N/A in Hawaii or Puerto Rico Region)       · Front height adjust shoulder belts
· (4) speakers                              · Front passenger seat belt alert
· Fixed mast antenna                        · Active head restraints
                                            · Child protection rear door locks
INTERIOR                                    · Single low note horn

· Front passenger fold-flat seat
· Sliding armrest
· Full-length floor console
· Floor carpeting
· Luxury front & rear floor mats
· Tilt steering column
· Tip start




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                                     #:2001
Year: 2012                                                        Engine: 4 Cylinder Engine
Make: Dodge                                                       Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick auto trans, tip start
Model: Caliber 4dr HB SXT                                         Exterior: Bright Silver Metallic
VIN: 1C3CDWDA5CD533504                                            Interior: Dark Slate/Medium Graystone Interior

                                             · Tip start                                       CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Tachometer

· 2.0L DOHC dual VVT 16-valve I4
                                             · Outside temp display in odometer
                                             · Pwr accessory delay                                23                                                                                         27
engine                                       · Pwr windows w/driver 1-touch
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Continuously variable transaxle II -inc:   · Speed-sensitive pwr door locks
Autostick auto trans, tip start              · Keyless entry
· Front wheel drive                          · Speed control
· 525 CCA maintenance-free battery           · Sentry Key theft deterrent system             New
· 120-amp alternator                         · Air conditioning w/Chill Zone storage
· Touring suspension                         · Air filtering
                                                                                             MSRP                                        $18,765.00
· Firm feel pwr rack & pinion steering       · Rear seat heat ducts
· Anti-lock 4-wheel disc brakes              · Rear window defroster                         INSTALLED OPTIONS
· Brake assist                               · Instrument panel cooler                       50 State Emissions                          $0
                                             · Illuminated cupholders                        24 F SXT Customer Preferred Order Selection $0
EXTERIOR                                     · Aux 12V pwr outlet
                                                                                             PKG
                                             · Aux 115V pwr outlet
· 17" x 6.5" aluminum wheels                 · Removable/rechargeable interior lamp             2.0L I4 engine
                                                                                                continuously variable trans
· P215/60R17 all-season touring BSW          · Sliding sunvisors w/mirrors
                                                                                             Bright Silver Metallic                                                                         $0
tires                                        · Auto-dimming rearview mirror
· Compact spare tire                         · Passenger assist handles                      Dark Slate/Medium Graystone Interior,                                                          $0
· Rear spoiler                               · Front dome lamp                               Premium Cloth Front Bucket Seats
· Bright grille                              · Map/dome reading lamps                        Original Shipping Charge                                                                       $750
· Body-color fascias                         · Illuminated entry
· Halogen headlamps                          · Bright interior accents                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,515.00
· Fog lamps                                  · Cluster bezel w/bright rings
· Pwr heated mirrors                         · Satin silver instrument panel bezel
· Solar control glass                        · Satin silver shift knob bezel
· Variable-intermittent windshield wipers    · Soft tonneau cover
· Rear window wiper/washer                   · Cargo compartment carpeting                   Get more information on your smartphone:
· Liftgate door w/fixed glass                · Fold-flat load floor storage
· Body-color liftgate applique
· Body-color door handles                    SAFETY

ENTERTAINMENT                                · Electronic stability control
                                             · Driver & front passenger multi-stage
· Media center 130 -inc: AM/FM stereo,       airbags -inc: front passenger occupant
CD/MP3 player                                sensor
· Audio input jack                           · Supplemental front & rear side-curtain
· SIRIUS satellite radio w/1-year service    airbags
(N/A in Hawaii or Puerto Rico Region)        · Front height adjust shoulder belts
· (4) speakers                               · Front passenger seat belt alert
· Fixed mast antenna                         · Active head restraints
                                             · Child protection rear door locks
INTERIOR                                     · Tire pressure monitor warning lamp
                                             · Single low note horn
· Premium cloth front bucket seats
· Driver seat height adjuster
· Front passenger fold-flat seat
· Rear 60/40 split recline seat
· Rear fold-flat seat
· Sliding armrest
· Full-length floor console
· Floor carpeting
· Luxury front & rear floor mats
· Tilt steering column




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                                     #:2002
Year: 2010                                                                              Engine: V6 Cylinder Engine
Make: Dodge                                                                             Transmission: Automatic 4-spd
Model: Nitro 4WD 4dr Heat                                                               Exterior: Inferno Red Crystal Pearl
VIN: 1D4PU4GK9AW165533                                                                  Interior: Dark Slate Gray

                                            · Sirius satellite radio -inc: 1yr Sirius               CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  satellite radio service

· 3.7L gas V6 engine                        INTERIOR                                                  15                                                                                          21
· Auxiliary transmission oil cooler
                                                                                                         Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part time 4-wheel drive                   · Stain repel seat fabric
· 600-amp maintenance free battery          · Front passenger forward fold flat seat
· 140-amp alternator                        · Rear 60/40 split folding reclining seat
· 3.73 axle ratio                           · Luxury front/rear floor mats                      New
· Dana 30/186mm front axle                  · Center floor console
· 8.25" rear axle ring gear                 · Tilt steering column
                                                                                                MSRP                                                                                             $23,340.00
· Compact spare tire w/tire carrier winch   · Pwr windows w/driver one-touch
· Pwr rack & pinion steering                · Power accessory delay                             INSTALLED OPTIONS
                                            · Sentry Key theft deterrent system                 50 State Emissions                                                                               $0
EXTERIOR                                    · Air conditioning                                  3.7 L Gas V6 Engine                                                                              $0
                                            · Rear window defroster
· Deep tint sunscreen glass (all windows    · Cabin air filtering                               4 Speed Automatic VLP Transmission                                                               $0
rearward of B-pillar)                       · 12V auxiliary pwr outlet                          24 C Heat Customer Preferred Order Selection                                                     $0
· Light-tinted solar control glass (all     · Map/dome reading lamps                            PKG
windows forward of B-Pillar)                · Illuminated entry                                      3.7L V6 engine
· Body color front/rear fascias             · Rear dome lamp                                         4-speed auto trans
· Body color bodyside moldings              · Reversible/waterproof cargo storage               Inferno Red Crystal Pearl                                                                        $295
· Body color fender flares                                                                      Dark Slate Gray, Cloth Bucket Seats                                                              $0
· Body color w/chrome accent grille         SAFETY
· Roof rack side rails                                                                          20" X 7.5" Aluminum Chrome Clad Wheels                                                           $0
· Fog lamps                                 · Electronic roll mitigation                             performance suspension
· Headlamp off time delay                   · 4-wheel anti-lock pwr disc brakes                 P245/50 R20 All Season Performance VSB                                                           $0
· Fold-away heated pwr mirrors              · Brake assist                                      Tires
· Black license plate brow                  · Supplemental side curtain front/rear air          Original Shipping Charge                                                                         $750
· Variable intermittent windshield wipers   bags
· Rear window wiper/washer                  · LATCH-ready child seat anchor system              RETAIL PRICE (ORIGINALLY NEW)                                                                    $24,385.00
                                            · Tire pressure monitoring warning lamp
ENTERTAINMENT                               · Dual note horn
                                            · Active head restraints
· Media center 130 AM/FM/CD/MP3
stereo                                                                                          Get more information on your smartphone:
· (6) speakers
· Auxiliary audio input




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                                     #:2003
Year: 2011                                                                          Engine: V6 Cylinder Engine
Make: Dodge                                                                         Transmission: Automatic 5-spd
Model: Nitro 4WD 4dr Heat                                                           Colors: Redline 2 Coat Pearl / Dark Slate Gray Interior
VIN: 1D4PU4GX9BW563998                                                              Mileage: 78,295                                                                                   Stock #: BH25275

                                            · Luxury front/rear floor mats                      CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Center floor console

· Auxiliary transmission oil cooler
                                            · Tilt steering column
                                            · Instrument cluster w/tachometer                      16                                                                                         21
· Part time 4-wheel drive                   · Pwr windows w/driver one-touch
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 600-amp maintenance free battery          · Power accessory delay
· Performance tuned suspension              · Sentry Key theft deterrent system
· 140-amp alternator                        · Air conditioning                              INSTALLED OPTIONS
· 3.73 axle ratio                           · Rear window defroster
                                                                                            50 State Emissions                                                                               $0
· Dana 30/186mm front axle                  · Cabin air filtering
· 8.25" rear axle ring gear                 · 12V auxiliary pwr outlet                      4.0 L Sohc V6 Engine                                                                             $0
· Compact spare tire w/tire carrier winch   · Map/dome reading lamps                        5 Speed Automatic Transmission                                                                   $0
· Pwr rack & pinion steering                · Illuminated entry                             28 D Heat Customer Preferred Order Selection                                                     $1,800
                                            · Rear dome lamp
                                                                                            PKG
EXTERIOR                                    · Reversible/waterproof cargo storage
                                                                                                 4.0L V6 engine
                                                                                                 5-speed auto trans
· Deep tint sunscreen glass (all windows    SAFETY                                               (8) amplified speakers
rearward of B-pillar)                                                                            subwoofer
· Body color front/rear fascias             · Electronic roll mitigation                         security alarm
                                                                                                 speed control
· Body color bodyside moldings              · 4-wheel anti-lock pwr disc brakes                  UConnect hands-free communication w/voice
· Body color fender flares                  · Brake assist                                       command
                                                                                                 auto dimming rear view mirror w/microphone
· Body color w/chrome accent grille         · Supplemental side curtain front/rear air
· Roof rack side rails                      bags
                                                                                            Redline 2 Coat Pearl                                                                             $245
· Fog lamps                                 · Enhanced accident response system             20" X 7.5" Aluminum Wheels                                                                       $495
· Headlamp off time delay                   · LATCH-ready child seat anchor system          PWR Sunroof                                                                                      $895
· Fold-away heated pwr mirrors              · Rear door child protection locks                   overhead console
· Black license plate brow                  · Tire pressure monitoring warning lamp         Original Shipping Charge                                                                         $750
· Variable intermittent windshield wipers   · Dual note horn
· Rear window wiper/washer                  · Active head restraints

ENTERTAINMENT

· (6) speakers

INTERIOR

· Front passenger forward fold flat seat
· Rear 60/40 split folding reclining seat




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                                     #:2004
Year: 2009                                                                           Engine: 8 Cylinder Engine
Make: Dodge                                                                          Transmission: 5-SPEED AUTOMATIC TRANSMISSION
Model: Ram 1500 4WD Quad Cab 140.5" SLT                                              Exterior: Mineral Gray Metallic
VIN: 1D3HV18PX9S804438                                                               Interior: Dark slate gray

                                            · Cargo lamp                                       CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Body-color/chrome door handles

· 4.7L V8 engine (REQ: NAS 50-State
                                            · Front license plate bracket
                                            · Removable tailgate w/caliper latches                13                                                                                         18
Emissions)                                  · Locking tailgate
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Next generation engine controller
· HD transmission oil cooler                ENTERTAINMENT
· Auxiliary transmission oil cooler
· Electronic shift-on-the-fly part-time     · (6) speakers                                   New
transfer case                               · Fixed long mast antenna
· Multi-link coil rear suspension
                                                                                             MSRP                                                                                           $32,945.00
· Corporate 9.25 rear axle                  INTERIOR
· Four wheel drive                                                                           INSTALLED OPTIONS
· HD engine cooling                         · Cruise control                                 50 State Emissions                                                                             $0
· 625-amp maintenance-free battery          · Carpeted floor covering                        Flex Fuel System                                                                               $0
· 160-amp alternator                        · Front/rear floor mats
· Tip start electronic starting feature     · Floor tunnel insulation                        24 G SLT Customer Preferred Order Selection                                                    $0
· 7 pin wiring harness                      · Tilt steering column                           PKG
· Trailer tow w/4-pin connector wiring      · Temp & compass gauge                              4.7L V8 engine
· 6700# GVWR                                · Trip computer                                     5-speed auto trans
· HD front shock absorbers                  · Vehicle information center                     3.55 Axle Ratio                                                                                $0
· HD rear shock absorbers                   · Pwr accessory delay                            Mineral Gray Metallic                                                                          $0
· Front stabilizer bar                      · Sentry Key theft deterrent system              Dark Slate Gray, Cloth 40/20/40 Bench Seat                                                     $0
· Rear stabilizer bar                       · Air conditioning
· Pwr rack & pinion steering                · Color-keyed instrument panel bezel             Under Rail Box Bed Liner                                                                       $245
· Anti-lock 4-wheel disc brakes             · Premium vinyl door trim w/map pocket           Original Shipping Charge                                                                       $900
                                            · Day/night rearview mirror
                                                                                             RETAIL PRICE (ORIGINALLY NEW)                                                                  $34,090.00
EXTERIOR                                    · Overhead console w/reading lamps
                                            · Dual assist handles
· (4) full-size doors                       · Dome lamp
· 17" steel spare wheel                     · Column-mounted shifter
· Full-size spare tire                      · Chrome accent shift knob                       Get more information on your smartphone:
· Tire carrier winch                        · Rear under seat storage compartment
· Bright front bumper                       · Dual note horn
· Bright rear bumper
· Body-color upper front fascia             SAFETY
· Front wheel air deflectors
· Rear wheel air deflectors                 · Brake assist
· Bright grille                             · Electronic stability program
· Automatic headlamps                       · Driver/front passenger multistage airbags
· Halogen headlamps                         · Front seat side-impact airbags
· Black folding pwr heated outside          · Front/rear side curtain airbags
mirrors                                     · Front-passenger occupant-classification
· Deep tinted windows                       system
· Variable intermittent windshield wipers   · Front seat belt height adjusters
                                            · Child safety door locks
                                            · Tire pressure monitor




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                                     #:2005
Year: 2010                                                                       Engine: 8 Cylinder Engine
Make: Dodge                                                                      Transmission: 5-SPEED AUTOMATIC TRANSMISSION
Model: Ram 1500 4WD Crew Cab 140.5" Sport                                        Exterior: Brilliant Black Pearl
VIN: 1D7RV1CTXAS218561                                                           Interior: Dark slate gray

                                          · Variable intermittent windshield wipers          CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                · Cargo lamp

· 5.7L V8 Hemi multi-displacement VVT
                                          · Body-color door handles
                                          · Front license plate bracket                         13                                                                                         18
engine -inc: electronically controlled    · Locking tailgate
                                                                                                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
throttle , heavy duty engine cooling      · Body color fuel filler door
· Next generation engine controller
· Electronically controlled throttle      ENTERTAINMENT
· HD transmission oil cooler                                                               New
· Electronic shift-on-the-fly part-time   · (6) speakers
transfer case                             · Fixed long mast antenna
                                                                                           MSRP                                                                                           $34,240.00
· Multi-link coil rear suspension
· Corporate 9.25 rear axle                INTERIOR                                         INSTALLED OPTIONS
· Four wheel drive                                                                         Federal Emissions                                                                              $0
· HD engine cooling                       · Carpeted floor covering                        5.7 L V8 Hemi Multi Displacement VVT Engine                                                    $1,310
· 700-amp maintenance-free battery        · Front/rear floor mats
                                                                                           26 L Sport Customer Preferred Order Selection                                                  $2,925
· 160-amp alternator                      · Floor tunnel insulation
· Tip start electronic starting feature   · Tilt steering column
                                                                                           PKG
· 7 pin wiring harness                    · Instrument cluster w/display screen -inc:      3.55 Axle Ratio                                                                                included
· Trailer tow w/4-pin connector wiring    temp & compass gauge, trip computer,             Brilliant Black Pearl                                                                          $0
· 6800# GVWR                              vehicle info center                              Dark Slate Gray, Cloth Low Back Bucket Seats                                                   $0
· HD front shock absorbers                · Cruise control
· HD rear shock absorbers                 · Pwr accessory delay
                                                                                           Remote Start & Security Group                                                                  $335
· Front stabilizer bar                    · Sentry Key theft deterrent system              Class Iv Receiver Hitch                                                                        $335
· Rear stabilizer bar                     · Color-keyed instrument panel bezel             Trailer Brake Control                                                                          $230
· Pwr rack & pinion steering              · Highline door trim panels                      PWR Heated Black Trailer Tow Mirrors                                                           $100
· Anti-lock 4-wheel disc brakes           · Overhead console w/reading lamps
· Dual rear exhaust                       · Dual assist handles
                                                                                           Uconnect Phone W/Voice Command                                                                 $310
                                          · Dome lamp w/switch                             Original Shipping Charge                                                                       $900
EXTERIOR                                  · Glove box lamp                                 RETAIL PRICE (ORIGINALLY NEW)                                                                  $40,685.00
                                          · Ash tray lamp
· (4) full-size conventional doors        · Floor-mounted shifter
· 17" steel spare wheel                   · Urethane shift knob
· Tire carrier winch                      · Rear under seat storage compartment
· Bright front bumper                     · Dual note horn                                 Get more information on your smartphone:
· Body-color rear bumper w/step pad
· Body-color front fascia                 SAFETY
· Front wheel air deflectors
· Rear wheel air deflectors               · Brake assist
· Bright grille                           · Electronic stability program
· Automatic headlamps                     · Driver/front passenger multistage airbags
· Quad halogen headlamps                  · Front seat side-impact airbags
· Underhood lamp                          · Front/rear side curtain airbags
· Deep tinted windows                     · Front-passenger occupant-classification
                                          system
                                          · Front seat belt height adjusters
                                          · Child safety door locks
                                          · Tire pressure monitor w/display




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                                     #:2006
Year: 2012                                                                           Engine: 8 Cylinder Engine
Make: Ram                                                                            Transmission: 6-SPEED AUTOMATIC TRANSMISSION
Model: 1500 4WD Quad Cab 140.5"                                                      Exterior: Deep Cherry Red Crystal Pearl
VIN: 1C6RD7FT4CS346364                                                               Interior: Dark Slate/Medium Graystone

                                            · Black door handles                                CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Front license plate bracket

· 3.55 axle ratio
                                            · Locking tailgate
                                            · Body color fuel filler door                          17                                                                                          25
· Next generation engine controller
                                            ENTERTAINMENT
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· HD transmission oil cooler
· Electronic shift-on-the-fly part-time
transfer case                               · Uconnect 130 -inc: AM/FM stereo,
· Four wheel drive                          CD/MP3 player                                    New
· HD engine cooling                         · Audio jack input for mobile devices
· 730-amp maintenance-free battery          · (6) speakers
                                                                                              MSRP                                                                                            $31,105.00
· 160-amp alternator                        · Fixed long mast antenna
· Tip start electronic starting feature                                                       INSTALLED OPTIONS
· 7-pin wiring harness                      INTERIOR                                          Federal Emissions                                                                               $0
· Trailer tow w/4-pin connector wiring                                                        5.7 L V8 Hemi Multi Displacement VVT Engine                                                     $1,310
· 6'4" pickup box                           · Folding rear bench seat
· HD front shock absorbers                  · Floor tunnel insulation                         3.55 Axle Ratio                                                                                 $0
· HD rear shock absorbers                   · Tilt steering column                            17" X 8" Steel Chrome Clad Wheels                                                               included
· Front stabilizer bar                      · Instrument cluster w/tachometer                 Deep Cherry Red Crystal Pearl                                                                   $0
· Rear stabilizer bar                       · Pwr front windows w/1-touch up/down
                                                                                              Dark Slate/Medium Graystone, Cloth 40/20/40                                                     $0
· Pwr rack & pinion steering                · Pwr accessory delay
· Anti-lock 4-wheel disc brakes             · Sentry Key theft deterrent system               Bench Seat
                                            · Air conditioning                                ST Popular Equipment Group                                                                      $895
EXTERIOR                                    · Black instrument panel bezel                    Chrome Appearance Group                                                                         $530
                                            · 12V aux pwr outlet
                                                                                                  17" x 8" steel chrome clad wheels
· (4) conventional doors                    · Base door trim                                      bright front bumper
· 17" steel spare wheel                     · Day/night rearview mirror                           bright rear bumper
· Tire carrier winch                        · Assist handles                                      bright grille
· Black front bumper                        · Rear dome lamp                                  Class Iv Receiver Hitch                                                                         $335
· Front bumper sight shields                · Column-mounted shifter                          Spray In Bedliner                                                                               $475
· Front wheel spats                         · Rear under seat storage compartment             Sirius Satellite Radio                                                                          $195
· Rear wheel spats
                                                                                                  1-year radio service
· Auto headlamps                            SAFETY
                                                                                              Carpeted Floor Covering                                                                         $110
· Halogen headlamps
· Tinted windows                            · Electronic stability control                    Speed Control                                                                                   $250
· Variable intermittent windshield wipers   · Driver/front passenger multistage airbags       Remote Keyless Entry                                                                            $190
· Cargo lamp                                · Front seat side-impact airbags                  Original Shipping Charge                                                                        $995
                                            · Front/rear side curtain airbags
                                            · Front seat belt height adjusters                RETAIL PRICE (ORIGINALLY NEW)                                                                   $36,390.00
                                            · Child safety door locks
                                            · Dual note horn




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                                     #:2007
Year: 2010                                                                            Engine: 5.7L SMPI V8 HEMI ENGINE W/VARIABLE VALVE TIMING
Make: Dodge                                                                           Transmission: Automatic 5-spd
Model: Ram 2500 4WD Crew Cab 149" SLT                                                 Exterior: Bright White
VIN: 3D7TT2CT3AG134543                                                                Interior: Dark Slate/Medium Graystone

                                              · Tinted glass                                     CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Body color fuel filler door

· 5.7L SMPI V8 Hemi engine w/variable
                                              · Body color/chrome door handles
                                              · Variable speed intermittent windshield              13                                                                                         18
valve timing                                  wipers
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 3.73 axle ratio                             · Front license plate bracket
· Electronically controlled throttle          · Locking tailgate
· HD engine cooling
· Tip start                                   ENTERTAINMENT                                    New
· Aux transmission oil cooler
· Electronic shift-on-the-fly transfer case   · (6) speakers
                                                                                               MSRP                                                                                           $38,480.00
· 10.5" rear axle ring gear diameter          · Fixed long mast antenna
· 5500# front axle                                                                             INSTALLED OPTIONS
· Four wheel drive                            INTERIOR                                         26 G SLT Customer Preferred Order Selection                                                    $0
· 730-amp maintenance-free battery                                                             PKG
· 160-amp alternator                          · Carpeted floor covering                        Anti Spin Rear Axle                                                                            included
· 6'4" pickup box                             · Front/rear floor mats
· Trailer tow wiring-inc: 4-pin connector     · Tilt steering column
                                                                                               3.73 Axle Ratio                                                                                $0
· 7-pin wiring harness                        · Sentry Key theft deterrent system              17" X 8.0" Polished Forged Aluminum Wheels                                                     $300
· Class IV receiver hitch                     · Instrument cluster w/display screen            W/Center Hubs
· 8800# GVWR                                  · Vehicle info center                            LT265/70 R17 E On/Off Road Owl Tires                                                           $200
· HD front shock absorbers                    · Temp & compass gauge
                                                                                               Bright White                                                                                   $0
· HD rear shock absorbers                     · Traveler/mini trip computer
· Front stabilizer bar                        · 120-MPH primary speedometer                    Dark Slate/Medium Graystone, Cloth 40/20/40                                                    $900
· Pwr steering                                · Pwr accessory delay                            Premium Bench Seat
· Pwr 4-wheel anti-lock disc brakes           · Speed control                                  Big Horn Regional PKG                                                                          $1,795
                                              · Air conditioning                               Protection Group                                                                               $100
EXTERIOR                                      · Premium vinyl door trim w/map pocket
                                                                                               Luxury Group                                                                                   $680
                                              · Color-keyed instrument panel bezel
· Monotone paint                              · Overhead console                               Trailer Brake Control                                                                          included
· 17" steel spare wheel                       · Storage tray                                   Transfer Case Skid Plate Shield                                                                included
· Front wheel spats                           · Driver/passenger assist handles                Mopar Chrome Tubular Side Steps                                                                $655
· Rear wheel spats                            · Overhead ambient surround lighting
                                                                                               Clearance Lamps                                                                                $80
· Full size spare tire                        · Chrome accent shift knob
· Winch-type tire carrier                     · 2nd row in-floor storage bins                  Black Heated PWR Trailer Tow Mirrors                                                           $180
· Bright front bumper                         · Rear underseat compartment storage             Rear Window Defroster                                                                          -$85
· Bright rear bumper                                                                           Original Shipping Charge                                                                       $950
· Front bumper sight shields                  SAFETY
· Front air dam                                                                                RETAIL PRICE (ORIGINALLY NEW)                                                                  $44,235.00
· Bright grille                               · Advanced multistage front air bags
· Automatic headlamps                         · Supplemental side air bags
· Body color headlamp filler panel            · Supplemental side curtain front & rear air
· Cargo lamp                                  bags
                                              · Front height adjustable shoulder belts
                                              · Tire pressure monitoring display
                                              · Child safety rear door locks
                                              · Dual note horn




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                                     #:2008
Year: 2011                                               Engine: 6.7L I6 CUMMINS TURBO DIESEL ENGINE -inc: 11.50 rear axle, Cummins turbo diesel badg…
Make: Ram                                                Transmission: 6-SPEED AUTOMATIC TRANSMISSION W/OD -inc: tip start
Model: 2500 4WD Crew Cab 149" Laramie                    Exterior: Bright White
VIN: 3D7UT2CLXBG527784                                   Interior: Light Pebble Beige/Dark Brown Interior

                                              · Variable speed intermittent windshield
MECHANICAL                                    wipers
                                              · Laramie badge                                  New
· 3.73 axle ratio                             · Front license plate bracket
· Electronically controlled throttle          · Locking tailgate                               MSRP                                              $43,695.00
· HD engine cooling                           · Vendor painted cargo box tracking
                                                                                               INSTALLED OPTIONS
· Tip start
· Next generation engine controller           ENTERTAINMENT                                    50 State Emissions                                $0
· Aux transmission oil cooler                                                                  6.7 L I6 Cummins Turbo Diesel Engine              $7,615
· Electronic shift-on-the-fly transfer case   · 6.5" touch screen display                      6 Speed Automatic Transmission W/Od               $405
· Conventional front axle                     · (9) amplified speakers w/subwoofer
                                                                                               2 FH Laramie Customer Preferred Order             $0
· Conventional rear axle                      · Bluetooth streaming audio
· 10.5" rear axle ring gear diameter          · Fixed long mast antenna                        Selection PKG
· 5500# front axle                                                                             3.73 Axle Ratio                                   $0
· Four-wheel drive                            INTERIOR                                         LT265/70 R17 E On/Off Road Owl Tires              $200
· 700-amp maintenance-free battery                                                             Lower Two Tone Paint                              $0
· 160-amp alternator                          · Front center seat cushion storage
· 6'4" pickup box                             · Carpeted floor covering                        Bright White                                      $0
· Trailer tow wiring w/4-pin connector        · Front/rear floor mats                          White Gold                                        $0
· 7-pin wiring harness                        · Leather-wrapped steering wheel                 Light Pebble Beige/Dark Brown Interior, Leather   $500
· Trailer brake control                       · Heated steering wheel                          Trimmed Bucket Seats
· Class IV receiver hitch                     · Steering wheel mounted audio controls
                                                                                               Cold Weather Group                                $90
· 8800# GVWR                                  · Tilt steering column
· HD front shock absorbers                    · Sentry Key theft deterrent system              Mopar Chrome Side Step & Bed Rail                 $1,015
· HD rear shock absorbers                     · Instrument cluster w/display screen            Engine Block Heater                               included
· Front stabilizer bar                        · Vehicle info center                            Anti Spin Rear Axle                               $325
· Pwr steering                                · Temp & compass gauge
                                                                                               Mopar Chrome Tubular Side Steps                   included
· Pwr 4-wheel anti-lock disc brakes           · Traveler/mini trip computer
                                              · 120-MPH primary speedometer                    Clearance Lamps                                   $80
EXTERIOR                                      · Pwr accessory delay                            PWR Trailer Tow Mirrors                           $0
                                              · Speed control                                  Media Center 730 N                                $800
· 17" x 8.0" aluminum wheels                  · Security alarm
                                                                                               Rear Seat Video System                            $1,695
· Center hub                                  · Air conditioning w/dual zone temp control
· 17" steel spare wheel                       · Deluxe door trim panel                         PWR Adjustable Pedals W/Memory                    $150
· Full size spare tire                        · Woodgrain instrument panel bezel               Remote Start System                               $185
· Winch-type tire carrier                     · Overhead console w/universal garage            Parkview Rear Back Up Camera                      $200
· Bright front bumper                         door opener
                                                                                               Original Shipping Charge                          $975
· Bright rear bumper                          · Storage tray
· Front bumper sight shields                  · Driver/passenger assist handles                RETAIL PRICE (ORIGINALLY NEW)                     $57,930.00
· Accent fender flares                        · Dual illuminated visor vanity mirrors
· Black-out tape                              · LED interior lighting
· Front air dam                               · Glove box lamp
· Bright/bright grille                        · Rear dome lamp w/on/off switch
· Quad halogen headlamps                      · Chrome accent shift knob
· Automatic headlamps                         · 2nd row in-floor storage bins
· Body color headlamp filler panel            · Rear underseat compartment storage
· Cargo lamp
· Fog lamps                                   SAFETY
· Underhood lamp
· Tinted glass                                · Advanced multistage front air bags
· Body color fuel filler door                 · Supplemental side air bags
· Body color/chrome door handles              · Supplemental side curtain front & rear air
                                              bags
                                              · Child safety door locks
                                              · ParkSense rear park assist system
                                              · Front height-adjustable shoulder belts
                                              · Tire pressure monitoring display
                                              · Dual-note horn




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                                     #:2009
Year: 2012                                               Engine: 6.7L I6 CUMMINS TURBO DIESEL ENGINE -inc: 11.50 rear axle, Cummins turbo diesel badg…
Make: Ram                                                Transmission: Automatic 6-spd
Model: 2500 4WD Mega Cab 160.5" Laramie                  Exterior: Deep Cherry Red Crystal Pearl
VIN: 3C6UD5NL5CG294069                                   Interior: Light Pebble Beige/Bark Brown Interior

                                              · Variable speed intermittent windshield           CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    wipers

· 3.73 axle ratio
                                              · Laramie badge
                                              · Front license plate bracket                         17                                                                                         25
· Electronically controlled throttle          · Locking tailgate
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· HD engine cooling                           · Vendor painted cargo box tracking
· Tip start
· Next generation engine controller           ENTERTAINMENT
· Electronic shift-on-the-fly transfer case                                                    New
· Conventional front axle                     · 6.5" touch screen display
· Conventional rear axle                      · (9) amplified speakers w/subwoofer
                                                                                               MSRP                                                                                           $46,540.00
· 10.5" rear axle ring gear diameter          · Bluetooth streaming audio
· 5500# front axle                            · Fixed long mast antenna                        INSTALLED OPTIONS
· Four-wheel drive                                                                             50 State Emissions                                                                             $0
· 730-amp maintenance-free battery            INTERIOR                                         6.7 L I6 Cummins Turbo Diesel Engine                                                           $7,795
· 160-amp alternator
                                                                                               6 Speed Automatic Transmission W/Od                                                            $500
· 6'4" pickup box                             · Front center seat cushion storage
· Trailer tow wiring w/4-pin connector        · Carpeted floor covering                        2 FH Laramie Customer Preferred Order                                                          $0
· 7-pin wiring harness                        · Front & rear floor mats                        Selection PKG
· Trailer brake control                       · Leather wrapped steering wheel                 3.73 Axle Ratio                                                                                $0
· Class IV receiver hitch                     · Heated steering wheel                          Monotone Paint                                                                                 $0
· 8800# GVWR                                  · Steering wheel mounted audio controls
· HD front shock absorbers                    · Tilt steering column
                                                                                               Deep Cherry Red Crystal Pearl                                                                  $0
· HD rear shock absorbers                     · Sentry Key theft deterrent system              Light Pebble Beige/Bark Brown Interior, Leather                                                $500
· Front stabilizer bar                        · Instrument cluster w/display screen            Trimmed Bucket Seats
· Pwr steering                                · Vehicle info center                            Uconnect 730 N                                                                                 $800
· Pwr 4-wheel anti-lock disc brakes           · Temp & compass gauge
                                                                                               Cold Weather Group                                                                             $90
                                              · Traveler/mini trip computer
EXTERIOR                                      · 120-MPH primary speedometer                    Engine Block Heater                                                                            included
                                              · Pwr accessory delay                            Anti Spin Rear Axle                                                                            $325
· 17" x 8.0" aluminum wheels                  · Speed control                                  Protection Group                                                                               $100
· Center hub                                  · Security alarm
                                                                                               Transfer Case Skid Plate Shield                                                                included
· 17" steel spare wheel                       · Air conditioning w/dual zone temp control
· Full size spare tire                        · Deluxe door trim panel                         PWR Sunroof                                                                                    $995
· Winch-type tire carrier                     · Woodgrain instrument panel bezel               Mopar Chrome Tubular Side Steps                                                                $655
· Bright front bumper                         · Overhead console w/universal garage            PWR Trailer Tow Mirrors                                                                        $0
· Bright rear bumper                          door opener
                                                                                               Rear Seat Video System                                                                         $1,695
· Front bumper sight shields                  · Storage tray
· Accent fender flares                        · Driver/passenger assist handles                PWR Adjustable Pedals W/Memory                                                                 $150
· Black-out tape                              · Sun visors w/illuminated vanity mirrors        Remote Start System                                                                            $185
· Front air dam                               · LED interior lighting                          Smokers Group                                                                                  $60
· Bright/bright grille                        · Glove box lamp
                                                                                               Original Shipping Charge                                                                       $995
· Quad halogen headlamps                      · Rear dome lamp w/on/off switch
· Automatic headlamps                         · Chrome accent shift knob                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $61,385.00
· Body color headlamp filler panel            · Behind seat storage bin
· Cargo lamp
· Fog lamps                                   SAFETY
· Underhood lamp
· Tinted glass                                · Electronic stability control
· Body color fuel filler door                 · Advanced multistage front air bags
· Body color/chrome door handles              · Supplemental side curtain front & rear air
                                              bags
                                              · Child safety door locks
                                              · ParkView rear back-up camera
                                              · Front height-adjustable shoulder belts
                                              · Tire pressure monitoring display
                                              · Dual-note horn




                                                                                                     Modern Motorcars
                                                                                                      www.modernmotorcars.com
                                                                                                           417-881-3080
                                                                          MonroneyLabels.com
                                                                           Ex. 1 - Page 23
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                                     #:2010
Year: 2010                                               Engine: Straight 6 Cylinder Engine
Make: Dodge                                              Transmission: 6-SPEED AUTOMATIC TRANSMISSION W/OD -inc: 3.73 axle ratio, aux trans oil coole…
Model: Ram 3500 4WD Crew Cab 169" Laramie                Exterior: Inferno Red Crystal Pearl
VIN: 3D73Y3CL8AG143648                                   Interior: Dark Slate

                                              · Media Center 430 -inc: AM/FM stereo              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    w/CD/DVD/MP3 player, 30GB hard disk

· 6.7L I6 Cummins turbo-diesel engine
                                              drive, 6.5" touch screen display, UConnect
                                              phone w/voice command                                 17                                                                                         25
· 6-speed manual transmission w/OD            · Audio input jack
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Electronically-controlled throttle          · SIRIUS satellite radio -inc: 1-year service
· HD engine cooling                           *N/A in AK or HI*
· Electronic shift-on-the-fly transfer case   · (9) amplified speakers w/subwoofer
· Anti-spin rear axle differential            · UConnect hands-free communication -            New
· 11.5" dual rear wheel axle ring gear        inc: auto-dimming rearview mirror, iPod
diameter                                      control
                                                                                               MSRP                                                                                           $50,145.00
· Four wheel drive                            · Fixed long mast antenna
· 730-amp maintenance-free battery                                                             INSTALLED OPTIONS
· 160-amp alternator                          INTERIOR                                         50 State Emissions                                                                             $0
· 8' pickup box                                                                                Single Rear Wheels                                                                             $0
· Trailer tow wiring -inc: 4-pin connector    · Leather-trimmed 40/20/40 split-bench
                                                                                               6 Speed Automatic Transmission W/Od                                                            $1,575
· 7-pin trailer wiring harness                seat
· Class IV trailer hitch receiver             · 10-way pwr driver/6-way pwr front              2 FH Laramie Customer Preferred Order                                                          $0
· Tow hooks                                   passenger seats -inc: driver seat memory         Selection PKG
· 12200# GVWR                                 · Dual pwr lumbar adjusters                      3.73 Rear Axle Ratio                                                                           $0
· HD front shock absorbers                    · Heated front seats                             17" X 8.0" Aluminum Wheels                                                                     $0
· HD rear shock absorbers                     · Rear 60/40 split-folding bench seat
· Front stabilizer bar                        · Carpeted floor covering
                                                                                               LT265/70 R17 E All Season BSW Tires                                                            included
· Pwr steering                                · Front/rear floor mats                          Monotone Paint                                                                                 $0
· Pwr 4-wheel anti-lock disc brakes           · Front center seat cushion storage              Inferno Red Crystal Pearl                                                                      $225
· Diesel exhaust brake                        · Mini floor console                             Dark Slate, Leather Trimmed Low Back Bucket                                                    $500
                                              · Leather-wrapped heated steering wheel
                                                                                               Seats
EXTERIOR                                      · Steering wheel audio controls
                                              · Tilt steering column                           Single Rear Wheel Group                                                                        -$995
· 17" x 6.0" steel wheels -inc: bright        · Sentry Key theft-deterrent system              Engine Block Heater                                                                            $0
wheel skins (N/A w/AR9 Single Rear            · Instrument cluster w/display screen            Trailer Brake Controller                                                                       $230
Wheel Group)                                  · Vehicle info center
                                                                                               PWR Sunroof                                                                                    $850
· LT235/80R17E all-season BSW tires           · 120-MPH primary speedometer
(N/A w/AR9 Single Rear Wheel Group)           · Traveler/mini trip computer                    Media Center 730 N                                                                             $800
· Dual rear wheels                            · Outside temp gauge & compass                   PWR Adjustable Pedals W/Memory                                                                 $150
· Center wheel hubs                           · Pwr windows w/front one-touch up/down          Remote Start System                                                                            $185
· 17" steel spare wheel                       · Pwr accessory delay
                                                                                               Smokers Group                                                                                  $30
· Full-size spare tire                        · Pwr locks
· Winch-type spare tire carrier               · Remote keyless entry                           Parkview Rear Back Up Camera                                                                   $200
· Bright front bumper                         · Speed control                                  Original Shipping Charge                                                                       $950
· Bright rear bumper                          · Security alarm                                 RETAIL PRICE (ORIGINALLY NEW)                                                                  $54,845.00
· Front air dam                               · Auto air conditioning w/dual-zone temp
· Accent color fender flares                  control
· Bright/bright grille                        · 12V auxiliary pwr outlet
· Body-color headlamp filler panel            · 115V auxiliary pwr outlet
· Auto headlamps                              · Deluxe door trim panel
· Quad headlamps                              · Auto-dimming rearview mirror
· Fog lamps                                   · Overhead console w/universal garage
· Underhood lamp                              door opener
· Cab clearance lamps                         · Driver/passenger assist handles
· Box & rear fender lamps                     · Dual illuminated visor vanity mirrors
· Cargo lamp                                  · Rear dome lamp w/on/off switch
· Chrome pwr trailer tow mirrors              · Overhead ambient surround lighting
w/memory -inc: supplemental signals,          · Glove box lamp
courtesy lamps, heated glass                  · Woodgrain instrument panel bezel
· Tinted glass windows                        · Rear underseat compartment storage
· Pwr sliding rear window                     · 2nd row in-floor storage bins
· Variable-speed intermittent windshield
wipers                                        SAFETY
· Front license plate bracket
· Locking tailgate                            · Advanced multistage front airbags
· Body-colour/chrome door handles             · Supplemental front side airbags
                                              · Front/rear side curtain airbags
ENTERTAINMENT                                 · Parksense rear park assist system
                                              · Front height-adjustable shoulder belts
                                              · Dual-note horn
                                                                                                           Davesmith.com
                                                                          MonroneyLabels.com
                                                                           Ex. 1 - Page 24
  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 26 of 155 Page ID
                                     #:2011
Year: 2011                                               Engine: Straight 6 Cylinder Engine
Make: Ram                                                Transmission: 6-SPEED AUTOMATIC TRANSMISSION W/OD -inc: 3.73 axle ratio, aux trans oil coole…
Model: 3500 4WD Mega Cab 160.5" Laramie                  Exterior: Deep Water Blue Pearl
VIN: 3D73Y3HL0BG614850                                   Interior: Light Pebble Beige/Bark Brown Interior

                                              · Front license plate bracket
MECHANICAL                                    · Locking tailgate
                                              · Body-color/chrome door handles                  CITY MPG                                                                           HIGHWAY MPG
· 6.7L I6 Cummins turbo-diesel engine
· 3.42 rear axle ratio                        ENTERTAINMENT
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Electronically-controlled throttle
· HD engine cooling                           · (9) amplified speakers w/subwoofer
· Electronic shift-on-the-fly transfer case   · Fixed long mast antenna
· Anti-spin rear axle differential                                                            New
· Four wheel drive                            INTERIOR
· 730-amp maintenance-free battery
                                                                                              MSRP                                                                                            $52,665.00
· 160-amp alternator                          · Dual pwr lumbar adjusters
· 6'4" pickup box                             · Rear 60/40 split-folding bench seat           INSTALLED OPTIONS
· Class IV receiver hitch                     · Carpeted floor covering                       50 State Emissions                                                                              $0
· Trailer tow wiring -inc: 4-pin connector    · Front center seat cushion storage             Single Rear Wheels                                                                              $0
· 7-pin trailer wiring harness                · Mini floor console
· Trailer brake control                       · Leather-wrapped steering wheel                6 Speed Automatic Transmission W/Od                                                             $1,100
· Tow hooks                                   · Heated steering wheel                            3.73 axle ratio
                                                                                                 aux trans oil cooler
· 10500# GVWR                                 · Steering wheel audio controls                    tip start
· HD front shock absorbers                    · Tilt steering column                          2 FH Laramie Customer Preferred Order                                                           $0
· HD rear shock absorbers                     · Sentry Key theft-deterrent system
                                                                                              Selection PKG
· Front stabilizer bar                        · Instrument cluster w/display screen
· Pwr steering                                · Vehicle info center                              6.7L I6 turbo-diesel engine
                                                                                                 6-speed auto trans
· Pwr 4-wheel anti-lock disc brakes           · 120-MPH primary speedometer
                                                                                              3.73 Rear Axle Ratio                                                                            $0
· Diesel exhaust brake                        · Traveler/mini trip computer
                                              · Outside temp gauge & compass                  17" X 8.0" Aluminum Wheels                                                                      included
EXTERIOR                                      · Pwr accessory delay                           LT265/70 R17 E All Season BSW Tires                                                             included
                                              · Speed control                                 Deep Water Blue Pearl                                                                           $225
· Center wheel hubs                           · Security alarm
· 17" steel spare wheel                       · Auto air conditioning w/dual-zone temp        Light Graystone Pearl                                                                           $0
· Full-size spare tire                        control                                         Light Pebble Beige/Bark Brown Interior,                                                         $0
· Winch-type spare tire carrier               · Deluxe door trim panel                        Leather Trimmed 40/20/40 Split Bench Seat
· Bright front bumper                         · Overhead console w/universal garage           Single Rear Wheel Group                                                                         -$1,295
· Bright rear bumper                          door opener
                                                                                                 17" x 8.0" aluminum wheels
· Front air dam                               · Driver/passenger assist handles                  10
· Accent-color fender flares                  · Dual illuminated visor vanity mirrors            100# GVWR
· Bright/bright grille                        · Rear dome lamp w/on/off switch                   LT265/70R17E all-season BSW tires
· Body-color headlamp filler panel            · LED interior lighting                         Cold Weather Group                                                                              $90
· Auto headlamps                              · Rear courtesy/reading lamps                      engine block heater
· Quad headlamps                              · Glove box lamp                                   winter front grille cover
· Fog lamps                                   · Chrome accent shift knob                      High Output Diesel Engine Processing Code                                                       $500
· Underhood lamp                              · Woodgrain instrument panel bezel              PWR Adjustable Pedals W/Memory                                                                  $150
· Cab clearance lamps                         · Behind-the-seat storage bin                   Remote Start System                                                                             $185
· Box & rear fender lamps
· Cargo lamp                                  SAFETY                                          Rear Window Defroster                                                                           -$85
· Tinted glass windows                                                                           rear fixed window
· Variable-speed intermittent windshield      · Advanced multistage front airbags             Parkview Rear Back Up Camera                                                                    $200
wipers                                        · Child safety door locks                       Original Shipping Charge                                                                        $975
                                              · Supplemental front side airbags
                                              · Front/rear side curtain airbags               RETAIL PRICE (ORIGINALLY NEW)                                                                   $54,710.00
                                              · ParkSense rear park assist system
                                              · Front height-adjustable shoulder belts
                                              · Dual-note horn




                                                                                                                   www.BillMarsh.com
                                                                                                                     800-596-2774
                                                                         MonroneyLabels.com
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                                     #:2012
Year: 2012                                                                           Engine: Straight 6 Cylinder Engine
Make: Ram                                                                            Transmission: 6-SPEED AUTOMATIC TRANSMISSION W/OD
Model: 3500 4WD Crew Cab 169" Laramie                                                Exterior: Bright White
VIN: 3C63D3JL2CG140151                                                               Interior: Light Pebble Beige/Bark Brown Interior

                                              · Front license plate bracket                     CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Locking tailgate

· 6.7L I6 Cummins turbo-diesel engine
                                              · Body-color/chrome door handles
                                                                                                   17                                                                                         25
· 3.42 rear axle ratio                        ENTERTAINMENT
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Electronically-controlled throttle
· HD engine cooling                           · (9) amplified speakers w/subwoofer
· Electronic shift-on-the-fly transfer case   · Fixed long mast antenna
· Anti-spin rear axle differential                                                            New
· Four wheel drive                            INTERIOR
· 730-amp maintenance-free battery
                                                                                              MSRP                                                                                           $55,210.00
· 160-amp alternator                          · Dual pwr lumbar adjusters
· 8' pickup box                               · Rear 60/40 split-folding bench seat           INSTALLED OPTIONS
· Class IV receiver hitch                     · Carpeted floor covering                       50 State Emissions                                                                             $0
· Trailer tow wiring -inc: 4-pin connector    · Front center seat cushion storage             Single Rear Wheels                                                                             $0
· 7-pin trailer wiring harness                · Mini floor console
                                                                                              6 Speed Automatic Transmission W/Od                                                            $500
· Trailer brake control                       · Leather-wrapped steering wheel
· Tow hooks                                   · Heated steering wheel                         2 FH Laramie Customer Preferred Order                                                          $0
· 12200# GVWR                                 · Steering wheel audio controls                 Selection PKG
· HD front shock absorbers                    · Tilt steering column                          3.73 Rear Axle Ratio                                                                           $0
· HD rear shock absorbers                     · Sentry Key theft-deterrent system             17" X 8.0" Aluminum Wheels                                                                     included
· Front stabilizer bar                        · Instrument cluster w/display screen
· Pwr steering                                · Vehicle info center
                                                                                              LT265/70 R17 E On /Off Road Owl Tires                                                          $0
· Pwr 4-wheel anti-lock disc brakes           · 120-MPH primary speedometer                   Monotone Paint                                                                                 $655
· Diesel exhaust brake                        · Traveler/mini trip computer                   Bright White                                                                                   $0
                                              · Outside temp gauge & compass                  Light Pebble Beige/Bark Brown Interior, Leather                                                $0
EXTERIOR                                      · Pwr accessory delay
                                                                                              Trimmed 40/20/40 Split Bench Seat
                                              · Speed control
· Center wheel hubs                           · Security alarm                                Uconnect 730 N                                                                                 $800
· 17" steel spare wheel                       · Auto air conditioning w/dual-zone temp        Single Rear Wheel Group                                                                        -$995
· Full-size spare tire                        control                                         HD Snow Plow Prep Group                                                                        $135
· Winch-type spare tire carrier               · Deluxe door trim panel
                                                                                              Protection Group                                                                               $50
· Bright front bumper                         · Overhead console w/universal garage
· Bright rear bumper                          door opener                                     Dual Transmission Oil Cooler                                                                   $450
· Front air dam                               · Driver/passenger assist handles               Transfer Case Skid Plate                                                                       $50
· Accent-color fender flares                  · Dual illuminated visor vanity mirrors         PWR Adjustable Pedals W/Memory                                                                 $150
· Bright/bright grille                        · Rear dome lamp w/on/off switch
                                                                                              Remote Start System                                                                            $185
· Body-color headlamp filler panel            · LED interior lighting
· Auto headlamps                              · Glove box lamp                                Original Shipping Charge                                                                       $995
· Quad headlamps                              · Chrome accent shift knob                      RETAIL PRICE (ORIGINALLY NEW)                                                                  $58,185.00
· Fog lamps                                   · Woodgrain instrument panel bezel
· Underhood lamp                              · Rear underseat compartment storage
· Cab clearance lamps                         · 2nd row in-floor storage bins
· Box & rear fender lamps
· Cargo lamp                                  SAFETY
· Tinted glass windows
· Variable-speed intermittent windshield      · Advanced multistage front airbags
wipers                                        · Child safety door locks
                                              · Front/rear side curtain airbags
                                              · ParkView rear back-up camera
                                              · Front height-adjustable shoulder belts
                                              · Dual-note horn




                                                                                              Mullinax Ford of Central
                                                                                                 Florida (Apopka)
                                                                         MonroneyLabels.com
                                                                          Ex. 1 - Page 26
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                                     #:2013
Year: 2012                                                       Engine: 4 Cylinder Engine
Make: FIAT                                                       Transmission: 6-SPEED AISIN AUTOMATIC TRANSMISSION -inc: leather-wrapped shift knob
Model: 500 2dr Conv Lounge                                       Exterior: Rosso (Red)
VIN: 3C3CFFER3CT183959                                           Interior: Ivory Interior

                                             · Steering wheel audio controls                   CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                   · Tilt steering column

· 1.4L 16-valve I4 multi-air engine
                                             · Tachometer
                                             · Vehicle info center                                  0                                                                                            0
· Hill start assist                          · Body-color instrument panel bezels
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                          · Pwr windows w/front 1-touch down
· 500-amp maintenance free battery           · Speed control
· 105-amp alternator                         · Security alarm
· Normal duty suspension                     · Air conditioning w/automatic temp control     New
· Electric pwr steering                      & micron filter
· 4-wheel pwr anti-lock disc brakes          · Rear window defroster
                                                                                             MSRP                                                                                            $22,500.00
· Chrome exhaust tip                         · Locking glove box
                                             · (2) front cupholders                          INSTALLED OPTIONS
EXTERIOR                                     · (2) rear floor-mounted cupholders             50 State Emissions                                                                              $0
                                             · Aux 12V pwr outlet                            6 Speed Aisin Automatic Transmission                                                            $1,250
· Delete spare tire -inc: tire service kit   · Door trim w/cloth inserts
                                                                                                 leather-wrapped shift knob
· 185/55R15 tires                            · Chrome interior door handles
· Body-color fascias w/bright insert         · Front sunvisors w/vanity mirrors
                                                                                             22 J Customer Preferred Order Selection PKG $0
· Bodyside molding w/500 logo                · Overhead passenger assist handle                  1.4L I4 engine
                                                                                                 6-speed auto trans
· Bright belt molding                        · Front reading/map lamps
· Bi-function projector beam halogen         · Rear cargo area lamp
                                                                                             Compact Spare Tire                                                                              $450
headlamps                                    · Chrome shift knob                             Rosso (Red)                                                                                     $0
· Fog lamps                                  · Driver & front passenger seatback             Ivory Interior, Leather Trimmed Bucket Seats                                                    $0
· Chrome pwr heated mirrors -inc:            pockets
                                                                                             Red Seats                                                                                       $0
exterior spotter mirrors                     · Rear cargo shelf panel
· Tinted glass windows                                                                       Black Soft Top                                                                                  $0
· Variable intermittent windshield wipers    SAFETY                                          Luxury Leather PKG                                                                              $1,250
· Bright license plate brow                                                                      leather trimmed bucket seats
· Chrome door handles                        · Electronic stability control                      heated front seats
                                             · Daytime running headlamps                         auto-dimming rearview mirror
ENTERTAINMENT                                · Driver & front passenger advanced multi-      Original Shipping Charge                                                                        $700
                                             stage frontal airbags                           RETAIL PRICE (ORIGINALLY NEW)                                                                   $26,150.00
· AM/FM stereo w/CD/MP3 player               · Supplemental front seat side airbags
· Aux audio input jack                       · Driver side knee bag
· SIRIUS satellite radio w/1-year            · Front & rear side curtain airbags
subscription                                 · Rear park assist
· Bose premium audio                         · Front passenger seat belt alert               Get more information on your smartphone:
· Windshield antenna                         · Child seat latch-ready anchor system
                                             · Tire pressure monitoring warning lamp
INTERIOR

· Driver seat height adjuster
· Driver seat memory
· Front seat reactive head restraints
· 50/50 split fold-down rear seat
· Floor carpet
· Front floor mats
· Leather-wrapped steering wheel




                                                                                                            www.AtlantaAutos.com
                                                                                                               678-213-4455
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                                                                         Ex. 1 - Page 27
                                                                                                                                                                               C
                                                                                    Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 29 of 155 Page ID
                                                                                                                       #:2014




B
                                                                                                                                                                                                                     For more information visit: www.fiatusa.com
                                                                                                                                                                                                                                                                                                      Chrysler Group LLC
                        A                                                                                                                                                                                                    or call 1-888-CIAOFIAT

                        2013 MODEL YEAR                                                                                                                                         EPA
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.
                                                                                                                                                                                DOT Fuel Economy and Environment                                                                                            C                   Gasoline Vehicle

MANUFACTURER’S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION
                                                                                      Steering Wheel Mounted Audio Controls                                                                 Fuel Economy
                                                                                                                                                                                                                                                                                                  You        save
                                                                                                                                                                                    C
                                                                                                                                                                                            30
                                                                                                                                                                                                                                               Minicompact cars range from 13 to 37 MPG.
                                                                                      Leather-Wrapped Steering Wheel
                                                                                                                                                                                                                         MPG                   The best vehicle rates 112 MPGe.
             Base Price:
FIAT 500 POP HATCHBACK
                                    $15,500
Exterior Color: Verde Azzurro (Blue-Green) Exterior Paint
                                                                                      Tilt Steering Column
                                                                                      Electronic Vehicle Information Center
                                                                                      Sun Visors with Vanity Mirror                                                                                                       27 34
                                                                                                                                                                                                                                                                                                  $2,100
                                                                                                                                                                                                                                                                                                     in fuel costs
                                                                                      Tachometer
Interior Color: Nero (Black) Interior Ambient                                                                                                                                               combined city/hwy              city         highway                                                      over 5 years
Interior: Cloth Bucket Seats                                                          Rearview Day / Night Mirror
Engine: 1.4-Liter I4 MultiAir ® Engine
Transmission: 6-Speed Automatic Transmission
                                                                                      Front Floor Mats                                                                                        3.3 gallons per 100 miles                                                                              compared to the
                                                                                                                                                                                                                                                                                                     average new vehicle.
                                                                                                 EXTERIOR FEATURES
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)
                                                                                      15-Inch x 6.0-Inch Steel Wheels
                                                                                                                                                                                                                                    Fuel Economy & Greenhouse Gas Rating (tailpipe only)                            Smog Rating (tailpipe only)
3
           FUNCTIONAL/SAFETY FEATURES
Advanced Multistage Front Airbags
                                                         4                            185/55 R15 All Season Tires                                                                   Annual fuel           cost
                                                                                                                                                                                                                                                                                  R                                            O
                                                                                      15-Inch Wheel Covers
Supplemental Front Seat-Mounted Side Airbags
Supplemental Side-Curtain Front and Rear Airbags
Driver Inflatable Knee-Bolster Airbag
Front Seat Reactive Head Restraints
                                                                                      Bi-Function Halogen Projector Headlamps
                                                                                      Tinted Glass Windows
                                                                                      Chrome Exhaust Tip
                                                                                                                                                                                    $1,900                                              1                                                          10
                                                                                                                                                                                                                                                                                                      Best
                                                                                                                                                                                                                                                                                                                       1                    10
                                                                                                                                                                                                                                                                                                                                           Best
                                                                                                                                                                                                                                    This vehicle emits 295 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                    distributing fuel also creates emissions; learn more at fueleconomy.gov
                                                                                      Chrome Door Handles
Child Seat Anchor System-LATCH Ready                                                                                                                                            Actual results will vary for many reasons, including driving conditions and how you drive and maintain your
                                                                                      Body-Color Power Heated Mirrors




                                                                                                                                                                                                                                                                                                                               Smartphone
4-Wheel Anti-Lock Disc Power Brakes                                                                                                                                             vehicle. The average new vehicle gets 23 MPG and cost $11,600 to fuel over 5 years. Cost estimates are
                                                                                      Tire Service Kit                                                                          based on 15,000 miles per year at $3.55 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
Electronic Stability Control




                                                                                                                                                                                                                                                                                                                               QR Code
                                                                                                                                                                                emissions are a significant cause of climate change and smog.




                                                                                                                                                                                                                                                                                         Bil
Tire Pressure Monitoring Display
Power Windows with Front One-Touch-Down Feature
Exterior Spotter Mirror
                                                                                      OPTIONAL EQUIPMENT
                                                                                      Customer Preferred Package 22A
                                                                                                                                                                                fueleconomy.gov
                                                                                                                                                                                Calculate personalized estimates and compare vehicles
                                                                                      Grigio (Gray) Seats




                                                                                                                                                                                                                                                        A
Power Door Locks
                                                                                      6-Speed Automatic Transmission                                             $1,250
Remote Keyless Entry
                                                                                       Body-Color Power Heated Mirrors                                                                 GOVERNMENT 5-STAR SAFETY RATINGS                                                                          PARTS CONTENT INFORMATION
Cruise Control
Hill Start Assist
                                                                                      Compact Spare Tire                                                          $450
                                                                                                                                                                                    Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
                                                                                      15-Inch x 6.0-Inch Aluminum Wheels                                          $500
                                                                                                                                                                                                                                                        Not Rated                            U.S./CANADIAN PARTS CONTENT: 21 %
Rear Window Defroster                                                                                                                                                               Based on the combined ratings of frontal, side, and rollover.
Variable Intermittent Windshield Wipers                                               DESTINATION CHARGE                                                          $700              Should ONLY be compared to other vehicles of similar size and weight.                                   MAJOR SOURCES OF FOREIGN PARTS
                                                                                                                                                                                    C Safety concern: visit www.safercar.gov or call 1-888-327-4236 for more details.
Rear Window Wiper / Washer                                                                                                                                                                                                                                                                  CONTENT:
Engine Immobilizer                                                                                                                                                                  Frontal                            Driver                                                                MEXICO: 49 %
                                                                                                      TOTAL PRICE: * $18,400                                                                                                                                                                NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL




                                                                                                                                                                                                                                                        A
12-Volt Auxiliary Power Outlet in Console                                                                                                                                           Crash                              Passenger                                                            ASSEMBLY, DISTRIBUTION, OR OTHER
10.5-Gallon Fuel Tank                                                                                                                                                               Based on the risk of injury in a frontal impact.                                                        NON-PARTS COSTS.
                                                                                     WARRANTY COVERAGE
           INTERIOR FEATURES                                                                                                                                                        Should ONLY be compared to other vehicles of similar size and weight.                                   FOR THIS VEHICLE:
                                                                                     Basic Warranty: 4 Year / 50,000 Miles.
Air Conditioning with Micron Filter                                                  Powertrain Warranty: 4 Year / 50,000 Miles.                                                                                                                                                             FINAL ASSEMBLY POINT:
                                                                                                                                                                                    Side                               Front seat                       Not Rated
Driver Seat Memory                                                                   Roadside assistance; certain restrictions apply.                                                                                                                                                         TOLUCA, MEXICO
Driver Seat Height Adjuster                                                                                                                                                         Crash                              Rear seat                        Not Rated
                                                                                                                                                                                    Based on the risk of injury in a side impact.                                                           COUNTRY OF ORIGIN:
Rear 50 / 50 Split Fold-Down Seat                                                                                                                                                                                                                                                            ENGINE: UNITED STATES
Rear Cargo Shelf Panel
AM/FM/CD/MP3 Radio                                                               H                                                                                  I               Rollover
                                                                                                                                                                                    Based on the risk of rollover in a single-vehicle crash.
                                                                                                                                                                                                                                                                                             TRANSMISSION: JAPAN
BLUE&ME ™ Handsfree Communication with USB Port
                                                                                                                                                                               Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
6 Speakers
                                                                                                                                                                                  Source: National Highway Traffic Safety Administration (NHTSA)
Auxiliary Audio Input Jack
                                                                                                                                                                                             www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: TOLUCA, MEXICO
                                                        S.L.                                                                                                                   The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   3C3-CFFAR0DT-529179             L4-VON:   8341   0920                                                                                                                   equipped with certain features and options. The performance of this vehicle may differ.
                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                               Bumper Performance
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                     This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I3C3CFFAR0DT529179
                                                                   STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                             speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                               *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                               more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                               allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                               conducted at 2.5 miles per hour.



                                                                                                                                                                  Ex. 1 - Page 28
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B
                                                                                                                                                                                                                     For more information visit: www.fiatusa.com
                        A                                                                                                                                                      A                                             or call 1-888-CIAOFIAT
                                                                                                                                                                                                                                                                                                      Chrysler Group LLC

                        2014 MODEL YEAR                                                                                                                                         EPA
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.
                                                                                                                                                                                DOT Fuel Economy and Environment                                                                                            C                   Gasoline Vehicle

MANUFACTURER’S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION
                                                                                      USB / Auxiliary Audio Input Jack                                                                      Fuel Economy
                                                                                                                                                                                                                                                                                                             You        save
                                                                                                                                                                                    C
                                                                                                                                                                                            30
                                                                                                                                                                                                                                               Minicompact cars range from 15 to 116 MPG.
                                                                                      Steering Wheel Mounted Audio Controls
                                                                                                                                                                                                                         MPG                   The best vehicle rates 119 MPGe.
             Base Price:
FIAT 500 POP HATCHBACK
                                    $16,195
Exterior Color: Rosso (Red) Exterior Paint
                                                                                      Leather-Wrapped Steering Wheel
                                                                                      Tilt Steering Column
                                                                                      Electronic Vehicle Information Center                                                                                               27 34
                                                                                                                                                                                                                                                                                                             $2,000
                                                                                                                                                                                                                                                                                                                in fuel costs
                                                                                      Sun Visors with Vanity Mirror
Interior Color: Nero (Black) Interior Ambient                                                                                                                                               combined city/hwy              city         highway                                                                 over 5 years
Interior: Cloth Bucket Seats                                                          Tachometer
Engine: 1.4-Liter I4 MultiAir ® Engine
Transmission: AISIN 6-Speed Automatic Transmission
                                                                                      Rearview Day / Night Mirror                                                                             3.3 gallons per 100 miles                                                                                         compared to the
                                                                                                                                                                                                                                                                                                                average new vehicle.
                                                                                      Front Floor Mats
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)
                                                                                                 EXTERIOR FEATURES
                                                                                                                                                                                                                                    Fuel Economy & Greenhouse Gas Rating (tailpipe only)                            Smog Rating (tailpipe only)
3
           FUNCTIONAL/SAFETY FEATURES
Advanced Multistage Front Airbags
                                                         4                            15-Inch x 6.0-Inch Steel Wheels                                                               Annual fuel           cost
                                                                                                                                                                                                                                                                                  R                                            O
                                                                                      15-Inch Wheel Covers
Supplemental Front Seat-Mounted Side Airbags
Side Curtain Front / Rear Airbags
Driver-Side Knee Airbag
Front Seat Reactive Head Restraints
                                                                                      Bi-Function Halogen Projector Headlamps
                                                                                      Tinted Glass Windows
                                                                                      Chrome Exhaust Tip
                                                                                                                                                                                    $1,900                                              1                                                          10
                                                                                                                                                                                                                                                                                                      Best
                                                                                                                                                                                                                                                                                                                       1                    10
                                                                                                                                                                                                                                                                                                                                           Best
                                                                                                                                                                                                                                    This vehicle emits 295 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                    distributing fuel also creates emissions; learn more at fueleconomy.gov
                                                                                      Chrome Door Handles
Child Seat Anchor System-LATCH Ready                                                                                                                                            Actual results will vary for many reasons, including driving conditions and how you drive and maintain your
                                                                                      Body-Color Power Heated Mirrors




                                                                                                                                                                                                                                                                                                                               Smartphone
4-Wheel Anti-Lock Disc Power Brakes                                                                                                                                             vehicle. The average new vehicle gets 23 MPG and cost $11,500 to fuel over 5 years. Cost estimates are




                                                                                                                                                                                                                                                                                                                               QR Code™
                                                                                      Tire Service Kit                                                                          based on 15,000 miles per year at $3.50 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle




                                                                                                                                                                                                                                                       A
Electronic Stability Control                                                                                                                                                    emissions are a significant cause of climate change and smog.




                                                                                                                                                                                                                                                                                         Bil
Tire Pressure Monitoring Display
Power Windows with Front One-Touch-Down Feature
Exterior Spotter Mirror
                                                                                      OPTIONAL EQUIPMENT
                                                                                      Customer Preferred Package 22A
                                                                                                                                                                                fueleconomy.gov
                                                                                                                                                                                Calculate personalized estimates and compare vehicles
                                                                                      Grigio (Gray) Seats




                                                                                                                                                                                                                                                       A
Power Door Locks
                                                                                      AISIN 6-Speed Automatic Transmission                                       $1,250
Remote Keyless Entry
                                                                                                                                                                                       GOVERNMENT 5-STAR SAFETY RATINGS                                                                          PARTS CONTENT INFORMATION
Speed Control                                                                         DESTINATION CHARGE                                                          $800
Hill Start Assist                                                                                                                                                                   Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
Rear Window Defroster                                                                                                                                                               Based on the combined ratings of frontal, side, and rollover.                                            U.S./CANADIAN PARTS CONTENT: 23 %




                                                                                                                                                                                                                                                       A
Intermittent Windshield Wipers
                                                                                                      TOTAL PRICE: * $18,245                                                        Should ONLY be compared to other vehicles of similar size and weight.                                   MAJOR SOURCES OF FOREIGN PARTS
Rear Window Wiper / Washer                                                                                                                                                                                                                                                                  CONTENT:
                                                                                     WARRANTY COVERAGE
Engine Immobilizer                                                                   Basic Warranty: 4 Year / 50,000 Miles.                                                         Frontal                            Driver                                                                MEXICO: 42 %
                                                                                                                                                                                                                                                                                            NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL




                                                                                                                                                                                                                                                       A
12-Volt Auxiliary Power Outlet in Center Console                                     Powertrain Warranty: 4 Year / 50,000 Miles.                                                    Crash                              Passenger                                                            ASSEMBLY, DISTRIBUTION, OR OTHER
10.5-Gallon Fuel Tank                                                                Roadside assistance; certain restrictions apply.                                               Based on the risk of injury in a frontal impact.                                                        NON-PARTS COSTS.
           INTERIOR FEATURES                                                                                                                                                        Should ONLY be compared to other vehicles of similar size and weight.                                   FOR THIS VEHICLE:
Air Conditioning with Micron Filter
                                                                                                                                                                                    Side                               Front seat                                                            FINAL ASSEMBLY POINT:
Driver Seat Memory
Passenger Seat Memory                                                            H                                                                                  I               Crash                              Rear seat
                                                                                                                                                                                    Based on the risk of injury in a side impact.
                                                                                                                                                                                                                                                                                              TOLUCA, MEXICO
                                                                                                                                                                                                                                                                                            COUNTRY OF ORIGIN:
Driver Seat Height Adjuster                                                                                                                                                                                                                                                                  ENGINE: UNITED STATES
Rear 50 / 50 Split Fold-Down Seat                                                                                                                                                   Rollover                                                                                                 TRANSMISSION: JAPAN
Rear Cargo Shelf Panel                                                                                                                                                              Based on the risk of rollover in a single-vehicle crash.
AM/FM CD MP3 Radio
                                                                                                                                                                               Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
BLUE&ME ™ Handsfree Communication
                                                                                                                                                                                  Source: National Highway Traffic Safety Administration (NHTSA)
6 Speakers
                                                                                                                                                                                             www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: TOLUCA, MEXICO
                                                        S.L.                                                                                                                   The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   3C3-CFFAR0ET-200306             L4-VON:   0363   0106                                                                                                                   equipped with certain features and options. The performance of this vehicle may differ.
                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                               Bumper Performance
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                     This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I3C3CFFAR0ET200306
                                                                   STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                             speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                               *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                               more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                               allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                               conducted at 2.5 miles per hour.



                                                                                                                                                                  Ex. 1 - Page 29
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                                                                                                                       #:2016




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                                                                                                                                                                                                                     For more information visit: www.fiatusa.com
                                                                                                                                                                                                                             or call 1-888-CIAOFIAT
                                                                                                                                                                                                                                                                                                               FCA US LLC
                        A
                        2015 MODEL YEAR                                                                                                                                         EPA
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.
                                                                                                                                                                                DOT Fuel Economy and Environment                                                                                            C                   Gasoline Vehicle

MANUFACTURER’S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION
                                                                                      Steering Wheel Mounted Audio Controls                                                                 Fuel Economy
                                                                                                                                                                                                                                                                                                             You        save
                                                                                                                                                                                    C
                                                                                                                                                                                            30
                                                                                                                                                                                                                                               Minicompact cars range from 15 to 116 MPG.
                                                                                      Tilt Steering Column
                                                                                                                                                                                                                         MPG                   The best vehicle rates 119 MPGe.
             Base Price:
FIAT 500 SPORT HATCHBACK
                                    $17,700
Exterior Color: Bianco (White) Exterior Paint
                                                                                      Air Conditioning
                                                                                      Driver Seat Memory
                                                                                      Passenger Seat Memory                                                                                                               27 34
                                                                                                                                                                                                                                                                                                             $1,500
                                                                                                                                                                                                                                                                                                                in fuel costs
                                                                                      Driver Seat Height Adjuster
Interior Color: Nero (Black) Interior Ambient                                                                                                                                               combined city/hwy              city         highway                                                                 over 5 years
Interior: Leather-Trimmed Bucket Seats                                                Rear 50 / 50 Split Fold-Down Seat
          Driver and Passenger Front Seatback Pockets
Engine: 1.4-Liter I4 MultiAir® 16-Valve Engine
                                                                                                 EXTERIOR FEATURES                                                                            3.3 gallons per 100 miles                                                                                         compared to the
                                                                                                                                                                                                                                                                                                                average new vehicle.
Transmission: 6-Speed Automatic Transmission                                          16-Inch x 6.5-Inch Aluminum Wheels
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)                            195/45R16XL Tires
                                                                                                                                                                                                                                    Fuel Economy & Greenhouse Gas Rating (tailpipe only)                            Smog Rating (tailpipe only)
3          FUNCTIONAL/SAFETY FEATURES
                                                         4                            Sport Spoiler                                                                                 Annual fuel           cost
                                                                                                                                                                                                                                                                             Q                                                 O
Advanced Multistage Front Airbags                                                     Red Brake Calipers
Supplemental Front Seat-Mounted Side Airbags
Supplemental Side-Curtain Front Airbags
Driver Inflatable Knee-Bolster Airbag
                                                                                      Fog Lamps
                                                                                      Bi-Function Halogen Projector Headlamps
                                                                                      Body-Color Power Heated Mirrors
                                                                                                                                                                                    $1,900                                              1                                                          10
                                                                                                                                                                                                                                                                                                      Best
                                                                                                                                                                                                                                                                                                                       1                    10
                                                                                                                                                                                                                                                                                                                                           Best
                                                                                                                                                                                                                                    This vehicle emits 295 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                    distributing fuel also creates emissions; learn more at fueleconomy.gov
Front Seat Reactive Head Restraints                                                   Tinted Glass Windows
                                                                                      Chrome Exhaust Tip                                                                        Actual results will vary for many reasons, including driving conditions and how you drive and maintain your




                                                                                                                                                                                                                                                                                                                               Smartphone
LATCH Ready Child Seat Anchor System                                                                                                                                            vehicle. The average new vehicle gets 24 MPG and cost $11,000 to fuel over 5 years. Cost estimates are




                                                                                                                                                                                                                                                                                                                               QR Code™
Security Alarm                                                                        Tire Service Kit (No Compact Spare)                                                       based on 15,000 miles per year at $3.80 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle




                                                                                                                                                                                                                                                       A
                                                                                                                                                                                emissions are a significant cause of climate change and smog.
4-Wheel Anti-Lock Disc Power Brakes

                                                                                                                                                                                fueleconomy.gov
                                                                                                                                                                                                                                                                                         Bil
Electronic Stability Control                                                          OPTIONAL EQUIPMENT (May Replace Standard Equipment)
Tire Specific Pressure Monitoring Display                                             Leather-Trimmed Bucket Seats                                               $1,200
                                                                                                                                                                                Calculate personalized estimates and compare vehicles
                                                                                       Driver and Passenger Front Seatback Pockets




                                                                                                                                                                                                                                                       A
Hill Start Assist
Power Door Locks                                                                      Customer Preferred Package 22D
Remote Keyless Entry                                                                  Nero (Black) Seats                                                                               GOVERNMENT 5-STAR SAFETY RATINGS                                                                          PARTS CONTENT INFORMATION
Speed Control                                                                         6-Speed Automatic Transmission                                             $1,350
                                                                                                                                                                                    Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
Rear Window Wiper / Washer                                                            16-Inch x 6.5-Inch Bright Aluminum Wheels                                   $400              Based on the combined ratings of frontal, side, and rollover.                                            U.S./CANADIAN PARTS CONTENT: 19 %




                                                                                                                                                                                                                                                       A
10.5-Gallon Fuel Tank                                                                 DESTINATION CHARGE                                                          $980              Should ONLY be compared to other vehicles of similar size and weight.                                   MAJOR SOURCES OF FOREIGN PARTS
Engine Immobilizer                                                                                                                                                                                                                                                                          CONTENT:
Tuned Suspension
                                                                                                                                                                                    Frontal                            Driver                                                                MEXICO: 42 %
           INTERIOR FEATURES                                                                          TOTAL PRICE: * $21,630                                                                                                                                                                NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL




                                                                                                                                                                                                                                                       A
                                                                                                                                                                                    Crash                              Passenger                                                            ASSEMBLY, DISTRIBUTION, OR OTHER
BLUE&ME™ Handsfree Communication                                                                                                                                                                                                                                                            NON-PARTS COSTS.
                                                                                     WARRANTY COVERAGE                                                                              Based on the risk of injury in a frontal impact.
BLUE&ME™ Streaming Audio                                                                                                                                                            Should ONLY be compared to other vehicles of similar size and weight.
                                                                                     Basic Warranty: 4 Year / 50,000 Miles.                                                                                                                                                                 FOR THIS VEHICLE:
Premium 7-Inch Color Cluster Display
                                                                                     Powertrain Warranty: 4 Year / 50,000 Miles.                                                    Side                               Front seat                                                            FINAL ASSEMBLY POINT:
FIAT Premium Audio System                                                            Roadside assistance; certain restrictions apply.                                                                                                                                                         TOLUCA, MEXICO
AM/FM CD MP3 Radio                                                                                                                                                                  Crash                              Rear seat
Media Hub (USB, Aux) in Center Console                                                                                                                                              Based on the risk of injury in a side impact.                                                           COUNTRY OF ORIGIN:
                                                                                                                                                                                                                                                                                             ENGINE: UNITED STATES
                                                                                 H                                                                                  I
USB Port in Glovebox
                                                                                                                                                                                    Rollover                                                                                                 TRANSMISSION: JAPAN
Power Windows with Front One-Touch-Down Feature
                                                                                                                                                                                    Based on the risk of rollover in a single-vehicle crash.
Electronic Vehicle Information Center
12-Volt Auxiliary Power Outlet in Center Console                                                                                                                               Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
Leather-Wrapped Sport Steering Wheel                                                                                                                                              Source: National Highway Traffic Safety Administration (NHTSA)
                                                                                                                                                                                             www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: TOLUCA, MEXICO
                                                        S.L.                                                                                                                   The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   3C3-CFFBR1FT-696118             L4-VON:   5857   0420                                                                                                                   equipped with certain features and options. The performance of this vehicle may differ.
                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                               Bumper Performance
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                     This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I3C3CFFBR1FT696118
                                                                   STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                             speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                               *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                               more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                               allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                               conducted at 2.5 miles per hour.



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                                                                                                                                                                                                                    For more information visit: www.fiatusa.com
                                                                                                                                                                                                                                                                                                              FCA US LLC
                        B                                                                                                                                                                                                   or call 1-888-CIAOFIAT




                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                         G
                        2016 MODEL YEAR                                                                                                                                        EPA
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.
                                                                                                                                                                               DOT Fuel Economy and Environment                                                                                                                    Electric Vehicle

                                                                                      Premium 7-Inch Color Cluster Display                                                               Fuel Economy
                                                                                                                                                                                                                                                                                                                       save
                                                                                                                                                                               G
MANUFACTURER’S SUGGESTED RETAIL PRICE OF                                                                                                                                                                                                                                                                     You


                                                                                                                                                                                         112
THIS MODEL INCLUDING DEALER PREPARATION                                               FIAT Premium Audio System                                                                                                                      MPGe               Minicompact cars range from 15 to 116 MPG.
                                                                                                                                                                                                                                                        The best vehicle rates 119 MPGe.
             Base Price:
FIAT 500E BATTERY ELECTRIC
                                    $31,800
Exterior Color: Bianco Perla (Pearl White Tri-Coat) Exterior Paint
                                                                                      Power Windows with Front One-Touch-Down Feature
                                                                                      Leather-Wrapped Steering Wheel
                                                                                      Steering Wheel Mounted Audio Controls
                                                                                                                                                                                         combined city/hwy
                                                                                                                                                                                                                                     121 103
                                                                                                                                                                                                                                      city        highway
                                                                                                                                                                                                                                                                   30
                                                                                                                                                                                                                                                                 kW-hrs per
                                                                                                                                                                                                                                                                                                             $6,000
                                                                                                                                                                                                                                                                                                                in fuel costs
                                                                                      Auto-Dimming Rearview Mirror w/Microphone
Interior Color: Nero (Black) Interior Color                                                                                                                                              Driving Range                                                           100 miles                                      over 5 years
Interior: Leatherette Bucket Seats                                                    Auto Temp Control Air Conditioning w/Micron Filter
                                                                                                                                                                                          When fully charged, vehicle can travel about...
Engine: 83 kW Electric Motor (111 hp / 147 lb-ft Torque)                              Heated Front Seats                                                                                                                                                                                                        compared to the
Transmission: Single Speed Transmission
                                                                                      Rear 50 / 50 Split Fold-Down Seat
                                                                                                                                                                                         0              20
                                                                                                                                                                                         Charge Time: 4 hours (240V)
                                                                                                                                                                                                                        40              60         80
                                                                                                                                                                                                                                                              83     miles                                      average new vehicle.
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)
                                                                                      Front and Rear Floor Mats
                                                                                                                                                                                                                                    Fuel Economy & Greenhouse Gas Rating (tailpipe only)                           Smog Rating (tailpipe only)
3
           FUNCTIONAL/SAFETY FEATURES
Zero Emission Vehicle
                                                         4                                      EXTERIOR FEATURES                                                                  Annual fuel          cost
                                                                                                                                                                                                                                                                                           T                                               T10
                                                                                      15" x 5.5" and 15" x 6.5" Aluminum Wheels
24 kWhr Liquid Heated & Cooled Lithium Ion Battery
83 kW Electric Motor (111 hp / 147 lb-ft Torque)
6.6 kW / J1772 Compliant Charge System
Regenerative Braking & 4-Wheel Disc ABS Brakes
                                                                                      Body-Color Power Heated Mirrors
                                                                                      Bi-Function Halogen Projector Headlamps
                                                                                      Rear Window Wiper / Washer
                                                                                                                                                                                   $600                                                 1                                                         10
                                                                                                                                                                                                                                                                                                      Best
                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                                          Best
                                                                                                                                                                                                                                    This vehicle emits 0 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                    distributing fuel also creates emissions; learn more at fueleconomy.gov
                                                                                      Tinted Glass Windows
Push Button Shifter                                                                                                                                                            Actual results will vary for many reasons, including driving conditions and how you drive and maintain your
                                                                                      Tire Service Kit (No Compact Spare)




                                                                                                                                                                                                                                                                                                                              Smartphone
Advanced Multistage Front Airbags                                                                                                                                              vehicle. The average new vehicle gets 25 MPG and cost $9,000 to fuel over 5 years. Cost estimates are




                                                                                                                                                                                                                                                                                                                              QR Code™
                                                                                                                                                                               based on 15,000 miles per year at $0.13 per kW-hr. MPGe is miles per gasoline gallon equivalent. Vehicle
Supplemental Front Seat-Mounted Side Airbags                                                                                                                                   emissions are a significant cause of climate change and smog.
                                                                                      OPTIONAL EQUIPMENT (May Replace Standard Equipment)



                                                                                                                                                                                                                                                                                         Bil
Supplemental Side-Curtain Front Airbags
Driver Inflatable Knee-Bolster Airbag
Front Seat Reactive Head Restraints
                                                                                      Bianco Perla (Pearl White Tri-Coat) Exterior Paint
                                                                                      Customer Preferred Package 2EJ
                                                                                                                                                                 $500
                                                                                                                                                                               fueleconomy.gov
                                                                                                                                                                               Calculate personalized estimates and compare vehicles
                                                                                      eSport Package                                                             $495
LATCH Ready Child Seat Anchor System
                                                                                       15-Inch Aluminum Wheels with Orange Accent
Electronic Stability Control
                                                                                       Nero (Black) Trimmed Lights
Security Alarm
                                                                                       Arancio (Orange) Mirror Cap with Body Side Stripe
Rear Park Assist
Tire Specific Pressure Monitoring Display                                             DESTINATION CHARGE                                                         $995
Power Door Locks                                                                                                                                                                    GOVERNMENT 5-STAR SAFETY RATINGS                                                                            PARTS CONTENT INFORMATION
Remote Keyless Entry
                                                                                                      TOTAL PRICE: * $33,790                                                       This vehicle has not been rated by the government                                                       FOR VEHICLES IN THIS CARLINE:
Speed Control
                                                                                                                                                                                   for frontal crash, side crash or rollover risk.                                                          U.S./CANADIAN PARTS CONTENT: 19%
Hill Start Assist                                                                                                                                                                                                                                                                          MAJOR SOURCES OF FOREIGN PARTS
                                                                                     WARRANTY COVERAGE
Rear Window Defroster
                                                                                     Basic Limited Warranty: 4 Year / 50,000 Miles.                                                                                                                                                        CONTENT:
           INTERIOR FEATURES                                                         Electric Powertrain Limited Warranty: 4 Year / 100,000 Miles.                                  Source: National Highway Traffic Safety Administration (NHTSA)                                          SOUTH KOREA: 37% MEXICO: 22%
Uconnect® 5.0                                                                        HV Lithium-Ion Battery Limited Warranty: 8 Year / 100,000 Miles.                                            www.safercar.gov or 1-888-327-4236                                                        NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL
5.0-Inch Touchscreen Display                                                         Ask dealer for a copy of the limited warranties or see your                                                                                                                                           ASSEMBLY, DISTRIBUTION, OR OTHER
                                                                                     owner’s manual for details.                                                                                                                                                                           NON-PARTS COSTS.
GPS Navigation                                                                                                                                                                Bumper Performance
                                                                                                                                                                                                                                                                                           FOR THIS VEHICLE:
                                                                                 H                                                                                 I
                                                                                                                                                                              This vehicle is equipped with bumper systems that can withstand a frontal barrier impact
Integrated Voice Command with Bluetooth®
                                                                                                                                                                              speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no                     FINAL ASSEMBLY POINT:
SiriusXM® Sat Radio w/ 1-Yr Radio Subscription                                                                                                                                more damage than allowed by the Federal bumper standard. The Federal bumper standard
Uconnect® Access with Electric Vehicle App                                                                                                                                    allows damage to the bumpers and attaching hardware and specifies barrier tests to be                          TOLUCA, MEXICO
                                                                                                                                                                              conducted at 2.5 miles per hour.                                                                             COUNTRY OF ORIGIN:
USB Port in Glovebox
12-Volt Auxiliary Power Outlet in Center Console                                                                                                                                                                                                                                            ENGINE: GERMANY
Media Hub (USB, Aux) in Center Console                                                                                                                                                                                                                                                      TRANSMISSION: GERMANY
Assembly Point/Port of Entry: TOLUCA, MEXICO
                                                        S.L.
VIN:   3C3-CFFGE9GT-143045             L4-VON:   8973   1029

                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.


 I3C3CFFGE9GT143045
                                                                   STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND
                                                               *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.




                                                                                                                                                                 Ex. 1 - Page 31
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B
                                                                                                                                                                                                                    For more information visit: www.fiatusa.com
                                                                                                                                                                                                                            or call 1-888-CIAOFIAT
                                                                                                                                                                                                                                                                                                              FCA US LLC
                        A
                        2017 MODEL YEAR                                                                                                                                        EPA
THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS
VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.
                                                                                                                                                                               DOT Fuel Economy and Environment                                                                                            C                   Gasoline Vehicle

MANUFACTURER’S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION
                                                                                      Tire Pressure Monitoring Sensor
                                                                                      Bi-Function Halogen Projector Headlamps
                                                                                                                                                                                           Fuel Economy                 These estimates reflect new EPA methods beginning with 2017 models.
                                                                                                                                                                                                                                                                                                            You        spend
                                                                                                                                                                                   C
                                                                                                                                                                                           29
                                                                                                                                                                                                                                              Minicompact cars range from 15 to 112 MPGe.
                                                                                      Body-Color Power Heated Mirrors                                                                                                   MPG                   The best vehicle rates 119 MPGe.
             Base Price:
FIAT 500 POP HATCHBACK
                                    $14,995
Exterior Color: Nero Puro (Straight Black)Clear Coat Ext Paint
                                                                                      Tinted Glass Windows
                                                                                      Chrome Exhaust Tip
                                                                                      Tire Service Kit (No Compact Spare)
                                                                                                                                                                                                                         27 33
                                                                                                                                                                                                                                                                                                            $250
                                                                                                                                                                                                                                                                                                               more in fuel costs
Interior Color: Nero (Black) Interior Ambient                                         OPTIONAL EQUIPMENT (May Replace Standard Equipment)                                                  combined city/hwy              city         highway
Interior: Premium Cloth Bucket Seats                                                  Customer Preferred Package 22C                                                                                                                                                                                           over 5 years
Engine: 1.4-Liter I4 MultiAir® 16-Valve Engine
Transmission: 6-Speed Automatic Transmission
                                                                                      Premium All Weather Package by Mopar®
                                                                                       Front Air Deflectors by Mopar®
                                                                                                                                                                 $400                        3.4 gallons per 100 miles                                                                                         compared to the
                                                                                                                                                                                                                                                                                                               average new vehicle.
STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)                             Front Slush Mats by Mopar®
           FUNCTIONAL/SAFETY FEATURES                                                  Rear Slush Mats by Mopar®                                                                                                                   Fuel Economy & Greenhouse Gas Rating (tailpipe only)                            Smog Rating (tailpipe only)
3
Advanced Multistage Front Airbags
Supplemental Front Seat-Mounted Side Airbags             4
                                                                                       Front Splash Guards by Mopar®
                                                                                       Rear Splash Guards by Mopar®                                                                Annual fuel           cost
                                                                                      Interior Appearance Group by Mopar®                                        $395                                                                                                       Q                                                  P
                                                                                                                                                                                   $1,450
Supplemental Side-Curtain Front Airbags
Driver Inflatable Knee-Bolster Airbag                                                  Front Premium Carpet Mats by Mopar®                                                                                                             1                                                          10                  1                    10
Front Seat Reactive Head Restraints                                                    Rear Premium Carpet Mats by Mopar®                                                                                                                                                                            Best                                 Best
LATCH Ready Child Seat Anchor System                                                   Cargo Tray by Mopar®                                                                                                                        This vehicle emits 300 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
4-Wheel Anti-Lock Disc Power Brakes                                                    Bright Pedal Kit by Mopar®                                                                                                                  distributing fuel also creates emissions; learn more at fueleconomy.gov
Electronic Stability Control                                                           Chrome Door Sills by Mopar®
                                                                                      Popular Equipment Package                                                  $495          Actual results will vary for many reasons, including driving conditions and how you drive and maintain your
Tire Specific Pressure Monitoring Display




                                                                                                                                                                                                                                                                                                                              Smartphone
                                                                                                                                                                               vehicle. The average new vehicle gets 26 MPG and cost $7,000 to fuel over 5 years. Cost estimates are




                                                                                                                                                                                                                                                                                                                              QR Code™
Hill Start Assist                                                                      Auto-Dimming Rear View Mirror w/Microphone                                              based on 15,000 miles per year at $2.80 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle




                                                                                                                                                                                                                                                      A
Power Door Locks                                                                       Auto Temp Control Air Conditioning w/Micron Filter                                      emissions are a significant cause of climate change and smog.
Remote Keyless Entry                                                                  Sport Appearance Package                                                   $995
                                                                                                                                                                               fueleconomy.gov
                                                                                                                                                                                                                                                                                        Bil
Speed Control                                                                          Fog Lamps
Rear Window Wiper / Washer                                                             Body-Color Fascias
Engine Immobilizer                                                                     Sport Spoiler                                                                           Calculate personalized estimates and compare vehicles




                                                                                                                                                                                                                                                      A
           INTERIOR FEATURES                                                           195/45R16XL Tires
Uconnect® 5.0                                                                          Side Sills Ground Effects
5.0-Inch Touchscreen Display                                                           16-Inch x 6.5-Inch Hyper Black Aluminum Wheels                                                 GOVERNMENT 5-STAR SAFETY RATINGS                                                                          PARTS CONTENT INFORMATION
Integrated Voice Command with Bluetooth®                                               Nero (Black) Trimmed Lights
Rear View Mirror with Microphone                                                      Black / Gray (Nero / Grigio) Seats                                                           Overall Vehicle Score                                                                                   FOR VEHICLES IN THIS CARLINE:
Media Hub (USB, Aux) in Center Console                                                6-Speed Automatic Transmission                                             $995              Based on the combined ratings of frontal, side, and rollover.                                            U.S./CANADIAN PARTS CONTENT: 19%




                                                                                                                                                                                                                                                      A
USB Port in Glovebox                                                                  Power Sunroof                                                              $795              Should ONLY be compared to other vehicles of similar size and weight.                                   MAJOR SOURCES OF FOREIGN PARTS
Premium 7-Inch Color Cluster Display                                                  Beats™ Premium Audio System                                                $695
Electronic Vehicle Information Center                                                                                                                                                                                                                                                      CONTENT:
FIAT Premium Audio System                                                             DESTINATION CHARGE                                                         $995                                                                                                                       MEXICO: 52%
Power Windows with Front One-Touch-Down Feature
                                                                                                                                                                                   Frontal                            Driver
                                                                                                                                                                                                                                                                                           NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL




                                                                                                                                                                                                                                                      A
12-Volt Auxiliary Power Outlet in Center Console                                                                                                                                   Crash                              Passenger                                                            ASSEMBLY, DISTRIBUTION, OR OTHER
Leather-Wrapped Steering Wheel                                                                        TOTAL PRICE: * $20,760                                                       Based on the risk of injury in a frontal impact.                                                        NON-PARTS COSTS.
Steering Wheel Mounted Audio Controls                                                                                                                                              Should ONLY be compared to other vehicles of similar size and weight.
Tilt Steering Column
                                                                                                                                                                                                                                                                                           FOR THIS VEHICLE:
Urethane Shift Knob                                                                  WARRANTY COVERAGE
                                                                                                                                                                                   Side                               Front seat                                                            FINAL ASSEMBLY POINT:
Premium Cloth Bucket Seats                                                           Basic Warranty: 4 Year / 50,000 Miles.                                                                                                                                                                  TOLUCA, MEXICO
Driver Seat Memory                                                                   Powertrain Warranty: 4 Year / 50,000 Miles.                                                   Crash                              Rear seat
Passenger Seat Memory                                                                Roadside assistance; certain restrictions apply.                                              Based on the risk of injury in a side impact.                                                           COUNTRY OF ORIGIN:
Driver Seat Height Adjuster                                                                                                                                                                                                                                                                 ENGINE: UNITED STATES
Front Floor Mats                                                                                                                                                                   Rollover                                                                                                 TRANSMISSION: JAPAN
Rear 50 / 50 Split Fold-Down Seat

                                                                                 H                                                                                 I
                                                                                                                                                                                   Based on the risk of rollover in a single-vehicle crash.
Air Conditioning
           EXTERIOR FEATURES                                                                                                                                                  Star ratings range from 1 to 5 stars (DDDDD) with 5 being the highest.
15-Inch x 6.0-Inch Aluminum Wheels                                                                                                                                               Source: National Highway Traffic Safety Administration (NHTSA)
185/55R15 Tires
                                                                                                                                                                                            www.safercar.gov or 1-888-327-4236
Assembly Point/Port of Entry: TOLUCA, MEXICO
                                                        S.L.                                                                                                                  The safety ratings above are based on Federal Government tests of particular vehicles
VIN:   3C3-CFFKR3HT-557918             L4-VON:   6780   1128                                                                                                                  equipped with certain features and options. The performance of this vehicle may differ.
                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED
                                                                                                                                                                              Bumper Performance
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.                                                    This vehicle is equipped with bumper systems that can withstand a frontal barrier impact

 I3C3CFFKR3HT557918
                                                                   STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                            speed of 2.5 miles per hour and a rear barrier impact speed of 2.5 miles per hour with no
                                                               *   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                                                                                                                              more damage than allowed by the Federal bumper standard. The Federal bumper standard
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.
                                                                                                                                                                              allows damage to the bumpers and attaching hardware and specifies barrier tests to be
                                                                                                                                                                              conducted at 2.5 miles per hour.



                                                                                                                                                                 Ex. 1 - Page 32
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                                                                                                                                                                                                                                                                                                                      FCA US LLC
                                                                                                                                                                                                                                    For more information visit: www.fiatusa.com
                                                                                                                                                                                                                                             or call 1–888–CIAOFIAT
                          2018 MODEL YEAR
 THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS                                                                                              EPA                   Fuel Economy and Environment                                                                                                    Gasoline Vehicle
 VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.                                                                                          DOT
MANUFACTURER'S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION                                       Driver Seat Memory
                                                                              Passenger Seat Memory                                                                                          Fuel Economy                These estimates reflect new EPA methods beginning with 2017 models.
                                                                                                                                                                                                                                                                                                                  You    spend
              Base Price:                  $16,245                            Driver Seat Height Adjuster                                                                                                                                             Minicompact cars range from 13 to 112 MPGe.




                                                                                                                                                                                           30                                                                                                                  $250
 FIAT 500 POP HATCHBACK
                                                                              Rear 50 / 50 Split Fold–Down Seat                                                                                                            MPG                        The best vehicle rates 136 MPGe.
 Exterior Color: Metallo Gray Exterior Paint                                  Air Conditioning
 Interior Color: Nero (Black) Interior Ambient
 Interior: Premium Cloth Bucket Seats
                                                                                         EXTERIOR FEATURES
                                                                              16.0–Inch x 6.5–Inch Aluminum Wheels
                                                                                                                                                                                                                              28
                                                                                                                                                                                                                              city
                                                                                                                                                                                                                                   33
                                                                                                                                                                                                                                   highway
                                                                                                                                                                                                                                                                                                                   in fuel costs
 Engine: 1.4L I4 MultiAir Turbo Engine
 Transmission: 5–Speed Manual Transmission                                    Bi–Function Halogen Projector Headlamps                                                                      combined city/hwy                                                                                                       over 5 years
 STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)                   Front Fog Lamps                                                                                                                                                                                                                      compared to the
              FUNCTIONAL/SAFETY FEATURES
  Advanced Multistage Front Airbags
                                                                              Body–Color Power Heated Mirrors                                                                                3.3 gallons per 100 miles                                                                                             average new vehicle.
                                                                              Tinted Glass Windows
  Supplemental Front Seat–Mounted Side Airbags
  Supplemental Side–Curtain Front Airbags
  Driver Inflatable Knee–Bolster Airbag
                                                                              Chrome Exhaust Tip
                                                                              Sport Spoiler                                                                                        Annual fuel               cost                        Fuel Economy & Greenhouse Gas Rating (tailpipe only)                              Smog Rating (tailpipe only)

                                                                              Tire Service Kit (No Compact Spare)


                                                                                                                                                                                      $1,400
  Front Seat Reactive Head Restraints                                                                                                                                                                                                                                                                                        1                    10
                                                                              OPTIONAL EQUIPMENT                 (May Replace Standard Equipment)                                                                                             1                                                           10
  LATCH Ready Child Seat Anchor System                                        Customer Preferred Package 2HC                                                                                                                                                                                               Best                                   Best
  ParkView® Rear Back Up Camera                                               Black / Gray (Nero / Grigio) Seats                                                                                                                          This vehicle emits 292 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing
  Electronic Stability Control                                                                                                                                                                                                            and distributing fuel also creates emissions; learn more at fueleconomy.gov.
                                                                              Destination Charge                                                         $1,295
  Anti–Lock 4–Wheel Disc Performance Brakes




                                                                                                                                                                                                                                                                                                                                   Smartphone
                                                                                                                                                                              Actual results will vary for many reasons, including driving conditions and how you drive and maintain your




                                                                                                                                                                                                                                                                                                                                   QR Code™
  Sport–Tuned Suspension                                                                                                                                                      vehicle. The average new vehicle gets 27 MPG and cost $6,750 to fuel over 5 years. Cost estimates are
  Tire Specific Pressure Monitoring Display                                                    TOTAL PRICE: *                         $17,540                                 based on 15,000 miles per year at $2.80 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
                                                                                                                                                                              emissions are a significant cause of climate change and smog.
  Hill Start Assist
  Power Door Locks                                                            WARRANTY COVERAGE
                                                                              Basic Warranty: 4 Year / 50,000 Miles.
                                                                                                                                                                             fueleconomy.gov
                                                                                                                                                                             Calculate personalized estimates and compare vehicles
  Remote Keyless Entry                                                        Powertrain Warranty: 4 Year / 50,000 Miles.
  Speed Control                                                               Roadside assistance; certain restrictions apply.
  Rear Window Wiper / Washer
  Engine Immobilizer                                                                                                                                                                 GOVERNMENT 5–STAR SAFETY RATINGS                                                                                   PARTS CONTENT INFORMATION
  135 Horsepower Rating
              INTERIOR FEATURES                                                                                                                                                    Overall Vehicle Score                                                   Not Rated                           FOR VEHICLES IN THIS CARLINE:
  Uconnect® 5.0                                                                                                                                                                    Based on the combined ratings of frontal, side, and rollover.                                               U.S./CANADIAN PARTS CONTENT: 11%
                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.
  5.0–Inch Touchscreen Display                                                                                                                                                                                                                                                                 MAJOR SOURCES OF FOREIGN PARTS
  Integrated Voice Command with Bluetooth®                                                                                                                                                                                                                                                     CONTENT:
  Rear View Mirror with Microphone                                                                                                                                                 Frontal                              Driver                                                             MEXICO : 54% ITALY : 16%
  Media Hub (USB, Aux) in Center Console                                                                                                                                           Crash                                Passenger
                                                                                                                                                                                   Based on the risk of injury in a frontal impact.
                                                                                                                                                                                                                                                                                            NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL
                                                                                                                                                                                                                                                                                               ASSEMBLY, DISTRIBUTION, OR OTHER
  USB Port in Glovebox
                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.                                       NON–PARTS COSTS.
  Premium 7–Inch Color Cluster Display
  Electronic Vehicle Information Center                                                                                                                                                                                                                                                        FOR THIS VEHICLE:
  FIAT Premium Audio System                                                                                                                                                        Side                                 Front seat                         Not Rated                            FINAL ASSEMBLY POINT:
  Power Windows with Front One–Touch–Down Feature                                                                                                                                  Crash                                Rear seat                          Not Rated                            TOLUCA, MEXICO
  12–Volt Auxiliary Power Outlet in Center Console                                                                                                                                 Based on the risk of injury in a side impact.                                                               COUNTRY OF ORIGIN:
  Leather–Wrapped Steering Wheel                                                                                                                                                                                                                                                               ENGINE: ITALY
  Steering Wheel Mounted Audio Controls                                                                                                                                            Rollover
                                                                                                                                                                                   Based on the risk of rollover in a single–vehicle crash.
                                                                                                                                                                                                                                                                                           TRANSMISSION: ITALY
  Tilt Steering Column
  Premium Cloth Bucket Seats                                                                                                                                                        Star ratings range from 1 to 5 stars () with 5 being the highest.
Assembly Point/Port of Entry: TOLUCA, MEXICO               S.L.   SHIP TO:                                    SOLDTO:                                                                    Source: National Highway Traffic Safety Administration (NHTSA)
                                                                                                                                                                                                       www.safercar.gov or 1–888–327–4236
VIN   : 3C3–CFFKH1JT–503515              L4–VON:   2551   0816
                                                                                                                                                                            The safety ratings above are based on Federal Government tests of particular vehicles
                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED              equipped with certain features and options. The performance of this vehicle may differ.
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.
                                                                                                                                                                            Bumper Performance
                                                                   * STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                        This vehicle is equipped with bumper systems that can with stand a frontal barrier impact speed of 2.5 miles per
                                                                   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.                                                    hour and a rear barrier impact speed of 2.5 miles per hour with no more damage than allowed by the Federal
                                                                                                                                                                            bumper standard. The Federal bumper standard allows damage to the bumpers and attaching hardware and
                                                                                                                                                                            specifies barrier tests to be conducted at 2.5 miles per hour.


                                                                                                                                                                 Ex. 1 - Page 33
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                                                                                                                                                                                                                                                                                                                      FCA US LLC
                                                                                                                                                                                                                                    For more information visit: www.fiatusa.com
                                                                                                                                                                                                                                             or call 1–888–CIAOFIAT
                          2019 MODEL YEAR
 THIS VEHICLE IS MANUFACTURED TO MEET SPECIFIC UNITED STATES REQUIREMENTS. THIS                                                                                              EPA                   Fuel Economy and Environment                                                                                                    Gasoline Vehicle
 VEHICLE IS NOT MANUFACTURED FOR SALE OR REGISTRATION OUTSIDE OF THE UNITED STATES.                                                                                          DOT
MANUFACTURER'S SUGGESTED RETAIL PRICE OF
THIS MODEL INCLUDING DEALER PREPARATION                                       Driver Seat Memory
                                                                              Passenger Seat Memory                                                                                          Fuel Economy                These estimates reflect new EPA methods beginning with 2017 models.
                                                                                                                                                                                                                                                                                                                  You    spend
              Base Price:                  $16,495                            Driver Seat Height Adjuster                                                                                                                                             Minicompact cars range from 13 to 31 MPGe.




                                                                                                                                                                                           30                                                                                                                  $500
 FIAT 500 POP HATCHBACK
                                                                              Rear 50 / 50 Split Fold–Down Seat                                                                                                            MPG                        The best vehicle rates 136 MPGe.
 Exterior Color: Bianco White Ice Exterior Paint                              Air Conditioning
 Interior Color: Nero (Black) Interior Ambient
 Interior: Premium Cloth Bucket Seats
                                                                                         EXTERIOR FEATURES
                                                                              16–Inch x 6.5–Inch Aluminum Wheels
                                                                                                                                                                                                                              28
                                                                                                                                                                                                                              city
                                                                                                                                                                                                                                   33
                                                                                                                                                                                                                                   highway
                                                                                                                                                                                                                                                                                                                   in fuel costs
 Engine: 1.4L I4 MultiAir Turbo Engine
 Transmission: 5–Speed Manual Transmission                                    Bi–Function Halogen Projector Headlamps                                                                      combined city/hwy                                                                                                       over 5 years
 STANDARD EQUIPMENT (UNLESS REPLACED BY OPTIONAL EQUIPMENT)                   Front Fog Lamps                                                                                                                                                                                                                      compared to the
              FUNCTIONAL/SAFETY FEATURES
  Advanced Multistage Front Airbags
                                                                              Body–Color Power–Heated Mirrors                                                                                3.3 gallons per 100 miles                                                                                             average new vehicle.
                                                                              Tinted Glass Windows
  Supplemental Front Seat–Mounted Side Airbags
  Supplemental Side–Curtain Front Airbags
  Driver Inflatable Knee–Bolster Airbag
                                                                              Chrome Exhaust Tip
                                                                              Sport Spoiler                                                                                        Annual fuel               cost                        Fuel Economy & Greenhouse Gas Rating (tailpipe only)                              Smog Rating (tailpipe only)

                                                                              Tire Service Kit (No Compact Spare)


                                                                                                                                                                                      $1,500
  Front Seat Reactive Head Restraints                                                                                                                                                                                                                                                                                        1                    10
                                                                              OPTIONAL EQUIPMENT                 (May Replace Standard Equipment)                                                                                             1                                                           10
  LATCH Ready Child Seat Anchor System                                        Customer Preferred Package 2HC                                                                                                                                                                                               Best                                   Best
  ParkView® Rear Back–Up Camera                                               Roof & Mirror Cap Red Package                                                  $295                                                                         This vehicle emits 299 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing
  Electronic Stability Control                                                                                                                                                                                                            and distributing fuel also creates emissions; learn more at fueleconomy.gov.
                                                                               Rosso (Red) Roof
  Anti–Lock 4–Wheel Disc Performance Brakes




                                                                                                                                                                                                                                                                                                                                   Smartphone
                                                                               Roof–Color Exterior Mirrors                                                                    Actual results will vary for many reasons, including driving conditions and how you drive and maintain your




                                                                                                                                                                                                                                                                                                                                   QR Code™
  Sport–Tuned Suspension                                                                                                                                                      vehicle. The average new vehicle gets 27 MPG and cost $7,000 to fuel over 5 years. Cost estimates are
                                                                               Two–Tone Paint Group                                                                           based on 15,000 miles per year at $3.00 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
  Tire Specific Pressure Monitoring Display                                   Black / Gray (Nero / Grigio) Seats                                                              emissions are a significant cause of climate change and smog.
  Hill Start Assist
  Power Door Locks
                                                                              Destination Charge                                                         $1,495
                                                                                                                                                                             fueleconomy.gov
                                                                                                                                                                             Calculate personalized estimates and compare vehicles
  Remote Keyless Entry
  Speed Control
  Rear Window Wiper / Washer                                                                   TOTAL PRICE: *                         $18,285
  Engine Immobilizer                                                                                                                                                                 GOVERNMENT 5–STAR SAFETY RATINGS                                                                                   PARTS CONTENT INFORMATION
  135 Horsepower Rating                                                       WARRANTY COVERAGE
              INTERIOR FEATURES
                                                                              Basic Warranty: 4 Year / 50,000 Miles.                                                               Overall Vehicle Score                                                   Not Rated                           FOR VEHICLES IN THIS CARLINE:
  Uconnect® 3 with 5–Inch Display
                                                                              Powertrain Warranty: 4 Year / 50,000 Miles.                                                          Based on the combined ratings of frontal, side, and rollover.                                               U.S./CANADIAN PARTS CONTENT: 12%
                                                                              Roadside assistance; certain restrictions apply.                                                     Should ONLY be compared to other vehicles of similar size and weight.
  5.0–Inch Touchscreen Display                                                                                                                                                                                                                                                                 MAJOR SOURCES OF FOREIGN PARTS
  Integrated Voice Command with Bluetooth®                                                                                                                                                                                                                                                     CONTENT:
  Rear View Mirror with Microphone                                                                                                                                                 Frontal                              Driver                                                             MEXICO : 42% ITALY : 15%
  Media Hub (USB, Aux) in Center Console                                                                                                                                           Crash                                Passenger
                                                                                                                                                                                   Based on the risk of injury in a frontal impact.
                                                                                                                                                                                                                                                                                            NOTE: PARTS CONTENT DOES NOT INCLUDE FINAL
                                                                                                                                                                                                                                                                                               ASSEMBLY, DISTRIBUTION, OR OTHER
  USB Port in Glovebox
                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.                                       NON–PARTS COSTS.
  Premium 7–Inch Color Cluster Display
  Electronic Vehicle Information Center                                                                                                                                                                                                                                                        FOR THIS VEHICLE:
  FIAT Premium Audio System                                                                                                                                                        Side                                 Front seat                         Not Rated                            FINAL ASSEMBLY POINT:
  Power Windows with Front One–Touch–Down Feature                                                                                                                                  Crash                                Rear seat                          Not Rated                            TOLUCA, MEXICO
  12–Volt Auxiliary Power Outlet in Center Console                                                                                                                                 Based on the risk of injury in a side impact.                                                               COUNTRY OF ORIGIN:
  Leather–Wrapped Steering Wheel                                                                                                                                                                                                                                                               ENGINE: ITALY
  Steering Wheel Mounted Audio Controls                                                                                                                                            Rollover
                                                                                                                                                                                   Based on the risk of rollover in a single–vehicle crash.
                                                                                                                                                                                                                                                                                           TRANSMISSION: ITALY
  Tilt Steering Column
  Premium Cloth Bucket Seats                                                                                                                                                        Star ratings range from 1 to 5 stars () with 5 being the highest.
Assembly Point/Port of Entry: TOLUCA, MEXICO               S.L.   SHIP TO:                                    SOLDTO:                                                                    Source: National Highway Traffic Safety Administration (NHTSA)
                                                                                                                                                                                                       www.safercar.gov or 1–888–327–4236
VIN   : 3C3–CFFKH5KT–803334              L4–VON:   7439   0617
                                                                                                                                                                            The safety ratings above are based on Federal Government tests of particular vehicles
                                                                   THIS LABEL IS ADDED TO THIS VEHICLE TO COMPLY WITH FEDERAL LAW. THE LABEL CANNOT BE REMOVED              equipped with certain features and options. The performance of this vehicle may differ.
                                                                   OR ALTERED PRIOR TO DELIVERY TO THE ULTIMATE PURCHASER.
                                                                                                                                                                            Bumper Performance
                                                                   * STATE AND/OR LOCAL TAXES IF ANY, LICENSE AND TITLE FEES AND DEALER SUPPLIED AND                        This vehicle is equipped with bumper systems that can with stand a frontal barrier impact speed of 2.5 miles per
                                                                   INSTALLED OPTIONS AND ACCESSORIES ARE NOT INCLUDED IN THIS PRICE. DISCOUNT, IF ANY,
                                                                   IS BASED ON PRICE OF OPTIONS IF PURCHASED SEPARATELY.                                                    hour and a rear barrier impact speed of 2.5 miles per hour with no more damage than allowed by the Federal
                                                                                                                                                                            bumper standard. The Federal bumper standard allows damage to the bumpers and attaching hardware and
                                                                                                                                                                            specifies barrier tests to be conducted at 2.5 miles per hour.


                                                                                                                                                                 Ex. 1 - Page 34
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                                     #:2021
Year: 2012                                                                              Engine: 4 Cylinder Engine
Make: Honda                                                                             Transmission: 5-Speed A/T
Model: Civic Sdn 4dr Auto LX                                                            Exterior:
VIN: 19XFB2F55CE371153                                                                  Interior:

                                              · Maintenance Minder system                         CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Pwr windows w/driver auto-up/down

· 1.8L SOHC MPFI 16-valve i-VTEC I4
                                              · Illuminated driver window/driver door lock
                                              controls                                               28                                                                                         39
engine                                        · Remote fuel filler door release
                                                                                                       Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Aluminum-alloy engine block                 · Interior remote trunk release w/lock
· Drive-by-wire throttle                      · Security system
· Eco Assist system                           · Immobilizer theft-deterrent system
· Compact 5-speed automatic                   · Air conditioning w/air filtration system        New
transmission w/OD                             · Rear seat heater ducts
· Front wheel drive                           · Rear window defroster w/timer
                                                                                                MSRP                                                                                           $18,805.00
· MacPherson strut front suspension           · Front 12V aux pwr outlet
· Multi-link rear suspension                  · Coin tray                                       INSTALLED OPTIONS
· Front & rear stabilizer bars                · Front cup holders                               Original Shipping Charge                                                                       $790
· Motion-adaptive electric pwr rack &         · Front door pocket storage bins
pinion steering                               · Dual visor vanity mirrors                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,595.00
· Pwr ventilated front disc/rear drum         · Map lights
brakes                                        · Cargo area light

EXTERIOR                                      SAFETY
                                                                                                Get more information on your smartphone:
· P195/65HR15 all-season tires                · 4-wheel anti-lock braking system (ABS)
· Compact spare tire & wheel                  w/electronic brake distribution (EBD)
· Body-colored bumpers                        · Brake assist
· Multi-reflector auto-off halogen            · Vehicle Stability Assist (VSA) w/traction
headlights                                    control
· Body-colored pwr mirrors                    · Advanced Compatibility Engineering
· 2-speed intermittent windshield wipers      (ACE) body structure
· Body-colored door handles                   · Side-impact door beams
                                              · Daytime running lights
ENTERTAINMENT                                 · Front & rear side curtain airbags
                                              · 3-point seat belts in all seating positions -
· Integrated rear window antenna              inc: front automatic tensioning system,
                                              adjustable front seat belt anchors
INTERIOR                                      · Child-proof rear door locks
                                              · 2nd row lower anchors & tethers for
· Cloth reclining front bucket seats -inc:    children (LATCH) -inc: outboard lower
driver manual height adjustment, active       anchors, tether anchors for all positions
adjustable head restraints                    · Emergency trunk release
· Fold-down rear seatback -inc:               · Tire pressure monitoring system
adjustable head restraints
· Center console w/armrest, storage
compartment
· Driver footrest
· Tilt/telescoping steering column
· 2-tier instrument panel w/blue backlit
gauges -inc: tachometer
· Indicator lights -inc: trunk/door-open,
low fuel/oil, coolant temp, front
passenger front & front side airbag
status
· Intelligent multi-information display (i-
MID) -inc: welcome screen,
customizable settings, digital odometer,
(2) digital trip meters, clock, average
speed, elapsed time, average fuel
economy, miles-to-empty
· Headlights-on reminder




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   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 37 of 155 Page ID
                                      #:2022
Year: 2015                                                                                      Engine: 4 Cylinder Engine
Make: Honda                                                                                     Transmission: CVT Transmission
Model: CR-V                                                                                     Colors: Crystal Black Pearl / Black
VIN: 2HKRM3H73FH538797                                                                          Mileage: 51,481

                                                   · Front Cupholder
MECHANICAL                                         · Rear Cupholder
                                                                                                            CITY MPG                                                                          HIGHWAY MPG

                                                                                                              27                                                                                          34
                                                   · Compass
· 5.048 Axle Ratio                                 · Valet Function
· GVWR: TBD                                        · Remote Releases -Inc: Mechanical Fuel
· Front-Wheel Drive                                · Cruise Control w/Steering Wheel Controls
                                                                                                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 36-Amp/Hr 410CCA Maintenance-Free Battery        · HVAC -inc: Underseat Ducts and Console Ducts
· Gas-Pressurized Shock Absorbers                  · Locking Glove Box
· Front And Rear Anti-Roll Bars                    · Driver Foot Rest
· Electric Power-Assist Speed-Sensing Steering
· 15.3 Gal. Fuel Tank
                                                   · Full Cloth Headliner
                                                   · Interior Trim -inc: Simulated Wood Instrument
                                                                                                         New
· Single Stainless Steel Exhaust                   Panel Insert, Metal-Look Door Panel Insert, Metal-
· Strut Front Suspension w/Coil Springs            Look Console Insert, Chrome And Metal-Look
· Multi-Link Rear Suspension w/Coil Springs        Interior Accents                                      MSRP                                                                                            $29,645.00
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front         · Leatherette Door Trim Insert                        INSTALLED OPTIONS
Vented Discs, Brake Assist and Hill Hold Control   · Leather Gear Shift Knob
                                                   · Driver And Passenger Visor Vanity Mirrors           Crystal Black Pearl                                                                             $0
EXTERIOR                                           w/Driver And Passenger Illumination
                                                                                                         Black, Leather Seat Trim                                                                        $0
                                                   · Full Floor Console w/Covered Storage, Mini
· Tires: P225/65R17 102T All-Season                Overhead Console w/Storage, Conversation Mirror       Wheels: 17" 10 Spoke Alloy                                                                      $1,516
· 6.5" Wheels w/Silver Accents                     and 2 12V DC Power Outlets
· Steel Spare Wheel                                · Front Map Lights
                                                                                                         Original Shipping Charge                                                                        $900
· Compact Spare Tire Mounted Inside Under          · Fade-To-Off Interior Lighting                       RETAIL PRICE (ORIGINALLY NEW)                                                                   $32,061.00
Cargo                                              · Carpet Floor Trim
· Clearcoat Paint                                  · Roll-Up Cargo Cover
· Express Open/Close Sliding And Tilting Glass     · Cargo Space Lights
1st Row Sunroof w/Sunshade
· Body-Colored Front Bumper w/Colored Rub
                                                   · Instrument Panel Bin, Driver / Passenger And Rear
                                                   Door Bins
                                                                                                         Used
Strip/Fascia Accent and Black Bumper Insert        · Delayed Accessory Power
· Body-Colored Rear Bumper w/Colored Rub
Strip/Fascia Accent and Black Bumper Insert
                                                   · Systems Monitor
                                                   · Outside Temp Gauge
                                                                                                         PRICE                                                                                     $18,995.00
· Black Bodyside Cladding and Black Wheel Well     · Analog Display
Trim                                               · Manual Adjustable Front Head Restraints and
· Chrome Side Windows Trim and Black Front         Manual Adjustable Rear Head Restraints
Windshield Trim
· Body-Colored Door Handles
                                                   · Sliding Front Center Armrest and Rear Center
                                                   Armrest
                                                                                                         Get more information on your smartphone:
· Body-Colored Power Heated Side Mirrors           · 2 Seatback Storage Pockets
w/Convex Spotter and Manual Folding                · Seats w/Vinyl Back Material
· Fixed Rear Window w/Fixed Interval Wiper,        · Perimeter Alarm
Heated Wiper Park and Defroster                    · 2 12V DC Power Outlets
· Deep Tinted Glass                                · Air Filtration
· Speed Sensitive Variable Intermittent Wipers
· Fully Galvanized Steel Panels                    SAFETY
· Black Grille w/Chrome Surround
· Liftgate Rear Cargo Access                       · Side Impact Beams
· Roof Rack Rails Only                             · Dual Stage Driver And Passenger Seat-Mounted
· Programmable Aero-Composite Halogen              Side Airbags
Daytime Running Headlamps w/Delay-Off              · Low Tire Pressure Warning
· Front Fog Lamps                                  · Dual Stage Driver And Passenger Front Airbags
                                                   · Curtain 1st And 2nd Row Airbags
ENTERTAINMENT                                      · Airbag Occupancy Sensor
                                                   · Rear Child Safety Locks
· Radio: AM/FM/CD/SiriusXM Audio System -inc:      · Outboard Front Lap And Shoulder Safety Belts -
328-Watts, 7 speakers including subwoofer, 7"      inc: Rear Center 3 Point, Height Adjusters and
display w/high-resolution WVGA electrostatic       Pretensioners
touch-screen, customizable feature settings,       · Back-Up Camera
HondaLink Next Generation, Bluetooth streaming     · Honda LaneWatch Right Side Camera
audio, Pandora Internet radio compatibility,
USB/display audio interfaces, MP3/Windows
Media Audio playback capability, Radio Data
System and Speed-Sensitive Volume Control
· Audio Theft Deterrent
· Integrated Roof Antenna
· Bluetooth Handsfreelink Wireless Phone
Connectivity

INTERIOR

· Heated Front Bucket Seats -inc: driver's seat
w/10-way power adjustment and power lumbar
support
· 4-Way Passenger Seat -inc: Manual Recline
and Fore/Aft Movement
· 60-40 Folding Split-Bench Front Facing Flip
Forward Cushion/Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Leather/Metal-Look Steering Wheel                                                                                               LVMotorcars.com
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                                      #:2023
Year: 2016                                                                                       Engine: 4 Cylinder Engine
Make: Honda                                                                                      Transmission: CVT Transmission
Model: CR-V AWD 5dr EX                                                                           Exterior:
VIN: 2HKRM4H55GH606748                                                                           Interior:

                                                    · Rear Cupholder
MECHANICAL                                          · Compass

· 5.048 Axle Ratio
                                                    · Valet Function
                                                    · Remote Releases -Inc: Mechanical Fuel
                                                                                                          New
· GVWR: TBD                                         · Cruise Control w/Steering Wheel Controls
· Automatic Full-Time All-Wheel Drive               · Manual Air Conditioning                             MSRP                             $27,395.00
· 36-Amp/Hr 410CCA Maintenance-Free Battery         · HVAC -inc: Underseat Ducts and Console Ducts
· Gas-Pressurized Shock Absorbers                   · Locking Glove Box                                   INSTALLED OPTIONS
· Front And Rear Anti-Roll Bars                     · Driver Foot Rest                                    Original Shipping Charge         $940
· Electric Power-Assist Speed-Sensing Steering      · Full Cloth Headliner
· 15.3 Gal. Fuel Tank                               · Cloth Door Trim Insert                              RETAIL PRICE (ORIGINALLY NEW)    $28,335.00
· Single Stainless Steel Exhaust                    · Urethane Gear Shift Knob
· Permanent Locking Hubs                            · Interior Trim -inc: Metal-Look Instrument Panel
· Strut Front Suspension w/Coil Springs             Insert, Metal-Look Console Insert, Chrome And
· Multi-Link Rear Suspension w/Coil Springs         Metal-Look Interior Accents
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front          · Day-Night Rearview Mirror
Vented Discs, Brake Assist and Hill Hold Control    · Driver And Passenger Visor Vanity Mirrors           Get more information on your smartphone:
                                                    w/Driver And Passenger Illumination
EXTERIOR                                            · Full Floor Console w/Covered Storage, Mini
                                                    Overhead Console w/Storage, Conversation Mirror
· Tires: P225/65R17 102T All-Season                 and 2 12V DC Power Outlets
· Steel Spare Wheel                                 · Front Map Lights
· Compact Spare Tire Mounted Inside Under           · Fade-To-Off Interior Lighting
Cargo                                               · Carpet Floor Trim
· Clearcoat Paint                                   · Roll-Up Cargo Cover
· Express Open/Close Sliding And Tilting Glass      · Cargo Space Lights
1st Row Sunroof w/Sunshade                          · Instrument Panel Bin, Driver / Passenger And Rear
· Body-Colored Front Bumper w/Colored Rub           Door Bins
Strip/Fascia Accent and Black Bumper Insert         · Delayed Accessory Power
· Body-Colored Rear Bumper w/Colored Rub            · Systems Monitor
Strip/Fascia Accent and Black Bumper Insert         · Outside Temp Gauge
· Black Bodyside Cladding and Black Wheel Well      · Analog Display
Trim                                                · Manual Adjustable Front Head Restraints and
· Chrome Side Windows Trim and Black Front          Manual Adjustable Rear Head Restraints
Windshield Trim                                     · Sliding Front Center Armrest and Rear Center
· Body-Colored Door Handles                         Armrest
· Body-Colored Power Side Mirrors w/Convex          · Seats w/Premium Cloth Back Material
Spotter and Manual Folding                          · 2 Seatback Storage Pockets
· Fixed Rear Window w/Fixed Interval Wiper,         · Perimeter Alarm
Heated Wiper Park and Defroster                     · 2 12V DC Power Outlets
· Deep Tinted Glass                                 · Air Filtration
· Speed Sensitive Variable Intermittent Wipers
· Fully Galvanized Steel Panels                     SAFETY
· Black Grille w/Chrome Surround
· Liftgate Rear Cargo Access                        · Side Impact Beams
· Programmable Aero-Composite Halogen               · Dual Stage Driver And Passenger Seat-Mounted
Daytime Running Headlamps w/Delay-Off               Side Airbags
· Front Fog Lamps                                   · Low Tire Pressure Warning
                                                    · Dual Stage Driver And Passenger Front Airbags
ENTERTAINMENT                                       · Curtain 1st And 2nd Row Airbags
                                                    · Airbag Occupancy Sensor
· Radio: AM/FM/CD Audio System w/6 Speakers         · Rear Child Safety Locks
-inc: 160-Watts, 7" display w/high-resolution       · Outboard Front Lap And Shoulder Safety Belts -
WVGA electrostatic touch-screen, customizable       inc: Rear Center 3 Point, Height Adjusters and
feature settings, Bluetooth streaming audio,        Pretensioners
Pandora Internet radio compatibility, USB/display   · Back-Up Camera
audio interfaces, MP3/Windows Media Audio           · Honda LaneWatch Right Side Camera
playback capability, Radio Data System and
Speed-Sensitive Volume Control
· Radio w/Seek-Scan, Clock and Steering Wheel
Controls
· Audio Theft Deterrent
· Integrated Roof Antenna
· Bluetooth Handsfreelink Wireless Phone
Connectivity

INTERIOR

· Heated Front Bucket Seats -inc: driver's seat
w/10-way power adjustment and power lumbar
support
· 4-Way Passenger Seat -inc: Manual Recline
and Fore/Aft Movement
· 60-40 Folding Split-Bench Front Facing Flip
Forward Cushion/Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Front Cupholder                                                                                                      www.BillMarsh.com
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                                      #:2024
Year: 2014                                                                                       Engine: 4 Cylinder Engine
Make: Honda                                                                                      Transmission: 5-Speed A/T
Model: CR-V 2WD 5dr EX                                                                           Colors: Urban Titanium Metallic / Beige
VIN: 2HKRM3H51EH543901                                                                                                                                                                                   Stock #: 2539A

                                                    · Manual Tilt/Telescoping Steering Column
MECHANICAL                                          · Front Cupholder
                                                                                                            CITY MPG                                                                           HIGHWAY MPG

                                                                                                               22                                                                                          29
                                                    · Rear Cupholder
· 4.44 Axle Ratio                                   · Compass
· GVWR: 4,464 lbs                                   · Valet Function
· Front-Wheel Drive                                 · Remote Releases -Inc: Mechanical Fuel
                                                                                                                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 36-Amp/Hr 410CCA Maintenance-Free Battery         · Cruise Control w/Steering Wheel Controls
· 850# Maximum Payload                              · Manual Air Conditioning
· Gas-Pressurized Shock Absorbers                   · HVAC -inc: Underseat Ducts
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                    · Locking Glove Box
                                                    · Driver Foot Rest
                                                                                                          New
· 15.3 Gal. Fuel Tank                               · Interior Trim -inc: Metal-Look Instrument Panel
· Single Stainless Steel Exhaust                    Insert, Metal-Look Console Insert and Metal-Look
· Strut Front Suspension w/Coil Springs             Interior Accents                                      MSRP                                                                                            $25,220.00
· Multi-Link Rear Suspension w/Coil Springs         · Full Cloth Headliner                                INSTALLED OPTIONS
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front          · Cloth Door Trim Insert
Vented Discs, Brake Assist and Hill Hold Control    · Urethane Gear Shift Knob                            Urban Titanium Metallic                                                                         $0
                                                    · Day-Night Rearview Mirror
                                                                                                          Beige, Cloth Seat Trim                                                                          $0
EXTERIOR                                            · Driver And Passenger Visor Vanity Mirrors
                                                    w/Driver And Passenger Illumination                   Original Shipping Charge                                                                        $880
· Wheels: 17" 10-Spoke Alloy                        · Full Floor Console w/Covered Storage, Mini
· Tires: P225/65R17 102T All-Season                 Overhead Console w/Storage, Conversation Mirror       RETAIL PRICE (ORIGINALLY NEW)                                                                   $26,100.00
· 6.5" Wheels w/Silver Accents                      and 2 12V DC Power Outlets
· Steel Spare Wheel                                 · Front Map Lights
· Compact Spare Tire Mounted Inside Under           · Fade-To-Off Interior Lighting
Cargo                                               · Full Carpet Floor Covering -inc: Carpet Front And
· Clearcoat Paint                                   Rear Floor Mats
· Express Open/Close Sliding And Tilting Glass      · Carpet Floor Trim                                   Get more information on your smartphone:
1st Row Sunroof w/Sunshade                          · Roll-Up Cargo Cover
· Body-Colored Front Bumper w/Black Rub             · Cargo Space Lights
Strip/Fascia Accent                                 · Instrument Panel Bin, Driver / Passenger And Rear
· Body-Colored Rear Bumper w/Black Rub              Door Bins
Strip/Fascia Accent                                 · Delayed Accessory Power
· Black Bodyside Cladding and Black Wheel Well      · Outside Temp Gauge
Trim                                                · Analog Display
· Chrome Side Windows Trim and Black Front          · Manual Adjustable Front Head Restraints and
Windshield Trim                                     Manual Adjustable Rear Head Restraints
· Body-Colored Door Handles                         · Driver And Front Passenger Armrests and Rear
· Body-Colored Power Side Mirrors w/Convex          Center Armrest
Spotter and Manual Folding                          · Seats w/Premium Cloth Back Material
· Fixed Rear Window w/Fixed Interval Wiper,         · 2 Seatback Storage Pockets
Heated Wiper Park and Defroster                     · Perimeter Alarm
· Deep Tinted Glass                                 · 2 12V DC Power Outlets
· Speed Sensitive Variable Intermittent Wipers      · Air Filtration
· Fully Galvanized Steel Panels
· Chrome Grille                                     SAFETY
· Liftgate Rear Cargo Access
· Programmable Aero-Composite Halogen               · Side Impact Beams
Daytime Running Headlamps w/Delay-Off               · Dual Stage Driver And Passenger Seat-Mounted
· Front Fog Lamps                                   Side Airbags
                                                    · Low Tire Pressure Warning
ENTERTAINMENT                                       · Dual Stage Driver And Passenger Front Airbags
                                                    · Curtain 1st And 2nd Row Airbags
· Radio: AM/FM/CD Audio System w/6 Speakers         · Airbag Occupancy Sensor
-inc: 160-Watts, Bluetooth streaming audio,         · Rear Child Safety Locks
Pandora Internet radio compatibility, USB audio     · Outboard Front Lap And Shoulder Safety Belts -
interface, MP3/auxiliary input jack, MP3/Windows    inc: Rear Center 3 Point, Height Adjusters and
Media Audio playback capability, Radio Data         Pretensioners
System and Speed-Sensitive Volume Control           · Back-Up Camera
· Radio w/Clock and Steering Wheel Controls
· Audio Theft Deterrent
· Integrated Roof Antenna
· Bluetooth Handsfreelink Wireless Phone
Connectivity
· 1 LCD Monitor In The Front

INTERIOR

· Front Bucket Seats -inc: driver's seat w/manual
height adjustment
· Driver Seat
· 4-Way Passenger Seat -inc: Manual Recline
and Fore/Aft Movement
· 60-40 Folding Split-Bench Front Facing Flip
Forward Cushion/Seatback Rear Seat

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                                     #:2025
Year: 2011                                                                             Engine: 4 Cylinder Engine
Make: Hyundai                                                                          Transmission: 6-Speed A/T
Model: Sonata 4dr Sdn 2.4L Auto GLS PZEV                                               Exterior: Iridescent Silver Blue Pearl
VIN: 5NPEB4AC8BH264024                                                                 Interior: Gray

                                           · Warning chimes -inc: key-in-ignition                  CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                 w/door ajar, seatbelt

· 2.4L DOHC 16-valve I4 GDI engine
                                           · Trip computer
                                           · Pwr windows w/driver auto up/down,                       22                                                                                          35
· Continuous variable valve timing         pinch protection
                                                                                                         Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
(CVVT)                                     · Remote fuel/hood/trunk release
· 6-speed automatic transmission w/OD,     · Active ECO system
SHIFTRONIC                                 · Air conditioning -inc: cabin air filter            INSTALLED OPTIONS
· Front wheel drive                        · Rear window defroster
                                                                                                Popular Equipment PKG 2                                                                          $750
· 110-amp alternator                       · Locking glovebox
· MacPherson strut front suspension        · Cloth door trim                                        pwr driver's seat
                                                                                                    pwr driver lumbar support
w/gas shocks                               · Metalgrain interior accents                            automatic headlight control
· Independent multi-link rear suspension   · Map pockets                                            chrome interior door handles
w/gas shocks                               · (4) door bottle holders                                leatherette door trim
                                                                                                    16" alloy wheels
· Front/rear stabilizer bars               · Dual sunvisors w/illuminated vanity
                                                                                                Iridescent Silver Blue Pearl                                                                     $0
· 4-wheel disc brakes                      mirrors
                                           · (3) assist grips                                   Gray, Cloth Seats                                                                                $0
EXTERIOR                                   · Lighting -inc: dome, front map lights,             Ipod Cable                                                                                       $35
                                           ignition, glovebox, cargo                            Cargo Net                                                                                        $50
· P205/65R16 all-season tires              · Seatback pockets
· Compact spare tire                       · Rear coat hanger                                   Bumper Applique                                                                                  $50
· Body-color bumpers                                                                            Mud Guard                                                                                        $85
· Body-color heated pwr mirrors w/timer    SAFETY                                               Carpeted Floor Mats                                                                              $100
· Body-color grille
                                                                                                Original Shipping Charge                                                                         $750
· Chrome hood garnish                      · 4-wheel anti-lock brakes (ABS) -inc:
· Chrome window trim                       electronic brake-force distribution (EBD),
· Solar control glass                      brake assist
· Projector-lens headlights                · Traction control system (TCS)
· Speed-sensitive variable intermittent    w/electronic stability control (ESC)
windshield wipers                          · Shift interlock system
· Body-color door handles                  · Body-side reinforcements
                                           · Hood buckling creases & safety stops
ENTERTAINMENT                              · Daytime running lamps
                                           · Front/rear crumple zones
· 104-watt AM/FM/XM stereo w/CD/MP3        · Driver/front passenger seat-mounted
player -inc: (6) speakers, iPod/USB/aux    side-impact airbags
inputs, 3-month subscription               · Front/rear side-curtain airbags
· Shark fin style antenna                  · 3-point seatbelts for all seating positions
                                           · Front seat belt pretensioners & force
INTERIOR                                   limiters
                                           · Childproof rear door locks
· Front bucket seats w/active head         · Emergency internal trunk release
restraints                                 · Lower anchors & upper tether anchors
· Rear 60/40 split-fold seats w/outboard   (LATCH)
headrests                                  · Energy-absorbing steering column
· Dual tier console w/armrest, storage,
(2) cupholders
· Rear center armrest w/(2) cupholders
· (2) center console mounted 12-volt pwr
outlets
· Full floor carpeting
· Door sill scuff plates
· Instrumentation -inc: speedometer,
tachometer, coolant temp, fuel level,
odometer, trip odometer, digital clock
· Indicators -inc: PRND, cruise control,
turn signal/hazard, high beam,
ESC/TCS, ECO




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                                     #:2026
Year: 2012                                                                                  Engine: 4 Cylinder Engine
Make: Hyundai                                                                               Transmission: 6-Speed A/T
Model: Sonata 4dr Sdn 2.0T Auto Limited                                                     Exterior: Midnight Black
VIN: 5NPEC4AB3CH345809                                                                      Interior: Gray

                                                · Indicators -inc: PRND, cruise control, turn
                                                                                                       CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                      signal/hazard, high beam, ESC/TCS, ECO

· 2.0L DOHC 16-valve I4 turbocharged GDI
                                                · Warning chimes -inc: key-in-ignition w/door
                                                ajar, seatbelt
                                                · Trip computer
                                                                                                          22                                                                                         34
engine
· Dual continuously variable valve timing       · Pwr windows w/driver auto up/down, pinch                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 6-speed automatic transmission w/OD,          protection
SHIFTRONIC -inc: steering wheel mounted         · Remote fuel/hood/trunk release
paddle shifters
· Front wheel drive
                                                · Active ECO system
                                                · Dual automatic climate control -inc: outside       New
· 110-amp alternator                            temp gauge, cabin air filter, rear seat heat
· MacPherson strut front suspension w/gas       ducts
                                                                                                     MSRP                                                                                           $28,195.00
shocks                                          · Rear window defroster
· Independent multi-link rear suspension        · Locking glovebox                                   INSTALLED OPTIONS
w/gas shocks                                    · Leatherette door trim                              Navigation PKG                                                                                 $2,200
· Front/rear stabilizer bars                    · Piano black or woodgrain interior accents
                                                · Map pockets                                           7" touch screen navigation system
· 4-wheel disc brakes                                                                                   rear backup camera
· Chrome tipped dual exhaust                    · door bottle holders                                   (9) Infinity premium speakers
                                                · Electrochromic rearview mirror -inc:                  subwoofer
EXTERIOR                                        HomeLink universal garage door opener,                  400-watt amp
                                                compass                                                 XM NavTraffic
                                                                                                        XM NavWeather
· 18" hyper silver alloy wheels                 · Dual sunvisors w/illuminated vanity mirrors           XM sports
· P225/45R18 performance tires                  · assist grips                                          XM stocks w/3-month complimentary subscription
· Compact T125/80D16 spare tire                 · Lighting -inc: dome, front map lights, ignition,   Midnight Black                                                                                 $0
· Panoramic tilt/slide glass front sunroof -    glovebox, cargo, rear reading lights
                                                · Leather-wrapped shift knob                         Gray, Leather Seats                                                                            $0
inc: fixed rear glass roof, sunshade
· Body-color bumpers                            · Seatback pockets                                   Ipod Cable                                                                                     $35
· Body-color heated pwr mirrors w/timer -       · Rear coat hanger
                                                                                                     Cargo Mat                                                                                      $95
inc: turn signal indicators
· Dark chrome grille                            SAFETY                                               Carpeted Floor Mats                                                                            $100
· Chrome hood garnish                                                                                Original Shipping Charge                                                                       $775
· Chrome window trim                            · 4-wheel anti-lock brakes -inc: electronic
· Fog lights                                    brake-force distribution , brake assist              RETAIL PRICE (ORIGINALLY NEW)                                                                  $31,400.00
· Solar control glass                           · Traction control system w/electronic stability
· Projector-lens headlights -inc: auto on/off   control
control                                         · Shift interlock system
· Speed-sensitive variable intermittent         · Body-side reinforcements
windshield wipers                               · Hood buckling creases & safety stops               Get more information on your smartphone:
· Chrome accent door handles                    · Daytime running lamps
                                                · Front/rear crumple zones
ENTERTAINMENT                                   · Driver/front passenger seat-mounted side-
                                                impact airbags
· 360-watt AM/FM/XM stereo w/CD/MP3             · Front/rear side-curtain airbags
player -inc: Dimension premium speakers,        · Blue Link telematics system
iPod/USB/aux inputs, 3-month subscription,      · 3-point seatbelts for all seating positions
HD radio w/multicasting                         · Front seat belt pretensioners & force limiters
· Shark fin style antenna                       · Childproof rear door locks
                                                · Emergency internal trunk release
INTERIOR                                        · Lower anchors & upper tether anchors
                                                · Energy-absorbing steering column
· Heated front bucket seats -inc: 8-way pwr
driver, pwr driver lumbar, active head
restraints
· Heated rear seat bottom cushions
· Rear 60/40 split-fold seats w/outboard
headrests
· Dual tier console w/armrest, storage,
cupholders
· Rear center armrest w/ cupholders
· center console mounted 12-volt pwr
outlets
· Full floor carpeting
· Premium metalgrain door sill scuff plates
· Instrumentation -inc: speedometer,
tachometer, coolant temp, fuel level,
odometer, trip odometer, digital clock

                                                                                                          Mullinax Ford Palm
                                                                                                                Beach
                                                                               MonroneyLabels.com
                                                                                Ex. 1 - Page 40
  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 42 of 155 Page ID
                                     #:2027
Year: 2013                                                                                  Engine: 4 Cylinder Engine
Make: Hyundai                                                                               Transmission: 6-Speed A/T
Model: Sonata 4dr Sdn 2.0T Auto Limited                                                     Exterior: Midnight Black
VIN: 5NPEC4AB3DH551388                                                                      Interior: Black

                                                · Indicators -inc: PRND, cruise control, turn
                                                                                                       CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                      signal/hazard, high beam, ESC/TCS, ECO

· 2.0L DOHC 16-valve I4 turbocharged GDI
                                                · Warning chimes -inc: key-in-ignition w/door
                                                ajar, seatbelt
                                                · Trip computer
                                                                                                          22                                                                                         34
engine
· Dual continuously variable valve timing       · Pwr windows w/driver auto up/down, pinch                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 6-speed automatic transmission w/OD,          protection
SHIFTRONIC -inc: steering wheel mounted         · Remote fuel/hood/trunk release
paddle shifters
· Front wheel drive
                                                · Active ECO system
                                                · Dual automatic climate control -inc: outside       New
· 110-amp alternator                            temp gauge, cabin air filter, 2nd row air vents
· MacPherson strut front suspension w/gas       · Rear window defroster
                                                                                                     MSRP                                                                                           $27,595.00
shocks                                          · Locking glovebox
· Independent multi-link rear suspension        · Leatherette door trim                              INSTALLED OPTIONS
w/gas shocks                                    · Piano black or woodgrain interior accents          Premium PKG                                                                                    $2,900
· Front/rear stabilizer bars                    · Map pockets
                                                · door bottle holders                                   7" touch screen navigation system
· 4-wheel disc brakes                                                                                   rear backup camera
· Chrome tipped dual exhaust                    · Electrochromic rearview mirror -inc:                  (9) Infinity premium speakers
                                                HomeLink universal garage door opener,                  subwoofer
EXTERIOR                                        compass                                                 400-watt amp
                                                · Dual sunvisors w/illuminated vanity mirrors           pwr tilt/slide panoramic sunroof
                                                                                                        XM NavTraffic
· 18" hyper silver alloy wheels                 · assist grips                                          XM NavWeather
· P225/45R18 performance tires                  · Lighting -inc: dome, front map lights, ignition,      XM sports
· Compact T125/80D16 spare tire                 glovebox, cargo, rear reading lights                    XM stock w/90-day complimentary subscription
· Body-color bumpers                            · Leather-wrapped shift knob                         Midnight Black                                                                                 $0
· Body-color heated pwr mirrors w/timer -       · Seatback pockets
                                                · Rear coat hanger
                                                                                                     Black, Leather Seats                                                                           $0
inc: turn signal indicators
· Dark chrome grille                                                                                 Mud Guard                                                                                      $95
· Chrome hood garnish                           SAFETY                                               Cargo Mat                                                                                      $95
· Chrome window trim
                                                · 4-wheel anti-lock brakes -inc: electronic          Carpeted Floor Mats                                                                            $110
· Fog lights
· Solar control glass                           brake-force distribution , brake assist              Original Shipping Charge                                                                       $795
· Projector-lens headlights -inc: auto on/off   · Traction control system w/electronic stability
control                                         control                                              RETAIL PRICE (ORIGINALLY NEW)                                                                  $31,590.00
· Speed-sensitive variable intermittent         · Shift interlock system
windshield wipers                               · Body-side reinforcements
· Chrome accent door handles                    · Hood buckling creases & safety stops
                                                · Daytime running lamps
ENTERTAINMENT                                   · Front/rear crumple zones                           Get more information on your smartphone:
                                                · Driver/front passenger seat-mounted side-
· 360-watt AM/FM stereo w/CD/MP3 player         impact airbags
-inc: Dimension premium speakers,               · Front/rear side-curtain airbags
iPod/USB/aux inputs, HD radio                   · Blue Link telematics system
w/multicasting                                  · 3-point seatbelts for all seating positions
· SiriusXM satellite radio w/90-day             · Front seat belt pretensioners & force limiters
subscription                                    · Childproof rear door locks
· Shark fin style antenna                       · Emergency internal trunk release
                                                · Lower anchors & upper tether anchors
INTERIOR                                        · Energy-absorbing steering column

· Heated front bucket seats -inc: 8-way pwr
driver, pwr driver lumbar, active head
restraints
· Heated rear seat bottom cushions
· Rear 60/40 split-fold seats w/outboard
headrests
· Dual tier console w/armrest, storage,
cupholders
· Rear center armrest w/ cupholders
· center console mounted 12-volt pwr
outlets
· Full floor carpeting
· Premium metalgrain door sill scuff plates
· Instrumentation -inc: speedometer,
tachometer, coolant temp, fuel level,
odometer, trip odometer, digital clock




                                                                               MonroneyLabels.com
                                                                                Ex. 1 - Page 41
     Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 43 of 155 Page ID
                                        #:2028
Year: 2014                                                                                 Engine: 4 Cylinder Engine
Make: Hyundai                                                                              Transmission: 6-Speed A/T
Model: Sonata 4dr Sdn 2.4L Auto Limited                                                    Exterior: Phantom Black Metallic
VIN: 5NPEC4AC4EH868316                                                                     Interior: Gray

                                                 · Rear Cupholder
MECHANICAL                                       · Compass
                                                                                                      CITY MPG                                                                          HIGHWAY MPG

· Front-Wheel Drive
· 2.73 Axle Ratio
                                                 · Valet Function
                                                 · Remote Releases -Inc: Power Cargo Access
                                                 and Power Fuel
                                                                                                         24                                                                                         35
· 54-Amp/Hr Maintenance-Free Battery w/Run       · HomeLink Garage Door Transmitter                        Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                  · Cruise Control w/Steering Wheel Controls
· 150 Amp Alternator                             · Dual Zone Front Automatic Air Conditioning
· 4365# Gvwr                                     · HVAC -inc: Underseat Ducts and Console
· Gas-Pressurized Shock Absorbers                Ducts                                              New
· Front And Rear Anti-Roll Bars                  · Illuminated Locking Glove Box
· Electric Power-Assist Speed-Sensing            · Driver Foot Rest
Steering                                         · Full Cloth Headliner                             MSRP                                                                                           $27,000.00
· 18.5 Gal. Fuel Tank                            · Leatherette Door Trim Insert
· Single Stainless Steel Exhaust                 · Leather/Piano Black Gear Shift Knob
                                                                                                    INSTALLED OPTIONS
· Strut Front Suspension w/Coil Springs          · Interior Trim -inc: Metal-Look/Piano Black       Technology Package 05                                                                          $3,000
· Multi-Link Rear Suspension w/Coil Springs      Instrument Panel Insert, Piano Black Door Panel       Panoramic Tilt & Slide Front Sunroof
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front       Insert and Chrome Interior Accents                    fixed rear glass roof and sunshade
Vented Discs and Brake Assist                    · Driver And Passenger Visor Vanity Mirrors           HID Xenon Headlights
                                                 w/Driver And Passenger Illumination                   Radio: AM/FM/SiriusXM/CD/MP3 w/Navigation
EXTERIOR                                         · Day-Night Auto-Dimming Rearview Mirror              iPod/USB and auxiliary inputs
                                                 · Full Floor Console w/Covered Storage, Mini          9 Infinity premium speakers (2 front
                                                                                                       2 tweeters
· Wheels: 17 x 6.5J Aluminum Alloy               Overhead Console w/Storage and 2 12V DC               4 rear w/coaxial mounted tweeters
· Tires: P215/55R17                              Power Outlets                                         subwoofer
· Steel Spare Wheel                              · Front Map Lights                                    and external Infinity amplifier - 400 watts)
· Compact Spare Tire Mounted Inside Under        · Fade-To-Off Interior Lighting                       8-h color touchscreen display
Cargo                                            · Full Carpet Floor Covering                          and XM NavTraffic
· Clearcoat Paint                                · Carpet Floor Trim and Carpet Trunk Lid/Rear         XM NavWeather
                                                                                                       XM sports and stock (90-day complimentary
· Body-Colored Front Bumper                      Cargo Door Trim                                       subscription)
· Body-Colored Rear Bumper w/Gray Rub            · Cargo Space Lights                                  LED Taillights
Strip/Fascia Accent                              · Tracker System                                   Phantom Black Metallic                                                                         $0
· Chrome Side Windows Trim and Black Front       · Instrument Panel Covered Bin, Driver /
Windshield Trim                                  Passenger And Rear Door Bins                       Gray, Leather Seating Surfaces                                                                 $0
· Chrome Door Handles                            · Delayed Accessory Power                          Carpeted Floor Mats                                                                            $125
· Body-Colored Power Heated Side Mirrors         · Systems Monitor
w/Convex Spotter, Manual Folding and Turn        · Outside Temp Gauge                               All Weather Floor Mats                                                                         $130
Signal Indicator                                 · Digital/Analog Display                           First Aid Kit                                                                                  $30
· Fixed Rear Window w/Defroster                  · Manual Anti-Whiplash Adjustable Front Head
· Light Tinted Glass                             Restraints and Manual Adjustable Rear Head         Original Shipping Charge                                                                       $810
· Speed Sensitive Variable Intermittent Wipers   Restraints                                                                                                                                        $31,095.00
                                                                                                    RETAIL PRICE (ORIGINALLY NEW)
· Front Windshield -inc: Sun Visor Strip         · Front Center Armrest w/Storage and Rear
· Fully Galvanized Steel Panels                  Center Armrest
· Chrome Grille                                  · Perimeter Alarm
· Trunk Rear Cargo Access                        · 2 12V DC Power Outlets
· Fully Automatic Projector Beam Halogen         · Air Filtration
Daytime Running Headlamps w/Delay-Off                                                               Get more information on your smartphone:
· Front Fog Lamps                                SAFETY
· Perimeter/Approach Lights
                                                 · Side Impact Beams
ENTERTAINMENT                                    · Dual Stage Driver And Passenger Seat-
                                                 Mounted Side Airbags
·   Radio w/Clock and Steering Wheel Controls    · Blind Spot Sensor
·   Wireless Streaming                           · Tire Specific Low Tire Pressure Warning
·   Integrated Roof Antenna                      · Dual Stage Driver And Passenger Front Airbags
·   Bluetooth Wireless Phone Connectivity        · Curtain 1st And 2nd Row Airbags
                                                 · Airbag Occupancy Sensor
INTERIOR                                         · Rear Child Safety Locks
                                                 · Outboard Front Lap And Shoulder Safety Belts -
· Heated Front Bucket Seats -inc: multi-         inc: Rear Center 3 Point, Height Adjusters and
adjustable bucket, seatback pockets, 8-way       Pretensioners
power driver's seat w/lumbar support and         · Back-Up Camera
ventilated driver seat, Max, temperature can
be reached by; leather seats - 25 minutes,
seat cushion/seatback low setting 102
degrees Fahrenheit /115 degrees Fahrenheit
or high setting 108 degrees Fahrenheit /126
degrees Fahrenheit
· 60-40 Folding Bench Front Facing Heated
Fold Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Leather Steering Wheel
· Front Cupholder
                                                                                                                                   RevEuro.com
                                                                                                                                   702-490-5500
                                                                               MonroneyLabels.com
                                                                                Ex. 1 - Page 42
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 44 of 155 Page ID
                                      #:2029
Year: 2015                                                                                         Engine: 4 Cylinder Engine
Make: Hyundai                                                                                      Transmission: 6-Speed A/T
Model: Sonata 4dr Sdn 2.4L SE                                                                      Exterior: Quartz White Pearl
VIN: 5NPE24AF5FH252087                                                                             Interior: Beige

                                                      · Remote Releases -Inc: Power Cargo Access and
MECHANICAL                                            Power Fuel
                                                                                                              CITY MPG                                                                           HIGHWAY MPG

                                                                                                                 25                                                                                          37
                                                      · Cruise Control w/Steering Wheel Controls
· Front-Wheel Drive                                   · Manual Air Conditioning
· 2.88 Axle Ratio                                     · HVAC -inc: Underseat Ducts
· 80-Amp/Hr 640CCA Maintenance-Free Battery           · Illuminated Locking Glove Box
                                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
w/Run Down Protection                                 · Driver Foot Rest
· 150 Amp Alternator                                  · Interior Trim -inc: Metal-Look Instrument Panel
· Gas-Pressurized Shock Absorbers                     Insert, Metal-Look Door Panel Insert and Metal-Look
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                      Interior Accents
                                                      · Full Cloth Headliner
                                                                                                            New
· 18.5 Gal. Fuel Tank                                 · Cloth Door Trim Insert
· Single Stainless Steel Exhaust w/Chrome             · Urethane Gear Shift Knob
Tailpipe Finisher                                     · Premium Cloth Seating Surfaces                      MSRP                                                                                            $21,150.00
· Strut Front Suspension w/Coil Springs               · Day-Night Rearview Mirror                           INSTALLED OPTIONS
· Multi-Link Rear Suspension w/Coil Springs           · Driver And Passenger Visor Vanity Mirrors
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front            w/Driver And Passenger Illumination                   Quartz White Pearl                                                                              $0
Vented Discs, Brake Assist and Hill Hold Control      · Full Floor Console w/Covered Storage, Mini
                                                                                                            Beige, Premium Cloth Seating Surfaces                                                           $0
                                                      Overhead Console w/Storage and 3 12V DC Power
EXTERIOR                                              Outlets                                               Wheel Locks                                                                                     $55
                                                      · Front And Rear Map Lights
· Wheels: 16 x 6.5J Aluminum Alloy                    · Fade-To-Off Interior Lighting
                                                                                                            Rear Bumper Applique                                                                            $70
· Tires: P205/65R16                                   · Full Carpet Floor Covering                          Mud Guards                                                                                      $95
· Spare Tire Mobility Kit                             · Carpet Floor Trim and Carpet Trunk Lid/Rear
· Clearcoat Paint                                     Cargo Door Trim
                                                                                                            Interior Light Kit                                                                              $250
· Body-Colored Front Bumper                           · Cargo Features -inc: Spare Tire Mobility Kit        Carpeted Floor Mats                                                                             $125
· Body-Colored Rear Bumper                            · Cargo Space Lights
· Chrome Side Windows Trim and Black Front            · FOB Controls -inc: Trunk/Hatch/Tailgate             Cargo Net                                                                                       $50
Windshield Trim                                       · Instrument Panel Covered Bin, Driver / Passenger    Reversible Cargo Tray                                                                           $115
· Body-Colored Door Handles                           And Rear Door Bins
· Body-Colored Power w/Tilt Down Heated Side          · Power 1st Row Windows w/Driver 1-Touch              First Aid Kit                                                                                   $30
Mirrors w/Convex Spotter and Manual Folding           Up/Down                                               Original Shipping Charge                                                                        $825
· Fixed Rear Window w/Defroster                       · Delayed Accessory Power
· Light Tinted Glass                                  · Power Door Locks w/Autolock Feature                 RETAIL PRICE (ORIGINALLY NEW)                                                                   $22,765.00
· Speed Sensitive Variable Intermittent Wipers        · Systems Monitor
· Front Windshield -inc: Sun Visor Strip              · Redundant Digital Speedometer
· Fully Galvanized Steel Panels                       · Trip Computer
· Lip Spoiler                                         · Outside Temp Gauge
· Metal-Look Grille                                   · Analog Display
· Trunk Rear Cargo Access                             · Manual Anti-Whiplash Adjustable Front Head          Get more information on your smartphone:
· Auto Off Projector Beam Halogen Daytime             Restraints and Manual Adjustable Rear Head
Running Headlamps w/Delay-Off                         Restraints
                                                      · Front Center Armrest and Rear Center Armrest
ENTERTAINMENT                                         · Perimeter Alarm
                                                      · 3 12V DC Power Outlets
· Radio: AM/FM/SiriusXM/CD/MP3 Audio System           · Air Filtration
-inc: iPod/USB and auxiliary inputs, and 6
speakers                                              SAFETY
· Radio w/Seek-Scan, Clock, Speed
Compensated Volume Control, Steering Wheel            · Electronic Stability Control
Controls and Voice Activation                         · ABS And Driveline Traction Control
· Window Grid And Roof Mount Antenna                  · Side Impact Beams
· Bluetooth Wireless Phone Connectivity               · Dual Stage Driver And Passenger Seat-Mounted
                                                      Side Airbags
INTERIOR                                              · Tire Specific Low Tire Pressure Warning
                                                      · Dual Stage Driver And Passenger Front Airbags
· Front Bucket Seats -inc: multi-adjustable bucket,   · Curtain 1st And 2nd Row Airbags
seatback pockets, impact reducing front seats         · Airbag Occupancy Sensor
and 6-way manual passenger seat                       · Driver Knee Airbag
· Front Seats w/Manual Driver Lumbar                  · Rear Child Safety Locks
· 2-Way Driver Seat -inc: Manual Lumbar Support       · Outboard Front Lap And Shoulder Safety Belts -
· Passenger Seat                                      inc: Rear Center 3 Point, Height Adjusters and
· 60-40 Folding Bench Front Facing Fold               Pretensioners
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder
· Valet Function
· Remote Keyless Entry w/Integrated Key
Transmitter, 2 Door Curb/Courtesy, Illuminated
Entry, Illuminated Ignition Switch and Panic
Button


                                                                                                                                   floridafinecars.com
                                                                                     MonroneyLabels.com
                                                                                       Ex. 1 - Page 43
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                                                                                                                        #:2030
VIN:    5NPE34AF1GH297543                                              Affix FULL Label to driver side Left-Rear.                                                                                                                                                             VIN:      5NPE34AF1GH297543



                                                                                2016 SONATA SPORT PZEV                                                                 Rearview Camera & Android Auto Compatibility
                                                                                                                                                                       Best-in-Class Total Interior Volume
SOLD TO: NY130
HYUNDAI OF LONG ISLAND CITY
                                       SHIPPED TO: NY130                           GOVERNMENT 5-STAR SAFETY RATINGS
34-54 44TH STREET                                                                 Overall Vehicle Score
LONG ISLAND CITY NY 11101
                                                                                  Based on the combined rating of frontal, side and rollover.
                                                                                  Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                Fuel Economy
                                                                                                                                                                                                                                                                              You      save
                                                                                                                                                                                29
                                                                                                                                                                                                          MPG                Large Cars range from 14 to 40 MPG.

VIN:
MODEL:
ENGINE:
                            5NPE34AF1GH297543
                            28442F4P
                            G4KJFK278064
                                                                                  Frontal
                                                                                  Crash
                                                                                                             Driver
                                                                                                             Passenger                                                                                    25             36
                                                                                                                                                                                                                             The best vehicle rates 119 MPGe.

                                                                                                                                                                                                                                                                              $1,250in fuel costs
                                                                                  Based on the risk of injury in a frontal impact.
PORT OF ENTRY:              MA                                                    Should ONLY be compared to other vehicles of similar size and weight.                         combined city/hwy         city           highway
                                                                                                                                                                                                                                                                                    over 5 years
EXTERIOR COLOR:
INTERIOR/SEAT COLOR:
                            SYMPHONY SILVER
                            GRAY/GRAY
                                                                                  Side                       Front seat                                                         3.4      gallons per 100 miles                                                                      compared to the
                                                                                                                                                                                                                                                                                    average new vehicle.
TRANSPORT:                  TRUCK                                                 Crash                      Rear seat
                                                                                  Based on the risk of injury in a side impact.
ACCESSORY WEIGHT:           17 lbs./ 8 kgs.
                                                                                                                                                                                                                 Fuel Economy & Greenhouse Gas Rating (tailpipe only)                        Smog Rating (tailpipe only)
EMISSIONS: This vehicle meets California Emissions regulations and is
                 Certified as a Partial Zero Emission Vehicle (PZEV)
                                                                                  Rollover
                                                                                  Based on the risk of rollover in a single-vehicle crash.
                                                                                                                                                                       Annual fuel         cost
                                                                                 Star ratings range from 1 to 5 stars (     ) with 5 being the highest.
                                                                                   Source: National Highway Traffic Safety Administration (NHTSA).
                                                                                                                                                                         $1,550                                  This vehicle emits 312 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                 distributing fuel also create emissions; learn more at fueleconomy.gov.
                                                                                                  www.safercar.gov or 1-888-327-4236
                                                                                                                                                                       Actual results will vary for many reasons, including driving conditions and how you drive and maintain
STANDARD FEATURES:                                                                    Manufacturer's Suggested Retail Price:                              $23,400.00   your vehicle. The average new vehicle gets 25 MPG and costs $9,000 to fuel over 5 years. Cost
                                                                                                                                                                       estimates are based on 15,000 miles per year at $ 3.00 per gallon. MPGe is miles per gasoline gallon
AMERICA'S BEST WARRANTY
*5-year/60,000-mile New Vehicle Warranty*                              INCLUDED       ADDED FEATURES:                                                                  equivalent. Vehicle emissions are a significant cause of climate change and smog.
                                                                                      *Carpeted Floor Mats                                                   $125.00
*10-year/100,000-mile Powertrain Warranty*
*7-year/Unlimited-mile Anti-perforation Warranty*
*5-year/Unlimited-mile Roadside Assistance
                                                                       INCLUDED
                                                                       INCLUDED
                                                                       INCLUDED
                                                                                      *Cargo Net
                                                                                      *Cargo Tray
                                                                                                                                                              $50.00
                                                                                                                                                             $115.00
                                                                                                                                                                       fueleconomy.gov
                                                                                                                                                                       Calculate personalized estimates and compare vehicles
*Limited warranties, see dealer for details
ADVANCED SAFETY TECHNOLOGY
*Vehicle Stability Management (VSM) w/ Traction Control                INCLUDED
*ABS w/ Electronic Brake Force Distribution & Brake Assist             INCLUDED
*Front, Front Side Impact, Side Curtain & Driver Knee Airbags          INCLUDED
*Energy Absorbing Front Seats & Front Seatbelt Pre-Tensioners          INCLUDED
*Tire Pressure Monitor w/ Individual Tire Pressure Indicator           INCLUDED
*LED Daytime Running Lights                                            INCLUDED
*Rearview Camera                                                       INCLUDED
POWERTRAIN TECHNOLOGY
*2.4L Gasoline Direct Injection (GDI) 4-Cylinder Engine                INCLUDED
*185 Horsepower @6,000 rpm / 178 lb-ft Torque @4,000 rpm               INCLUDED
*Dual Continuous Variable Valve Timing                                 INCLUDED
*6-Speed Automatic Transmission w/ SHIFTRONIC®                         INCLUDED                                                                                        Manufacturer's suggested retail price includes manufacturer's recommended pre-delivery service. Gasoline license and title fees
*Drive Mode Select                                                     INCLUDED                                                                                        state and local taxes and dealer installed options and accessories are not included in the manufacturer's suggested retail price.
COMFORT & CONVENIENCE                                                                                                                                                  This label has been affixed to this vehicle by Hyundai Motor America, pursuant to the requirements of 15 U.S.C. 1231 et seq.
*17-Inch Alloy Wheels & P215/55R17 Tires                               INCLUDED                                                                                        which prohibits its removal or alteration prior to delivery to the ultimate purchaser.
*Sport Front Grille & Bumper Fascia                                    INCLUDED
*Sport Rocker Panels w/ Chrome Molding                                 INCLUDED
*Rear Spoiler & Chrome-tipped Dual Exhaust                             INCLUDED                                                                                                                               PARTS CONTENT INFORMATION
*Projector Headlights w/ Automatic Light Control                       INCLUDED                                                                                                                 FOR VEHICLE IN THIS CARLINE:
*Side Mirror Turn Signal Indicators                                    INCLUDED
*Heated Side Mirrors w/ Driver Blind Spot Mirror                       INCLUDED                                                                                                               U.S./CANADIAN PARTS CONTENT: 46 %
*Power Locks & Windows w/ Auto Up/Down Driver Window                   INCLUDED                                                                                                   MAJOR SOURCES OF FOREIGN PARTS CONTENT: KOREA: 53 %
*Premium Cloth Seat Trim                                               INCLUDED
*Carbon Fiber Appearance Interior Trim                                 INCLUDED
*Power Driver Seat w/ Lumbar Support                                   INCLUDED                                                                                                      Note: Parts content does not include final assembly, distribution, or other non-parts costs.
*60/40 Split-Folding Rear Seat                                         INCLUDED                                                                                                                        FOR THIS VEHICLE:
*Tilt & Telescopic Steering Wheel w/ Cruise, Audio & Phone Controls    INCLUDED
*Air Conditioning w/ Cabin Air Filter                                  INCLUDED                                                                                                                   FINAL ASSEMBLY POINT: MONTGOMERY, ALABAMA U.S.A.
*7-inch Color Touchscreen Display Audio                                INCLUDED                                                                                                                      COUNTRY OF ORIGIN:
*Android Auto (TM) Integration for Compatible Smartphones              INCLUDED                                                                                                                                  ENGINE: U.S.A.
*AM/FM/HD Radio®/CD/MP3 w/ iPhone®/USB & Auxiliary Input Jacks         INCLUDED
*SiriusXM® Radio w/ 90-Day Trial; Not Available in AK & HI             INCLUDED                                                                                                                           TRANSMISSION: U.S.A.
*Bluetooth® Hands-Free Phone System                                    INCLUDED
*Hyundai Blue Link® Telematics System                                  INCLUDED                                                                                                         244               A
*Blue Link Connected Care Complimentary Trial (enrollment required)    INCLUDED       Inland Freight & Handling :                                            $825.00
*Full Tank of Gas                                                      INCLUDED
                                                                                      Total Price :                                                  $24,515.00


                                                                                                                                                                                                                                          VIN:      5NPE34AF1GH297543
                                                                                                                                                Ex. 1 - Page 44
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                                     #:2031
Year: 2017                                                                                   Engine: 4 Cylinder Engine
Make: Hyundai                                                                                Transmission: 6-Speed A/T
Model: Sonata 2.4L                                                                           Exterior: Lakeside Blue
VIN: 5NPE24AF6HH566124                                                                       Interior: Gray

                                                 · Front Cupholder
MECHANICAL                                       · Rear Cupholder
                                                                                                       CITY MPG                                                                          HIGHWAY MPG

· Front-Wheel Drive
· 2.89 Axle Ratio
                                                 · Valet Function
                                                 · Remote Releases -Inc: Power Cargo Access
                                                 and Power Fuel
                                                                                                          25                                                                                         36
· 80-Amp/Hr 640CCA Maintenance-Free              · Cruise Control w/Steering Wheel Controls                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Battery w/Run Down Protection                    · Manual Air Conditioning
· 150 Amp Alternator                             · HVAC -inc: Underseat Ducts
· 4497# Gvwr                                     · Illuminated Locking Glove Box
· Gas-Pressurized Shock Absorbers                · Driver Foot Rest                                  New
· Front And Rear Anti-Roll Bars                  · Interior Trim -inc: Metal-Look Instrument Panel
· Electric Power-Assist Speed-Sensing            Insert, Metal-Look Door Panel Insert and Metal-
Steering                                         Look Interior Accents                               MSRP                                                                                           $21,600.00
· 18.5 Gal. Fuel Tank                            · Full Cloth Headliner
· Single Stainless Steel Exhaust w/Chrome        · Cloth Door Trim Insert
                                                                                                     INSTALLED OPTIONS
Tailpipe Finisher                                · Urethane Gear Shift Knob                          Lakeside Blue                                                                                  $0
· Strut Front Suspension w/Coil Springs          · Day-Night Rearview Mirror
                                                 · Driver And Passenger Visor Vanity Mirrors
                                                                                                     Gray, Yes Essentials Premium Cloth Seating                                                     $0
· Multi-Link Rear Suspension w/Coil Springs
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front       w/Driver And Passenger Illumination                 Surfaces
Vented Discs, Brake Assist and Hill Hold         · Full Floor Console w/Covered Storage, Mini        Original Shipping Charge                                                                       $885
Control                                          Overhead Console w/Storage and 3 12V DC
                                                 Power Outlets                                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $22,485.00
EXTERIOR                                         · Front Map Lights
                                                 · Fade-To-Off Interior Lighting
· Wheels: 16 x 6.5J Aluminum Alloy               · Full Carpet Floor Covering
· Tires: P205/65R16                              · Carpet Floor Trim and Carpet Trunk Lid/Rear
                                                 Cargo Door Trim
· Steel Spare Wheel
· Compact Spare Tire Mounted Inside Under        · Cargo Space Lights                                Get more information on your smartphone:
Cargo                                            · FOB Controls -inc: Trunk/Hatch/Tailgate
· Clearcoat Paint                                · Instrument Panel Covered Bin, Driver /
· Body-Colored Front Bumper                      Passenger And Rear Door Bins
· Body-Colored Rear Bumper                       · Delayed Accessory Power
· Chrome Side Windows Trim and Black Front       · Systems Monitor
Windshield Trim                                  · Redundant Digital Speedometer
· Body-Colored Door Handles                      · Outside Temp Gauge
· Body-Colored Power w/Tilt Down Heated          · Analog Display
Side Mirrors w/Convex Spotter and Manual         · Manual Adjustable Front Head Restraints and
Folding                                          Manual Adjustable Rear Head Restraints
· Fixed Rear Window w/Defroster                  · Front Center Armrest and Rear Center Armrest
· Light Tinted Glass                             · Perimeter Alarm
· Speed Sensitive Variable Intermittent Wipers   · 3 12V DC Power Outlets
· Front Windshield -inc: Sun Visor Strip         · Air Filtration
· Fully Galvanized Steel Panels
· Lip Spoiler                                    SAFETY
· Metal-Look Grille
· Trunk Rear Cargo Access                        · Side Impact Beams
· Projector Beam Halogen Headlamps               · Dual Stage Driver And Passenger Seat-
· Perimeter/Approach Lights                      Mounted Side Airbags
                                                 · Tire Specific Low Tire Pressure Warning
ENTERTAINMENT                                    · Dual Stage Driver And Passenger Front Airbags
                                                 · Curtain 1st And 2nd Row Airbags
· Radio: AM/FM/SiriusXM/CD/MP3 Audio             · Airbag Occupancy Sensor
System -inc: iPod/USB and auxiliary jacks,       · Driver Knee Airbag
integrated Bluetooth w/phonebook transfer and    · Rear Child Safety Locks
6 speakers                                       · Outboard Front Lap And Shoulder Safety Belts -
· Radio w/Seek-Scan, Clock, Speed                inc: Rear Center 3 Point, Height Adjusters and
Compensated Volume Control, Steering Wheel       Pretensioners
Controls and Voice Activation
· Streaming Audio
· Window Grid And Roof Mount Antenna

INTERIOR

· Front Bucket Seats -inc: multi-adjustable
driver's seat, 6-way manual passenger seat,
dual seatback pockets and energy absorbing
front seats
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Selective Service Internet Access

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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 47 of 155 Page ID
                                     #:2032
Year: 2018                                                                                   Engine: 4 Cylinder Engine
Make: Hyundai                                                                                Transmission: 6-Speed A/T
Model: Sonata SE 2.4L                                                                        Exterior: Quartz White Pearl
VIN: 5NPE24AF9JH661783                                                                       Interior: Black

                                                 · Valet Function
MECHANICAL                                       · Remote Releases -Inc: Power Cargo Access
                                                                                                        CITY MPG                                                                           HIGHWAY MPG

· Front-Wheel Drive
· 2.89 Axle Ratio
                                                 and Power Fuel
                                                 · Cruise Control w/Steering Wheel Controls
                                                 · Manual Air Conditioning
                                                                                                           25                                                                                          36
· 80-Amp/Hr 640CCA Maintenance-Free              · HVAC -inc: Underseat Ducts                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Battery w/Run Down Protection                    · Illuminated Locking Glove Box
· 150 Amp Alternator                             · Driver Foot Rest
· 4497# Gvwr                                     · Interior Trim -inc: Metal-Look Instrument Panel
· Gas-Pressurized Shock Absorbers                Insert, Metal-Look Door Panel Insert and Metal-     New
· Front And Rear Anti-Roll Bars                  Look Interior Accents
· Electric Power-Assist Speed-Sensing            · Full Cloth Headliner
Steering                                         · Cloth Door Trim Insert                            MSRP                                                                                             $22,050.00
· 18.5 Gal. Fuel Tank                            · Urethane Gear Shift Knob
· Single Stainless Steel Exhaust w/Chrome        · Day-Night Rearview Mirror
                                                                                                     INSTALLED OPTIONS
Tailpipe Finisher                                · Driver And Passenger Visor Vanity Mirrors         Quartz White Pearl                                                                               $0
· Strut Front Suspension w/Coil Springs          w/Driver And Passenger Illumination
                                                 · Full Floor Console w/Covered Storage, Mini
                                                                                                     Black, Yes Essentials Premium Cloth Seating                                                      $0
· Multi-Link Rear Suspension w/Coil Springs
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front       Overhead Console w/Storage and 2 12V DC             Surfaces
Vented Discs, Brake Assist and Hill Hold         Power Outlets                                       Carpeted Floor Mats                                                                              $125
Control                                          · Front Map Lights
                                                 · Fade-To-Off Interior Lighting                     Original Shipping Charge                                                                         $885
EXTERIOR                                         · Full Carpet Floor Covering
                                                                                                     RETAIL PRICE (ORIGINALLY NEW)                                                                    $23,060.00
                                                 · Carpet Floor Trim and Carpet Trunk Lid/Rear
· Wheels: 16 x 6.5J Aluminum Alloy               Cargo Door Trim
· Tires: P205/65R16                              · Cargo Space Lights
· Wheels w/Silver Accents                        · FOB Controls -inc: Trunk/Hatch/Tailgate
· Steel Spare Wheel                              · Driver / Passenger And Rear Door Bins
· Compact Spare Tire Mounted Inside Under        · Delayed Accessory Power                           Get more information on your smartphone:
Cargo                                            · Systems Monitor
· Clearcoat Paint                                · Redundant Digital Speedometer
· Body-Colored Front Bumper w/Chrome             · Outside Temp Gauge
Bumper Insert                                    · Analog Display
· Body-Colored Rear Bumper                       · Manual Adjustable Front Head Restraints and
· Chrome Bodyside Insert                         Manual Adjustable Rear Head Restraints
· Chrome Side Windows Trim and Black Front       · Front Center Armrest and Rear Center Armrest
Windshield Trim                                  · Perimeter Alarm
· Body-Colored Door Handles                      · 2 12V DC Power Outlets
· Body-Colored Power w/Tilt Down Side            · Air Filtration
Mirrors w/Manual Folding
· Fixed Rear Window w/Defroster                  SAFETY
· Light Tinted Glass
· Speed Sensitive Variable Intermittent Wipers   · Side Impact Beams
· Fully Galvanized Steel Panels                  · Dual Stage Driver And Passenger Seat-
· Chrome Grille                                  Mounted Side Airbags
· Trunk Rear Cargo Access                        · Blind Spot Detection w/Lane Change Assist
· Fully Automatic Projector Beam Halogen         Blind Spot Sensor
Daytime Running Headlamps w/Delay-Off            · and Rear Cross-Traffic Alert Rear Collision
· Perimeter/Approach Lights                      · Tire Specific Low Tire Pressure Warning
                                                 · Dual Stage Driver And Passenger Front Airbags
ENTERTAINMENT                                    · Curtain 1st And 2nd Row Airbags
                                                 · Airbag Occupancy Sensor
· Radio: AM/FM/MP3 Display Audio -inc: 7"        · Driver Knee Airbag
color touchscreen, Apple CarPlay, Android        · Rear Child Safety Locks
Auto, integrated Bluetooth w/phonebook           · Outboard Front Lap And Shoulder Safety Belts -
transfer, 6 speakers and iPod, USB and           inc: Rear Center 3 Point, Height Adjusters and
auxiliary input jacks                            Pretensioners
· Radio w/Seek-Scan, Clock, Speed                · Back-Up Camera
Compensated Volume Control, Steering Wheel
Controls and Voice Activation
· Streaming Audio
· Window Grid Antenna
· 1 LCD Monitor In The Front

INTERIOR

· Front Bucket Seats -inc: 6-way manual front
seats and passenger side seatback pockets
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Front Cupholder
· Rear Cupholder

                                                                                                     Hyundai Central Florida
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                                      #:2033
Year: 2019                                                                                                     Engine: 4 Cylinder Engine
Make: Hyundai                                                                                                  Transmission: 6-Speed A/T
Model: Sonata Sport 2.4L                                                                                       Exterior: Quartz White Pearl
VIN: 5NPE34AF5KH815274                                                                                         Interior: Black

                                                          · Proximity Key For Doors And Push Button Start
MECHANICAL                                                · Remote Releases -Inc: Smart Trunk Proximity Cargo              CITY MPG                                                                          HIGHWAY MPG

                                                                                                                             25                                                                                          33
                                                          Access and Power Fuel
· Front-Wheel Drive                                       · Cruise Control w/Steering Wheel Controls
· 2.89 Axle Ratio                                         · Dual Zone Front Automatic Air Conditioning
· 80-Amp/Hr 640CCA Maintenance-Free Battery w/Run         · HVAC -inc: Underseat Ducts and Console Ducts
Down Protection                                           · Illuminated Locking Glove Box
                                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 140 Amp Alternator                                      · Driver Foot Rest
· Gas-Pressurized Shock Absorbers                         · Full Cloth Headliner
· Front And Rear Anti-Roll Bars                           · Leatherette Door Trim Insert
                                                          · Leather/Metal-Look Gear Shift Knob
                                                                                                                        New
· Electric Power-Assist Speed-Sensing Steering
· 18.5 Gal. Fuel Tank                                     · Interior Trim -inc: Simulated Carbon Fiber Instrument
· Quasi-Dual Stainless Steel Exhaust w/Chrome             Panel Insert, Simulated Carbon Fiber Door Panel Insert
Tailpipe Finisher                                         and Piano Black/Metal-Look Interior Accents
· Strut Front Suspension w/Coil Springs                   · Leather Bolster/Cloth Insert Seating Surfaces -inc: sport
· Multi-Link Rear Suspension w/Coil Springs               bolsters                                                      MSRP                                                                                            $25,150.00
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front Vented         · Day-Night Rearview Mirror
Discs, Brake Assist and Hill Hold Control                 · Driver And Passenger Visor Vanity Mirrors w/Driver And      INSTALLED OPTIONS
                                                          Passenger Illumination, Driver And Passenger Auxiliary
EXTERIOR                                                  Mirror                                                        Option Group 01                                                                                 $0
                                                          · Full Floor Console w/Covered Storage, Mini Overhead
· Wheels: 17 x 7.0J Aluminum Alloy                        Console w/Storage and 2 12V DC Power Outlets                  Quartz White Pearl                                                                              $0
· Tires: P215/55R17                                       · Front Map Lights
                                                          · Fade-To-Off Interior Lighting
                                                                                                                        Black, Leather Bolster/Cloth Insert Seating                                                     $0
· Wheels w/Painted Accents
· Steel Spare Wheel                                       · Full Carpet Floor Covering                                  Surfaces
· Compact Spare Tire Mounted Inside Under Cargo           · Carpet Floor Trim and Carpet Trunk Lid/Rear Cargo
                                                          Door Trim                                                         sport bolsters
· Clearcoat Paint
· Express Open/Close Sliding And Tilting Glass 1st        · Cargo Space Lights                                          Wheel Locks                                                                                     $55
Row Sunroof w/Sunshade                                    · FOB Controls -inc: Trunk/Hatch/Tailgate
· Body-Colored Front Bumper w/Chrome Bumper               · Blue Link Tracker System                                    Carpeted Floor Mats                                                                             $135
Insert                                                    · Driver / Passenger And Rear Door Bins
· Body-Colored Rear Bumper                                · Delayed Accessory Power                                     Cargo Net                                                                                       $50
                                                          · Power Door Locks w/Autolock Feature
· Chrome Side Windows Trim and Black Front
Windshield Trim                                           · Power 1st Row Windows w/Driver And Passenger 1-             Original Shipping Charge                                                                        $930
· Chrome Door Handles                                     Touch Up/Down
· Chrome Bodyside Insert                                  · Systems Monitor                                             RETAIL PRICE (ORIGINALLY NEW)                                                                   $26,320.00
· Body-Colored Power w/Tilt Down Heated Side Mirrors      · Redundant Digital Speedometer
w/Manual Folding and Turn Signal Indicator                · Trip Computer
· Fixed Rear Window w/Defroster                           · Outside Temp Gauge
· Light Tinted Glass                                      · Analog Display
· Speed Sensitive Variable Intermittent Wipers            · Front Center Armrest and Rear Center Armrest
· Fully Galvanized Steel Panels
· Chrome Grille
                                                          · Manual Adjustable Front Head Restraints and Manual
                                                          Adjustable Rear Head Restraints                               Get more information on your smartphone:
· Trunk Rear Cargo Access                                 · Perimeter Alarm
· Fully Automatic Projector Beam Halogen Daytime          · Air Filtration
Running Headlamps w/Delay-Off                             · 2 12V DC Power Outlets
· Perimeter/Approach Lights
                                                          SAFETY
ENTERTAINMENT
                                                          · Electronic Stability Control
· Radio: AM/FM/HD/SiriusXM/MP3 Display Audio -inc:        · ABS And Driveline Traction Control
7" color touchscreen, HD Radio technology                 · Side Impact Beams
w/multicasting, Apple CarPlay, Android Auto, integrated   · Dual Stage Driver And Passenger Seat-Mounted Side
Bluetooth w/phonebook transfer, 6 speakers and            Airbags
iPod/USB, wireless phone charging and auxiliary input     · Blind Spot Detection with Lane Change Assist Blind Spot
jacks                                                     Sensor
· Radio w/Seek-Scan, Clock, Speed Compensated             · and Rear Cross-Traffic Alert
Volume Control, Steering Wheel Controls, Voice            · Blue Link Emergency Sos
Activation and Radio Data System                          · Tire Specific Low Tire Pressure Warning
· Streaming Audio                                         · Dual Stage Driver And Passenger Front Airbags
· Integrated Roof Antenna                                 · Curtain 1st And 2nd Row Airbags
· 2 LCD Monitors In The Front                             · Airbag Occupancy Sensor
                                                          · Driver Knee Airbag
INTERIOR                                                  · Rear Child Safety Locks
                                                          · Outboard Front Lap And Shoulder Safety Belts -inc: Rear
· Heated Front Sport Seats -inc: 10-way power driver's    Center 3 Point, Height Adjusters and Pretensioners
seat w/power lumbar support, 6-way manual                 · Back-Up Camera
passenger seat and passenger side seatback pockets
· 8-Way Driver Seat
· Passenger Seat
· 60-40 Folding Bench Front Facing Fold Forward
Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and Trip
Computer
· Power Rear Windows
· Selective Service Internet Access
· Sport Heated Leather Steering Wheel
· Front Cupholder
· Rear Cupholder
· Valet Function
· Remote Keyless Entry w/Integrated Key Transmitter,
2 Door Curb/Courtesy, Illuminated Entry, Illuminated
Ignition Switch and Panic Button




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                                     #:2034
Year: 2013                                                                            Engine: 4 Cylinder Engine
Make: Hyundai                                                                         Transmission: 6-Speed A/T
Model: Sonata Hybrid 4dr Sdn Limited                                                  Exterior: Black Onyx Pearl
VIN: KMHEC4A48DA074106                                                                Interior: Gray

                                            · Full floor carpeting                               CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Leather-wrapped steering wheel

· 2.4L DOHC 16-valve I4 Atkinson hybrid
                                            · Electroluminescent instrument cluster -
                                            inc: speedometer, tachometer, coolant                  36                                                                                          40
engine                                      temp, fuel level, odometer, trip odometer,
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Dual continuously variable valve timing   digital clock, hybrid battery meter
(DCVVT)                                     · 4.2" TFT multi-function trip computer -inc:
· 270V lithium polymer battery              hybrid technology display, average fuel
· Hybrid starter generator (HSG)            economy, average speed, range to empty,           New
· 6-speed automatic transmission w/OD,      trip timer, trip distance
SHIFTRONIC                                  · Pwr windows w/driver auto up/down,
                                                                                              MSRP                                                                                            $30,550.00
· Drive pattern detection                   pinch protection -inc: illuminated switches,
· Front wheel drive                         lock-out button                                   INSTALLED OPTIONS
· Front vented & rear solid disc brakes     · Remote fuel/hood/trunk release                  Standard Equipment PKG                                                                          $0
                                            · Dual automatic climate control -inc: rear           base vehicle
EXTERIOR                                    seat heat vents, outside temp display             Black Onyx Pearl                                                                                $0
                                            · Electronic rear window defroster w/timer
· 17" x 6.5" eco-spoke alloy wheels         · Navigation system w/7" touch-screen
                                                                                              Gray, Leather Seats                                                                             $0
· P215/55R17 tires                          · (2) 12v pwr outlet                              Ipod Cable                                                                                      $35
· Heated pwr mirrors w/timer -inc: turn     · Chrome interior door handles                    Cargo Net                                                                                       $50
signal indicators                           · Leatherette door trim
                                                                                              Cargo Mat                                                                                       $95
· Tinted chrome front grille                · Metalgrain interior accents
· Special design chrome hood garnish        · (1) Rear coat hanger                            Carpeted Floor Mats                                                                             $110
· Tinted chrome bodyside molding            · Auto-dimming mirror w/HomeLink,                 Original Shipping Charge                                                                        $795
inserts                                     compass
· Solar control glass                       · Illuminated driver & front passenger visor-
                                                                                              RETAIL PRICE (ORIGINALLY NEW)                                                                   $31,635.00
· 2-speed variable intermittent speed       mounted vanity mirrors
sensitive front windshield wipers           · Interior lighting -inc: dome light, front map
· Headlight LED accents                     lights, cargo area light
· Fog lights                                · Leather-wrapped shift knob
· LED taillights
                                                                                              Get more information on your smartphone:
· Automatic light control                   SAFETY
· Premium door sill plates
· Chrome door handles                       · 4-wheel anti-lock brakes -inc: electronic
                                            brake-force distribution, brake assist,
ENTERTAINMENT                               regenerative braking
                                            · Traction control system w/electronic
· AM/FM/XM stereo w/CD/MP3 player &         stability control
Infinity speakers -inc: HD Radio, (9)       · LED daytime running lamps
speakers, iPod/USB/aux inputs, 400-         · Virtual engine sound system (VESS)
watt external amp                           · Driver/front passenger advanced airbags
· Integrated Bluetooth w/phonebook          · Driver/front passenger seat-mounted
transfer                                    side-impact airbags
                                            · Front/rear side-curtain airbags
INTERIOR                                    · Backup camera
                                            · Blue Link telematics system
· Front bucket seats -inc: 8-way pwr        · Lower anchors & upper tether anchors
driver seat w/pwr lumbar support            (LATCH)
· Fixed rear bench seat -inc: ski pass      · Emergency internal trunk release
through, center armrest w/dual              · Tire pressure monitoring system
cupholders                                  · Energy-absorbing steering column
· Heated front seats
· Heated rear seats
· Floor-mounted console w/rear vents -
inc: dual cupholders
· Door panel bottle holders
· Seatback pockets




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                                     #:2035
Year: 2014                                                                                  Engine: 4 Cylinder Engine
Make: Hyundai                                                                               Transmission: 6-Speed A/T
Model: SONATA HYBRID HS BT CAM 4dr Sdn                                                      Colors: Pewter Gray Metallic / Gray
VIN: KMHEC4A43EA112813                                                                      Mileage: 57,334                                                                                  Stock #: EA112813

                                                 · Manual Tilt/Telescoping Steering Column
MECHANICAL                                       · Front Cupholder
                                                                                                       CITY MPG                                                                            HIGHWAY MPG

· Front-Wheel Drive
· 3.32 Axle Ratio
                                                 · Rear Cupholder
                                                 · Valet Function
                                                 · Remote Releases -Inc: Power Cargo Access
                                                                                                          36                                                                                           40
· 54-Amp/Hr Maintenance-Free Battery w/Run       and Power Fuel                                               Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                  · Cruise Control w/Steering Wheel Controls
· Hybrid Electric Motor                          · Dual Zone Front Automatic Air Conditioning
· 4586# Gvwr                                     · HVAC -inc: Underseat Ducts
· Gas-Pressurized Shock Absorbers                · Illuminated Locking Glove Box                     New
· Front And Rear Anti-Roll Bars                  · Driver Foot Rest
· Electric Power-Assist Speed-Sensing            · Interior Trim -inc: Metal-Look Instrument Panel
Steering                                         Insert, Metal-Look Door Panel Insert and Chrome     MSRP                                                                                             $26,000.00
· 17.2 Gal. Fuel Tank                            Interior Accents
· Single Stainless Steel Exhaust w/Chrome        · Full Cloth Headliner
                                                                                                     INSTALLED OPTIONS
Tailpipe Finisher                                · Leatherette Door Trim Insert                      Option Group 01                                                                                  $0
· Strut Front Suspension w/Coil Springs          · Urethane Gear Shift Knob
                                                 · Day-Night Rearview Mirror
                                                                                                     Pewter Gray Metallic                                                                             $0
· Multi-Link Rear Suspension w/Coil Springs
· Regenerative 4-Wheel Disc Brakes w/4-          · Driver And Passenger Visor Vanity Mirrors         Gray, Premium Cloth Seating Surfaces                                                             $0
Wheel ABS, Front And Rear Vented Discs and       w/Driver And Passenger Illumination
                                                 · Full Floor Console w/Covered Storage, Mini
                                                                                                     Cargo Mat                                                                                        $95
Brake Assist
· Lithium Polymer Traction Battery               Overhead Console w/Storage and 2 12V DC                 mat for trunk floor
                                                 Power Outlets                                       Carpeted Floor Mats                                                                              $125
EXTERIOR                                         · Front Map Lights
                                                                                                     First Aid Kit                                                                                    $30
                                                 · Fade-To-Off Interior Lighting
· Wheels: 16 x 6.5J Eco-Spoke Aluminum           · Full Carpet Floor Covering                            First aid kit for glove box
Alloy -inc: Special design                       · Carpet Floor Trim and Carpet Trunk Lid/Rear       Original Shipping Charge                                                                         $810
· Tires: P205/65R16                              Cargo Door Trim
· Spare Tire Mobility Kit                        · Cargo Features -inc: Spare Tire Mobility Kit      RETAIL PRICE (ORIGINALLY NEW)                                                                    $27,060.00
· Clearcoat Paint                                · Cargo Space Lights
· Body-Colored Front Bumper w/Black Rub          · Tracker System
Strip/Fascia Accent
· Body-Colored Rear Bumper w/Gray Rub
                                                 · Instrument Panel Covered Bin, Driver /
                                                 Passenger And Rear Door Bins                        Used
Strip/Fascia Accent                              · Delayed Accessory Power
· Chrome Bodyside Insert                         · Systems Monitor
                                                 · Outside Temp Gauge
                                                                                                     PRICE                                                                                      $13,999.00
· Chrome Side Windows Trim and Black Front
Windshield Trim                                  · Digital/Analog Display
· Chrome Door Handles                            · Manual Anti-Whiplash Adjustable Front Head
· Body-Colored Power Heated Side Mirrors         Restraints and Manual Adjustable Rear Head
w/Manual Folding and Turn Signal Indicator       Restraints                                          Get more information on your smartphone:
· Fixed Rear Window w/Defroster                  · 2 Seatback Storage Pockets
· Light Tinted Glass                             · Perimeter Alarm
· Speed Sensitive Variable Intermittent Wipers   · 2 12V DC Power Outlets
w/Heated Wiper Park                              · Air Filtration
· Front Windshield -inc: Sun Visor Strip
· Fully Galvanized Steel Panels                  SAFETY
· Chrome Grille
· Trunk Rear Cargo Access                        · Side Impact Beams
· Fully Automatic Projector Beam Halogen         · Dual Stage Driver And Passenger Seat-
Daytime Running Headlamps w/Delay-Off            Mounted Side Airbags
· Front Fog Lamps                                · Low Tire Pressure Warning
· LED Brakelights                                · Dual Stage Driver And Passenger Front Airbags
                                                 · Curtain 1st And 2nd Row Airbags
ENTERTAINMENT                                    · Airbag Occupancy Sensor
                                                 · Rear Child Safety Locks
· Radio: AM/FM/SiriusXM/CD/MP3 Audio             · Outboard Front Lap And Shoulder Safety Belts -
System -inc: iPod/USB and auxiliary inputs, 6    inc: Rear Center 3 Point, Height Adjusters and
speakers , 4.3-inch color touchscreen,           Pretensioners
rearview camera, and HD Radio technology
w/multicasting
· Radio w/Clock and Steering Wheel Controls
· Streaming Audio
· Integrated Roof Antenna
· Bluetooth Wireless Phone Connectivity
· 2 LCD Monitors In The Front

INTERIOR


                                                                                                               Grand Motorcars
· Heated Front Bucket Seats -inc: multi-
adjustable bucket, ventilated driver's seat
w/adjustable lumbar support, Max,
temperature seat cushion/seatback low setting
102 degrees Fahrenheit /115 degrees                                                                                       grandmotorcars.com
Fahrenheit or high setting 108 degrees
Fahrenheit /126 degrees Fahrenheit                                                                                           678-263-0001
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                                     #:2036
Year: 2016                                                                            Engine: 4 Cylinder Engine
Make: Hyundai                                                                         Transmission: 6-Speed A/T
Model: Sonata Hybrid 4dr Sdn SE                                                       Exterior: Starlight Silver
VIN: KMHE24L16GA026145                                                                Interior: Gray

                                              · Rear Cupholder
MECHANICAL                                    · Valet Function
                                              · Remote Releases -Inc: Proximity Cargo            CITY MPG                                                                          HIGHWAY MPG
· Front-Wheel Drive                           Access and Power Fuel
· 3.32 Axle Ratio                             · Cruise Control w/Steering Wheel Controls
· 54-Amp/Hr Maintenance-Free Battery          · Dual Zone Front Automatic Air Conditioning            Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

w/Run Down Protection                         · HVAC -inc: Underseat Ducts
· Hybrid Electric Motor                       · Illuminated Locking Glove Box
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                              · Driver Foot Rest
                                              · Full Cloth Headliner                           New
· Electric Power-Assist Speed-Sensing         · Leatherette Door Trim Insert
Steering                                      · Interior Trim -inc: Metal-Look Instrument
                                                                                               MSRP                                                                                           $26,000.00
· 15.9 Gal. Fuel Tank                         Panel Insert, Metal-Look Door Panel Insert
· Single Stainless Steel Exhaust              and Chrome Interior Accents                      INSTALLED OPTIONS
· Strut Front Suspension w/Coil Springs       · Urethane Gear Shift Knob                       Starlight Silver                                                                               $0
· Multi-Link Rear Suspension w/Coil           · Driver And Passenger Visor Vanity Mirrors
Springs                                       w/Driver And Passenger Illumination              Gray, Premium Cloth Seating Surfaces                                                           $0
· Regenerative 4-Wheel Disc Brakes w/4-       · Day-Night Rearview Mirror                      Cargo Mat                                                                                      $95
Wheel ABS, Front And Rear Vented Discs        · Full Floor Console w/Covered Storage, Mini
                                                                                                  Mat for trunk floor
and Brake Assist                              Overhead Console w/Storage and 3 12V DC
                                              Power Outlets
                                                                                               Carpeted Floor Mats                                                                            $125
· Lithium Polymer Traction Battery
                                              · Front Map Lights                               Cargo Net                                                                                      $50
EXTERIOR                                      · Fade-To-Off Interior Lighting                     Cargo net for trunk
                                              · Full Carpet Floor Covering                     Original Shipping Charge                                                                       $835
· Wheels: 16 x 6.5J Aluminum Alloy -inc:      · Carpet Floor Trim and Carpet Trunk Lid/Rear
Special design                                Cargo Door Trim                                  RETAIL PRICE (ORIGINALLY NEW)                                                                  $27,105.00
· Tires: P205/65R16                           · Cargo Features -inc: Spare Tire Mobility Kit
· Spare Tire Mobility Kit                     · Cargo Space Lights
· Clearcoat Paint                             · Tracker System
· Body-Colored Front Bumper w/Black Rub       · Instrument Panel Covered Bin, Driver /
Strip/Fascia Accent                           Passenger And Rear Door Bins
                                              · Delayed Accessory Power
                                                                                               Get more information on your smartphone:
· Body-Colored Rear Bumper w/Black Rub
Strip/Fascia Accent                           · Systems Monitor
· Chrome Bodyside Insert                      · Outside Temp Gauge
· Chrome Side Windows Trim and Black          · Digital/Analog Display
Front Windshield Trim                         · Manual Adjustable Front Head Restraints
· Chrome Door Handles                         and Manual Adjustable Rear Head Restraints
· Body-Colored Power Heated Side Mirrors      · 2 Seatback Storage Pockets
w/Convex Spotter, Manual Folding and          · Perimeter Alarm
Turn Signal Indicator                         · 3 12V DC Power Outlets
· Fixed Rear Window w/Defroster               · Air Filtration
· Light Tinted Glass
· Speed Sensitive Variable Intermittent       SAFETY
Wipers w/Heated Wiper Park
· Front Windshield -inc: Sun Visor Strip      · Side Impact Beams
· Fully Galvanized Steel Panels               · Dual Stage Driver And Passenger Seat-
· Lip Spoiler                                 Mounted Side Airbags
· Chrome Grille                               · Low Tire Pressure Warning
· Trunk Rear Cargo Access                     · Dual Stage Driver And Passenger Front
· Perimeter/Approach Lights                   Airbags
· LED Brakelights                             · Curtain 1st And 2nd Row Airbags
· Fully Automatic Projector Beam Halogen      · Airbag Occupancy Sensor
Daytime Running Headlamps w/Delay-Off         · Driver Knee Airbag
                                              · Restricted Driving Mode
ENTERTAINMENT                                 · Rear Child Safety Locks
                                              · Outboard Front Lap And Shoulder Safety
· Streaming Audio                             Belts -inc: Rear Center 3 Point, Height
· Integrated Roof Antenna                     Adjusters and Pretensioners
· 2 LCD Monitors In The Front                 · Back-Up Camera

INTERIOR

· Front Bucket Seats -inc: multi-adjustable
bucket, seatback pockets, driver's seat
adjustable lumbar support and 6-way
manual passenger seat
· Driver Seat
· Passenger Seat
· Manual Tilt/Telescoping Steering Column
· Front Cupholder
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                                     #:2037
Year: 2017                                                                            Engine: 4 Cylinder Engine
Make: Hyundai                                                                         Transmission: 6-Speed A/T
Model: Sonata Hybrid SE 2.0L                                                          Exterior: Nocturne Black
VIN: KMHE24L13HA058214                                                                Interior: Gray

                                              · Rear Cupholder
                                                                                                 CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Valet Function

· Front-Wheel Drive
                                              · Remote Releases -Inc: Proximity Cargo
                                              Access and Power Fuel
                                              · Cruise Control w/Steering Wheel Controls
                                                                                                    39                                                                                         45
· 3.32 Axle Ratio
· 54-Amp/Hr Maintenance-Free Battery          · Dual Zone Front Automatic Air Conditioning            Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

w/Run Down Protection                         · HVAC -inc: Underseat Ducts
· Hybrid Electric Motor                       · Illuminated Locking Glove Box
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                              · Driver Foot Rest
                                              · Interior Trim -inc: Metal-Look Instrument      New
· Electric Power-Assist Speed-Sensing         Panel Insert, Metal-Look Door Panel Insert
Steering                                      and Chrome Interior Accents
                                                                                               MSRP                                                                                           $26,000.00
· 15.9 Gal. Fuel Tank                         · Full Cloth Headliner
· Single Stainless Steel Exhaust              · Cloth Door Trim Insert                         INSTALLED OPTIONS
· Strut Front Suspension w/Coil Springs       · Urethane Gear Shift Knob                       Nocturne Black                                                                                 $0
· Multi-Link Rear Suspension w/Coil           · Day-Night Rearview Mirror
Springs                                       · Driver And Passenger Visor Vanity Mirrors      Gray, Premium Cloth Seating Surfaces                                                           $0
· Regenerative 4-Wheel Disc Brakes w/4-       w/Driver And Passenger Illumination              Rear Bumper Applique                                                                           $70
Wheel ABS, Front And Rear Vented Discs        · Full Floor Console w/Covered Storage, Mini
                                              Overhead Console w/Storage and 3 12V DC
                                                                                               Carpeted Floor Mats                                                                            $125
and Brake Assist
· Lithium Polymer Traction Battery            Power Outlets                                    Cargo Net                                                                                      $50
                                              · Front Map Lights                                  Cargo net for trunk
EXTERIOR                                      · Fade-To-Off Interior Lighting                  Original Shipping Charge                                                                       $885
                                              · Full Carpet Floor Covering
· Wheels: 16" Alloy -inc: Special design      · Carpet Floor Trim and Carpet Trunk Lid/Rear    RETAIL PRICE (ORIGINALLY NEW)                                                                  $27,130.00
· Tires: 16"                                  Cargo Door Trim
· Wheels w/Silver w/Painted Accents           · Cargo Features -inc: Spare Tire Mobility Kit
· Spare Tire Mobility Kit                     · Cargo Space Lights
· Clearcoat Paint                             · Tracker System
· Body-Colored Front Bumper w/Black Rub       · Smart Device Integration
                                              · Instrument Panel Covered Bin, Driver /
                                                                                               Get more information on your smartphone:
Strip/Fascia Accent
· Body-Colored Rear Bumper w/Black Rub        Passenger And Rear Door Bins
Strip/Fascia Accent                           · Delayed Accessory Power
· Chrome Bodyside Insert                      · Systems Monitor
· Chrome Side Windows Trim and Black          · Outside Temp Gauge
Front Windshield Trim                         · Digital/Analog Display
· Chrome Door Handles                         · Manual Adjustable Front Head Restraints
· Body-Colored Power w/Tilt Down Heated       and Manual Adjustable Rear Head Restraints
Side Mirrors w/Manual Folding and Turn        · Perimeter Alarm
Signal Indicator                              · 3 12V DC Power Outlets
· Fixed Rear Window w/Defroster               · Air Filtration
· Light Tinted Glass
· Speed Sensitive Variable Intermittent       SAFETY
Wipers
· Front Windshield -inc: Sun Visor Strip      · Side Impact Beams
· Fully Galvanized Steel Panels               · Dual Stage Driver And Passenger Seat-
· Lip Spoiler                                 Mounted Side Airbags
· Chrome Grille                               · Tire Specific Low Tire Pressure Warning
· Trunk Rear Cargo Access                     · Dual Stage Driver And Passenger Front
· Fully Automatic Projector Beam Halogen      Airbags
Daytime Running Headlamps w/Delay-Off         · Curtain 1st And 2nd Row Airbags
· Perimeter/Approach Lights                   · Airbag Occupancy Sensor
· LED Brakelights                             · Driver Knee Airbag
                                              · Restricted Driving Mode
ENTERTAINMENT                                 · Rear Child Safety Locks
                                              · Outboard Front Lap And Shoulder Safety
· Streaming Audio                             Belts -inc: Rear Center 3 Point, Height
· Integrated Roof Antenna                     Adjusters and Pretensioners
· 2 LCD Monitors In The Front                 · Back-Up Camera

INTERIOR

· Front Bucket Seats -inc: multi-adjustable
bucket, seatback pockets and 6-way
manual passenger seat
· 6-Way Driver Seat -inc: Manual Recline,
Height Adjustment and Fore/Aft Movement
· Passenger Seat
· Manual Tilt/Telescoping Steering Column
· Front Cupholder
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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 53 of 155 Page ID
                                     #:2038
Year: 2010                                                                         Engine: 4 Cylinder Engine
Make: Jeep                                                                         Transmission: CVT
Model: Compass FWD 4dr Latitude                                                    Colors: Brilliant Black Crystal Pearlcoat / Dark Slate Gray
VIN: 1J4NT1FB9AD621222                                                             Mileage: 151,923                                            Stock #: PA92520A

                                            · Sliding armrest                                  CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Full length floor console

· 2.0L DOHC 16V I4 dual-VVT engine
                                            · Illuminated cupholders
                                            · Carpeted floor                                      21                                                                                         25
· 5-speed manual transmission               · Luxury front & rear floor mats
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Hill start assist                         · Tilt steering column
· Front wheel drive                         · Leather-wrapped steering wheel w/audio
· 525-amp maintenance-free battery          controls
· 120-amp alternator                        · Instrument cluster-inc: tachometer,           New
· Touring suspension                        outside temp display
· Rear stabilizer bar                       · Bright interior accents
                                                                                            MSRP                                                                                            $15,365.00
· Pwr rack-&-pinion steering                · Pwr windows w/driver 1-touch feature
                                            · Speed sensitive pwr door locks                INSTALLED OPTIONS
EXTERIOR                                    · Pwr accessory delay                           50 State Emissions                                                                              $0
                                            · Speed control                                 2.4 L Dohc 16 V Dual VVT I4 Engine                                                              $200
· 17" x 6.5" aluminum sparkle silver        · Remote keyless entry
                                                                                            Continuously Variable Transaxle II                                                              $1,100
wheels                                      · Sentry Key theft deterrent system
· P215/60R17 all-season touring BSW         · Air filtration                                26 B Customer Preferred Order Selection PKG                                                     $5,000
tires                                       · Rear seat heat ducts                          Brilliant Black Crystal Pearl                                                                   $0
· Compact spare tire                        · Rear window defroster                         Dark Slate Gray, Stain & Odor Resistant Anti                                                    $0
· Side roof rails                           · 12-volt aux pwr outlet                        Static Fabric Trimmed Bucket Seats
· Body color fascias                        · 115-volt aux pwr outlet
· Body color bodyside molding               · Passenger assist handles
                                                                                            Security & Cargo Convenience Group                                                              $735
· Lower bright bodyside molding             · Sliding visors w/vanity mirrors               Sun/Sound Group                                                                                 $1,295
· Halogen headlamps                         · Front dome light                              Sirius Satellite Radio W/1 Year Subscription                                                    $195
· Front fog lamps                           · Map/dome reading lights                       Original Shipping Charge                                                                        $630
· Deep-tint sunscreen glass                 · Rechargeable/removable lamp
· Fold-away heated pwr mirrors              · Illuminated entry                             RETAIL PRICE (ORIGINALLY NEW)                                                                   $24,520.00
· Variable intermittent windshield wipers   · Folding flat load floor storage
· Rear window wiper/washer
· Liftgate door w/fixed glass
· Body color liftgate applique
                                            SAFETY                                          Used
· Body color door handles                   · Anti-lock front disc brakes/rear drum
                                            brakes                                          PRICE                                                                                     $5,000.00
ENTERTAINMENT                               · Electronic stability program w/roll
                                            mitigation
· Media center 130                          · Driver/front passenger advanced
· Audio input jack                          multistage airbags w/occupant sensors           Get more information on your smartphone:
· Fixed mast antenna                        · Front & rear side curtain airbags
                                            · Tire pressure monitoring warning
INTERIOR                                    · Tire pressure monitoring sensor testing
                                            · Child safety rear door locks
· Air conditioning
· Stain repel fabric trimmed heated front
bucket seats w/driver height adjustment
· Active front head restraints
· Front passenger fold flat forward seat
· 60/40 split reclining rear bench seat




                                                                                             Dodge of Winter Haven
                                                                                                          dodgeofwinterhaven.net
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                                     #:2039
Year: 2011                                                      Engine: 4 Cylinder Engine
Make: Jeep                                                      Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick auto trans, tip start
Model: Compass 4WD 4dr Latitude                                 Exterior: Mineral Gray Metallic
VIN: 1J4NF1FB4BD282510                                          Interior: Dark Slate Gray Interior

                                            · Sliding armrest                                 CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Full length floor console

· 2.4L DOHC 16V I4 dual-VVT engine
                                            · Illuminated cupholders
                                            · Carpeted floor                                    20                                                                                          23
· Hill start assist                         · Tilt steering column
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 525-amp maintenance-free battery          · Instrument cluster-inc: tachometer,
· 120-amp alternator                        outside temp display
· Touring suspension                        · Bright interior accents
· Rear stabilizer bar                       · Pwr windows w/driver 1-touch feature         New
· Firm feel pwr steering                    · Pwr accessory delay
                                            · Speed control
                                                                                           MSRP                                           $20,995.00
EXTERIOR                                    · Sentry Key theft deterrent system
                                            · Air conditioning                             INSTALLED OPTIONS
· 17" x 6.5" aluminum wheels                · Air filtration                               50 State Emissions                             $0
· Compact spare tire                        · Rear seat heat ducts                         26 B Customer Preferred Order Selection PKG $1,065
· Bright side roof rails                    · Rear window defroster
· Body color fascias                        · Passenger assist handles                     Mineral Gray Metallic                          $0
· Lower bodyside accent cladding            · Sliding visors w/vanity mirrors              Dark Slate Gray Interior, Premium Cloth Bucket $0
· Body color grille w/chrome accent         · Front dome light                             Seats
· Halogen headlamps                         · Map/dome reading lights                      Security & Cargo Convenience Group             $650
· Front fog lamps                           · Rechargeable/removable lamp
                                                                                               auto dimming rearview mirror
· Deep-tint sunscreen glass                 · Illuminated entry                                security alarm
· Fold-away heated pwr mirrors              · Folding flat load floor storage                  soft tonneau cover
· Variable intermittent windshield wipers                                                      front seat side air bags
                                                                                               tire pressure monitor
· Rear window wiper/washer                  SAFETY                                             vehicle information center
· Liftgate door w/fixed glass                                                                  universal garage door opener
· Body color liftgate applique              · 4-wheel anti-lock disc brakes w/brake        Sun/Sound Group                                                                                 $1,295
· Body color door handles                   assist                                             pwr sunroof w/express open/close
                                            · Driver/front passenger advanced                  SIRIUS satellite radio w/1-year service
ENTERTAINMENT                               multistage airbags w/occupant sensors              (2) articulating liftgate speakers
                                                                                               (9) Boston Acoustics speakers
                                            · Front & rear side curtain airbags                subwoofer
· Audio input jack                          · Front height adjust seat belts               Sirius Satellite Radio W/1 Year Subscription                                                    $195
· Fixed mast antenna                        · Front passenger seat belt alert
                                            · Child safety rear door locks
                                                                                           Original Shipping Charge                                                                        $750
INTERIOR                                                                                   RETAIL PRICE (ORIGINALLY NEW)                                                                   $24,950.00

· Driver seat height adjuster
· Active front head restraints
· Front passenger fold flat forward seat
                                                                                           Get more information on your smartphone:




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                                                                                                  Smyrna Beach
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                                     #:2040
Year: 2012                                                         Engine: 4 Cylinder Engine
Make: Jeep                                                         Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick auto trans, tip start
Model: Compass 4WD 4dr Latitude                                    Exterior: Black
VIN: 1C4NJDEB7CD589095                                             Interior: Dark Slate Gray Interior

                                             · Illuminated cupholders                             CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Carpeted floor

· 2.4L DOHC 16V I4 dual-VVT engine
                                             · Luxury front & rear floor mats
                                             · Tilt steering column                                 21                                                                                          26
· Continuously variable transaxle II -inc:   · Leather-wrapped steering wheel
                                                                                                       Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Autostick auto trans, tip start              · Steering wheel mounted audio controls
· 4 wheel drive                              · Instrument cluster -inc: tachometer,
· 525-amp maintenance-free battery           outside temp display
· 120-amp alternator                         · Bright interior accents                         New
· Touring suspension                         · Pwr windows w/driver 1-touch feature
· Rear stabilizer bar                        · Speed sensitive pwr door locks
                                                                                               MSRP                                           $23,445.00
· Firm feel pwr steering                     · Pwr accessory delay
                                             · Speed control                                   INSTALLED OPTIONS
EXTERIOR                                     · Remote keyless entry                            50 State Emissions                             $0
                                             · Remote start                                    26 B Customer Preferred Order Selection PKG $0
· 17" x 6.5" aluminum wheels                 · Sentry Key theft deterrent system
· P215/60R17 all-season touring BSW          · Air conditioning                                17" X 6.5" Aluminum Wheels                     $0
tires                                        · Air filtration                                  Black                                          $0
· Compact spare tire                         · Rear seat heat ducts                            Dark Slate Gray Interior, Premium Cloth Bucket $0
· Bright side roof rails                     · Rear window defroster                           Seats
· Body color fascias                         · 12-volt aux pwr outlet
· Lower bodyside accent cladding             · 115-volt aux pwr outlet                         Sun/Sound Group                                $1,295
· Body color grille w/chrome accent          · Passenger assist handles                            SIRIUS satellite radio w/1-year subscription
                                                                                                   (2) articulating liftgate speakers
· Halogen headlamps                          · Sliding visors w/vanity mirrors                     (9) Boston Acoustic speakers w/subwoofer
· Front fog lamps                            · Front dome light                                    pwr express open/close sunroof
· Deep-tint sunscreen glass                  · Map/dome reading lights                         Uconnect Voice Command W/Bluetooth                                                              $475
· Solar control glass                        · Rechargeable/removable lamp                         SIRIUS satellite radio w/1-year subscription
· Fold-away heated pwr mirrors               · Illuminated entry                               Sirius Satellite Radio W/1 Year Subscription                                                    included
· Variable intermittent windshield wipers    · Folding flat load floor storage
· Rear window wiper/washer                                                                     Original Shipping Charge                                                                        $925
· Liftgate door w/fixed glass                SAFETY                                            RETAIL PRICE (ORIGINALLY NEW)                                                                   $26,140.00
· Body color liftgate applique
· Body color door handles                    · 4-wheel anti-lock disc brakes
                                             · Brake assist
ENTERTAINMENT                                · Electronic stability program w/roll
                                             mitigation                                        Get more information on your smartphone:
· Media center 130 -inc: AM/FM stereo,       · Next gen driver/front passenger
CD/MP3 player                                advanced multistage airbags -inc:
· (4) speakers                               occupant sensors
· Audio input jack                           · Front & rear side curtain airbags
· Fixed mast antenna                         · Front height adjust seat belts
                                             · Front passenger seat belt alert
INTERIOR                                     · Tire pressure monitoring warning
                                             · Child safety rear door locks
· Premium cloth bucket seats
· Driver seat height adjuster
· Heated front seats
· Active front head restraints
· Front passenger fold-flat forward seat
· 60/40 folding rear seat
· Sliding armrest
· Full length floor console




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                                     #:2041
Year: 2013                                                                        Engine: 4 Cylinder Engine
Make: Jeep                                                                        Transmission: Automatic (variable gear ratios)
Model: Compass FWD 4dr Sport                                                      Exterior: Bright Silver Metallic
VIN: 1C4NJCBA9DD168776                                                            Interior: Dark Slate Gray Interior

                                            · Carpeted floor                                  CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Luxury front & rear floor mats

· 2.0L DOHC 16V I4 dual-VVT engine
                                            · Tilt steering column
                                            · Instrument cluster -inc: tachometer,               22                                                                                          27
· Hill start assist                         outside temp display
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Front passenger seat belt alert
· 525-amp maintenance-free battery          · Bright interior accents
· 120-amp alternator                        · Pwr windows w/driver 1-touch feature
· Touring suspension                        · Pwr accessory delay                           New
· Rear stabilizer bar                       · Speed control
· Firm feel pwr steering                    · Sentry Key theft deterrent system
                                                                                            MSRP                                                                                            $19,495.00
                                            · Air conditioning
EXTERIOR                                    · Air filtration                                INSTALLED OPTIONS
                                            · Rear seat heat ducts                          50 State Emissions                                                                              $0
· Compact spare tire                        · Rear window defroster                         Continuously Variable Transaxle II                                                              included
· Bright side roof rails                    · 12-volt aux pwr outlet
                                                                                                AutoStick auto trans
· Body color fascias                        · Passenger assist handles                          tip start
· Lower bodyside accent cladding            · Sliding visors w/vanity mirrors               24 A Customer Preferred Order Selection PKG $0
· Body color grille w/chrome accent         · Front dome light
                                                                                                2.0L I4 engine
· Halogen headlamps                         · Map/dome reading lights                           continuously variable transaxle II
· Premium fog lamps                         · Rechargeable/removable lamp                   17" X 6.5" Aluminum Wheels                                                                      $395
· Deep-tint sunscreen glass                 · Illuminated entry
                                                                                                P215/60R17 all-season touring BSW tires
· Solar control glass                       · Folding flat load floor storage
                                                                                            P215/60 R17 All Season Touring BSW Tires       included
· Fold-away heated pwr mirrors
· Variable intermittent windshield wipers   SAFETY                                          Bright Silver Metallic                         $0
· Rear window wiper/washer                                                                  Dark Slate Gray Interior, Premium Cloth Bucket $0
· Liftgate door w/fixed glass               · Anti-lock front disc brakes/rear drum         Seats
· Body color liftgate applique              brakes
                                                                                            Original Shipping Charge                       $995
· Body color door handles                   · Brake assist
                                            · Electronic stability program                  RETAIL PRICE (ORIGINALLY NEW)                                                                   $20,885.00
ENTERTAINMENT                               · Electronic roll mitigation
                                            · Next generation driver/front passenger
· (4) speakers                              advanced multistage airbags -inc:
· Fixed mast antenna                        occupant sensors
                                            · Front & rear side curtain airbags             Get more information on your smartphone:
INTERIOR                                    · Front height adjust seat belts
                                            · Tire pressure monitoring warning lamp
· Active front head restraints              · Child safety rear door locks
· 60/40 folding rear seat
· Sliding armrest
· Full length floor console
· Illuminated cupholders




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                                     #:2042
Year: 2014                                                                     Engine: 4 Cylinder Engine
Make: Jeep                                                                     Transmission: 6-SPEED AUTOMATIC -inc: Remote Start System
Model: Compass FWD 4dr Latitude                                                Exterior: Black Clearcoat
VIN: 1C4NJCEB6ED603758                                                         Interior: Dark Slate Gray

                                          · 4-Way Passenger Seat -inc: Manual              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                Recline, Fore/Aft Movement and Fold Flat

· 3.65 Axle Ratio
                                          · 60-40 Folding Bench Front Facing
                                          Manual Reclining Fold Forward Seatback              21                                                                                         28
· GVWR: 4,435 lbs                         Cloth/Vinyl Rear Seat
                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front-Wheel Drive                       · Manual Tilt Steering Column
· 60-Amp/Hr 525CCA Maintenance-Free       · Gauges -inc: Speedometer, Odometer,
Battery w/Run Down Protection             Engine Coolant Temp, Tachometer and
· 120 Amp Alternator                      Trip Odometer                                  New
· 925# Maximum Payload                    · Leather/Metal-Look Steering Wheel
· Gas-Pressurized Shock Absorbers         · Front Cupholder
                                                                                         MSRP                                                                                           $22,595.00
· Front And Rear Anti-Roll Bars           · Rear Cupholder
· Touring Suspension                      · 1 12V DC Power Outlet                        INSTALLED OPTIONS
· Hydraulic Power-Assist Steering         · Cruise Control w/Steering Wheel Controls     Engine: 2.4 L I4 Dohc 16 V Dual VVT                                                            included
· 13.6 Gal. Fuel Tank                     · HVAC -inc: Underseat Ducts                   Quick Order Package 2 GB                                                                       $0
· Single Stainless Steel Exhaust          · Manual Air Conditioning
                                                                                         Wheels: 17" X 6.5" Aluminum                                                                    included
· Strut Front Suspension w/Coil Springs   · Glove Box
· Multi-Link Rear Suspension w/Coil       · Driver Foot Rest                             Black Clearcoat                                                                                $0
Springs                                   · Full Cloth Headliner                         Dark Slate Gray, Cloth/Vinyl Low Back Bucket                                                   $0
· Front Disc/Rear Drum Brakes w/4-        · Interior Trim -inc: Chrome Instrument        Seats
Wheel ABS, Front Vented Discs and         Panel Insert, Metal-Look Console Insert        50 State Emissions                                                                             $0
Brake Assist                              and Chrome Interior Accents
                                          · Urethane Gear Shift Knob
                                                                                         Radio: Uconnect 430 CD/DVD/MP3/HDD                                                             included
EXTERIOR                                  · Driver And Passenger Visor Vanity            Sirius Satellite Radio                                                                         $195
                                          Mirrors                                        Parkview Rear Back Up Camera                                                                   $895
· Wheels w/Painted Accents                · Day-Night Rearview Mirror                    Uconnect Voice Command W/Bluetooth                                                             $495
· Steel Spare Wheel                       · Full Floor Console w/Covered Storage, 1
· Compact Spare Tire Mounted Inside       12V DC Power Outlet and 1 AC Power
                                                                                         Manufacturer's Statement Of Origin                                                             $0
Under Cargo                               Outlet                                         Original Shipping Charge                                                                       $995
· Clearcoat Paint                         · Front Map Lights                             RETAIL PRICE (ORIGINALLY NEW)                                                                  $25,175.00
· Body-Colored Front Bumper w/Black       · Fade-To-Off Interior Lighting
Rub Strip/Fascia Accent                   · Carpet Floor Trim
· Body-Colored Rear Step Bumper           · Cargo Space Lights
w/Black Rub Strip/Fascia Accent           · Instrument Panel Bin, Driver / Passenger
· Black Bodyside Cladding                 And Rear Door Bins                             Get more information on your smartphone:
· Black Side Windows Trim and Black       · Delayed Accessory Power
Front Windshield Trim                     · Outside Temp Gauge
· Body-Colored Door Handles               · Analog Display
· Body-Colored Power Heated Side          · Driver And Passenger Heated-Cushion,
Mirrors w/Manual Folding                  Driver And Passenger Heated-Seatback
· Fixed Rear Window w/Fixed Interval      · Manual Anti-Whiplash Adjustable Front
Wiper and Defroster                       Head Restraints and Fixed Rear Head
· Deep Tinted Glass                       Restraints
· Variable Intermittent Wipers            · Front Center Armrest w/Storage
· Fully Galvanized Steel Panels           · Sentry Key Engine Immobilizer
· Lip Spoiler                             · 1 12V DC Power Outlet and 1 AC Power
· Chrome Grille                           Outlet
· Liftgate Rear Cargo Access              · Air Filtration
· Roof Rack Rails Only
· Front Fog Lamps                         SAFETY
· LED Brakelights
· Aero-Composite Halogen Headlamps        · Side Impact Beams
                                          · Dual Stage Driver And Passenger Seat-
ENTERTAINMENT                             Mounted Side Airbags
                                          · Dual Stage Driver And Passenger Front
· Radio w/Clock and Steering Wheel        Airbags
Controls                                  · Curtain 1st And 2nd Row Airbags
· 4 Speakers                              · Airbag Occupancy Sensor
· Fixed Antenna                           · Rear Child Safety Locks
                                          · Outboard Front Lap And Shoulder Safety
INTERIOR                                  Belts -inc: Rear Center 3 Point, Height
                                          Adjusters and Pretensioners
· 6-Way Driver Seat -inc: Manual
Recline, Height Adjustment and Fore/Aft
Movement
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                                     #:2043
Year: 2015                                                                          Engine: 4 Cylinder Engine
Make: Jeep                                                                          Transmission: 6-SPEED AUTOMATIC
Model: Compass Latitude                                                             Colors: Billet Silver Metallic Clearcoat / Dark Slate Gray
VIN: 1C4NJDEBXFD303258                                                              Mileage: 9,946                                                                                        Stock #: 117008

                                            · Fixed Antenna
                                                                                                CITY MPG                                                                           HIGHWAY MPG
MECHANICAL

· 3.37 Axle Ratio
                                            INTERIOR
                                                                                                   21                                                                                          27
· GVWR: 4,575 lbs                           · 6-Way Driver Seat -inc: Manual Recline,
· 50-State Emissions                        Height Adjustment and Fore/Aft Movement                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· Electronic Transfer Case                  · 4-Way Passenger Seat -inc: Manual Recline
· Automatic Full-Time Four-Wheel Drive      and Fore/Aft Movement
· 60-Amp/Hr 525CCA Maintenance-Free
Battery w/Run Down Protection
                                            · 60-40 Folding Bench Front Facing Manual
                                            Reclining Fold Forward Seatback Cloth/Vinyl
                                                                                             New
· 120 Amp Alternator                        Rear Seat
· 925# Maximum Payload                      · Manual Tilt Steering Column                    MSRP                                                                                             $25,195.00
· Gas-Pressurized Shock Absorbers           · Gauges -inc: Speedometer, Odometer,
· Front And Rear Anti-Roll Bars             Engine Coolant Temp, Tachometer and Trip         INSTALLED OPTIONS
· Touring Suspension                        Odometer                                         Quick Order Package 2 GB                                                                         $0
· Hydraulic Power-Assist Steering           · Leather/Metal-Look Steering Wheel
                                                                                                 Engine: 2.4L I4 DOHC 16V Dual VVT
· Single Stainless Steel Exhaust            · Front Cupholder                                    Transmission: 6-Speed Automatic
· 13.5 Gal. Fuel Tank                       · Rear Cupholder                                     Remote Start System
· Permanent Locking Hubs                    · 1 12V DC Power Outlet                          Billet Silver Metallic Clearcoat             $0
· Strut Front Suspension w/Coil Springs     · Cruise Control w/Steering Wheel Controls
· Multi-Link Rear Suspension w/Coil         · HVAC -inc: Underseat Ducts                     Dark Slate Gray, Cloth/Vinyl Low Back Bucket $0
Springs                                     · Manual Air Conditioning                        Seats
· 4-Wheel Disc Brakes w/4-Wheel ABS,        · Glove Box                                      Sirius Satellite Radio                       $195
Front Vented Discs and Brake Assist         · Driver Foot Rest
                                                                                                 1-Year SiriusXM Radio Service
                                            · Full Cloth Headliner                               For More Info
EXTERIOR                                    · Interior Trim -inc: Chrome Instrument Panel        Call 888-539-7474
                                            Insert, Metal-Look Console Insert and Chrome     Uconnect Voice Command W/Bluetooth                                                               $495
· Wheels w/Painted Accents                  Interior Accents
                                            · Urethane Gear Shift Knob                           Rear View Auto Dim Mirror w/Microphone
· Steel Spare Wheel                                                                              Remote USB Port
· Compact Spare Tire Mounted Inside         · Driver And Passenger Visor Vanity Mirrors
                                            · Day-Night Rearview Mirror
                                                                                             Original Shipping Charge                                                                         $995
Under Cargo
· Clearcoat Paint                           · Full Floor Console w/Covered Storage, 1        RETAIL PRICE (ORIGINALLY NEW)                                                                    $26,880.00
· Body-Colored Front Bumper w/Black Rub     12V DC Power Outlet and 1 AC Power Outlet
Strip/Fascia Accent                         · Front Map Lights
· Body-Colored Rear Step Bumper w/Black     · Fade-To-Off Interior Lighting
Rub Strip/Fascia Accent                     · Carpet Floor Trim
                                            · Cargo Space Lights
· Black Bodyside Cladding
· Black Side Windows Trim and Black Front   · Tip Start                                      Get more information on your smartphone:
Windshield Trim                             · Instrument Panel Bin, Driver / Passenger
· Body-Colored Door Handles                 And Rear Door Bins
· Body-Colored Power Heated Side Mirrors    · Delayed Accessory Power
w/Manual Folding                            · Outside Temp Gauge
· Fixed Rear Window w/Fixed Interval        · Analog Display
Wiper and Defroster                         · Driver And Passenger Heated-Cushion,
· Deep Tinted Glass                         Driver And Passenger Heated-Seatback
· Variable Intermittent Wipers              · Manual Anti-Whiplash Adjustable Front Head
· Fully Galvanized Steel Panels             Restraints and Fixed Rear Head Restraints
· Lip Spoiler                               · Sliding Front Center Armrest w/Storage
· Chrome Grille                             · Sentry Key Engine Immobilizer
· Liftgate Rear Cargo Access                · 1 12V DC Power Outlet and 1 AC Power
· Roof Rack Rails Only                      Outlet
· Front Fog Lamps                           · Air Filtration
· LED Brakelights
· Aero-Composite Halogen Headlamps          SAFETY
· Kumho Brand Tires
                                            · Side Impact Beams
ENTERTAINMENT                               · Dual Stage Driver And Passenger Seat-
                                            Mounted Side Airbags
· Radio w/Clock and Steering Wheel          · Dual Stage Driver And Passenger Front
Controls                                    Airbags
· 4 Speakers                                · Curtain 1st And 2nd Row Airbags
                                            · Airbag Occupancy Sensor
                                            · Rear Child Safety Locks
                                            · Outboard Front Lap And Shoulder Safety
                                            Belts -inc: Rear Center 3 Point, Height
                                            Adjusters and Pretensioners



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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 59 of 155 Page ID
                                     #:2044
Year: 2016                                           Engine: 4 Cylinder Engine
Make: Jeep                                           Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: AutoStick Automatic Transmission, T…
Model: Compass FWD 4dr Sport                         Exterior: Bright White Clearcoat (PW7)
VIN: 1C4NJCBA1GD518776                               Interior: Dark Slate Gray

                                           · 4-Way Passenger Seat -inc: Manual              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 Recline and Fore/Aft Movement

· 4.12 Axle Ratio
                                           · Manual Tilt Steering Column
                                           · Gauges -inc: Speedometer, Odometer,               23                                                                                         30
· GVWR: 4,435 lbs                          Engine Coolant Temp, Tachometer and
                                                                                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 50-State Emissions                       Trip Odometer
· Front-Wheel Drive                        · Manual Rear Windows and Fixed 3rd
· 60-Amp/Hr 525CCA Maintenance-Free        Row Windows
Battery w/Run Down Protection              · Voice Recorder                               New
· 120 Amp Alternator                       · Illuminated Front Cupholder
· 1350# Maximum Payload                    · Rear Cupholder
                                                                                          MSRP                                          $19,695.00
· Gas-Pressurized Shock Absorbers          · 1 12V DC Power Outlet
· Front And Rear Anti-Roll Bars            · Cruise Control w/Steering Wheel Controls     INSTALLED OPTIONS
· Touring Suspension                       · Manual Air Conditioning                      Transmission: Continuously Variable Transaxle $1,350
· Hydraulic Power-Assist Steering          · HVAC -inc: Underseat Ducts                   II
· 13.6 Gal. Fuel Tank                      · Glove Box                                       AutoStick Automatic Transmission
· Single Stainless Steel Exhaust           · Driver Foot Rest                                Tip Start
· Strut Front Suspension w/Coil Springs    · Full Cloth Headliner                         Wheels: 17" X 6.5" Aluminum                                                                    $895
· Multi-Link Rear Suspension w/Coil        · Interior Trim -inc: Chrome Instrument           Tires: P215/60R17 BSW AS Touring
Springs                                    Panel Insert and Chrome Interior Accents       Tires: P215/60 R17 BSW As Touring                                                              included
                                           · Day-Night Auto-Dimming Rearview Mirror
EXTERIOR                                   · Driver And Passenger Visor Vanity            Bright White Clearcoat                                                                         $0
                                           Mirrors                                        Dark Slate Gray, Premium Cloth Bucket Seats                                                    $0
· Wheels w/Painted Accents                 · Full Floor Console w/Covered Storage         Power Value Group                                                                              $2,045
· Steel Spare Wheel                        and 1 12V DC Power Outlet
                                                                                             Keyless Entry
· Compact Spare Tire Mounted Inside        · Front Map Lights                                Speed Sensitive Power Locks
Under Cargo                                · Fade-To-Off Interior Lighting                   Automatic Headlamps
· Clearcoat Paint                          · Carpet Floor Trim                               Body Color Liftgate Applique
                                                                                             Body Color Door Handles
· Body-Colored Front Bumper w/Metal-       · Cargo Space Lights                              Power Heated Fold-Away Mirrors
Look Rub Strip/Fascia Accent               · Instrument Panel Bin, Driver / Passenger        Illuminated Entry
· Black Bodyside Cladding                  And Rear Door Bins                                Power Windows w/Driver One-Touch
· Black Side Windows Trim and Black        · Delayed Accessory Power                      Manufacturer's Statement Of Origin                                                             $0
Front Windshield Trim                      · Manual 1st Row Windows                       Original Shipping Charge                                                                       $995
· Black Door Handles                       · Outside Temp Gauge
                                                                                          RETAIL PRICE (ORIGINALLY NEW)                                                                  $24,980.00
· Black Manual Side Mirrors w/Manual       · Analog Display
Folding                                    · Manual Anti-Whiplash Adjustable Front
· Fixed Rear Window w/Fixed Interval       Head Restraints and Fixed Rear Head
Wiper and Defroster                        Restraints
· Deep Tinted Glass                        · Sliding Front Center Armrest w/Storage
· Variable Intermittent Wipers             · Sentry Key Engine Immobilizer
                                                                                          Get more information on your smartphone:
· Fully Galvanized Steel Panels            · Air Filtration
· Lip Spoiler
· Liftgate Rear Cargo Access               SAFETY
· Manual Tailgate/Rear Door Lock
· Front Fog Lamps                          · Side Impact Beams
· LED Brakelights                          · Dual Stage Driver And Passenger Seat-
· Aero-Composite Halogen Headlamps         Mounted Side Airbags
                                           · Low Tire Pressure Warning
ENTERTAINMENT                              · Dual Stage Driver And Passenger Front
                                           Airbags
· 4 Speakers                               · Curtain 1st And 2nd Row Airbags
· Streaming Audio                          · Airbag Occupancy Sensor
· Fixed Antenna                            · Rear Child Safety Locks
· Uconnect w/Bluetooth Wireless Phone      · Outboard Front Lap And Shoulder Safety
Connectivity                               Belts -inc: Rear Center 3 Point, Height
                                           Adjusters and Pretensioners
INTERIOR

· 4-Way Driver Seat -inc: Manual Recline
and Fore/Aft Movement

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                                     #:2045
Year: 2017                                                                     Engine: 2.4L I4 DOHC 16V DUAL VVT
Make: Jeep                                                                     Transmission: Automatic 6-spd
Model: Compass Latitude FWD *Ltd Avail*                                        Exterior: Billet Silver Metallic Clearcoat
VIN: 1C4NJCEB3HD160456                                                         Interior: Dark Slate Gray

                                          · 4-Way Passenger Seat -inc: Manual              CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                Recline and Fore/Aft Movement

· 3.65 Axle Ratio
                                          · 60-40 Folding Bench Front Facing
                                          Manual Reclining Fold Forward Seatback              21                                                                                          27
· GVWR: 4,435 lbs                         Cloth/Vinyl Rear Seat
                                                                                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 50-State Emissions                      · Manual Tilt Steering Column
· Front-Wheel Drive                       · Gauges -inc: Speedometer, Odometer,
· 60-Amp/Hr 525CCA Maintenance-Free       Engine Coolant Temp, Tachometer and
Battery w/Run Down Protection             Trip Odometer                                  New
· 120 Amp Alternator                      · Voice Recorder
· 925# Maximum Payload                    · Leather/Metal-Look Steering Wheel
                                                                                         MSRP                                                                                            $24,340.00
· Gas-Pressurized Shock Absorbers         · Illuminated Front Cupholder
· Front And Rear Anti-Roll Bars           · Rear Cupholder                               INSTALLED OPTIONS
· Touring Suspension                      · 1 12V DC Power Outlet                        Engine: 2.4 L I4 Dohc 16 V Dual VVT                                                             $545
· Hydraulic Power-Assist Steering         · Cruise Control w/Steering Wheel Controls     Transmission: 6 Speed Automatic                                                                 $0
· 13.6 Gal. Fuel Tank                     · HVAC -inc: Underseat Ducts
· Single Stainless Steel Exhaust          · Glove Box                                    Quick Order Package 2 GS                                                                        $0
· Strut Front Suspension w/Coil Springs   · Driver Foot Rest                                 Engine: 2.4L I4 DOHC 16V Dual VVT
                                                                                             Transmission: 6-Speed Automatic
· Multi-Link Rear Suspension w/Coil       · Interior Trim -inc: Chrome Instrument            Remote Start System
Springs                                   Panel Insert, Metal-Look Console Insert        Billet Silver Metallic Clearcoat                                                                $0
· Front Disc/Rear Drum Brakes w/4-        and Chrome Interior Accents
Wheel ABS, Front Vented Discs and         · Full Cloth Headliner                         Dark Slate Gray, Cloth/Vinyl Low Back Bucket                                                    $0
Brake Assist                              · Urethane Gear Shift Knob                     Seats
                                          · Day-Night Auto-Dimming Rearview Mirror       High Beam Daytime Running Headlamps                                                             $40
EXTERIOR                                  · Driver And Passenger Visor Vanity            Manufacturer's Statement Of Origin                                                              $0
                                          Mirrors
· Steel Spare Wheel                       · Full Floor Console w/Covered Storage, 1      Original Shipping Charge                                                                        $995
· Compact Spare Tire Mounted Inside       12V DC Power Outlet and 1 AC Power             RETAIL PRICE (ORIGINALLY NEW)                                                                   $25,920.00
Under Cargo                               Outlet
· Clearcoat Paint                         · Front Map Lights
· Body-Colored Front Bumper w/Black       · Fade-To-Off Interior Lighting
Rub Strip/Fascia Accent                   · Carpet Floor Trim
· Body-Colored Rear Step Bumper           · Cargo Space Lights                           Get more information on your smartphone:
w/Black Rub Strip/Fascia Accent           · Tip Start
· Black Bodyside Cladding                 · Instrument Panel Bin, Driver / Passenger
· Black Side Windows Trim and Black       And Rear Door Bins
Front Windshield Trim                     · Delayed Accessory Power
· Body-Colored Door Handles               · Outside Temp Gauge
· Body-Colored Power Heated Side          · Analog Display
Mirrors w/Manual Folding                  · Driver And Passenger Heated-Cushion,
· Fixed Rear Window w/Fixed Interval      Driver And Passenger Heated-Seatback
Wiper and Defroster                       · Manual Anti-Whiplash Adjustable Front
· Deep Tinted Glass                       Head Restraints and Fixed Rear Head
· Variable Intermittent Wipers            Restraints
· Fully Galvanized Steel Panels           · Sliding Front Center Armrest w/Storage
· Lip Spoiler                             · Sentry Key Engine Immobilizer
· Chrome Grille                           · 1 12V DC Power Outlet and 1 AC Power
· Liftgate Rear Cargo Access              Outlet
· Roof Rack Rails Only                    · Air Filtration
· Fully Automatic Aero-Composite
Halogen Headlamps                         SAFETY
· Front Fog Lamps
· LED Brakelights                         · Side Impact Beams
                                          · Dual Stage Driver And Passenger Seat-
ENTERTAINMENT                             Mounted Side Airbags
                                          · Dual Stage Driver And Passenger Front
· 4 Speakers                              Airbags
· Streaming Audio                         · Curtain 1st And 2nd Row Airbags
· Fixed Antenna                           · Airbag Occupancy Sensor
· Uconnect w/Bluetooth Wireless Phone     · Rear Child Safety Locks
Connectivity                              · Outboard Front Lap And Shoulder Safety
                                          Belts -inc: Rear Center 3 Point, Height
INTERIOR                                  Adjusters and Pretensioners

· 6-Way Driver Seat -inc: Manual
Recline, Height Adjustment and Fore/Aft                                                                         floridafinecars.com
Movement

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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 61 of 155 Page ID
                                     #:2046
Year: 2010                                                                         Engine: V6 Cylinder Engine
Make: Jeep                                                                         Transmission: Automatic 4-spd
Model: Liberty 4WD 4dr Renegade                                                    Exterior: Bright Silver Metallic
VIN: 1J4PN3GK4AW146774                                                             Interior: Dark slate gray

                                            · Floor console w/leather armrest                  CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Carpeted floor covering

· 3.7L V6 Engine
                                            · Luxury front & rear floor mats
                                            · Tilt steering wheel                                 15                                                                                          21
· Auxiliary transmission oil cooler         · Leather-wrapped steering wheel
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 3.73 axle ratio                           · Steering wheel audio controls
· Selec-Trac II active full-time 4WD        · Sentry Key theft-deterrent system
system                                      · Instrument cluster display screen
· 600-amp maintenance free battery          · Premium instrument panel                       New
· 140-amp alternator                        · Vehicle information center
· Tip start system                          · Speed control
                                                                                             MSRP                                                                                            $27,860.00
· Dana 30/186MM front axle                  · Air filtering
· Corporate 8.25 solid rear axle            · Light driftwood center stack bezel             INSTALLED OPTIONS
· Front suspension skid plate               · Leather grab handles w/satin accents           50 State Emissions                                                                              $0
· Fuel tank skid plate                      · Illuminated entry                              3.7 L V6 Engine                                                                                 included
· Transfer case skid plate shield           · Pwr accessory delay
· Pwr rack & pinion steering                · Security alarm                                 4 Speed Automatic Transmission                                                                  $0
· Hill start assist                         · Rear window defroster                          28 D Customer Preferred Order Selection PKG                                                     $0
· Hill descent control                      · 12-volt auxiliary pwr outlet                       3.7L V6 engine
· Compact spare tire                        · Illuminated visor vanity mirrors                   4-speed auto trans
                                            · Premium door trim panel                        16" X 7.0" Aluminum Wheels                                                                      $0
EXTERIOR                                    · Courtesy lamps                                 P235/70 R16 All Terrain Owl Tires                                                               $0
                                            · Map/reading lamps                                  full size spare tire w/black steel wheel
· Tow hooks                                 · Rear dome lamp
                                                                                             Bright Silver Metallic                      $0
· Accent bodyside molding w/insert          · Leather-wrapped shift knob
· Rugged side roof rails                    · "Flipper" liftgate glass                       Dark Slate Gray, Premium Cloth Bucket Seats $0
· Sill molding                              · Cargo compartment cover                        SKY Slider Full Open Roof                   $1,075
· Body color grille                         · Cargo compartment lamp                             black roof molding
· Black headlamp bezels                     · Reversible/waterproof cargo storage                overhead console
· Accent color fascias                      · Leather-wrapped parking brake boot             Original Shipping Charge                                                                        $745
· Dark metallic fender flares
                                                                                             RETAIL PRICE (ORIGINALLY NEW)                                                                   $29,680.00
· Black door handles                        SAFETY
· Accent color license plate brow
· Tinted windshield glass                   · Pwr 4-wheel anti-lock disc brakes
· Deep-tint sunscreen glass                 · Brake assist
· Automatic halogen headlamps w/time-
off delay
                                            · Electronic roll mitigation
                                            · Dual-note horn
                                                                                             Get more information on your smartphone:
· Fog lamps                                 · Driver & front passenger advanced multi-
· Heated fold-away pwr mirrors              stage airbags
· Front license plate bracket               · Occupant classification system
· Variable intermittent windshield wipers   · Supplemental front & rear side curtain air
· Rear window wiper/washer                  bags
                                            · LATCH-ready child seat anchor system
ENTERTAINMENT                               · Child safety rear door locks
                                            · Enhanced accident response system
· (6) speakers
· Removable short-mast antenna

INTERIOR

· Active front seat head restraints
· 60/40 folding split-recline seat
· Front passenger fold-flat-forward seat
· Full length floor console




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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 62 of 155 Page ID
                                     #:2047
Year: 2011                                                                         Engine: V6 Cylinder Engine
Make: Jeep                                                                         Transmission: 4-Speed Automatic VLP
Model: Liberty RWD 4dr Limited                                                     Colors: Light Sandstone Metallic Clearcoat / dark slate gray dark saddle
VIN: 1J4PP5GK5BW530828                                                             Mileage: 130,364                                          Stock #: P731440A

                                            · Tilt steering wheel                              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Leather-wrapped steering wheel

· 3.7L V6 engine
                                            · Driftwood steering wheel spokes
                                            · Steering wheel audio controls                       16                                                                                         22
· 4-speed VLP automatic transmission        · Sentry Key theft-deterrent system
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
w/OD                                        · Tire pressure monitoring system
· Auxiliary transmission oil cooler         · Instrument cluster display screen
· 3.73 axle ratio                           · Premium instrument panel
· Rear wheel drive                          · Universal garage door opener                   New
· 600-amp maintenance free battery          · Vehicle information center
· 140-amp alternator                        · Pwr windows w/1-touch up/down for front
                                                                                             MSRP                                                                                           $26,650.00
· Tip start system                          windows
· 8.25 solid rear axle                      · Speed sensitive pwr locks                      INSTALLED OPTIONS
· Pwr rack & pinion steering                · Speed control                                  50 State Emissions                                                                             $0
· Hill start assist                         · Remote keyless entry                           3.7 L V6 Engine                                                                                included
· Compact spare tire                        · UConnect hands-free communication -
                                                                                             4 Speed VLP Automatic Transmission W/Od                                                        $0
                                            inc: voice command, Bluetooth
EXTERIOR                                    · Air conditioning                               28 F Customer Preferred Order Selection PKG                                                    $0
                                            · Air filtering                                  18" X 7.0" Aluminum Chrome Clad Wheels                                                         $0
· 17" x 7.0" aluminum silver accent         · Illuminated entry                              P235/60 R18 All Season BSW Tires                                                               included
wheels                                      · Pwr accessory delay
                                                                                             Light Sandstone Metallic                                                                       $0
· P235/65R17 all-season performance         · Security alarm
VSB tires                                   · Rear window defroster                          Dark Slate Gray/Dark Saddle Interior, Leather                                                  $0
· Chrome bodyside molding                   · 12-volt auxiliary pwr outlet                   Trimmed Bucket Seats
· Bright roof side rails                    · Illuminated visor vanity mirrors               Comfort/Convenience Group                                                                      $595
· Bright grille                             · Luxury door trim panel                         Tire & Wheel Group                                                                             $1,125
· Body color fascias w/bright insert        · Auto-dimming rear view mirror
· Body color fender flares                  w/microphone
                                                                                             Full Size Spare Tire                                                                           $150
· Black door handles                        · Courtesy lamps                                 PWR Sunroof                                                                                    $850
· Chrome license plate brow & pocket        · Rear dome lamp                                 Original Shipping Charge                                                                       $795
· Tinted windshield glass                   · Overhead console
                                                                                             RETAIL PRICE (ORIGINALLY NEW)                                                                  $30,165.00
· Deep-tint sunscreen glass                 · Chrome & leather-wrapped shift knob
· Automatic halogen headlamps w/time-       · Leather-wrapped grab handle
off delay                                   · "Flipper" liftgate glass
· Fog lamps                                 · Cargo compartment cover                        Used
· Heated fold-away pwr mirrors              · Cargo compartment lamp
· Front license plate bracket               · Reversible/waterproof cargo storage            PRICE                                                                                    $7,300.00
· Variable intermittent windshield wipers   · Leather-wrapped parking brake boot
· Rear window wiper/washer
                                            SAFETY
ENTERTAINMENT                                                                                Get more information on your smartphone:
                                            · Pwr 4-wheel anti-lock disc brakes
· Media center 130 -inc: AM/FM stereo,      · Brake assist
CD/MP3 player                               · All speed traction control
· Audio input jack for mobile devices       · Electronic stability program
· (8) amplified speakers w/subwoofer        · Electronic roll mitigation
· SIRIUS satellite radio w/1-year           · Dual-note horn
subscription *SIRIUS satellite radio N/A    · Driver & front passenger advanced multi-
in HI or Puerto Rico*                       stage air bags
· Removable short-mast antenna              · Occupant classification system
                                            · Supplemental front & rear side curtain air
INTERIOR                                    bags
                                            · Front height adjustable shoulder belts
· Rear fascia scuff pad                     · LATCH-ready child seat anchor system
· Leather-trimmed bucket seats              · Child safety rear door locks
· Heated front seats                        · Enhanced accident response system
· Pwr 6-way driver seat w/2-way front
passenger seat
· Manual driver seat lumbar adjust
· Driver seat/mirrors/radio memory
· Active front seat head restraints
· 60/40 folding split-recline seat
· Front passenger fold-flat-forward seat
                                                                                              Dodge of Winter Haven
· Full length floor console                                                                               dodgeofwinterhaven.net
· Floor console w/leather armrest
· Carpeted floor covering                                                                                     863-299-1243
· Luxury front & rear floor mats

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                                     #:2048
Year: 2012                                                                          Engine: V6 Cylinder Engine
Make: Jeep                                                                          Transmission: 4-SPEED VLP AUTOMATIC TRANSMISSION W/OD
Model: Liberty 4WD 4dr Sport Latitude                                               Exterior: Bright White
VIN: 1C4PJMAK6CW192500                                                              Interior: Dark Slate Gray Interior

                                            · 60/40 folding split-recline seat                 CITY MPG                                                                          HIGHWAY MPG
PACKAGE                                     · Front passenger fold-flat-forward seat

· Latitude group
                                            · Full length floor console
                                            · Carpeted floor covering                             15                                                                                         21
· Memory pkg -inc: driver seat memory,      · Luxury front & rear floor mats
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
exterior mirror memory, radio memory        · Tilt steering wheel
                                            · Steering wheel audio controls
MECHANICAL                                  · Sentry Key theft-deterrent system
                                            · Instrument cluster w/tachometer                New
· 3.7L V6 engine                            · Temp & compass gauge
· Aux transmission oil cooler               · Speed control
                                                                                             MSRP                                                                                           $25,395.00
· 3.73 axle ratio                           · Air conditioning
· 600-amp maintenance free battery          · Air filtering                                  INSTALLED OPTIONS
· 140-amp alternator                        · Illuminated entry                              Federal Emissions                                                                              $0
· Tip start system                          · Pwr accessory delay                            28 L Customer Preferred Order Selection PKG                                                    $1,700
· Dana 30/186MM front axle                  · Rear window defroster
                                                                                             17" X 7.0" Aluminum Silver Accent Wheels                                                       $0
· 8.25 solid rear axle                      · 12-volt aux pwr outlet
· Pwr rack & pinion steering                · Illuminated visor vanity mirrors               P235/65 R17 All Season Performance VSB                                                         $0
· Hill start assist                         · Courtesy lamps                                 Tires
· Hill descent control                      · Map/reading lamps                              Bright White                                                                                   $0
                                            · Rear dome lamp                                 Dark Slate Gray Interior, Leather Trimmed                                                      $0
EXTERIOR                                    · Overhead console
                                                                                             Bucket Seats
                                            · Vinyl shift knob
· Protective coating & remover              · Flipper liftgate glass                         Chrome Accents Group                                                                           $795
· Bodyside molded-in-color moldings         · Cargo compartment lamp                         Original Shipping Charge                                                                       $925
· Chrome bodyside molding                   · Reversible/waterproof cargo storage            RETAIL PRICE (ORIGINALLY NEW)                                                                  $28,815.00
· Black side roof rails
· Black roof molding                        SAFETY
· Body color grille
· Solar control glass                       · Pwr 4-wheel anti-lock disc brakes
· Body color fascias                        · Brake assist                                   Get more information on your smartphone:
· Body color fender flares                  · Electronic roll mitigation
· Black door handles                        · Dual-note horn
· Black license plate brow                  · Supplemental front & rear side curtain air
· Chrome license plate brow & pocket        bags
· Tinted windshield glass                   · Front height adjustable shoulder belts
· Automatic halogen headlamps w/time-       · LATCH-ready child seat anchor system
off delay                                   · Child safety rear door locks
· Heated fold-away pwr mirrors              · Low tire pressure warning
· Front license plate bracket               · Enhanced accident response system
· Variable intermittent windshield wipers
· Rear window wiper/washer

ENTERTAINMENT

· Audio input jack for mobile devices
· (6) speakers
· Removable short-mast antenna
· Bluetooth streaming audio

INTERIOR

· Active front seat head restraints




                                                                                                          www.laportechrysler.net
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                                     #:2049
Year: 2010                                             Engine: 4 Cylinder Engine
Make: Jeep                                             Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick automatic transmission, tip…
Model: Patriot FWD 4dr Sport *Ltd Avail*               Exterior: Natural Green Pearl
VIN: 1J4NT2GB6AD660113                                 Interior: Dark Slate Gray

                                            · 60/40 split-folding rear seat                    CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Active head restraints

· 2.4L DOHC 16V I4 Dual-VVT engine
                                            · Sliding armrest
                                            · Full-length floor console                           23                                                                                          28
· 5-speed manual transmission               · Full floor carpeting
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Hill start assist                         · Luxury front & rear floor mats
· Front wheel drive                         · Tilt steering column
· 120-amp alternator                        · Instrumentation w/tachometer
· 525-amp maintenance-free battery          · 120 MPH speedometer                            New
· Touring suspension                        · Outside temp gauge
· Rear stabilizer bar                       · Pwr accessory delay
                                                                                             MSRP                                                                                            $17,795.00
· Pwr rack & pinion steering                · Sentry Key theft-deterrent system
· Front disc/rear drum anti-lock brakes     · Air filtration                                 INSTALLED OPTIONS
                                            · Rear seat heat ducts                           50 State Emissions                                                                              $0
EXTERIOR                                    · Rear window defroster                          Continuously Variable Transaxle II                                                              included
                                            · Illuminated cupholders
                                                                                                 Autostick automatic transmission
· 16" x 6.5" styled steel wheels            · 12-volt pwr outlet                                 tip start
· P205/70R16 all-season BSW tires           · Bright interior accents                        26 D Customer Preferred Order Selection PKG $0
· Compact spare tire                        · Sliding sunvisors w/vanity mirrors
                                                                                                 2.4L I4 engine
· Side roof rails                           · Front dome light                                   continuously variable transaxle II
· Body color fascias                        · Map & dome reading lamps                       Natural Green Pearl                          $0
· Accent color liftgate applique            · Interior removable/rechargeable lamp
· Halogen headlamps                         · Fold-flat cargo floor
                                                                                             Dark Slate Gray, Cloth Low Back Bucket Seats $0
· Fold-away manual mirrors                                                                   PWR Equipment Group                          $950
· Variable intermittent windshield wipers   SAFETY                                               body color door handles
· Rear window wiper/washer                                                                       body color liftgate applique
                                                                                                 illuminated entry
· Black door handles                        · Brake assist                                       remote keyless entry
· Liftgate door w/fixed glass               · Electronic stability program                       fold-away pwr heated mirrors
                                            · Electronic roll mitigation                         pwr windows w/driver one-touch
                                                                                                 speed sensitive auto pwr locks
ENTERTAINMENT                               · Multistage dual front airbags
                                            · Front & rear side curtain airbags
                                                                                             Speed Control                                                                                   $250
· Media center 130 -inc: AM/FM stereo,      · Child safety rear door locks                   Original Shipping Charge                                                                        $630
CD/MP3 player                               · Tire pressure monitor                                                                                                                          $19,625.00
                                                                                             RETAIL PRICE (ORIGINALLY NEW)
· Audio input jack
· (4) speakers
· Fixed long-mast antenna

INTERIOR                                                                                     Get more information on your smartphone:
· Air conditioning
· Front cloth low-back bucket seats
· No lumbar adjust




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                                     #:2050
Year: 2011                                         Engine: 2.4L DOHC 16V I4 DUAL-VVT ENGINE
Make: Jeep                                         Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick automatic transmission, tip…
Model: Patriot 4WD 4dr Latitude                    Exterior: Bright Silver Metallic
VIN: 1J4NF1GB0BD265735                             Interior: Dark Slate Gray Interior

                                     · Full-length floor console
MECHANICAL                           · Full floor carpeting
                                     · Tilt steering column                              New
· 2.4L DOHC 16V I4 Dual-VVT engine   · Instrumentation w/tachometer
· Four wheel drive                   · 120 MPH speedometer                               MSRP                                          $17,695.00
· 120-amp alternator                 · Outside temp gauge
· 525-amp maintenance-free battery   · Speed control
                                                                                         INSTALLED OPTIONS
· 4575# GVWR                         · Pwr accessory delay                               50 State Emissions                            $0
· Touring suspension                 · Sentry Key theft-deterrent system                 Continuously Variable Transaxle II            $1,285
· Rear stabilizer bar                · Air filtration                                        Autostick automatic transmission
· "Firm feel" pwr steering           · Rear seat heat ducts                                  tip start
· Four-wheel anti-lock disc brakes   · Rear window defroster                             26 B Latitude Customer Preferred Order         $3,750
                                     · Illuminated cupholders                            Selection PKG
EXTERIOR                             · Bright interior accents
                                     · Passenger assist handles
                                                                                         Bright Silver Metallic                         $0
· Compact spare tire                 · Sliding sunvisors w/vanity mirrors                Dark Slate Gray Interior, Premium Cloth Bucket $0
· Body color fascias                 · Illuminated entry                                 Seats
· Lower bodyside accent cladding     · Front dome lamp                                   Security & Cargo Convenience Group             $750
· Body color grille                  · Map & dome reading lamps
                                                                                             adjustable roof rail crossbars
· Body color liftgate applique       · Interior removable/rechargeable lamp                  auto-dimming rearview mirror
· Halogen headlamps                  · Fold-flat cargo floor                                 security alarm
· Fog lamps                                                                                  soft tonneau cover
                                                                                             front seat side-impact airbags
· Solar control glass                SAFETY                                                  tire pressure monitor
· Deep tint sunscreen glass                                                                  universal garage door opener
· Variable intermittent windshield   · Brake assist                                          vehicle info center
wipers                               · Electronic roll mitigation                        Sirius Satellite Radio                        $195
· Rear window wiper/washer           · Hill start assist                                     (1) year service
· Body color door handles            · Multistage dual front airbags                     Original Shipping Charge                      $750
· Liftgate door w/fixed glass        · Front & rear side curtain airbags
                                                                                         RETAIL PRICE (ORIGINALLY NEW)                 $24,425.00
                                     · Height adjustable front shoulder belts
ENTERTAINMENT                        · Front passenger seat belt alert
                                     · Child safety rear door locks
· Audio input jack
· (4) speakers                                                                           Get more information on your smartphone:
· Fixed long-mast antenna

INTERIOR

· Front passenger fold-flat seat
· Driver seat height adjuster
· Active head restraints
· Sliding armrest




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                                     #:2051
Year: 2012                                             Engine: 4 Cylinder Engine
Make: Jeep                                             Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick automatic transmission, tip…
Model: Patriot 4WD 4dr Latitude                        Exterior: Deep Cherry Red Crystal Pearl
VIN: 1C4NJRFB0CD538503                                 Interior: Dark Slate Gray Interior

                                            · Active head restraints                           CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Sliding armrest

· 2.4L DOHC 16V I4 Dual-VVT engine
                                            · Full-length floor console
                                            · Full floor carpeting                                20                                                                                         23
· Four wheel drive                          · Tilt steering column
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 120-amp alternator                        · Leather-wrapped steering wheel -inc:
· 525-amp maintenance-free battery          steering wheel mounted audio controls
· 4575# GVWR                                · Instrumentation w/tachometer
· Touring suspension                        · 120 MPH speedometer                            New
· Rear stabilizer bar                       · Outside temp gauge
· "Firm feel" pwr steering                  · Speed control
                                                                                             MSRP                                           $22,780.00
· Four-wheel anti-lock disc brakes          · Pwr accessory delay
                                            · Pwr windows w/driver one-touch                 INSTALLED OPTIONS
EXTERIOR                                    · Sentry Key theft-deterrent system              50 State Emissions                             $0
                                            · Air filtration                                 26 B Latitude Customer Preferred Order         $0
· 17" x 6.5" aluminum wheels                · Rear seat heat ducts
                                                                                             Selection PKG
· P215/60R17 all-season BSW tires           · Rear window defroster
· Compact spare tire                        · Illuminated cupholders                         Deep Cherry Red Crystal Pearl                  $0
· Black side roof rails                     · Bright interior accents                        Dark Slate Gray Interior, Premium Cloth Bucket $0
· Body color fascias                        · Passenger assist handles                       Seats
· Lower bodyside accent cladding            · Sliding sunvisors w/vanity mirrors
                                                                                             Siriusxm Satellite Radio                       $195
· Body color grille                         · Illuminated entry
· Body color liftgate applique              · Front dome lamp                                   (1) year service
· Halogen headlamps                         · Map & dome reading lamps                       Original Shipping Charge                                                                       $925
· Fog lamps                                 · Interior removable/rechargeable lamp           RETAIL PRICE (ORIGINALLY NEW)                                                                  $23,900.00
· Solar control glass                       · Fold-flat cargo floor
· Deep tint sunscreen glass
· Fold-away pwr heated mirrors              SAFETY
· Variable intermittent windshield wipers
· Rear window wiper/washer                  · Brake assist                                   Get more information on your smartphone:
· Body color door handles                   · Electronic roll mitigation
· Liftgate door w/fixed glass               · Hill start assist
                                            · Multistage dual front airbags
ENTERTAINMENT                               · Front & rear side curtain airbags
                                            · Height adjustable front shoulder belts
· (4) speakers                              · Front passenger seat belt alert
· Fixed long-mast antenna                   · Child safety rear door locks

INTERIOR

· Air conditioning
· Front passenger fold-flat seat
· Heated front seats
· Driver seat height adjuster




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                                     #:2052
Year: 2013                                             Engine: 4 Cylinder Engine
Make: Jeep                                             Transmission: CONTINUOUSLY VARIABLE TRANSAXLE II -inc: Autostick automatic transmission, tip…
Model: Patriot 4WD 4dr Latitude                        Exterior: Black
VIN: 1C4NJRFB4DD137456                                 Interior: Dark Slate Gray Interior

                                            · Sliding armrest                                   CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Full-length floor console

· 2.4L DOHC 16V I4 Dual-VVT engine
                                            · Full floor carpeting
                                            · Tilt steering column                                21                                                                                          26
· Four wheel drive                          · Leather-wrapped steering wheel -inc:
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 120-amp alternator                        steering wheel mounted audio controls
· 525-amp maintenance-free battery          · Instrumentation w/tachometer
· 4575# GVWR                                · 120 MPH speedometer
· Touring suspension                        · Outside temp gauge                             New
· Rear stabilizer bar                       · Speed control
· "Firm feel" pwr steering                  · Pwr accessory delay
                                                                                             MSRP                                                                                            $23,095.00
· Four-wheel anti-lock disc brakes          · Pwr windows w/driver one-touch
                                            · Sentry Key theft-deterrent system              INSTALLED OPTIONS
EXTERIOR                                    · Air filtration                                 50 State Emissions                                                                              $0
                                            · Rear seat heat ducts                           26 B Latitude Customer Preferred Order                                                          $0
· Compact spare tire                        · Rear window defroster
                                                                                             Selection PKG
· Black side roof rails                     · Illuminated cupholders
· Body color fascias                        · Bright interior accents                            2.4L I4 engine
                                                                                                 continuously variable transaxle II
· Lower bodyside accent cladding            · Passenger assist handles
                                                                                             17" X 6.5" Aluminum Wheels                     $0
· Body color grille                         · Sliding sunvisors w/vanity mirrors
· Body color liftgate applique              · Illuminated entry                              Black                                          $0
· Halogen headlamps                         · Front dome lamp                                Dark Slate Gray Interior, Premium Cloth Bucket $0
· Fog lamps                                 · Map & dome reading lamps                       Seats
· Solar control glass                       · Interior removable/rechargeable lamp
                                                                                             Uconnect 430                                   $695
· Deep tint sunscreen glass                 · Fold-flat cargo floor
· Fold-away pwr heated mirrors                                                                   AM/FM stereo w/CD/DVD/MP3 player
                                                                                                 40GB hard drive w/28GB free space
· Variable intermittent windshield wipers   SAFETY                                               6.5" touch screen
· Rear window wiper/washer                                                                   Siriusxm Satellite Radio                                                                        $195
· Body color door handles                   · Brake assist                                       (1) year service
· Liftgate door w/fixed glass               · Electronic roll mitigation                     Original Shipping Charge                                                                        $995
                                            · Hill start assist
ENTERTAINMENT                               · Multistage dual front airbags                  RETAIL PRICE (ORIGINALLY NEW)                                                                   $24,980.00
                                            · Front & rear side curtain airbags
· (4) speakers                              · Height adjustable front shoulder belts
· Fixed long-mast antenna                   · Front passenger seat belt alert
                                            · Child safety rear door locks
INTERIOR                                                                                     Get more information on your smartphone:
· Air conditioning
· Front passenger fold-flat seat
· Heated front seats
· Driver seat height adjuster
· 60/40 split reclining rear seat
· Active head restraints




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                                        #:2053
Year: 2014                                                                     Engine: 4 Cylinder Engine
Make: Jeep                                                                     Transmission: 6-SPEED AUTOMATIC -inc: Autostick Automatic Transmission, Tip Start
Model: Patriot Latitude                                                        Colors: Billet Silver Metallic Clearcoat / Dark Slate Gray
VIN: 1C4NJRFB2ED898326                                                         Mileage: 47,671                                                Stock #: 118675

                                                · Manual Tilt Steering Column
MECHANICAL                                      · Gauges -inc: Speedometer, Odometer, Engine
                                                                                                      CITY MPG                                                                          HIGHWAY MPG

· 3.36 Axle Ratio
· GVWR: 4,575 lbs
                                                Coolant Temp, Tachometer and Trip Odometer
                                                · Power Rear Windows and Fixed 3rd Row
                                                Windows
                                                                                                         21                                                                                         27
· Electronic Transfer Case                      · Leather/Metal-Look Steering Wheel                        Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Automatic Full-Time Four-Wheel Drive          · Front Cupholder
· 60-Amp/Hr 525CCA Maintenance-Free             · Rear Cupholder
Battery w/Run Down Protection                   · 1 12V DC Power Outlet
· 120 Amp Alternator                            · Remote Keyless Entry w/Integrated Key             New
· 925lbs. Maximum Payload                       Transmitter, Illuminated Entry and Panic Button
· Gas-Pressurized Shock Absorbers               · Cruise Control w/Steering Wheel Controls
· Front And Rear Anti-Roll Bars                 · HVAC -inc: Underseat Ducts and                    MSRP                                                                                           $23,995.00
· Touring Suspension                            Headliner/Pillar Ducts
· Hydraulic Power-Assist Steering               · Manual Air Conditioning
                                                                                                    INSTALLED OPTIONS
· Single Stainless Steel Exhaust                · Glove Box                                         Quick Order Package 2 GB                                                                       $0
· 13.5 Gal. Fuel Tank                           · Driver Foot Rest                                     Engine: 2.4L I4 DOHC 16V Dual VVT
· Permanent Locking Hubs                        · Full Cloth Headliner                                 Transmission: 6-Speed Automatic
· Strut Front Suspension w/Coil Springs         · Chrome Gear Shift Knob                               Remote Start System
· Multi-Link Rear Suspension w/Coil Springs     · Interior Trim -inc: Chrome Instrument Panel       Billet Silver Metallic Clearcoat                                                               $0
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front      Insert and Chrome Interior Accents
Vented Discs and Brake Assist                   · Premium Cloth Bucket Seats                        Dark Slate Gray, Premium Cloth Bucket Seats                                                    $0
                                                · Day-Night Rearview Mirror                         50 State Emissions                                                                             $0
EXTERIOR                                        · Driver And Passenger Visor Vanity Mirrors
                                                · Full Floor Console w/Covered Storage, 1 12V       Manufacturer's Statement Of Origin                                                             $0
· Wheels: 17" x 6.5" Aluminum                   DC Power Outlet and 1 AC Power Outlet               Sirius Satellite Radio                                                                         included
· Tires: P215/60R17 BSW AS Touring              · Front Map Lights
                                                                                                       1-Yr SiriusXM Radio Service
· Wheels w/Polished Accents                     · Fade-To-Off Interior Lighting                        For More Info
· Steel Spare Wheel                             · Full Carpet Floor Covering -inc: Carpet Front        Call 888-539-7474
· Compact Spare Tire Mounted Inside Under       And Rear Floor Mats
                                                                                                    Uconnect Voice Command W/Bluetooth                                                             $495
Cargo                                           · Carpet Floor Trim
· Clearcoat Paint                               · Cargo Space Lights                                   SIRIUS Satellite Radio
                                                · Instrument Panel Bin, Driver / Passenger And         1-Yr SiriusXM Radio Service
· Body-Colored Rear Step Bumper w/Black                                                                For More Info
Rub Strip/Fascia Accent                         Rear Door Bins                                         Call 888-539-7474
· Body-Colored Front Bumper w/Black Rub         · Power 1st Row Windows w/Driver 1-Touch               Remote USB Port
Strip/Fascia Accent                             Down                                                   Rear View Auto Dim Mirror w/Microphone
· Black Bodyside Cladding                       · Delayed Accessory Power                           Original Shipping Charge                                                                       $995
· Black Side Windows Trim and Black Front       · Power Door Locks w/Autolock Feature
Windshield Trim                                 · Outside Temp Gauge                                RETAIL PRICE (ORIGINALLY NEW)                                                                  $25,485.00
· Body-Colored Door Handles                     · Analog Display
· Black Power Heated Side Mirrors w/Manual      · Driver And Passenger Heated-Cushion, Driver
Folding                                         And Passenger Heated-Seatback
· Fixed Rear Window w/Fixed Interval Wiper      · Manual Anti-Whiplash Adjustable Front Head
                                                Restraints and Fixed Rear Head Restraints
and Defroster
· Deep Tinted Glass                             · Sliding Front Center Armrest w/Storage            Get more information on your smartphone:
· Variable Intermittent Wipers                  · Sentry Key Engine Immobilizer
· Fully Galvanized Steel Panels                 · 1 12V DC Power Outlet and 1 AC Power Outlet
· Body-Colored Grille                           · Air Filtration
· Liftgate Rear Cargo Access
· Tailgate/Rear Door Lock Included w/Power      SAFETY
Door Locks
· Roof Rack Rails Only                          · Electronic Stability Control And Roll Stability
· Front Fog Lamps                               Control
· Aero-Composite Halogen Headlamps              · ABS And Driveline Traction Control
                                                · Side Impact Beams
ENTERTAINMENT                                   · Dual Stage Driver And Passenger Seat-
                                                Mounted Side Airbags
·   Radio: Uconnect 130 AM/FM/CD/MP3            · Low Tire Pressure Warning
·   Radio w/Clock and Steering Wheel Controls   · Dual Stage Driver And Passenger Front Airbags
·   4 Speakers                                  · Curtain 1st And 2nd Row Airbags
·   Fixed Antenna                               · Airbag Occupancy Sensor
·   Audio Jack Input for Mobile Devices         · Rear Child Safety Locks
                                                · Outboard Front Lap And Shoulder Safety Belts -
INTERIOR                                        inc: Rear Center 3 Point, Height Adjusters and
                                                Pretensioners
· 6-Way Driver Seat -inc: Manual Recline,
Height Adjustment and Fore/Aft Movement
· 4-Way Passenger Seat -inc: Manual Recline,
Fore/Aft Movement and Fold Flat
· 60-40 Folding Bench Front Facing Manual
Reclining Fold Forward Seatback Cloth Rear
Seat
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                                     #:2054
Year: 2015                                                                     Engine: 4 Cylinder Engine
Make: Jeep                                                                     Transmission: Automatic 6-spd
Model: Patriot 4WD 4dr Sport                                                   Exterior: Granite Crystal Metallic Clearcoat
VIN: 1C4NJRBB0FD292577                                                         Interior: Dark Slate Gray

                                          · 4-Way Driver Seat -inc: Manual Recline         CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                and Fore/Aft Movement

· 4.12 Axle Ratio
                                          · 4-Way Passenger Seat -inc: Manual
                                          Recline and Fore/Aft Movement                       21                                                                                         27
· GVWR: 4,575 lbs                         · 60-40 Folding Bench Front Facing Fold
                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 50-State Emissions                      Forward Seatback Cloth Rear Seat
· Electronic Transfer Case                · Manual Tilt Steering Column
· 60-Amp/Hr 525CCA Maintenance-Free       · Gauges -inc: Speedometer, Odometer,
Battery w/Run Down Protection             Engine Coolant Temp, Tachometer and            New
· 120 Amp Alternator                      Trip Odometer
· 1300# Maximum Payload                   · Manual Rear Windows and Fixed 3rd
                                                                                         MSRP                                                                                           $18,995.00
· Gas-Pressurized Shock Absorbers         Row Windows
· Front And Rear Anti-Roll Bars           · Front Cupholder                              INSTALLED OPTIONS
· Touring Suspension                      · Rear Cupholder                               Transmission: 6 Speed Automatic                                                                included
· Hydraulic Power-Assist Steering         · 1 12V DC Power Outlet                           AutoStick Automatic Transmission
· Single Stainless Steel Exhaust          · Cruise Control w/Steering Wheel Controls        Tip Start
· 13.5 Gal. Fuel Tank                     · HVAC -inc: Underseat Ducts and               Quick Order Package 2 Ga                                                                       $0
· Permanent Locking Hubs                  Headliner/Pillar Ducts                            Engine: 2.4L I4 DOHC 16V Dual VVT
· Strut Front Suspension w/Coil Springs   · Glove Box                                       Transmission: 6-Speed Automatic
· Multi-Link Rear Suspension w/Coil       · Driver Foot Rest                             Granite Crystal Metallic Clearcoat          $0
Springs                                   · Full Cloth Headliner                         Dark Slate Gray, Premium Cloth Bucket Seats $0
· 4-Wheel Disc Brakes w/4-Wheel ABS,      · Chrome Gear Shift Knob
Front Vented Discs, Brake Assist and      · Interior Trim -inc: Chrome Instrument
                                                                                         Power Value Group                           $1,845
Hill Hold Control                         Panel Insert and Chrome Interior Accents          Body Color Door Handles
                                                                                            Illuminated Entry
                                          · Day-Night Rearview Mirror                       Speed Sensitive Power Locks
EXTERIOR                                  · Driver And Passenger Visor Vanity               Keyless Entry
                                          Mirrors                                           Power Heated Fold-Away Mirrors
                                                                                            Power Driver 1-Touch Windows
· Wheels w/Silver Accents                 · Full Floor Console w/Covered Storage            Body Color Liftgate Applique
· Steel Spare Wheel                       and 1 12V DC Power Outlet                      Air Conditioning                                                                               $1,255
· Compact Spare Tire Mounted Inside       · Front Map Lights
Under Cargo                               · Fade-To-Off Interior Lighting
                                                                                         Uconnect Voice Command W/Bluetooth                                                             $495
· Clearcoat Paint                         · Carpet Floor Trim                               Rear View Auto Dim Mirror w/Microphone
                                                                                            Remote USB Port
· Body-Colored Rear Step Bumper           · Cargo Space Lights                              SIRIUS Satellite Radio
w/Black Rub Strip/Fascia Accent           · Instrument Panel Bin, Driver / Passenger        1-Yr SIRIUSXM Radio Service
· Body-Colored Front Bumper w/Black       And Rear Door Bins                                For More Info
                                                                                            Call 888-539-7474
Rub Strip/Fascia Accent                   · Delayed Accessory Power
· Black Bodyside Cladding                 · Manual 1st Row Windows
                                                                                         Original Shipping Charge                                                                       $995
· Black Side Windows Trim and Black       · Outside Temp Gauge                           RETAIL PRICE (ORIGINALLY NEW)                                                                  $23,585.00
Front Windshield Trim                     · Analog Display
· Black Door Handles                      · Manual Anti-Whiplash Adjustable Front
· Black Manual Side Mirrors w/Manual      Head Restraints and Fixed Rear Head
Folding                                   Restraints
· Fixed Rear Window w/Fixed Interval      · Sliding Front Center Armrest w/Storage       Get more information on your smartphone:
Wiper and Defroster                       · Sentry Key Engine Immobilizer
· Deep Tinted Glass                       · Air Filtration
· Variable Intermittent Wipers
· Fully Galvanized Steel Panels           SAFETY
· Body-Colored Grille
· Liftgate Rear Cargo Access              · Side Impact Beams
· Manual Tailgate/Rear Door Lock          · Dual Stage Driver And Passenger Seat-
· Roof Rack Rails Only                    Mounted Side Airbags
· Front Fog Lamps                         · Low Tire Pressure Warning
· Aero-Composite Halogen Headlamps        · Dual Stage Driver And Passenger Front
                                          Airbags
ENTERTAINMENT                             · Curtain 1st And 2nd Row Airbags
                                          · Airbag Occupancy Sensor
· Radio w/Clock                           · Rear Child Safety Locks
· 4 Speakers                              · Outboard Front Lap And Shoulder Safety
· Fixed Antenna                           Belts -inc: Rear Center 3 Point, Height
                                          Adjusters and Pretensioners
INTERIOR




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                                     #:2055
Year: 2016                                                                     Engine: 2.4L I4 DOHC 16V DUAL VVT
Make: Jeep                                                                     Transmission: Automatic 6-spd
Model: Patriot FWD 4dr Sport                                                   Exterior: Maximum Steel Metallic Clearcoat
VIN: 1C4NJPBB9GD584010                                                         Interior: Dark Slate Gray

                                          · 4-Way Driver Seat -inc: Manual Recline         CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                and Fore/Aft Movement

· 4.12 Axle Ratio
                                          · 4-Way Passenger Seat -inc: Manual
                                          Recline and Fore/Aft Movement                       20                                                                                         25
· GVWR: 4,435 lbs                         · 60-40 Folding Bench Front Facing Fold
                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 50-State Emissions                      Forward Seatback Cloth Rear Seat
· Front-Wheel Drive                       · Manual Tilt Steering Column
· 60-Amp/Hr 525CCA Maintenance-Free       · Gauges -inc: Speedometer, Odometer,
Battery w/Run Down Protection             Engine Coolant Temp, Tachometer and            New
· 120 Amp Alternator                      Trip Odometer
· 1320# Maximum Payload                   · Manual Rear Windows and Fixed 3rd
                                                                                         MSRP                                                                                           $17,695.00
· Gas-Pressurized Shock Absorbers         Row Windows
· Front And Rear Anti-Roll Bars           · Voice Recorder                               INSTALLED OPTIONS
· Touring Suspension                      · Front Cupholder                              Engine: 2.4 L I4 Dohc 16 V Dual VVT                                                            $545
· Hydraulic Power-Assist Steering         · Rear Cupholder                               Transmission: 6 Speed Automatic                                                                $1,450
· 13.6 Gal. Fuel Tank                     · 1 12V DC Power Outlet
                                                                                            AutoStick Automatic Transmission
· Single Stainless Steel Exhaust          · Cruise Control w/Steering Wheel Controls        Tip Start
· Strut Front Suspension w/Coil Springs   · HVAC -inc: Underseat Ducts and                  3.37 Axle Ratio
· Multi-Link Rear Suspension w/Coil       Headliner/Pillar Ducts                         Quick Order Package 2 Ga                                                                       $0
Springs                                   · Glove Box                                       Engine: 2.4L I4 DOHC 16V Dual VVT
· Front Disc/Rear Drum Brakes w/4-        · Driver Foot Rest                                Transmission: 6-Speed Automatic
Wheel ABS, Front Vented Discs, Brake      · Interior Trim -inc: Chrome Instrument        Maximum Steel Metallic Clearcoat                                                               $0
Assist and Hill Hold Control              Panel Insert and Chrome Interior Accents       Dark Slate Gray, Premium Cloth Bucket Seats                                                    $0
                                          · Full Cloth Headliner
EXTERIOR                                  · Chrome Gear Shift Knob                       Air Conditioning                                                                               $1,375
                                          · Day-Night Auto-Dimming Rearview Mirror       Original Shipping Charge                                                                       $995
· Steel Spare Wheel                       · Driver And Passenger Visor Vanity
                                                                                         RETAIL PRICE (ORIGINALLY NEW)                                                                  $22,060.00
· Compact Spare Tire Mounted Inside       Mirrors
Under Cargo                               · Full Floor Console w/Covered Storage
· Clearcoat Paint                         and 1 12V DC Power Outlet
· Body-Colored Front Bumper w/Black       · Front Map Lights
Rub Strip/Fascia Accent                   · Fade-To-Off Interior Lighting                Get more information on your smartphone:
· Body-Colored Rear Step Bumper           · Carpet Floor Trim
w/Black Rub Strip/Fascia Accent           · Cargo Space Lights
· Black Bodyside Cladding                 · Instrument Panel Bin, Driver / Passenger
· Black Side Windows Trim and Black       And Rear Door Bins
Front Windshield Trim                     · Delayed Accessory Power
· Black Door Handles                      · Manual 1st Row Windows
· Black Manual Side Mirrors w/Manual      · Outside Temp Gauge
Folding                                   · Analog Display
· Fixed Rear Window w/Fixed Interval      · Manual Anti-Whiplash Adjustable Front
Wiper and Defroster                       Head Restraints and Fixed Rear Head
· Deep Tinted Glass                       Restraints
· Variable Intermittent Wipers            · Sliding Front Center Armrest w/Storage
· Fully Galvanized Steel Panels           · Sentry Key Engine Immobilizer
· Body-Colored Grille                     · Air Filtration
· Liftgate Rear Cargo Access
· Manual Tailgate/Rear Door Lock          SAFETY
· Roof Rack Rails Only
· Front Fog Lamps                         · Side Impact Beams
· Aero-Composite Halogen Headlamps        · Dual Stage Driver And Passenger Seat-
                                          Mounted Side Airbags
ENTERTAINMENT                             · Low Tire Pressure Warning
                                          · Dual Stage Driver And Passenger Front
· Radio w/Clock and Voice Activation      Airbags
· 4 Speakers                              · Curtain 1st And 2nd Row Airbags
· Streaming Audio                         · Airbag Occupancy Sensor
· Fixed Antenna                           · Rear Child Safety Locks
· Uconnect w/Bluetooth Wireless Phone     · Outboard Front Lap And Shoulder Safety
Connectivity                              Belts -inc: Rear Center 3 Point, Height
                                          Adjusters and Pretensioners
INTERIOR
                                                                                                                      Hudiburg
                                                                                                                        hudiburg.com
                                                                    MonroneyLabels.com
                                                                     Ex. 1 - Page 69
  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 71 of 155 Page ID
                                     #:2056
Year: 2017                                                                     Engine: 4 Cylinder Engine
Make: Jeep                                                                     Transmission: Automatic 6-spd
Model: Patriot Latitude 4x4                                                    Exterior: Deep Cherry Red Crystal Pearlcoat
VIN: 1C4NJRFB7HD174782                                                         Interior: Dark Slate Gray

                                          · 6-Way Driver Seat -inc: Manual Recline,        CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                Height Adjustment and Fore/Aft Movement

· 3.37 Axle Ratio
                                          · 4-Way Passenger Seat -inc: Manual
                                          Recline and Fore/Aft Movement                       20                                                                                         25
· GVWR: 4,575 lbs                         · 60-40 Folding Bench Front Facing
                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 50-State Emissions                      Manual Reclining Fold Forward Seatback
· Electronic Transfer Case                Cloth Rear Seat
· 60-Amp/Hr 525CCA Maintenance-Free       · Manual Tilt Steering Column
Battery w/Run Down Protection             · Gauges -inc: Speedometer, Odometer,          New
· 120 Amp Alternator                      Engine Coolant Temp, Tachometer and
· 1300# Maximum Payload                   Trip Odometer
                                                                                         MSRP                                                                                           $25,840.00
· Gas-Pressurized Shock Absorbers         · Voice Recorder
· Front And Rear Anti-Roll Bars           · Leather/Metal-Look Steering Wheel            INSTALLED OPTIONS
· Touring Suspension                      · Illuminated Front Cupholder                  Quick Order Package 2 GB                                                                       $0
· Hydraulic Power-Assist Steering         · Rear Cupholder                                  Engine: 2.4L I4 DOHC 16V Dual VVT
· Single Stainless Steel Exhaust          · 1 12V DC Power Outlet                           Transmission: 6-Speed Automatic
· 13.5 Gal. Fuel Tank                     · Cruise Control w/Steering Wheel Controls        Remote Start System
· Permanent Locking Hubs                  · HVAC -inc: Underseat Ducts and               Deep Cherry Red Crystal Pearlcoat                                                              $0
· Strut Front Suspension w/Coil Springs   Headliner/Pillar Ducts                         Dark Slate Gray, Premium Cloth Bucket Seats                                                    $0
· Multi-Link Rear Suspension w/Coil       · Glove Box                                    Manufacturer's Statement Of Origin                                                             $0
Springs                                   · Driver Foot Rest
· 4-Wheel Disc Brakes w/4-Wheel ABS,      · Interior Trim -inc: Chrome Instrument        Original Shipping Charge                                                                       $995
Front Vented Discs and Brake Assist       Panel Insert and Chrome Interior Accents       RETAIL PRICE (ORIGINALLY NEW)                                                                  $26,835.00
                                          · Full Cloth Headliner
EXTERIOR                                  · Chrome Gear Shift Knob
                                          · Driver And Passenger Visor Vanity
· Wheels: 17" x 6.5" Aluminum             Mirrors
· Steel Spare Wheel                       · Full Floor Console w/Covered Storage, 1      Get more information on your smartphone:
· Compact Spare Tire Mounted Inside       12V DC Power Outlet and 1 AC Power
Under Cargo                               Outlet
· Clearcoat Paint                         · Front Map Lights
· Body-Colored Front Bumper w/Black       · Fade-To-Off Interior Lighting
Rub Strip/Fascia Accent                   · Carpet Floor Trim
· Body-Colored Rear Step Bumper           · Cargo Space Lights
w/Black Rub Strip/Fascia Accent           · Instrument Panel Bin, Driver / Passenger
· Black Bodyside Cladding                 And Rear Door Bins
· Black Side Windows Trim and Black       · Delayed Accessory Power
Front Windshield Trim                     · Outside Temp Gauge
· Body-Colored Door Handles               · Analog Display
· Black Power Heated Side Mirrors         · Driver And Passenger Heated-Cushion,
w/Manual Folding                          Driver And Passenger Heated-Seatback
· Fixed Rear Window w/Fixed Interval      · Manual Anti-Whiplash Adjustable Front
Wiper and Defroster                       Head Restraints and Fixed Rear Head
· Deep Tinted Glass                       Restraints
· Variable Intermittent Wipers            · Sliding Front Center Armrest w/Storage
· Fully Galvanized Steel Panels           · Sentry Key Engine Immobilizer
· Body-Colored Grille                     · 1 12V DC Power Outlet and 1 AC Power
· Liftgate Rear Cargo Access              Outlet
· Roof Rack Rails Only                    · Air Filtration
· Fully Automatic Aero-Composite
Halogen Headlamps                         SAFETY
· Front Fog Lamps
                                          · Side Impact Beams
ENTERTAINMENT                             · Dual Stage Driver And Passenger Seat-
                                          Mounted Side Airbags
· 4 Speakers                              · Dual Stage Driver And Passenger Front
· Streaming Audio                         Airbags
· Fixed Antenna                           · Curtain 1st And 2nd Row Airbags
· Uconnect w/Bluetooth Wireless Phone     · Airbag Occupancy Sensor
Connectivity                              · Rear Child Safety Locks
                                          · Outboard Front Lap And Shoulder Safety
INTERIOR                                  Belts -inc: Rear Center 3 Point, Height
                                          Adjusters and Pretensioners
                                                                                                Luxury & Imports
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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 72 of 155 Page ID
                                     #:2057
Year: 2010                                                                         Engine: V6 Cylinder Engine
Make: Jeep                                                                         Transmission: 4-SPEED AUTOMATIC TRANSMISSION -inc: 3.73 axle ratio
Model: Wrangler Unlimited 4WD 4dr Sahara                                           Exterior: Deep Water Blue Pearl
VIN: 1J4HA5H14AL175016                                                             Interior: Dark Slate Gray/Medium Slate Gray

                                             · Reclining front seats                          CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Driver height adjustment

· 3.8L OHV 12-valve SMPI V6 engine
                                             · 60/40 folding rear seat
                                             · Rear seat outboard head restraints                15                                                                                         19
· 3.21 axle ratio                            · Full length floor console
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Hill start assist                          · Front seat area carpet
· Next generation Dana 30 solid front        · Rear/cargo area carpet
axle                                         · Front & rear floor mats
· Next generation Dana 44 HD rear axle       · Tilt steering column                         New
· Command-Trac shift-on-the-fly 4WD          · Leather-wrapped steering wheel w/bright
system                                       spokes
                                                                                            MSRP                                                                                           $28,905.00
· 600-CCA maintenance free battery           · Premium instrumentation w/tachometer
· 140-amp alternator                         · Outside temp & compass gauge                 INSTALLED OPTIONS
· (2) front/(1) rear tow hooks               · Pwr windows w/driver & front-passenger       50 State Emissions                                                                             $0
· Fuel tank skid plate                       one-touch down                                 4 Speed Automatic Transmission                                                                 $825
· Transfer case skid plate                   · Speed control
                                                                                            24 G Customer Preferred Order Selection PKG                                                    $0
· HD suspension w/gas shocks                 · Sentry Key theft deterrent system
· Front stabilizer bar                       · Security alarm                               Anti Spin Rear Differential                                                                    $295
· Rear stabilizer bar                        · Air conditioning                             3.73 Axle Ratio                                                                                included
· Pwr steering                               · Aux 12V pwr outlet                           Deep Water Blue Pearl                                                                          $225
· 4-wheel disc brakes                        · Bright interior accents
                                                                                            Dark Slate Gray/Medium Slate Gray, Cloth                                                       $0
· Hydraulic assist brake boost               · Sport bar w/full padding
                                             · Sliding sunvisors w/mirrors
                                                                                            Seats
EXTERIOR                                     · Rear passenger assist handle kit             Black Freedom Top 3 Piece Hardtop                                                              $735
                                             · Front seatback map pockets                   6 C7 Order Code                                                                                $0
· 18" x 7.5" satin silver painted aluminum   · Front dome light w/on/off switch             Trailer Tow Group                                                                              $320
wheels                                       · Rear dome light w/on/off switch
· Outside tire carrier                       · Cargo compartment covered storage
                                                                                            Media Center 230                                                                               $350
· Black/silver front bumper                  · Cargo tie down loops                         Remote Start                                                                                   $185
· Black/silver rear bumper                                                                  Supplemental Front Seat Side Air Bags                                                          $490
· Body color fender flares                   SAFETY                                         Original Shipping Charge                                                                       $750
· Body color grille
· Halogen headlamps                          · 4-wheel anti-lock brakes                     RETAIL PRICE (ORIGINALLY NEW)                                                                  $33,080.00
· Fog lamps                                  · Electronic roll mitigation
· Tinted windshield glass                    · Driver & front passenger advanced multi-
· Deep-tint sunscreen windows                stage frontal airbags
· Swing-away mirrors                         · Child safety rear door locks
· Variable intermittent windshield wipers    · Tire pressure monitoring warning lamp        Get more information on your smartphone:
· Hood insulation

ENTERTAINMENT

· Audio input jack

INTERIOR

· Low back bucket seats




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                                     #:2058
Year: 2011                                                                        Engine: V6 Cylinder Engine
Make: Jeep                                                                        Transmission: Automatic 4-spd
Model: Wrangler Unlimited 4WD 4dr Mojave                                          Exterior: Black Clear Coat
VIN: 1J4BA3H1XBL625697                                                            Interior: Black/Dark Saddle Interior

                                            · 60/40 folding rear seat                         CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Rear seat outboard head restraints

· 3.8L OHV 12-valve SMPI V6 engine
                                            · Full length floor console
                                            · Storage tray                                       15                                                                                          19
· 3.21 axle ratio                           · Front seat area carpet
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Next generation Dana 30 solid front       · Rear/cargo area carpet
axle                                        · Cargo compartment floor mat
· Next generation Dana 44 HD rear axle      · Tilt steering column
· Command-Trac shift-on-the-fly 4WD         · Steering wheel mounted audio controls        New
system                                      · Premium instrumentation w/tachometer
· 600-CCA maintenance free battery          · Outside temp & compass gauge
                                                                                           MSRP                                                                                             $25,545.00
· 140-amp alternator                        · Speed control
· (2) front/(1) rear tow hooks              · Sentry Key theft deterrent system            INSTALLED OPTIONS
· Fuel tank skid plate                      · Air conditioning                             50 State Emissions                                                                               $0
· Transfer case skid plate                  · 12V aux pwr outlet                           4 Speed Automatic Transmission                                                                   $875
· Front stabilizer bar                      · Satin chrome/leather-wrapped shift knob
                                                                                           24 D Customer Preferred Order Selection PKG                                                      $7,150
· Rear stabilizer bar                       · Sport bar w/full padding
· Pwr steering                              · Sliding sunvisors w/mirrors                  3.73 Axle Ratio                                                                                  included
· 4-wheel disc brakes                       · Front seatback map pockets                   Black Clear Coat                                                                                 $0
· Hydraulic assist brake boost              · Front dome light w/on/off switch             Black/Dark Saddle Interior, Vinyl Seats                                                          $0
                                            · Rear dome light w/on/off switch
                                                                                           Black Clear Coat Freedom Top 3 Piece Hard                                                        $0
EXTERIOR                                    · Cargo compartment covered storage
                                            · Cargo tie down loops
                                                                                           Top
· Outside tire carrier                                                                     6 X8 Order Code                                                                                  $0
· Body color fender flares                  SAFETY                                         Trailer Tow Group                                                                                $320
· Body color grille                                                                        Connectivity Group                                                                               $385
· Halogen headlamps                         · 4-wheel anti-lock brakes
· Fog lamps                                 · Electronic roll mitigation
                                                                                           Sirius Satellite Radio                                                                           $195
· Tinted windshield glass                   · Hill start assist                            Original Shipping Charge                                                                         $800
· Deep-tint sunscreen windows               · Driver & front passenger advanced multi-     RETAIL PRICE (ORIGINALLY NEW)                                                                    $35,270.00
· Front door tinted glass                   stage frontal airbags
· Manual fold-away exterior mirrors         · Child safety rear door locks
· Variable intermittent windshield wipers   · Tire pressure monitoring warning lamp

ENTERTAINMENT                                                                              Get more information on your smartphone:
· (6) speakers
· Fixed long mast antenna

INTERIOR

· Reclining front seats
· Driver height adjustment




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                                     #:2059
Year: 2012                                                                        Engine: V6 Cylinder Engine
Make: Jeep                                                                        Transmission: Automatic 5-spd
Model: Wrangler Unlimited 4WD 4dr Rubicon                                         Exterior: Black Forest Green Pearl
VIN: 1C4BJWFG6CL256367                                                            Interior: Black Interior

                                            · Low back bucket seats                          CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Reclining front seats

· 3.6L SMPI 24V VVT V6 engine
                                            · Driver height adjustment
                                            · 60/40 folding rear seat                           16                                                                                          20
· 4.10 axle ratio                           · Rear seat outboard head restraints
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Tru-Lok front & rear axles                · Full length floor console
· Next generation Dana 44 HD front axle     · Storage tray
· Next generation Dana 44 HD rear axle      · Front seat area carpet
· 4:1 Rock-Trac HD part-time 4WD            · Rear/cargo area carpet                       New
system                                      · Cargo compartment floor mat
· 600-CCA maintenance free battery          · Tilt steering column
                                                                                           MSRP                                        $33,770.00
· 160-amp alternator                        · Leather-wrapped steering wheel
· (2) front/(1) rear tow hooks              · Steering wheel mounted audio controls        INSTALLED OPTIONS
· Rock rails                                · Premium instrumentation w/tachometer         50 State Emissions                          $0
· Fuel tank skid plate                      · Outside temp & compass gauge                 5 Speed Automatic Transmission              $1,125
· Transfer case skid plate                  · Pwr windows w/driver & front-passenger
                                                                                           24 R Customer Preferred Order Selection PKG $0
· Performance suspension                    one-touch down
· Rear stabilizer bar                       · Speed control                                3.73 Axle Ratio                             $0
· Electronic front sway bar disconnect      · Sentry Key theft deterrent system            Black Forest Green Pearl                    $0
· Pwr steering                              · Security alarm                               Black Interior, Cloth Seat Trim             $0
· 4-wheel disc brakes                       · Chrome/leather-wrapped shift knob
                                                                                           Dual Top Group                              $1,625
· Hydraulic assist brake boost              · Bright interior accents
                                            · Sport bar w/full padding                     Connectivity Group                          $385
EXTERIOR                                    · Sliding sunvisors w/mirrors                  Max Tow PKG                                 $320
                                            · Rear passenger assist handle kit             Uconnect 430 N                              $1,035
· 17" x 7.5" satin carbon painted           · Front seatback map pockets
                                                                                           Heated Front Seats                          $250
aluminum wheels                             · Front dome light w/on/off switch
· Outside tire carrier                      · Rear dome light w/on/off switch              Remote Start                                $495
· Black front bumper                        · Cargo compartment covered storage            Original Shipping Charge                    $925
· Black rear bumper                         · Cargo tie down loops
                                                                                           RETAIL PRICE (ORIGINALLY NEW)                                                                   $39,930.00
· Accent color fender flares
· Body color grille                         SAFETY
· Halogen headlamps
· Auto on/off headlamps                     · 4-wheel anti-lock brakes
· Fog lamps                                 · Electronic roll mitigation                   Get more information on your smartphone:
· Tinted windshield glass                   · Hill start assist
· Deep-tint sunscreen windows               · Driver & front passenger advanced multi-
· Front door tinted glass                   stage frontal air bags
· Pwr heated exterior mirrors               · Child safety rear door locks
· Variable intermittent windshield wipers   · Tire pressure monitoring warning lamp
· Hood insulation

ENTERTAINMENT

· (6) Infinity speakers w/subwoofer
· Fixed long mast antenna

INTERIOR




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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 75 of 155 Page ID
                                     #:2060
Year: 2013                                                                        Engine: V6 Cylinder Engine
Make: Jeep                                                                        Transmission: Automatic 5-spd
Model: Wrangler Unlimited 4WD 4dr Sahara                                          Colors: True Blue Pearl / Black/Dark Saddle Interior
VIN: 1C4HJWEG4DL635574                                                            Mileage: 31,016                                                                                   Stock #: C635574

                                            · Driver height adjustment                        CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · 60/40 folding rear seat

· 3.6L SMPI 24V VVT V6 engine
                                            · Rear seat outboard head restraints
                                            · Full length floor console                         16                                                                                          20
· 3.21 axle ratio                           · Storage tray
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Next generation Dana 30 solid front       · Front seat area carpet
axle                                        · Rear/cargo area carpet
· Next generation Dana 44 HD rear axle      · Cargo compartment floor mat
· Command-Trac shift-on-the-fly 4WD         · Tilt steering column                         New
system                                      · Leather-wrapped steering wheel
· 600-CCA maintenance free battery          · Steering wheel mounted audio controls
                                                                                           MSRP                                                                                            $31,495.00
· 160-amp alternator                        · Premium instrumentation w/tachometer
· Trailer sway damping                      · Outside temp & compass gauge                 INSTALLED OPTIONS
· (2) front/(1) rear tow hooks              · Pwr windows w/driver & front-passenger       50 State Emissions                                                                              $0
· Fuel tank skid plate                      one-touch down                                 5 Speed Automatic Transmission                                                                  $1,200
· Transfer case skid plate                  · Speed control
                                                                                           24 G Customer Preferred Order Selection PKG                                                     $0
· HD suspension w/gas shocks                · Sentry Key theft deterrent system
· Front stabilizer bar                      · Security alarm                               3.73 Axle Ratio                                                                                 $195
· Rear stabilizer bar                       · Locking glove box                            True Blue Pearl                                                                                 $0
· Pwr steering                              · Chrome/leather-wrapped shift knob            Black/Dark Saddle Interior, Leather Seat Trim                                                   $1,100
· 4-wheel disc brakes                       · Coat hooks
                                                                                           Black Premium Soft Top W/Sunrider Feature                                                       $400
· Hydraulic assist brake boost              · Bright interior accents
                                            · Auto-dimming rearview mirror w/reading       Body Color 3 Piece Hard Top                                                                     $1,795
EXTERIOR                                    lamp                                           Dual Top Group                                                                                  $2,185
                                            · Sport bar w/full padding                     Max Tow PKG                                                                                     $390
· Outside tire carrier                      · Sliding sunvisors w/mirrors
                                                                                           Connectivity Group                                                                              $495
· Black/silver front bumper                 · Rear passenger assist handle kit
· Black/silver rear bumper                  · Front seatback map pockets                   Engine Block Heater                                                                             $95
· Body color fender flares                  · Front dome light w/on/off switch             Uconnect 430 N                                                                                  $1,035
· Body color grille                         · Rear dome light w/on/off switch              Heated Front Seats                                                                              included
· Halogen headlamps                         · Cargo compartment covered storage
                                                                                           Remote Start                                                                                    $495
· Auto on/off headlamps                     · Cargo tie down loops
· Fog lamps                                                                                Air Cond W/Auto Temp Control                                                                    $155
· Tinted windshield glass                   SAFETY                                         Supplemental Front Seat Side Air Bags                                                           $495
· Deep-tint sunscreen windows                                                              Original Shipping Charge                                                                        $995
· Front door tinted glass                   · 4-wheel anti-lock brakes
· Pwr heated exterior mirrors               · Electronic roll mitigation                   RETAIL PRICE (ORIGINALLY NEW)                                                                   $42,525.00
· Variable intermittent windshield wipers   · Hill start assist
· Hood insulation                           · Driver & front passenger advanced multi-
                                            stage frontal air bags
ENTERTAINMENT                               · Child safety rear door locks

· Alpine premium audio system
· Fixed long mast antenna

INTERIOR

· Low back bucket seats
· Reclining front seats




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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 76 of 155 Page ID
                                     #:2061
Year: 2014                                                                 Engine: V6 Cylinder Engine
Make: Jeep                                                                 Transmission: 5-SPEED AUTOMATIC (W5A580) -inc: Hill Descent Control, Tip Start
Model: Wrangler Unlimited 4WD 4dr Sahara                                   Exterior: Billet Metallic Clearcoat
VIN: 1C4BJWEG7EL212365                                                     Interior: Dark Saddle/Black

                                             · Front Fog Lamps                                CITY MPG                                                                          HIGHWAY MPG
MECHANICAL

· 3.21 Rear Axle Ratio
                                             ENTERTAINMENT
                                                                                                 16                                                                                         20
· Heavy Duty Suspension w/Gas Shocks         · Premium Amplifier
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· GVWR: 5,500 lbs                            · Fixed Antenna
· Manual Transfer Case
· Part-Time Four-Wheel Drive                 INTERIOR
· 600CCA Maintenance-Free Battery                                                           New
· 160 Amp Alternator                         · 6-Way Driver Seat -inc: Manual Recline,
· Towing Equipment -inc: Trailer Sway        Height Adjustment and Fore/Aft Movement
                                                                                            MSRP                                                                                           $32,095.00
Control                                      · 4-Way Passenger Seat -inc: Manual
· 2 Skid Plates                              Recline and Fore/Aft Movement                  INSTALLED OPTIONS
· 880# Maximum Payload                       · 60-40 Folding Split-Bench Front Facing       Transmission: 5 Speed Automatic (W5 A580)                                                      $1,300
· HD Shock Absorbers                         Fold Forward Seatback Rear Seat                Quick Order Package 24 G                                                                       $0
· Front And Rear Anti-Roll Bars              · Manual Tilt Steering Column
                                                                                            3.73 Rear Axle Ratio                                                                           included
· Hydraulic Power-Assist Steering            · Leather Steering Wheel
· 22.5 Gal. Fuel Tank                        · Front Cupholder                              Billet Metallic Clearcoat                                                                      $0
· Single Stainless Steel Exhaust             · Rear Cupholder                               Dark Saddle/Black, Cloth Bucket Seats                                                          $0
· Auto Locking Hubs                          · 2 12V DC Power Outlets                       Connectivity Group                                                                             $495
· Leading Link Front Suspension w/Coil       · Compass
                                                                                            Max Tow Package                                                                                $745
Springs                                      · Cruise Control w/Steering Wheel Controls
· Trailing Arm Rear Suspension w/Coil        · Locking Glove Box                            50 State Emissions                                                                             $0
Springs                                      · Interior Trim -inc: Deluxe Sound             Body Color 3 Piece Hard Top                                                                    $1,895
· 4-Wheel Disc Brakes w/4-Wheel ABS,         Insulation, Metal-Look Instrument Panel        Radio: Uconnect 430 N Cd/Dvd/Mp3/Hdd/Nav                                                       $1,095
Front And Rear Vented Discs, Brake           Insert, Metal-Look Door Panel Insert and
                                                                                            Original Shipping Charge                                                                       $995
Assist and Hill Hold Control                 Metal-Look Interior Accents
· Brake Actuated Limited Slip Differential   · Leather/Chrome Gear Shift Knob               RETAIL PRICE (ORIGINALLY NEW)                                                                  $38,620.00
                                             · Day-Night Auto-Dimming Rearview Mirror
EXTERIOR                                     · Driver And Passenger Visor Vanity
                                             Mirrors
· Tires: P255/70R18 OWL On/Off Road          · Full Floor Console w/Locking Storage, 2
· Aluminum Spare Wheel                       12V DC Power Outlets and 1 AC Power            Get more information on your smartphone:
· Full-Size Spare Tire Mounted Outside       Outlet
Rear                                         · Front Map Lights
· Clearcoat Paint                            · Fade-To-Off Interior Lighting
· Black Side Windows Trim                    · Carpet Floor Trim, Carpet And Rubber
· Black Door Handles                         Mat
· Body-Colored Fender Flares                 · Instrument Panel Bin, Dashboard
· Black Power Heated Side Mirrors            Storage, Driver And Passenger Door Bins
w/Manual Folding                             · Delayed Accessory Power
· Removable Rear Window                      · Outside Temp Gauge
· Deep Tinted Glass                          · Analog Display
· Variable Intermittent Wipers               · Manual Adjustable Front Head Restraints
· Fully Galvanized Steel Panels              and Fixed Rear Head Restraints
· Convertible w/Fixed Roll-Over              · Front Center Armrest w/Storage
Protection                                   · 2 Seatback Storage Pockets
· Body-Colored Grille                        · Perimeter Alarm
· Conventional Rear Cargo Access             · Sentry Key Engine Immobilizer
· Fully Automatic Aero-Composite             · 2 12V DC Power Outlets and 1 AC Power
Halogen Headlamps                            Outlet

                                             SAFETY

                                             · Side Impact Beams
                                             · Dual Stage Driver And Passenger Front
                                             Airbags
                                             · Airbag Occupancy Sensor
                                             · Rear Child Safety Locks
                                             · Outboard Front Lap And Shoulder Safety
                                             Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners

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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 77 of 155 Page ID
                                     #:2062
Year: 2015                                                                         Engine: V6 Cylinder Engine
Make: Jeep                                                                         Transmission: Automatic 5-spd
Model: Wrangler Unlimited 4WD 4dr Sport                                            Exterior: Firecracker Red Clear Coat
VIN: 1C4BJWDG6FL509789                                                             Interior: Black

                                             · Aero-Composite Halogen Headlamps                CITY MPG                                                                          HIGHWAY MPG
MECHANICAL

· 3.21 Rear Axle Ratio
                                             ENTERTAINMENT
                                                                                                  16                                                                                         20
· Normal Duty Suspension                     · Radio w/Clock and Steering Wheel
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· GVWR: 5,400 lbs                            Controls
· 50 State Emissions                         · 8 Speakers
· Manual Transfer Case                       · Fixed Antenna
· Part-Time Four-Wheel Drive                                                                 New
· 600CCA Maintenance-Free Battery            INTERIOR
· 160 Amp Alternator
                                                                                             MSRP                                                                                           $26,795.00
· Towing w/Trailer Sway Control              · 6-Way Driver Seat -inc: Manual Recline,
· 2 Skid Plates                              Height Adjustment and Fore/Aft Movement         INSTALLED OPTIONS
· 1000# Maximum Payload                      · 4-Way Passenger Seat -inc: Manual             Transmission: 5 Speed Automatic (W5 A580)                                                      included
· Front And Rear Anti-Roll Bars              Recline and Fore/Aft Movement                   Quick Order Package 24 S                                                                       $3,200
· Gas-Pressurized Shock Absorbers            · 60-40 Folding Split-Bench Front Facing
                                                                                             3.73 Rear Axle Ratio                                                                           $595
· Hydraulic Power-Assist Steering            Fold Forward Seatback Rear Seat
· 22.5 Gal. Fuel Tank                        · Manual Tilt Steering Column                   Wheels: 17" X 7.5" Aluminum                                                                    included
· Single Stainless Steel Exhaust             · Manual Rear Windows and Removable             Tires: P255/75 R17 Owl On/Off Road                                                             included
· Auto Locking Hubs                          3rd Row Windows                                 Firecracker Red Clear Coat                                                                     $0
· Leading Link Front Suspension w/Coil       · Front Cupholder
                                                                                             Black, Cloth Bucket Seats                                                                      $0
Springs                                      · Rear Cupholder
· Trailing Arm Rear Suspension w/Coil        · 2 12V DC Power Outlets                        Trailer Tow Group                                                                              $395
Springs                                      · Compass                                       Black 3 Piece Hard Top                                                                         $995
· 4-Wheel Disc Brakes w/4-Wheel ABS,         · Cruise Control w/Steering Wheel Controls      Radio: Uconnect 430 CD/DVD/MP3/HDD                                                             $695
Front And Rear Vented Discs, Brake           · Manual Air Conditioning
                                                                                             Sirius Satellite Radio                                                                         $195
Assist and Hill Hold Control                 · Locking Glove Box
· Brake Actuated Limited Slip Differential   · Interior Trim -inc: Metal-Look Instrument     Original Shipping Charge                                                                       $995
                                             Panel Insert, Metal-Look Door Panel Insert      RETAIL PRICE (ORIGINALLY NEW)                                                                  $33,865.00
EXTERIOR                                     and Metal-Look Interior Accents
                                             · Urethane Gear Shift Knob
· Steel Spare Wheel                          · Driver And Passenger Visor Vanity
· Full-Size Spare Tire Mounted Outside       Mirrors
Rear                                         · Day-Night Rearview Mirror                     Get more information on your smartphone:
· Clearcoat Paint                            · Full Floor Console w/Locking Storage
· Black Fender Flares                        and 2 12V DC Power Outlets
· Black Side Windows Trim                    · Fade-To-Off Interior Lighting
· Black Door Handles                         · Carpet Floor Trim, Carpet And Rubber
· Black Manual Side Mirrors w/Manual         Mat
Folding                                      · Locking Cargo Area Concealed Storage
· Removable Rear Window                      · Instrument Panel Bin, Dashboard
· Variable Intermittent Wipers               Storage, Driver And Passenger Door Bins
· Light Tinted Glass                         · Delayed Accessory Power
· Fully Galvanized Steel Panels              · Manual 1st Row Windows
· Convertible w/Fixed Roll-Over              · Outside Temp Gauge
Protection                                   · Analog Display
· Body-Colored Grille                        · Manual Adjustable Front Head Restraints
· Conventional Rear Cargo Access             and Fixed Rear Head Restraints
· Manual Tailgate/Rear Door Lock             · Front Center Armrest w/Storage
· Front Fog Lamps                            · 2 Seatback Storage Pockets
                                             · Sentry Key Engine Immobilizer

                                             SAFETY

                                             · Side Impact Beams
                                             · Dual Stage Driver And Passenger Front
                                             Airbags
                                             · Airbag Occupancy Sensor
                                             · Rear Child Safety Locks
                                             · Outboard Front Lap And Shoulder Safety
                                             Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners




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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 78 of 155 Page ID
                                     #:2063
Year: 2016                                                                        Engine: V6 Cylinder Engine
Make: Jeep                                                                        Transmission: Automatic 5-spd
Model: Wrangler Unlimited 4WD 4dr Sahara                                          Exterior: Mojave Sand Clearcoat
VIN: 1C4BJWEG9GL221717                                                            Interior: Dark Saddle/Black

                                             · 8 Speakers                                     CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Fixed Antenna

· 3.21 Rear Axle Ratio
                                             · 1 LCD Monitor In The Front
                                                                                                 16                                                                                         20
· Heavy Duty Suspension w/Gas Shocks         INTERIOR
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· GVWR: 5,500 lbs
· 50 State Emissions                         · 6-Way Driver Seat -inc: Manual Recline,
· Manual Transfer Case                       Height Adjustment and Fore/Aft Movement
· Part-Time Four-Wheel Drive                 · 4-Way Passenger Seat -inc: Manual            New
· 600CCA Maintenance-Free Battery            Recline and Fore/Aft Movement
· 160 Amp Alternator                         · 60-40 Folding Split-Bench Front Facing
                                                                                            MSRP                                                                                           $33,795.00
· Towing w/Trailer Sway Control              Fold Forward Seatback Rear Seat
· 2 Skid Plates                              · Manual Tilt Steering Column                  INSTALLED OPTIONS
· 880# Maximum Payload                       · Leather Wrapped Steering Wheel               Transmission: 5 Speed Automatic (W5 A580)                                                      included
· HD Shock Absorbers                         · Front Cupholder                              Quick Order Package 24 G                                                                       $0
· Front And Rear Anti-Roll Bars              · Rear Cupholder
                                                                                            Wheels: 18" X 7.5" 7 Spoke Polished Aluminum                                                   $745
· Hydraulic Power-Assist Steering            · 2 12V DC Power Outlets
· 22.5 Gal. Fuel Tank                        · Compass                                      Mojave Sand Clearcoat                                                                          $0
· Single Stainless Steel Exhaust             · Cruise Control w/Steering Wheel Controls     Dark Saddle/Black, Leather Trimmed Bucket                                                      $1,350
· Auto Locking Hubs                          · Locking Glove Box                            Seats
· Leading Link Front Suspension w/Coil       · Interior Trim -inc: Deluxe Sound             Connectivity Group                                                                             $695
Springs                                      Insulation, Metal-Look Instrument Panel
· Trailing Arm Rear Suspension w/Coil        Insert, Metal-Look Door Panel Insert and
                                                                                            Trailer Tow Group                                                                              $495
Springs                                      Metal-Look Interior Accents                    Black 3 Piece Hard Top                                                                         $995
· 4-Wheel Disc Brakes w/4-Wheel ABS,         · Leather/Chrome Gear Shift Knob               Heated Front Seats                                                                             included
Front And Rear Vented Discs, Brake           · Day-Night Auto-Dimming Rearview Mirror       Original Shipping Charge                                                                       $995
Assist and Hill Hold Control                 · Driver And Passenger Visor Vanity
· Brake Actuated Limited Slip Differential   Mirrors                                        RETAIL PRICE (ORIGINALLY NEW)                                                                  $39,070.00
                                             · Full Floor Console w/Locking Storage, 2
EXTERIOR                                     12V DC Power Outlets and 1 AC Power
                                             Outlet
· Tires: P255/70R18 OWL On/Off Road          · Front Map Lights
· Aluminum Spare Wheel                       · Fade-To-Off Interior Lighting                Get more information on your smartphone:
· Full-Size Spare Tire Mounted Outside       · Carpet Floor Trim, Carpet And Rubber
Rear                                         Mat
· Clearcoat Paint                            · Locking Cargo Area Concealed Storage
· Black Side Windows Trim                    · Instrument Panel Bin, Dashboard
· Black Door Handles                         Storage, Driver And Passenger Door Bins
· Body-Colored Fender Flares                 · Delayed Accessory Power
· Black Power Heated Side Mirrors            · Outside Temp Gauge
w/Manual Folding                             · Analog Display
· Removable Rear Window                      · Manual Adjustable Front Head Restraints
· Deep Tinted Glass                          and Fixed Rear Head Restraints
· Variable Intermittent Wipers               · Front Center Armrest w/Storage
· Fully Galvanized Steel Panels              · 2 Seatback Storage Pockets
· Convertible w/Fixed Roll-Over              · Perimeter Alarm
Protection                                   · Sentry Key Engine Immobilizer
· Conventional Rear Cargo Access             · 2 12V DC Power Outlets and 1 AC Power
· Fully Automatic Aero-Composite             Outlet
Halogen Headlamps
· Front Fog Lamps                            SAFETY

ENTERTAINMENT                                · Side Impact Beams
                                             · Dual Stage Driver And Passenger Front
                                             Airbags
                                             · Airbag Occupancy Sensor
                                             · Rear Child Safety Locks
                                             · Outboard Front Lap And Shoulder Safety
                                             Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners




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                                      #:2064
Year: 2017                                                                         Engine: V6 Cylinder Engine
Make: Jeep                                                                         Transmission: Automatic 5-spd
Model: Wrangler Unlimited Sport 4x4                                                Exterior: Granite Crystal Metallic Clearcoat
VIN: 1C4BJWDG7HL607135                                                             Interior: Black

                                             · Fixed Antenna                                   CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · 1 LCD Monitor In The Front

· 3.21 Rear Axle Ratio                       INTERIOR                                             16                                                                                         20
· Normal Duty Suspension
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· GVWR: 5,400 lbs                            · 6-Way Driver Seat -inc: Manual Recline,
· 50 State Emissions                         Height Adjustment and Fore/Aft Movement
· Manual Transfer Case                       · 4-Way Passenger Seat -inc: Manual
· Part-Time Four-Wheel Drive                 Recline and Fore/Aft Movement                 New
· 600CCA Maintenance-Free Battery            · 60-40 Folding Split-Bench Front Facing
· 160 Amp Alternator                         Fold Forward Seatback Rear Seat
                                                                                           MSRP                                                                                             $27,895.00
· Towing Equipment -inc: Trailer Sway        · Manual Tilt Steering Column
Control                                      · Manual Rear Windows and Removable           INSTALLED OPTIONS
· 2 Skid Plates                              3rd Row Windows                               Transmission: 5 Speed Automatic (W5 A580)                                                        included
· 1000# Maximum Payload                      · Illuminated Front Cupholder                 Quick Order Package 24 S                                                                         $3,200
· Front And Rear Anti-Roll Bars              · Rear Cupholder
                                                                                           Wheels: 17" X 7.5" Aluminum                                                                      included
· Gas-Pressurized Shock Absorbers            · 2 12V DC Power Outlets
· Hydraulic Power-Assist Steering            · Compass                                     Tires: P255/75 R17 Owl On/Off Road                                                               included
· 22.5 Gal. Fuel Tank                        · Cruise Control w/Steering Wheel Controls    Granite Crystal Metallic Clearcoat                                                               $0
· Single Stainless Steel Exhaust             · Manual Air Conditioning                     Black, Cloth Seats W/Adjustable Head                                                             $0
· Auto Locking Hubs                          · Locking Glove Box                           Restraints
· Leading Link Front Suspension w/Coil       · Interior Trim -inc: Metal-Look Instrument
Springs                                      Panel Insert, Metal-Look Door Panel Insert
                                                                                           Connectivity Group                                                                               $770
· Trailing Arm Rear Suspension w/Coil        and Metal-Look Interior Accents               Dual Top Group                                                                                   $2,185
Springs                                      · Urethane Gear Shift Knob                    Premium Black Sunrider Soft Top                                                                  included
· 4-Wheel Disc Brakes w/4-Wheel ABS,         · Driver And Passenger Visor Vanity           Black 3 Piece Hard Top                                                                           included
Front And Rear Vented Discs, Brake           Mirrors
Assist and Hill Hold Control                 · Day-Night Rearview Mirror
                                                                                           Sirius Satellite Radio                                                                           $220
· Brake Actuated Limited Slip Differential   · Full Floor Console w/Locking Storage        Original Shipping Charge                                                                         $1,095
                                             and 2 12V DC Power Outlets                    RETAIL PRICE (ORIGINALLY NEW)                                                                    $35,365.00
EXTERIOR                                     · Fade-To-Off Interior Lighting
                                             · Carpet Floor Trim, Carpet And Rubber
· Steel Spare Wheel                          Mat
· Full-Size Spare Tire Mounted Outside       · Locking Cargo Area Concealed Storage
Rear                                         · Instrument Panel Bin, Dashboard             Get more information on your smartphone:
· Clearcoat Paint                            Storage, Driver And Passenger Door Bins
· Black Fender Flares                        · Delayed Accessory Power
· Black Side Windows Trim                    · Manual 1st Row Windows
· Black Door Handles                         · Outside Temp Gauge
· Black Manual Side Mirrors w/Manual         · Analog Display
Folding                                      · Seats w/Cloth Back Material
· Removable Rear Window                      · Manual Adjustable Front Head Restraints
· Variable Intermittent Wipers               and Fixed Rear Head Restraints
· Light Tinted Glass                         · Front Center Armrest w/Storage
· Fully Galvanized Steel Panels              · 2 Seatback Storage Pockets
· Body-Colored Grille                        · Sentry Key Engine Immobilizer
· Conventional Rear Cargo Access
· Manual Tailgate/Rear Door Lock             SAFETY
· Aero-Composite Halogen Headlamps
                                             · Side Impact Beams
ENTERTAINMENT                                · Dual Stage Driver And Passenger Front
                                             Airbags
· 8 Speakers                                 · Airbag Occupancy Sensor
                                             · Rear Child Safety Locks
                                             · Outboard Front Lap And Shoulder Safety
                                             Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners




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                                     #:2066
Year: 2018                                                                           Engine: V6 Cylinder Engine
Make: Jeep                                                                           Transmission: Automatic 8-spd
Model: Wrangler Unlimited Sahara 4x4                                                 Exterior: Bright White Clearcoat
VIN: 1C4HJXEG8JW113742                                                               Interior: Black

                                             · Manual Tilt/Telescoping Steering Column
                                                                                                CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                   · Leather Steering Wheel

· 3.45 Rear Axle Ratio
                                             · Illuminated Front Cupholder
                                             · Illuminated Rear Cupholder
                                             · 2 12V DC Power Outlets
                                                                                                   18                                                                                          23
· Heavy Duty Suspension w/Gas Shocks
· GVWR: 5,500 lbs                            · Compass                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 50 State Emissions                         · Garage Door Transmitter
· Manual Transfer Case                       · Cruise Control w/Steering Wheel Controls
· Part-Time Four-Wheel Drive
· 650CCA Maintenance-Free Battery w/Run
                                             · Voice Activated Dual Zone Front Automatic
                                             Air Conditioning                                 New
Down Protection                              · HVAC -inc: Console Ducts
· 220 Amp Alternator                         · Locking Glove Box                              MSRP                                                                                            $38,295.00
· Towing w/Trailer Sway Control              · Urethane Gear Shift Knob
· 3 Skid Plates                              · Interior Trim -inc: Metal-Look Instrument      INSTALLED OPTIONS
· 880# Maximum Payload                       Panel Insert, Metal-Look Door Panel Insert,      Transmission: 8 Speed Automatic (850 Re)                                                        $2,000
· Front And Rear Anti-Roll Bars              Metal-Look Console Insert and Metal-Look
                                             Interior Accents                                 Quick Order Package 24 G                                                                        $0
· Electro-Hydraulic Power Assist Steering
· 21.5 Gal. Fuel Tank                        · Day-Night Rearview Mirror                      Wheels: 18" X 7.5" Tech Gray Polished Face                                                      $895
· Single Stainless Steel Exhaust             · Driver And Passenger Visor Vanity Mirrors      Bright White Clearcoat                                                                          $0
· Auto Locking Hubs                          w/Driver And Passenger Illumination
· Leading Link Front Suspension w/Coil       · Full Floor Console w/Locking Storage, 2 12V    Black, Leather Trimmed Seats W/Sahara Logo                                                      $1,495
Springs                                      DC Power Outlets and 1 AC Power Outlet           Cold Weather Group                                                                              $895
· Trailing Arm Rear Suspension w/Coil        · Front And Rear Map Lights
                                                                                              Electronic Infotainment System Group                                                            $1,495
Springs                                      · Fade-To-Off Interior Lighting
· 4-Wheel Disc Brakes w/4-Wheel ABS,         · Carpet Floor Trim, Carpet And Rubber Mat       Led Lighting Group                                                                              $895
Front Vented Discs, Brake Assist and Hill    · Locking Cargo Area Concealed Storage           Trailer Tow & HD Electrical Group                                                               $795
Hold Control                                 · Cargo Space Lights
                                                                                              Engine Block Heater                                                                             $95
· Brake Actuated Limited Slip Differential   · USB Host Flip
                                             · Instrument Panel Bin, Dashboard Storage,       Body Color 3 Piece Hard Top                                                                     $2,095
EXTERIOR                                     Driver And Passenger Door Bins                   Front License Plate Bracket                                                                     $0
                                             · Delayed Accessory Power
                                             · Systems Monitor                                Radio: Uconnect 4 C Nav W/8.4" Display                                                          included
· Aluminum Spare Wheel
· Full-Size Spare Tire Mounted Outside       · Redundant Digital Speedometer                  Alpine Premium Audio System                                                                     included
Rear                                         · Outside Temp Gauge                             Apple Carplay                                                                                   $0
· Clearcoat Paint                            · Analog Display
                                             · Manual Adjustable Front Head Restraints        Siriusxm Satellite Radio                                                                        $0
· Black Side Windows Trim
· Black Door Handles                         and Foldable Rear Head Restraints                Remote Start System                                                                             $495
· Black Wheel Well Trim and Body-Colored     · Front Center Armrest w/Storage
                                                                                              Manufacturer's Statement Of Origin                                                              $0
Fender Flares                                · 2 Seatback Storage Pockets
                                             · Perimeter Alarm                                Original Shipping Charge                                                                        $1,495
· Black Power Heated Side Mirrors
w/Manual Folding                             · Sentry Key Engine Immobilizer                  RETAIL PRICE (ORIGINALLY NEW)                                                                   $50,945.00
· Removable Rear Window                      · 2 12V DC Power Outlets and 1 AC Power
· Deep Tinted Glass                          Outlet
· Variable Intermittent Wipers               · Air Filtration
· Galvanized Steel/Aluminum/Magnesium
Panels                                       SAFETY
· Body-Colored Grille w/Chrome Accents
· Conventional Rear Cargo Access             · Side Impact Beams
· Non-Lock Fuel Cap w/o Discriminator        · Dual Stage Driver And Passenger Seat-
                                             Mounted Side Airbags
ENTERTAINMENT                                · Tire Specific Low Tire Pressure Warning
                                             · Dual Stage Driver And Passenger Front
· Radio w/Seek-Scan, Clock, Speed            Airbags
Compensated Volume Control, Aux Audio        · Airbag Occupancy Sensor
Input Jack, Steering Wheel Controls, Radio   · Rear Child Safety Locks
Data System and Uconnect External            · Outboard Front Lap And Shoulder Safety
Memory Control                               Belts -inc: Rear Center 3 Point, Height
· 8 Speakers                                 Adjusters and Pretensioners
· Streaming Audio                            · ParkView Back-Up Camera
· Fixed Antenna
· GPS Antenna Input
· Integrated Center Stack Radio
· 2 LCD Monitors In The Front

INTERIOR

· 4-Way Passenger Seat -inc: Manual
Recline and Fore/Aft Movement
· 60-40 Folding Split-Bench Front Facing
Fold Forward Seatback Cloth Rear Seat




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                                     #:2067
Year: 2011                                                                             Engine: 4 Cylinder Engine
Make: Kia                                                                              Transmission: 6-Speed A/T
Model: Forte 5-Door 5dr HB Auto EX                                                     Exterior: Ebony Black
VIN: KNAFU5A21B5369092                                                                 Interior: Stone

                                               · Cruise control                                   CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                     · Fuel door, hood & trunk remote release

· 2.0L DOHC MPI CVVT I4 engine
                                               · Air conditioning
                                               · Rear window defroster                               26                                                                                         36
· 6-speed automatic transmission w/OD          · Front/rear cup holders
                                                                                                       Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                            · Dual 12V pwr outlets
· Independent MacPherson strut front           · Front door map pockets w/bottle holders
suspension -inc: coil springs, monotube        · Dual illuminated visor vanity mirrors
shock absorbers, stabilizer bar                · Sunglass holder                                New
· Torsion beam rear suspension -inc: coil      · Map lights
springs, monotube shock absorbers              · Cargo area light
                                                                                                MSRP                                                                                           $17,895.00
· Speed-sensitive pwr rack & pinion            · Fold-flat cargo floor w/storage
steering                                                                                        INSTALLED OPTIONS
· Ventilated front/solid rear disc brakes      SAFETY                                           Ebony Black                                                                                    $0
                                                                                                Stone, Seat Trim                                                                               $0
EXTERIOR                                       · 4-wheel anti-lock brakes
                                               · Brake assist                                   Electrochromic Mirror W/Compass & Homelink                                                     $250
· 16" alloy wheels                             · Electronic brake force distribution            Original Shipping Charge                                                                       $695
· 205/55R16 tires                              · Electronic stability control w/traction
                                                                                                RETAIL PRICE (ORIGINALLY NEW)                                                                  $18,840.00
· Clear-lens headlamps w/auto-off              control
· Body-color pwr mirrors w/integrated          · Front/rear crumple zones
turn signals                                   · 5-MPH bumpers
· Solar tinted glass w/shade band              · Side impact door beams
· Variable intermittent windshield wipers
· Body-color door handles
                                               · Dual front advanced airbags -inc:
                                               passenger switch
                                                                                                Get more information on your smartphone:
                                               · Front seat side mounted airbags
ENTERTAINMENT                                  · Full-length side curtain airbags
                                               · 3-point height-adjustable front seat belts
· AM/FM stereo w/CD/MP3 player -inc:           w/pretensioners & force limiters
aux input jack, USB port, (6) speakers         · 3-point rear seat belts
· SIRIUS satellite radio -inc: 3-month trial   · Lower anchors & tethers for children
subscription                                   (LATCH)
· Bluetooth hands-free link -inc: steering     · Tire pressure monitoring system
wheel controls                                 · Impact-absorbing steering column
                                               · Internal emergency trunk release
INTERIOR                                       · Rear child safety door locks

· Front bucket seats w/active headrests -
inc: 6-way manual driver seat
· 60/40 split-folding rear bench seat
w/adjustable headrests
· Cloth seat trim
· Center console w/armrest & storage
· Front/rear carpeted floor mats
· Tilt steering wheel w/audio & cruise
control
· EcoMinder fuel efficiency monitor
· Tachometer
· Trip computer
· Pwr windows
· Pwr door locks
· Remote keyless entry




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                                     #:2068
Year: 2012                                                                           Engine: 4 Cylinder Engine
Make: Kia                                                                            Transmission: 6-Speed A/T
Model: Forte 4dr Sdn Auto EX                                                         Exterior: Snow White Pearl
VIN: KNAFU4A29C5494885                                                               Interior: Black

                                             · Pwr windows                                      CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Fuel door, hood & trunk remote release

· 2.0L CVVT DOHC MPFI 16-valve I4
                                             · Rear window defroster
                                             · (2) front/(2) rear cup holders -inc: front          26                                                                                         36
engine                                       chrome ring trim
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 6-speed electronically-controlled          · Dual 12V pwr outlets
automatic transmission w/OD                  · Front door map pockets w/bottle holders
· Front wheel drive                          · Dual illuminated visor vanity mirrors
· Independent MacPherson strut front         · Sunglass holder                                New
suspension -inc: coil springs, monotube      · Dual map lights
shock absorbers, stabilizer bar              · Cargo area light
                                                                                              MSRP                                                                                           $17,600.00
· Torsion beam rear suspension -inc: coil
springs, monotube shock absorbers            SAFETY                                           INSTALLED OPTIONS
· Ventilated front/solid rear pwr disc                                                        Snow White Pearl                                                                               $0
brakes                                       · 4-wheel anti-lock braking system (ABS)         Black, Seat Trim                                                                               $0
                                             · Brake assist system (BAS)
EXTERIOR                                     · Electronic brake force distribution (EBD)      Cargo Net                                                                                      $50
                                             · Electronic stability control (ESC)             Cargo Tray                                                                                     $75
· 15" x 5.5" steel wheels w/full covers      w/traction control system (TCS)                  Original Shipping Charge                                                                       $750
· 195/65R15 tires                            · Front/rear crumple zones
· Body-color bumpers -inc: rear garnish      · 5-MPH bumpers                                  RETAIL PRICE (ORIGINALLY NEW)                                                                  $18,475.00
· Body-color pwr mirrors w/integrated        · Side impact door beams
turn signals                                 · Dual front advanced airbags -inc:
· Tinted windshield glass w/shade band       passenger occupancy sensor
· Solar control door glass                   · Front seat side mounted airbags
· Variable intermittent windshield wipers    · Full-length side curtain airbags               Get more information on your smartphone:
· Body-color door handles                    · 3-point height-adjustable front seat belts
                                             w/pretensioners & force limiters
ENTERTAINMENT                                · 3-point rear seat belts for all positions
                                             · Lower anchors & tethers for children
· AM/FM stereo w/CD/MP3 player -inc:         (LATCH)
aux input jack, USB port, (6) speakers       · Tire pressure monitoring system (TPMS)
w/door-mounted tweeters                      · Impact-absorbing steering column
· Bluetooth hands-free link -inc: steering   · Internal emergency trunk release
wheel controls                               · Rear child safety door locks
· Roof-mounted antenna

INTERIOR

· Front bucket seats w/active headrests -
inc: 6-way manual driver seat
· 60/40 split-folding rear bench seat
w/adjustable headrests -inc: center
armrest
· Cloth seat trim
· Center console w/armrest & storage
· Carpeted floor mats
· EcoMinder fuel efficiency monitor
· Tachometer
· Digital clock
· Outside temp display
· Trip computer




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                                     #:2069
Year: 2010                                                                           Engine: 4 Cylinder Engine
Make: Kia                                                                            Transmission: 5-Speed A/T
Model: Forte Koup 2dr Cpe Auto SX                                                    Exterior: Copperhead Metallic
VIN: KNAFW6A39A5206441                                                               Interior: Black

                                             · Tachometer                                       CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Pwr windows

· 2.4L DOHC MPI CVVT I4 engine
                                             · Internal fuel door, hood, trunk release
                                             · Air conditioning                                    23                                                                                         31
· 5-speed automatic transmission             · Rear window defroster
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
w/Sportmatic & OD                            · Dual front/rear cupholders
· Front wheel drive                          · Dual 12-volt pwr outlets
· Independent MacPherson strut front         · Metal-finish interior accents
sport suspension w/coil springs              · Front door map pockets w/bottle holder         New
· Torsion beam rear sport suspension         · Overhead sunglass holder
w/coil springs                               · Dual visor vanity mirrors
                                                                                              MSRP                                                                                           $18,695.00
· Front stabilizer bar                       · Lighting -inc: dual map, cargo
· Speed-sensitive pwr rack & pinion          · Leather-wrapped shift knob                     INSTALLED OPTIONS
steering                                                                                      Copperhead Metallic                                                                            $0
· Ventilated front/solid rear disc brakes    SAFETY                                           Black, Seat Trim                                                                               $0
EXTERIOR                                     · 4-wheels anti-lock brakes                      PWR Tilt Sunroof                                                                               $600
                                             · Brake assist                                   Original Shipping Charge                                                                       $695
· 17" x 7" 10-spoke alloy wheels             · Electronic brake force distribution
                                                                                              RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,990.00
· P215/45R17 tires                           · Electronic stability control w/traction
· Gloss black front fascia accents           control
· Clear-lens headlamps w/auto off            · Front/rear crumple zones
feature                                      · Side-impact door beams
· Front fog lamps
· Body-color pwr heated mirrors w/turn
                                             · Dual front advanced airbags -inc:
                                             passenger switch
                                                                                              Get more information on your smartphone:
signal indicator                             · Front seat side mounted airbags
· Tinted glass w/windshield sunshade         · Full-length side curtain airbags
band                                         · 3-point height-adjustable front seat belts
· Variable intermittent windshield wipers    w/pretensioners & force limiters
· Body-color door handles                    · 3-point rear seat belts
                                             · Lower anchors & tethers for children
ENTERTAINMENT                                (LATCH)
                                             · Rear child safety door locks
· AM/FM stereo w/CD/MP3 player -inc:         · Internal emergency trunk release
USB port, auxiliary input jack, (6)          · Tire pressure monitoring system
illuminated speakers w/door mounted          · Impact absorbing steering column
tweeters
· SIRIUS satellite radio w/(3) month free
subscription *N/A in AK or HI*
· Bluetooth hands-free link w/steering
wheel mounted controls
· Roof-mounted antenna

INTERIOR

· 60/40 split-folding rear seat -inc:
adjustable headrests, center armrest
· Center console w/armrest & storage
· Carpeted floormats
· Metal pedals
· Leather-wrapped tilt/telescopic steering
wheel w/cruise control
· Supervision gauge cluster w/trip
computer
· EcoMinder fuel efficiency monitor




                                                                                                    South Shore Auto
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                                     #:2070
Year: 2011                                                                          Engine: 4 Cylinder Engine
Make: Kia                                                                           Transmission: 6-Speed M/T
Model: Forte Koup 2dr Cpe Man EX                                                    Exterior: Ebony Black
VIN: KNAFU6A28B5434526                                                              Interior: Black

                                            · Remote release -inc: fuel door, hood,            CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  trunk

· 2.0L DOHC MPI CVVT I4 engine
                                            · Air conditioning
                                            · Rear window defroster                               24                                                                                         33
· 6-speed manual transmission               · Dual front/rear cupholders
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Dual 12-volt pwr outlets
· Independent MacPherson strut front        · Front door map pockets w/bottle holder
suspension -inc: coil springs, monotube     · Overhead sunglass holder
shock absorbers                             · Dual visor vanity mirrors                      New
· Torsion beam rear suspension -inc: coil   · Lighting -inc: dual map lamps, cargo
springs, monotube shock absorbers
                                                                                             MSRP                                                                                           $16,995.00
· Front stabilizer bar                      SAFETY
· Speed-sensitive pwr rack & pinion                                                          INSTALLED OPTIONS
steering                                    · 4-wheel anti-lock brakes (ABS)                 Ebony Black                                                                                    $0
· Ventilated front/solid rear disc brakes   · Brake assist                                   Black, Seat Trim                                                                               $0
                                            · Electronic brake force distribution (EBD)
EXTERIOR                                    · Electronic stability control (ESC)             Wheel Locks                                                                                    $45
                                            w/traction control                               Electrochromic Mirror W/Compass & Homelink                                                     $250
· 16" x 6" 5-spoke alloy wheels             · 5-MPH bumpers                                  Original Shipping Charge                                                                       $695
· P205/55R16 tires                          · Side-impact door beams
· Clear-lens headlamps w/auto-off           · Front/rear crumple zones                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $17,985.00
· Body-color pwr mirrors w/turn signal      · Dual front advanced airbags -inc:
indicator                                   passenger switch
· Solar tinted glass w/shade band           · Front seat side mounted airbags
· Variable intermittent windshield wipers   · Front/rear side curtain airbags
· Body-color door handles                   · 3-point height-adjustable front seat belts     Get more information on your smartphone:
                                            w/pretensioners & force limiters
ENTERTAINMENT                               · 3-point rear seat belts
                                            · Lower anchors & tethers for children
· AM/FM stereo w/CD/MP3 player -inc:        (LATCH)
USB port, auxiliary input jack, (6)         · Rear child safety door locks
speakers w/door mounted tweeters            · Internal emergency trunk release
· SIRIUS satellite radio                    · Tire pressure monitoring system
· Bluetooth hands-free link w/steering      · Impact absorbing steering column
wheel mounted controls
· Roof-mounted antenna

INTERIOR

· Sport front bucket seats -inc: 6-way
adjustable driver seat, active headrests
· 60/40 split-folding rear seat -inc:
adjustable headrests
· Cloth seat trim
· Center console w/armrest & storage
· Carpeted floor mats
· Tachometer
· Pwr windows




                                                                                             Mullinax Ford of Central
                                                                                                Florida (Apopka)
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                                     #:2071
Year: 2011                                                                          Engine: 4 Cylinder Engine
Make: Kia                                                                           Transmission: 6-Speed A/T
Model: Optima 4dr Sdn 2.4L Auto LX                                                  Exterior: Bright Silver
VIN: KNAGM4A72B5093192                                                              Interior: Gray

                                           · Trip computer -inc: distance to empty,            CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 average speed, drive time, ambient temp,

· 2.4L DOHC GDI 16-valve I4 engine -
                                           average fuel economy, instant fuel
                                           economy                                                24                                                                                         34
inc: variable intake system, aluminum      · Warning features -inc: parking brake on,
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
block & head                               key-operated chime, seatbelt reminder, low
· 6-speed automatic transmission w/OD,     washer fluid
Sportmatic shifter, H-Matic -inc: Auto     · Pwr windows -inc: driver one-touch auto
Shift lock system, ECO switch              down                                              New
· Front wheel drive                        · Electronic fuel lid release
· Battery saver w/interior lamp auto-cut   · Steering wheel-mounted auto cruise
                                                                                             MSRP                                                                                           $20,700.00
· Towing/lashing hook                      control
· Independent MacPherson strut front       · Rear window defroster w/timer                   INSTALLED OPTIONS
suspension w/coil springs                  · Cooling glove box                               Bright Silver                                                                                  $0
· Independent multi-link rear suspension   · (2) aux pwr outlets                             Gray, Seat Trim                                                                                $0
w/coil springs                             · Door map pockets -inc: integrated
· High performance shock absorbers         front/rear in-door bottle holders                 Rear Bumper Applique                                                                           $70
· Front/rear stabilizer bars               · Black door handles                              Auto Dimming Rearview Mirror                                                                   $350
· Electric pwr rack & pinion steering      · Overhead sunglass holder                           HomeLink garage door opener & compass
· Pwr vented front & solid rear disc       · Dual sunvisors w/illuminated covered            Carpeted Floor Mats                                                                            $95
brakes                                     vanity mirrors, extensions
                                                                                             Wheel Locks                                                                                    $50
· Dual exhaust w/chrome tips -inc: semi-   · Dual front assist handles
active muffler                             · Time-delay interior dome lamp                   Original Shipping Charge                                                                       $750
                                           · Front reading lamps -inc: front pin lamp        RETAIL PRICE (ORIGINALLY NEW)                                                                  $22,015.00
EXTERIOR                                   · Front seatback storage pockets
                                           · Rear coat hook
· 16" x 6.5" silver painted alloy wheels   · Illuminated trunk
· P205/60R16 tires
· Temporary spare tire w/steel wheel       SAFETY                                            Get more information on your smartphone:
· Insulated hood w/gas lifters
· Body-colored bumpers                     · 4-wheel anti-lock brakes
· Body-colored side moldings               · Hill start assist control (HAC)
· Bright chrome door molding               · 5-mph bumpers
· Black-gloss front side fender garnish    · Side-impact door beams
w/chrome accents                           · Front/rear crumple zones
· Chrome grille                            · Dual advanced front airbags -inc:
· Clear-lens halogen headlights w/black    passenger occupancy sensor
bezel -inc: escort lighting, projection    · Driver & front passenger seat-mounted
high-beams                                 side airbags
· Rear LED high-mounted stop lamp          · Front/rear side curtain airbags
· Dual body-color folding pwr mirrors      · 3-point front seat belts -inc: pretensioners,
w/integrated LED turn signals              force limiters, height-adjustable anchors,
· Solar glass windshield w/sunband         emergency locking retractors
· Variable intermittent front windshield   · 3-point rear seat belts w/emergency
wipers w/jet washers                       locking retractors
· Body-color door handles                  · Rear child safety door locks
                                           · ISOFIX child seat anchors
ENTERTAINMENT                              · Tire pressure monitoring system
                                           · Dual-note horn
· In-glass antenna                         · Emergency trunk release handle
                                           · Impact-absorbing steering column
INTERIOR                                   · Impact-triggered auto door unlocking

· Front bucket seats -inc: driver pwr
lumbar, driver height adjustment, dual
adjustable active headrests
· 60/40 split-folding rear bench seat
w/adjustable outboard headrests
· Double rachel cloth seating surfaces -
inc: cloth door trim insert
· Front center console -inc: armrest,
storage, cupholder
· Rear center armrest w/cupholder                                                            Mullinax Ford of Central
· Plastic door sill scuff plates

                                                                                                Florida (Apopka)
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                                      #:2072
Year: 2012                                                                                                Engine: 4 Cylinder Engine
Make: Kia                                                                                                 Transmission: 6-Speed A/T
Model: Optima 4dr Sdn 2.4L Auto EX                                                                        Exterior: Titanium Metallic
VIN: 5XXGN4A75CG068221                                                                                    Interior: Gray

                                                        · Pwr windows -inc: driver/front passenger one-
MECHANICAL                                              touch auto up/down
                                                                                                                     CITY MPG                                                                          HIGHWAY MPG

                                                                                                                        24                                                                                         35
                                                        · Pwr door locks -inc: front central locking, auto
· 2.4L DOHC GDI 16-valve I4 engine -inc:                unlock, driver two-turn unlock, drill-protected lock
variable intake system, aluminum block & head           · SmartKey keyless entry w/panic & alarm function,
· Push button start                                     security indicator -inc: immobilizer, escort light
                                                                                                                          Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 6-speed automatic transmission w/OD,                  function
Sportmatic shifter, H-Matic -inc: Auto Shift lock       · Electronic fuel lid release
system, ECO switch                                      · Carpeted floor mats
· Front wheel drive
· Battery saver w/interior lamp auto-cut
                                                        · Steering wheel-mounted auto cruise control
                                                        · Dual-zone auto climate control w/rear vents, filter
                                                                                                                   New
· Independent MacPherson strut front suspension         · Rear window defroster w/timer
w/coil springs                                          · Cooling glove box -inc: lighting
· Independent multi-link rear suspension w/coil         · aux pwr outlets                                          MSRP                                                                                           $23,200.00
springs                                                 · Door map pockets -inc: integrated front/rear in-door     INSTALLED OPTIONS
· Dual-flow shock absorbers                             bottle holders, dual front mood lamps
· Front stabilizer bar                                  · Chrome accent door handles                               Titanium Metallic                                                                              $0
· Electric motor-driven pwr steering                    · Wood trim door & center console accents -inc:
                                                                                                                   Gray, Seat Trim                                                                                $0
· Pwr vented front & solid rear disc brakes             metallic gear shift indicator bezel
· Dual exhaust w/chrome tips -inc: semi-active          · Auto-dimming rearview mirror -inc: HomeLink              Premium PKG                                                                                    $2,950
muffler                                                 garage door opener & compass                                  panoramic sunroof w/gloss-black B-pillar & door
· Tire mobility kit                                     · Overhead sunglass holder                                    frame
                                                        · Dual sunvisors w/illuminated covered vanity                 4-way pwr front passenger seat
EXTERIOR                                                mirrors, extensions                                           driver seat memory
                                                        · Dual front assist handles                                   heated/cooled front seats
· 17" x 6.5" silver painted alloy wheels                · Time-delay interior dome lamp -inc: auto interior           heated rear seats
· P215/55R17 tires                                      light control                                                 heated steering wheel
                                                                                                                      Infinity audio system w/(7) speakers
· Insulated hood w/gas lifters                          · Front/rear reading lamps -inc: front pin lamp
                                                                                                                      subwoofer
· Body-colored bumpers                                  · Leather-wrapped shift knob w/wood accent                    UVO infotainment system w/HD Radio & rearview
· Body-colored side moldings                            · Front seatback storage pockets                              camera
· Bright chrome door molding                            · Rear coat hook                                              pwr folding mirrors
· Black-gloss front side fender garnish w/chrome        · Illuminated trunk w/hinge cover                          Rear Bumper Applique                                                                           $70
accents
· Chrome grille                                         SAFETY                                                     Door Sill Applique                                                                             $75
· Clear-lens halogen automatic headlights                                                                          Cargo Net                                                                                      $50
w/black bezel -inc: escort lighting, projection         · 4-wheel anti-lock brakes
high-beams                                              · Electronic stability control w/traction control system   Cargo Tray                                                                                     $75
· Rear LED high-mounted stop lamp                       · Hill start assist control
                                                                                                                   Original Shipping Charge                                                                       $750
· Front fog lights                                      · Vehicle stability management
· Body-color folding heated pwr mirrors                 · 5-mph bumpers                                            RETAIL PRICE (ORIGINALLY NEW)                                                                  $27,170.00
w/integrated LED turn signals                           · Side-impact door beams
· Solar glass windshield w/sunband                      · Front/rear crumple zones
· Variable intermittent front windshield wipers         · Dual advanced front airbags -inc: passenger
w/jet washers                                           occupancy sensor
· Body-color door handles w/chrome trim                 · Driver & front passenger seat-mounted side
                                                        airbags                                                    Get more information on your smartphone:
ENTERTAINMENT                                           · Front/rear side curtain airbags
                                                        · 3-point front seat belts -inc: pretensioners, force
· AM/FM stereo w/CD/MP3 player & satellite              limiters, height-adjustable anchors, emergency
radio                                                   locking retractors
· Aux input jack w/USB port                             · 3-point rear seat belts w/emergency locking
· Bluetooth hands-free calling                          retractors
· In-glass antenna                                      · Rear child safety door locks
                                                        · Lower anchors & tethers for children
INTERIOR                                                · Tire pressure monitoring system
                                                        · Dual-note horn
· Front bucket seats -inc: 8-way pwr driver seat,       · Emergency trunk release handle
driver pwr lumbar, driver height adjustment             · Impact-absorbing steering column
· 60/40 split-folding rear bench seat w/adjustable      · Impact-triggered auto door unlocking
outboard headrests
· Leather seating surfaces -inc: artificial leather
door trim insert & armrest, artificial leather center
console trim
· Front center console -inc: armrest, storage,
cupholder
· Rear center armrest w/cupholder
· Plastic door sill scuff plates
· Tilt/telescopic 3-spoke leather-wrapped steering
wheel w/audio controls -inc: wheel-mounted
Bluetooth controls w/voice activation button, ECO
switch, illuminated ignition
· Trip computer -inc: distance to empty, average
speed, drive time, ambient temp, average fuel
economy, instant fuel economy
· Warning features -inc: parking brake on, key-
operated chime, seatbelt reminder, low washer
fluid

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                                      #:2073
Year: 2013                                                                                     Engine: 4 Cylinder Engine
Make: Kia                                                                                      Transmission: 6-Speed A/T
Model: Optima 4dr Sdn EX                                                                       Exterior: Ebony Black
VIN: 5XXGN4A71DG188356                                                                         Interior: Beige

                                                  · Pwr windows -inc: driver/front passenger one-
MECHANICAL                                        touch auto up/down
                                                                                                          CITY MPG                                                                          HIGHWAY MPG

· 2.4L DOHC GDI 16-valve I4 engine -inc:
variable intake system, aluminum block &
                                                  · Electronic fuel lid release
                                                  · Steering wheel-mounted auto cruise control
                                                  · Dual-zone auto climate control w/rear vents,
                                                                                                             24                                                                                         35
head                                              filter                                                       Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Push button start                               · Rear window defroster w/timer
· Active ECO system                               · Cooling glove box -inc: lighting
· 6-speed automatic transmission w/OD,            · aux pwr outlets
Sportmatic shifter, H-Matic -inc: auto shift      · Door map pockets -inc: integrated front/rear in-    New
lock system, key interlock system                 door bottle holders, dual front mood lamps
· Front wheel drive                               · Chrome accent door handles
· Battery saver w/interior lamp auto-cut          · Artificial leather door upper trim                  MSRP                                                                                           $23,650.00
· Independent MacPherson strut front              · Wood trim door & center console accents -inc:
suspension w/coil springs                         stainless steel gear shift indicator bezel
                                                                                                        INSTALLED OPTIONS
· Independent multi-link rear suspension w/coil   · Auto-dimming rearview mirror -inc: HomeLink         Ebony Black                                                                                    $0
springs -inc: aluminum carrier, aluminum          garage door opener & compass
                                                  · Overhead sunglass holder
                                                                                                        Beige, Seat Trim                                                                               $0
lower arms
· Dual-flow shock absorbers                       · Dual sunvisors w/illuminated covered vanity         Wheel Locks                                                                                    $50
· Front stabilizer bar                            mirrors, extensions
                                                                                                        Door Sill Applique                                                                             $80
· Electric motor-driven pwr steering              · Dual front assist handles
· Pwr vented front & solid rear disc brakes       · Time-delay interior dome lamp -inc: auto interior   Ipod Cable                                                                                     $29
· Dual exhaust w/chrome tips -inc: semi-active    light control
                                                                                                        Cargo Mat                                                                                      $95
muffler                                           · Front/rear reading lamps -inc: front pin lamp
· Tire mobility kit                               · Leather-wrapped shift knob w/wood accent            Cargo Net                                                                                      $50
                                                  · Front seatback storage pockets                      Cargo Tray                                                                                     $80
EXTERIOR                                          · Rear coat hook
                                                  · Illuminated trunk w/hinge cover                     Original Shipping Charge                                                                       $800
· 17" x 6.5" silver painted alloy wheels
                                                  SAFETY                                                RETAIL PRICE (ORIGINALLY NEW)                                                                  $24,834.00
· P215/55R17 tires
· Insulated hood w/gas lifters
· Body-colored bumpers                            · 4-wheel anti-lock brakes
· Body-colored side moldings                      · Hill start assist control
· Bright chrome door molding                      · 5-mph bumpers
· Black-gloss front side fender garnish           · Side-impact door beams                              Get more information on your smartphone:
w/chrome accents                                  · Front/rear crumple zones
· Chrome grille                                   · Dual advanced front airbags -inc: passenger
· Clear-lens halogen automatic headlights         occupancy sensor
w/black bezel -inc: escort lighting, projection   · Driver & front passenger seat-mounted side
high-beams                                        airbags
· Rear LED high-mounted stop lamp                 · Front/rear side curtain airbags
· Front fog lights                                · 3-point front seat belts -inc: pretensioners,
· Solar glass windshield w/sunband                force limiters, height-adjustable anchors,
· Variable intermittent front windshield wipers   emergency locking retractors
w/jet washers                                     · 3-point rear seat belts w/emergency locking
· Body-color door handles w/chrome trim           retractors
                                                  · Rear child safety door locks
ENTERTAINMENT                                     · Lower anchors & tethers for children
                                                  · Tire pressure monitoring system
· In-glass antenna                                · Dual-note horn
                                                  · Emergency trunk release handle
INTERIOR                                          · Impact-absorbing steering column
                                                  · Impact-triggered auto door unlocking
· Front bucket seats -inc: 8-way pwr driver
seat, driver pwr lumbar, driver height
adjustment, active adjustable sliding
headrests
· 60/40 split-folding rear bench seat
w/adjustable outboard headrests
· Leather seating surfaces -inc: artificial
leather door trim insert & armrest, artificial
leather center console trim, accent stitching
· Front center console -inc: armrest, storage,
cupholder
· Rear center armrest w/cupholder
· Plastic door sill scuff plates
· Trip computer -inc: distance to empty,
average speed, drive time, ambient temp,
average fuel economy, instant fuel economy
· Warning features -inc: parking brake on, key-
operated chime, driver seatbelt reminder, low
washer fluid


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                                     #:2074
Year: 2014                                                                        Engine: 4 Cylinder Engine
Make: Kia                                                                         Transmission: 6-Speed A/T
Model: Optima 4dr Sdn EX                                                          Exterior: Titanium Silver
VIN: 5XXGN4A7XEG316935                                                            Interior: Gray

                                           · Front Cupholder                                 CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 · Rear Cupholder

· Front-Wheel Drive
                                           · Compass
                                           · Remote Releases -Inc: Power Cargo                  23                                                                                         34
· 2.88 Axle Ratio                          Access and Power Fuel
                                                                                                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 70-Amp/Hr 760CCA Maintenance-Free        · HomeLink Garage Door Transmitter
Battery w/Run Down Protection              · Cruise Control w/Steering Wheel Controls
· 150 Amp Alternator                       · Dual Zone Front Automatic Air
· Gas-Pressurized Shock Absorbers          Conditioning                                    New
· Front And Rear Anti-Roll Bars            · HVAC -inc: Underseat Ducts and
· Electric Power-Assist Speed-Sensing      Console Ducts
                                                                                           MSRP                                                                                           $23,950.00
Steering                                   · Illuminated Glove Box
· 18.5 Gal. Fuel Tank                      · Driver Foot Rest                              INSTALLED OPTIONS
· Quasi-Dual Stainless Steel Exhaust       · Full Cloth Headliner                          Titanium Silver                                                                                $0
w/Chrome Tailpipe Finisher                 · Interior Trim -inc: Leatherette Instrument    Gray, Leather Seat Trim                                                                        $0
· Strut Front Suspension w/Coil Springs    Panel Insert, Simulated Wood Door Panel
· Multi-Link Rear Suspension w/Coil        Insert, Simulated Wood Console Insert and       Ex Premium Package                                                                             $3,300
Springs                                    Chrome/Metal-Look Interior Accents                 Heated & Ventilated Front Seats
                                                                                              HD Radio
· 4-Wheel Disc Brakes w/4-Wheel ABS,       · Leatherette Door Trim Insert                     Infinity Premium Sound System w/8 Speakers
Front Vented Discs, Brake Assist and       · Leather/Simulated Wood Gear Shift Knob           subwoofer and external amplifier
Hill Hold Control                          · Driver And Passenger Visor Vanity                Heated Steering Wheel
                                                                                              Driver Seat Memory
                                           Mirrors w/Driver And Passenger                     Radio: UVO eService
EXTERIOR                                   Illumination                                       AM/FM/CD/MP3 player
                                           · Day-Night Auto-Dimming Rearview Mirror           Infinity sound system w/8 speakers
                                                                                              Rear Camera Display
· Wheels: 17" Alloy                        · Full Floor Console w/Covered Storage,            Power Folding Outside Mirrors
· Tires: P215/55R17                        Mini Overhead Console w/Storage and 2              Heated Rear Outboard Seats
· Spare Tire Mobility Kit                  12V DC Power Outlets                               4-Way Power Front Passenger Seat
                                                                                              Panoramic Sunroof
· Clearcoat Paint                          · Fade-To-Off Interior Lighting                    Gloss Black B-Pillar
· Body-Colored Front Bumper                · Front And Rear Map Lights                     Wheel Locks                                                                                    $55
· Body-Colored Rear Bumper                 · Carpet Floor Trim and Carpet Trunk
· Chrome Side Windows Trim and             Lid/Rear Cargo Door Trim                        Paint Protection Film Package                                                                  $255
Chrome Rear Window Trim                    · Full Carpet Floor Covering -inc: Carpet       Cargo Net                                                                                      $50
· Chrome Door Handles                      Front And Rear Floor Mats                       Original Shipping Charge                                                                       $800
· Body-Colored Power Heated Side           · Cargo Features -inc: Spare Tire Mobility
Mirrors w/Manual Folding and Turn          Kit                                             RETAIL PRICE (ORIGINALLY NEW)                                                                  $28,410.00
Signal Indicator                           · Cargo Space Lights
· Fixed Rear Window w/Defroster            · Instrument Panel Bin,
· Light Tinted Glass                       Refrigerated/Cooled Box Located In The
· Variable Intermittent Wipers             Glovebox, Driver / Passenger And Rear
· Front Windshield -inc: Sun Visor Strip   Door Bins                                       Get more information on your smartphone:
· Fully Galvanized Steel Panels            · Delayed Accessory Power
· Black Grille w/Chrome Surround           · Outside Temp Gauge
· Trunk Rear Cargo Access                  · Analog Display
· Fully Automatic Projector Beam           · Manual w/Tilt Front Head Restraints and
Halogen Headlamps w/Delay-Off              Manual Adjustable Rear Head Restraints
· Front Fog Lamps                          · Front Center Armrest and Rear Center
· Perimeter/Approach Lights                Armrest
· Laminated Glass                          · 2 Seatback Storage Pockets
                                           · Perimeter Alarm
ENTERTAINMENT                              · 2 12V DC Power Outlets
                                           · Air Filtration
· Radio w/Seek-Scan, Clock and Speed
Compensated Volume Control                 SAFETY
· Window Grid Antenna
                                           · Side Impact Beams
INTERIOR                                   · Dual Stage Driver And Passenger Seat-
                                           Mounted Side Airbags
· Front Bucket Seats -inc: 10-way power    · Tire Specific Low Tire Pressure Warning
adjustable driver's seat w/power lumbar    · Dual Stage Driver And Passenger Front
· Driver Seat                              Airbags
· 4-Way Passenger Seat -inc: Manual        · Curtain 1st And 2nd Row Airbags
Recline and Fore/Aft Movement              · Airbag Occupancy Sensor
· 60-40 Folding Bench Front Facing Fold    · Rear Child Safety Locks
Forward Seatback Rear Seat                 · Outboard Front Lap And Shoulder Safety                            www.BillMarsh.com
· Manual Tilt/Telescoping Steering         Belts -inc: Rear Center 3 Point, Height
Column                                     Adjusters and Pretensioners                                           800-596-2774
· Leather/Piano Black Steering Wheel

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                                     #:2075
Year: 2015                                                                        Engine: 4 Cylinder Engine
Make: Kia                                                                         Transmission: 6-Speed A/T
Model: Optima 4dr Sdn EX                                                          Exterior: Ebony Black
VIN: 5XXGN4A72FG361899                                                            Interior: Gray

                                           · Leather/Piano Black Steering Wheel              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 · Front Cupholder

· Front-Wheel Drive
                                           · Rear Cupholder
                                           · Compass                                            20                                                                                         30
· 2.88 Axle Ratio                          · Remote Releases -Inc: Power Cargo
                                                                                                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 70-Amp/Hr 760CCA Maintenance-Free        Access and Power Fuel
Battery w/Run Down Protection              · Cruise Control w/Steering Wheel Controls
· 150 Amp Alternator                       · Dual Zone Front Automatic Air
· Gas-Pressurized Shock Absorbers          Conditioning                                    New
· Front And Rear Anti-Roll Bars            · HVAC -inc: Underseat Ducts and
· Electric Power-Assist Speed-Sensing      Console Ducts
                                                                                           MSRP                                                                                           $24,340.00
Steering                                   · Illuminated Glove Box
· 18.5 Gal. Fuel Tank                      · Driver Foot Rest                              INSTALLED OPTIONS
· Quasi-Dual Stainless Steel Exhaust       · Full Cloth Headliner                          Ebony Black                                                                                    $0
w/Chrome Tailpipe Finisher                 · Interior Trim -inc: Leatherette Instrument    Gray, Leather Seat Trim                                                                        $0
· Strut Front Suspension w/Coil Springs    Panel Insert, Simulated Wood Door Panel
· Multi-Link Rear Suspension w/Coil        Insert, Simulated Wood Console Insert and       Wheel Locks                                                                                    $55
Springs                                    Chrome/Metal-Look Interior Accents              Cargo Mat                                                                                      $95
· 4-Wheel Disc Brakes w/4-Wheel ABS,       · Leatherette Door Trim Insert                  Cargo Net                                                                                      $50
Front Vented Discs, Brake Assist and       · Leather/Simulated Wood Gear Shift Knob
                                                                                           Cargo Tray                                                                                     $80
Hill Hold Control                          · Driver And Passenger Visor Vanity
                                           Mirrors w/Driver And Passenger                  Original Shipping Charge                                                                       $825
EXTERIOR                                   Illumination                                    RETAIL PRICE (ORIGINALLY NEW)                                                                  $25,445.00
                                           · Full Floor Console w/Covered Storage,
· Wheels: 17" Alloy                        Mini Overhead Console w/Storage and 2
· Tires: P215/55R17                        12V DC Power Outlets
· Spare Tire Mobility Kit                  · Fade-To-Off Interior Lighting
· Clearcoat Paint                          · Front And Rear Map Lights                     Get more information on your smartphone:
· Body-Colored Front Bumper                · Carpet Floor Trim and Carpet Trunk
· Body-Colored Rear Bumper                 Lid/Rear Cargo Door Trim
· Chrome Side Windows Trim and             · Full Carpet Floor Covering -inc: Carpet
Chrome Rear Window Trim                    Front And Rear Floor Mats
· Chrome Door Handles                      · Cargo Features -inc: Spare Tire Mobility
· Body-Colored Power Heated Side           Kit
Mirrors w/Manual Folding and Turn          · Cargo Space Lights
Signal Indicator                           · Instrument Panel Bin,
· Fixed Rear Window w/Defroster            Refrigerated/Cooled Box Located In The
· Light Tinted Glass                       Glovebox, Driver / Passenger And Rear
· Variable Intermittent Wipers             Door Bins
· Front Windshield -inc: Sun Visor Strip   · Delayed Accessory Power
· Fully Galvanized Steel Panels            · Outside Temp Gauge
· Black Grille w/Chrome Surround           · Analog Display
· Trunk Rear Cargo Access                  · Manual w/Tilt Front Head Restraints and
· Fully Automatic Projector Beam           Manual Adjustable Rear Head Restraints
Halogen Headlamps w/Delay-Off              · Front Center Armrest and Rear Center
· Front Fog Lamps                          Armrest
· Perimeter/Approach Lights                · 2 Seatback Storage Pockets
· Laminated Glass                          · Perimeter Alarm
                                           · 2 12V DC Power Outlets
ENTERTAINMENT                              · Air Filtration

· Radio w/Seek-Scan, Clock and Speed       SAFETY
Compensated Volume Control
· Window Grid Antenna                      · Side Impact Beams
                                           · Dual Stage Driver And Passenger Seat-
INTERIOR                                   Mounted Side Airbags
                                           · Tire Specific Low Tire Pressure Warning
· Front Bucket Seats -inc: 10-way power-   · Dual Stage Driver And Passenger Front
adjustable driver's seat w/power lumbar    Airbags
· Driver Seat                              · Curtain 1st And 2nd Row Airbags
· 4-Way Passenger Seat -inc: Manual        · Airbag Occupancy Sensor
Recline and Fore/Aft Movement              · Rear Child Safety Locks
· 60-40 Folding Bench Front Facing Fold    · Outboard Front Lap And Shoulder Safety
Forward Seatback Rear Seat                 Belts -inc: Rear Center 3 Point, Height
· Manual Tilt/Telescoping Steering         Adjusters and Pretensioners
Column


                                                                      MonroneyLabels.com
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  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 91 of 155 Page ID
                                     #:2076
Year: 2016                                                                            Engine: 4 Cylinder Engine
Make: Kia                                                                             Transmission: 6-Speed A/T
Model: Optima 4dr Sdn EX                                                              Exterior: Horizon Blue
VIN: 5XXGU4L33GG118858                                                                Interior: Black

                                            · Remote Releases -Inc: Proximity Cargo
                                                                                                CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  Access and Power Fuel

· Front-Wheel Drive
                                            · Cruise Control w/Steering Wheel Controls
                                            · Dual Zone Front Automatic Air Conditioning
                                            · HVAC -inc: Underseat Ducts and Console
                                                                                                   35                                                                                         38
· 2.88 Axle Ratio
· 80-Amp/Hr 800CCA Maintenance-Free         Ducts                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

Battery w/Run Down Protection               · Illuminated Glove Box
· 150 Amp Alternator                        · Driver Foot Rest
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                            · Full Cloth Headliner
                                            · Leatherette Door Trim Insert                    New
· Electric Power-Assist Speed-Sensing       · Leather/Metal-Look Gear Shift Knob
Steering                                    · Interior Trim -inc: Simulated Wood Door
                                                                                              MSRP                                                                                           $25,140.00
· 18.5 Gal. Fuel Tank                       Panel Insert, Simulated Wood Console Insert
· Single Stainless Steel Exhaust w/Chrome   and Metal-Look Interior Accents                   INSTALLED OPTIONS
Tailpipe Finisher                           · Day-Night Rearview Mirror                       Horizon Blue                                                                                   $0
· Strut Front Suspension w/Coil Springs     · Driver And Passenger Visor Vanity Mirrors
· Multi-Link Rear Suspension w/Coil         w/Driver And Passenger Illumination               Black, Leather Seat Trim                                                                       $0
Springs                                     · Full Floor Console w/Covered Storage, Mini      Cargo Mat                                                                                      $95
· 4-Wheel Disc Brakes w/4-Wheel ABS,        Overhead Console w/Storage and 3 12V DC
                                            Power Outlets
                                                                                              Original Shipping Charge                                                                       $850
Front Vented Discs, Brake Assist and Hill
Hold Control                                · Fade-To-Off Interior Lighting                   RETAIL PRICE (ORIGINALLY NEW)                                                                  $26,085.00
                                            · Front And Rear Map Lights
EXTERIOR                                    · Full Carpet Floor Covering -inc: Carpet Front
                                            And Rear Floor Mats
· Wheels: 17" Alloy                         · Carpet Floor Trim, Carpet Trunk Lid/Rear
                                            Cargo Door Trim and Carpet Mat
· Tires: P215/55R17
                                            · Cargo Features -inc: Spare Tire Mobility Kit    Get more information on your smartphone:
· Spare Tire Mobility Kit
· Clearcoat Paint                           · Cargo Space Lights
· Body-Colored Front Bumper w/Chrome        · Driver / Passenger And Rear Door Bins
Bumper Insert                               · Delayed Accessory Power
· Body-Colored Rear Bumper                  · Systems Monitor
· Chrome Side Windows Trim, Black Front     · Redundant Digital Speedometer
Windshield Trim and Chrome Rear Window      · Outside Temp Gauge
Trim                                        · Analog Display
· Chrome Door Handles                       · Manual w/Tilt Front Head Restraints and
· Body-Colored Power Heated Side Mirrors    Manual Adjustable Rear Head Restraints
w/Power Folding and Turn Signal Indicator   · Front Center Armrest and Rear Center
· Fixed Rear Window w/Defroster             Armrest
· Light Tinted Glass                        · 2 Seatback Storage Pockets
· Variable Intermittent Wipers              · Perimeter Alarm
· Front Windshield -inc: Sun Visor Strip    · Air Filtration
· Fully Galvanized Steel Panels             · 3 12V DC Power Outlets
· Metal-Look Grille w/Chrome Surround
· Trunk Rear Cargo Access                   SAFETY
· Perimeter/Approach Lights
· Fully Automatic Projector Beam Halogen    · Side Impact Beams
Daytime Running Headlamps w/Delay-Off       · Dual Stage Driver And Passenger Seat-
· LED Brakelights                           Mounted Side Airbags
· Laminated Glass                           · Tire Specific Low Tire Pressure Warning
                                            · Dual Stage Driver And Passenger Front
ENTERTAINMENT                               Airbags
                                            · Curtain 1st And 2nd Row Airbags
· Window Grid Antenna                       · Airbag Occupancy Sensor
· 2 LCD Monitors In The Front               · Driver Knee Airbag
                                            · Rear Child Safety Locks
INTERIOR                                    · Outboard Front Lap And Shoulder Safety
                                            Belts -inc: Rear Center 3 Point, Height
· 6-Way Passenger Seat -inc: Manual         Adjusters and Pretensioners
Recline, Height Adjustment and Fore/Aft
Movement
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Heated Leather Steering Wheel
· Front Cupholder
· Rear Cupholder




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                                      #:2077
Year: 2017                                                                                                    Engine: 4 Cylinder Engine
Make: Kia                                                                                                     Transmission: 6-Speed A/T
Model: Optima EX Auto                                                                                         Exterior: Sparkling Silver
VIN: 5XXGU4L33HG159847                                                                                        Interior: Black

                                                           · Proximity Key For Doors And Push Button Start
MECHANICAL                                                 · Remote Releases -Inc: Smart Trunk Proximity Cargo           CITY MPG                                                                           HIGHWAY MPG

                                                                                                                            24                                                                                          34
                                                           Access and Power Fuel
· Front-Wheel Drive                                        · Cruise Control w/Steering Wheel Controls
· 2.88 Axle Ratio                                          · Dual Zone Front Automatic Air Conditioning
· 80-Amp/Hr 800CCA Maintenance-Free Battery w/Run          · HVAC -inc: Underseat Ducts and Console Ducts
Down Protection                                            · Illuminated Glove Box
                                                                                                                               Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 150 Amp Alternator                                       · Driver Foot Rest
· Gas-Pressurized Shock Absorbers                          · Full Cloth Headliner
· Front And Rear Anti-Roll Bars                            · Leatherette Door Trim Insert
                                                           · Leather/Metal-Look Gear Shift Knob
                                                                                                                       New
· Electric Power-Assist Speed-Sensing Steering
· 18.5 Gal. Fuel Tank                                      · Interior Trim -inc: Simulated Wood Door Panel Insert,
· Single Stainless Steel Exhaust w/Chrome Tailpipe         Simulated Wood Console Insert and Metal-Look Interior
Finisher                                                   Accents
· Strut Front Suspension w/Coil Springs                    · Leather Seat Trim
· Multi-Link Rear Suspension w/Coil Springs                · Day-Night Rearview Mirror                                 MSRP                                                                                            $25,440.00
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front Vented          · Driver And Passenger Visor Vanity Mirrors w/Driver And
Discs, Brake Assist and Hill Hold Control                  Passenger Illumination, Driver And Passenger Auxiliary      INSTALLED OPTIONS
                                                           Mirror
EXTERIOR                                                   · Full Floor Console w/Covered Storage, Mini Overhead       Sparkling Silver                                                                                $0
                                                           Console w/Storage and 3 12V DC Power Outlets
· Wheels: 17" Alloy                                        · Fade-To-Off Interior Lighting                             Black, Leather Seat Trim                                                                        $0
· Tires: P215/55R17                                        · Front And Rear Map Lights
                                                           · Carpet Floor Trim and Carpet Trunk Lid/Rear Cargo
                                                                                                                       Premium Package                                                                                 $3,600
· Wheels w/Silver Accents
· Spare Tire Mobility Kit                                  Door Trim                                                       Heated & Ventilated Front Seats
· Clearcoat Paint                                          · Full Carpet Floor Covering -inc: Carpet Front And Rear        Blind Spot Detection
· Body-Colored Front Bumper                                Floor Mats                                                      LED Overhead Front & Rear Reading Lamps
· Body-Colored Rear Bumper w/Chrome Bumper Insert          · Cargo Features -inc: Spare Tire Mobility Kit                  Radio: AM/FM/MP3/SiriusXM
· Chrome Side Windows Trim, Black Front Windshield         · Cargo Space Lights                                            6 speakers
Trim and Chrome Rear Window Trim                           · FOB Controls -inc: Trunk/Hatch/Tailgate                       8" touch-screen
                                                           · Memory Settings -inc: Driver Seat and Door Mirrors
· Chrome Door Handles                                                                                                      rear camera display
· Body-Colored Power Heated Side Mirrors w/Manual          · Driver / Passenger And Rear Door Bins
                                                           · Delayed Accessory Power
                                                                                                                           2 USB chargers
Folding and Turn Signal Indicator                                                                                          UVO eServices
· Fixed Rear Window w/Defroster                            · Power Door Locks w/Autolock Feature
                                                           · Power 1st Row Windows w/Driver And Passenger 1-               Premium Navigation
· Light Tinted Glass
                                                           Touch Up/Down                                                   Android Auto
· Variable Intermittent Wipers
· Front Windshield -inc: Sun Visor Strip                   · Systems Monitor                                               Apple CarPlay and Bluetooth wireless technology
· Fully Galvanized Steel Panels                            · Redundant Digital Speedometer                                 Rear Parking Assist System
· Metal-Look Grille w/Chrome Surround                      · Trip Computer                                                 Auto Dimming Rear View Mirror
· Trunk Rear Cargo Access                                  · Outside Temp Gauge                                            Rear Cross Traffic Alert
· Perimeter/Approach Lights                                · Analog Display                                                10-Way Power Front Passenger Seat
· Fully Automatic Projector Beam Halogen Daytime           · Manual Anti-Whiplash Adjustable Front Head Restraints         2-way power adjustable lumbar
Running Headlamps w/Delay-Off                              and Manual Adjustable Rear Head Restraints                      Panoramic Sunroof
                                                           · Front Center Armrest and Rear Center Armrest
· LED Brakelights
                                                           · 2 Seatback Storage Pockets
                                                                                                                       Cargo Net                                                                                       $50
· Laminated Glass
                                                           · Perimeter Alarm
                                                           · Air Filtration
                                                                                                                       Original Shipping Charge                                                                        $895
ENTERTAINMENT
                                                           · 3 12V DC Power Outlets
                                                                                                                       RETAIL PRICE (ORIGINALLY NEW)                                                                   $29,985.00
· Radio: AM/FM/CD/MP3/SiriusXM Audio System -inc:
6 speakers, 7" touch-screen, rear camera display, 2        SAFETY
USB chargers, UVO eServices, Android Auto, Apple
CarPlay and Bluetooth wireless technology                  · Electronic Stability Control
· Radio w/Seek-Scan, Clock, Speed Compensated              · ABS And Driveline Traction Control
Volume Control, Aux Audio Input Jack, Steering Wheel       · Side Impact Beams
Controls, Voice Activation, Radio Data System and          · Dual Stage Driver And Passenger Seat-Mounted Side
                                                           Airbags
                                                                                                                       Get more information on your smartphone:
UVO External Memory Control
· Streaming Audio                                          · Tire Specific Low Tire Pressure Warning
· Window Grid Antenna                                      · Dual Stage Driver And Passenger Front Airbags
                                                           · Curtain 1st And 2nd Row Airbags
INTERIOR                                                   · Airbag Occupancy Sensor
                                                           · Driver Knee Airbag
· Heated Front Bucket Seats -inc: 12-Way Power             · Rear Child Safety Locks
Adjustable Driver's Seat, 4-way power adjustable           · Outboard Front Lap And Shoulder Safety Belts -inc: Rear
lumbar, Integrated Memory System, 2-position               Center 3 Point, Height Adjusters and Pretensioners
memory for driver seat and outside mirrors
· Front Seats w/Power 4-Way Driver Lumbar
· 12-Way Power Driver Seat -inc: Power Recline,
Height Adjustment, Fore/Aft Movement, Cushion Tilt
and Power 4-Way Lumbar Support
· 6-Way Passenger Seat -inc: Manual Recline, Height
Adjustment and Fore/Aft Movement
· 60-40 Folding Bench Front Facing Fold Forward
Seatback Leather Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and Trip
Computer
· Power Rear Windows
· Heated Leather Steering Wheel
· Front Cupholder
· Rear Cupholder
· Remote Keyless Entry w/Integrated Key Transmitter,
Illuminated Entry, Illuminated Ignition Switch and Panic
Button




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                                     #:2078
Year: 2018                                                                           Engine: 4 Cylinder Engine
Make: Kia                                                                            Transmission: 6-Speed A/T
Model: Optima LX Auto                                                                Exterior: Sparkling Silver
VIN: 5XXGT4L35JG198335                                                               Interior: Black

                                             · HVAC -inc: Underseat Ducts
                                                                                                CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Illuminated Glove Box

· Front-Wheel Drive
                                             · Driver Foot Rest
                                             · Interior Trim -inc: Metal-Look Interior
                                             Accents
                                                                                                   38                                                                                         43
· 2.88 Axle Ratio
· 80-Amp/Hr 800CCA Maintenance-Free          · Full Cloth Headliner                                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

Battery w/Run Down Protection                · Leatherette Door Trim Insert
· 150 Amp Alternator                         · Urethane Gear Shift Knob
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                             · Day-Night Rearview Mirror
                                             · Driver And Passenger Visor Vanity Mirrors      New
· Electric Power-Assist Speed-Sensing        w/Driver And Passenger Illumination
Steering                                     · Full Floor Console w/Covered Storage, Mini
                                                                                              MSRP                                                                                           $22,600.00
· 18.5 Gal. Fuel Tank                        Overhead Console w/Storage and 2 12V DC
· Single Stainless Steel Exhaust w/Chrome    Power Outlets                                    INSTALLED OPTIONS
Tailpipe Finisher                            · Front Map Lights                               Sparkling Silver                                                                               $0
· Strut Front Suspension w/Coil Springs      · Fade-To-Off Interior Lighting
· Multi-Link Rear Suspension w/Coil          · Full Carpet Floor Covering                     Black, Cloth Seat Trim                                                                         $0
Springs                                      · Carpet Floor Trim and Carpet Trunk Lid/Rear       CleanTex anti-soiling
· 4-Wheel Disc Brakes w/4-Wheel ABS,         Cargo Door Trim                                  Carpeted Floor Mats                                                                            $135
Front Vented Discs, Brake Assist and Hill    · Cargo Features -inc: Spare Tire Mobility Kit
                                             · Cargo Space Lights
                                                                                              Original Shipping Charge                                                                       $895
Hold Control
                                             · FOB Controls -inc: Trunk/Hatch/Tailgate        RETAIL PRICE (ORIGINALLY NEW)                                                                  $23,630.00
EXTERIOR                                     · Driver / Passenger And Rear Door Bins
                                             · Delayed Accessory Power
· Tires: P205/65R16                          · Systems Monitor
· Spare Tire Mobility Kit                    · Redundant Digital Speedometer
                                             · Outside Temp Gauge
· Clearcoat Paint
                                             · Analog Display                                 Get more information on your smartphone:
· Body-Colored Front Bumper w/Chrome
Bumper Insert                                · Manual Anti-Whiplash w/Tilt Front Head
· Body-Colored Rear Bumper w/Black           Restraints and Manual Adjustable Rear Head
Bumper Insert                                Restraints
· Chrome Side Windows Trim, Black Front      · Front Center Armrest and Rear Center
Windshield Trim and Chrome Rear Window       Armrest
Trim                                         · 2 Seatback Storage Pockets
· Chrome Door Handles                        · Perimeter Alarm
· Body-Colored Power Heated Side Mirrors     · 2 12V DC Power Outlets
w/Manual Folding and Turn Signal Indicator   · Air Filtration
· Fixed Rear Window w/Defroster
· Light Tinted Glass                         SAFETY
· Variable Intermittent Wipers
· Front Windshield -inc: Sun Visor Strip     · Side Impact Beams
· Fully Galvanized Steel Panels              · Dual Stage Driver And Passenger Seat-
· Black Grille w/Chrome Surround             Mounted Side Airbags
· Trunk Rear Cargo Access                    · Emergency Sos
· Fully Automatic Projector Beam Halogen     · Rear Parking Sensors
Headlamps w/Delay-Off                        · Blind Spot Sensor
· Perimeter/Approach Lights                  · and Rear Cross Traffic Alert
                                             · Tire Specific Low Tire Pressure Warning
ENTERTAINMENT                                · Dual Stage Driver And Passenger Front
                                             Airbags
· Streaming Audio                            · Curtain 1st And 2nd Row Airbags
· Window Grid Antenna                        · Airbag Occupancy Sensor
· 2 LCD Monitors In The Front                · Driver Knee Airbag
                                             · Rear Child Safety Locks
INTERIOR                                     · Outboard Front Lap And Shoulder Safety
                                             Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners
· Driver Seat
· Passenger Seat
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Front Cupholder
· Rear Cupholder
· Remote Releases -Inc: Power Cargo
Access and Power Fuel
· Cruise Control w/Steering Wheel Controls
· Manual Air Conditioning


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                                     #:2079
Year: 2019                                                                           Engine: 4 Cylinder Engine
Make: Kia                                                                            Transmission: 6-Speed A/T
Model: Optima LX Auto                                                                Exterior: Horizon Blue
VIN: 5XXGT4L35KG281233                                                               Interior: Black

                                             · Glove Box
                                                                                                CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · Driver Foot Rest

· Front-Wheel Drive
                                             · Interior Trim -inc: Metal-Look Interior
                                             Accents
                                             · Full Cloth Headliner
                                                                                                   24                                                                                         33
· 2.88 Axle Ratio
· 80-Amp/Hr 800CCA Maintenance-Free          · Leatherette Door Trim Insert                          Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

Battery w/Run Down Protection                · Urethane Gear Shift Knob
· 150 Amp Alternator                         · Day-Night Rearview Mirror
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                             · Driver And Passenger Visor Vanity Mirrors
                                             w/Driver And Passenger Illumination              New
· Electric Power-Assist Speed-Sensing        · Full Floor Console w/Covered Storage, Mini
Steering                                     Overhead Console w/Storage and 2 12V DC
                                                                                              MSRP                                                                                           $22,990.00
· 18.5 Gal. Fuel Tank                        Power Outlets
· Single Stainless Steel Exhaust w/Chrome    · Front Map Lights                               INSTALLED OPTIONS
Tailpipe Finisher                            · Fade-To-Off Interior Lighting                  Horizon Blue                                                                                   $0
· Strut Front Suspension w/Coil Springs      · Full Carpet Floor Covering
· Multi-Link Rear Suspension w/Coil          · Carpet Floor Trim and Carpet Trunk Lid/Rear    Black, Cloth Seat Trim                                                                         $0
Springs                                      Cargo Door Trim                                  Carpet Floor Mats                                                                              $130
· 4-Wheel Disc Brakes w/4-Wheel ABS,         · Cargo Features -inc: Spare Tire Mobility Kit
                                             · Cargo Space Lights
                                                                                              Original Shipping Charge                                                                       $925
Front Vented Discs, Brake Assist and Hill
Hold Control                                 · FOB Controls -inc: Trunk/Hatch/Tailgate        RETAIL PRICE (ORIGINALLY NEW)                                                                  $24,045.00
                                             · Smart Device Integration
EXTERIOR                                     · Driver / Passenger And Rear Door Bins
                                             · Delayed Accessory Power
· Tires: P205/65R16                          · Systems Monitor
                                             · Redundant Digital Speedometer
· Spare Tire Mobility Kit
                                             · Outside Temp Gauge                             Get more information on your smartphone:
· Clearcoat Paint
· Body-Colored Front Bumper w/Chrome         · Analog Display
Bumper Insert                                · Manual Anti-Whiplash Adjustable Front Head
· Body-Colored Rear Bumper w/Black           Restraints and Manual Adjustable Rear Head
Bumper Insert                                Restraints
· Chrome Side Windows Trim, Black Front      · Front Center Armrest and Rear Center
Windshield Trim and Chrome Rear Window       Armrest
Trim                                         · 2 Seatback Storage Pockets
· Chrome Door Handles                        · Perimeter Alarm
· Body-Colored Power Heated Side Mirrors     · 2 12V DC Power Outlets
w/Manual Folding and Turn Signal Indicator   · Air Filtration
· Fixed Rear Window w/Defroster
· Light Tinted Glass                         SAFETY
· Variable Intermittent Wipers
· Fully Galvanized Steel Panels              · Side Impact Beams
· Gray Grille                                · Dual Stage Driver And Passenger Seat-
· Trunk Rear Cargo Access                    Mounted Side Airbags
· Fully Automatic Projector Beam Halogen     · Parking Distance Warning Rear Parking
Daytime Running Auto High-Beam               Sensors
Headlamps w/Delay-Off                        · Blind-Spot Collision Warning Blind Spot
· Perimeter/Approach Lights                  Sensor
· Laminated Glass                            · Forward Collision-Avoidance Assist and
                                             Rear Cross-Traffic Collision Warning
ENTERTAINMENT                                · Tire Specific Low Tire Pressure Warning
                                             · Dual Stage Driver And Passenger Front
· Streaming Audio                            Airbags
· Fixed Antenna                              · Curtain 1st And 2nd Row Airbags
· 2 LCD Monitors In The Front                · Airbag Occupancy Sensor
· Turn-By-Turn Navigation Directions         · Driver Knee Airbag
                                             · Rear Child Safety Locks
INTERIOR                                     · Outboard Front Lap And Shoulder Safety
                                             Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners
· Driver Seat
· Passenger Seat                             · Rear View Monitor w/Parking Guidance
· 60-40 Folding Bench Front Facing Fold      Back-Up Camera
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Front Cupholder
· Rear Cupholder
· Remote Releases -Inc: Power Cargo
Access and Power Fuel
· Cruise Control w/Steering Wheel Controls
· HVAC -inc: Underseat Ducts
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2020 OPTIMA SX TURBO                                            Sold To: TX114                       Ship To: TX114
MODEL/OPT.CODE:      55282 / 010                                Gay Family Kia
                                                                3001 GULF FREEWAY
EXTERIOR COLOR:      PASSION RED                                DICKINSON TX 77539
INTERIOR COLOR:      BLACK
VEHICLE ID NUMBER:   5XXGW4L2XLG402712
PORT OF ENTRY:       WEST POINT
                     STANDARD FEATURES                         MANUFACTURER'S SUGGESTED RETAIL PRICE                       $ 31,990.00

STANDARD EX FEATURES                                           COMPARE SX FEATURES
                                                               Added to/in place of standard EX features                         Included
MECHANICAL
Drive Mode Select (DMS)
                                                               - 2.0L Turbocharged GDI Engine
                                                               - 6-Speed Automatic Transmission
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                                        Fuel Economy
                                                                                                                                                                                                                                                           You     spend
                                                                                                                                                        24
                                                                                                                                                                                      MPG                 MIDSIZE CARS range from 12 to 136
KIA DRIVEWISE DRIVER-ASSIST TECHNOLOGY
Blind-Spot Collision Warning (BCW)
Rear Cross-Traffic Collision Warning (RCCW)
                                                               - Navigation System w/ 8" Touchscreen
                                                               - Panoramic Sunroof w/ Power Sunshade
                                                               - Harman/Kardon® Premium Audio w/ Clari-Fi#
                                                               - Heated Steering Wheel w/ Paddle Shifters
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                 Included                                             21             30
                                                                                                                                                                                                          MPG. The best vehicle rates 136
                                                                                                                                                                                                          MPGe.
                                                                                                                                                                                                                                                           $1,000
                                                                                                                                                                                                                                                               more in fuel costs
Parking Distance Warning-Reverse (PDW-R)                                                                                                                combined city/hwy             city           highway
Forward Collision-Avoidance Assist-Ped (FCA-Ped)               - Ventilated Front Seats                                          Included                                                                                                                      over 5 years
Smart Cruise Control w/ Stop & Go (SCC w/ S&G)
Lane Departure Warning (LDW)
                                                               - Power Front Passenger's Seat w/ Lumbar Support
                                                               -Memory Driver Seat, Stg Whl& Outer Mirrors
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                                        4.2        gallons per 100 miles                                                                       compared to the
                                                                                                                                                                                                                                                               average new vehicle.
Lane Keeping Assist-Line (LKA-L)                               - Ambient Lighting                                                Included
Driver Attention Warning (DAW)                                 - LED Overhead Interior Lighting                                  Included
                                                                                                                                                                                             Fuel Economy & Greenhouse Gas Rating (tailpipe only)                       Smog Rating (tailpipe only)
High Beam Assist (HBA)
SAFETY
                                                               - Dual-Projection LED Headlights
                                                               - Low Beam Assist-Dynamic (LBA-D)
                                                                                                                                 Included
                                                                                                                                 Included   Annual fuel              cost
Dual Front Advanced Airbags & Driver's Knee Airbag
Dual Front Seat-Mounted Side & Full-Length Curtain Airbags
Traction Control System & Anti-Lock Brakes (ABS)
                                                               - LED Fog Lights
                                                               - Gloss Black Rear Spoiler/Outside Mirrors
                                                               - Sport Side Sills with Gloss Black Accent Trim
                                                               - Compact Spare Tire
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                 Included
                                                                                                                                               $1,700                                        This vehicle emits 371 grams CO per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                2
                                                                                                                                                                                             distributing fuel also create emissions; learn more at fueleconomy.gov.
INTERIOR, COMFORT & CONVENIENCE                                - 18" Alloy Wheels                                                Included   Actual results will vary for many reasons, including driving conditions and how you drive and maintain
8" Touchscreen w/ Android Auto & Apple CarPlay                                                                                              your vehicle. The average new vehicle gets 27 MPG and costs $7,500 to fuel over 5 years. Cost
Rear Camera with Dynamic Guidelines                                                                                                         estimates are based on 15,000 miles per year at $ 2.70 per gallon. MPGe is miles per gasoline gallon
Power Adj. Driver's Seat w/ Power Lumbar Support               ADDITIONAL INSTALLED EQUIPMENT:                                              equivalent. Vehicle emissions are a significant cause of climate change and smog.
Leather Seat Trim w/ Heated Front Seats                        (In addition to or in place of standard features)
Leather-Wrapped Steering Wheel and Shift Knob                  Passion Red Paint
                                                               Cargo Mat
                                                                                                                                  $495.00
                                                                                                                                   $95.00
                                                                                                                                            fueleconomy.gov
Push Button Start with Smart Key                                                                                                            Calculate personalized estimates and compare vehicles
Dual Zone - Full Automatic Temperature Control                 Carpeted Floor Mats                                                $135.00
Auto-Dimming Rearview Mirror                                   Cargo Net                                                           $50.00    GOVERNMENT 5-STAR SAFETY RATINGS                                                                              PARTS CONTENT INFORMATION
Acoustic Front Door Windows w/ Auto Up/Down                    Puddle Lights                                                      $275.00
Bluetooth® Wireless Technology                                                                                                              Overall Vehicle Score                                                                                           FOR VEHICLES IN THIS CAR
Wireless Phone Charger / 2 Front USB / 2 Rear USB                                                                                                                                                                                                              LINE U.S./CANADIAN
                                                                                                                                            Based on the combined rating of frontal, side and rollover.
UVO link (1 yr trial; see owners.kia.com for details)                                                                                       Should ONLY be compared to other vehicles of similar size and weight.                                             PARTS CONTENT: 50 %
SIRIUSXM® w/free 3-mo. subscription*
Overhead Maplights & Sunglass Holder                                                                                                                                                                                                                       MAJOR SOURCES OF
Electronic Parking Brake with Auto Hold                                                                                                     Frontal                       Driver
                                                                                                                                                                                                                                                               FOREIGN PARTS:
                                                                                                                                            Crash                         Passenger                                                                                    KOREA: 50%
EXTERIOR                                                                                                                                    Based on the risk of injury in a frontal impact.
Power, Heated Outside Mirrors w/ LED Turn Signal Indicators                                                                                 Should ONLY be compared to other vehicles of similar size and weight.
Single Projection Headlights w/ LED DRL                                                                                                                                                                                                                    NOTE: PARTS CONTENT DOES
Projector Front Fog Lamps / LED Tail Lights                                                                                                 Side                          Front seat
                                                                                                                                                                                                                                                           NOT INCLUDE FINAL ASSEMBLY,
17" Alloy Wheels                                                                                                                            Crash                         Rear seat                                                                        DISTRIBUTION, OR OTHER
                                                               MSRP INCLUDING OPTIONS                                      $ 33,040.00      Star ratings based on the risk of injury in a side impact.                                                     NON-PARTS COSTS.
WARRANTY
10 Year/100,000 Mile Limited Powertrain Warranty                             INLAND FREIGHT AND HANDLING                         $ 925.00   Rollover                                                                                                       FOR THIS VEHICLE
5 Year/60,000 Mile Limited Basic Warranty                                                                                                   Star ratings based on the risk of rollover in a single-vehicle crash.                                            FINAL ASSEMBLY POINT:
5 Year/60,000 Mile Roadside Assistance
*Ask dealer for details                                        TOTAL MANUFACTURER'S SUGGESTED RETAIL PRICE                $ 33,965.00 Star ratings range from 1 to 5 stars (            ) with 5 being the highest.      WEST POINT, GA, USA
                                                                                                                                               Source: National Highway Traffic Safety Administration (NHTSA).      COUNTRY OF ORIGIN
                                                                                                                                                            www.safercar.gov or 1-888-327-4236                       ENGINE:
                                                                                                                                            Manufacturer's suggested retail price includes Manufacturer's recommended pre-delivery service. License                                                USA
                                                                                                                                            and title fees, state and local taxes and other dealer installed options and accessories are not included in    TRANSMISSION:
TOTAL ADDITIONAL WEIGHT: 17.7                                                                                                                                                 the manufacturer's suggested retail price.                                                                           USA

                                                                                                               Ex. 1 - Page 94
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                                     #:2081
Year: 2012                                                                                Engine: 4 Cylinder Engine
Make: Kia                                                                                 Transmission: 6-Speed A/T
Model: Optima Hybrid EX                                                                   Colors: Black / Black w/Cloth Seat Trim or Leather Seat Trim or Sp
VIN: KNAGM4AD6C5036405                                                                    Mileage: 54,324                                              Stock #: 20344

                                                · Warning features -inc: parking brake on, key-
                                                                                                     CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                      operated chime, seatbelt reminder, low

· 2.4L DOHC MPI 16-valve I4 hybrid PZEV
                                                washer fluid
                                                · Pwr windows -inc: driver/front passenger
                                                one-touch auto up/down
                                                                                                        34                                                                                          39
engine -inc: continuously variable valve
timing , permanent-magnet synchronous           · Electronic fuel lid release                              Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

electric motor, lithium polymer hybrid          · Steering wheel-mounted auto cruise control
battery, virtual engine sound system,           · Dual-zone auto climate control w/rear vents,
aluminum block & head
· Push button start
                                                filter
                                                · Rear window defroster w/timer                   New
· 6-speed automatic transmission w/OD, H-       · Cooling glove box -inc: lighting
Matic -inc: Auto Shift lock system, ECO         · aux pwr outlets                                 MSRP                                                                                             $25,800.00
switch                                          · Door map pockets -inc: integrated front/rear
· Front wheel drive                             in-door bottle holders                            INSTALLED OPTIONS
· Battery saver w/interior lamp auto-cut        · Chrome accent door handles                      Black, Seat Trim                                                                                 $0
· Independent MacPherson strut front            · Overhead sunglass holder
                                                · Dual sunvisors w/illuminated covered vanity     Hybrid Convenience PKG                                                                           $700
suspension w/coil springs
· Independent multi-link rear suspension        mirrors, extensions                               Hybrid Premium Technology PKG                                                                    $5,350
w/coil springs                                  · Dual front assist handles                       Cloth/Leather Seating Surfaces                                                                   $0
· High performance shock absorbers              · Time-delay interior dome lamp
· Front stabilizer bar                          · Front/rear reading lamps                        Original Shipping Charge                                                                         $750
· Electric motor-driven pwr steering            · Leather-wrapped shift knob w/metallic paint     RETAIL PRICE (ORIGINALLY NEW)                                                                    $32,600.00
· Pwr vented front & solid rear disc brakes     accent
· Chrome exhaust tip -inc: semi-active          · Front seatback storage pockets
muffler                                         · Rear coat hook
· Tire mobility kit                             · Illuminated trunk w/hinge cover

EXTERIOR                                        SAFETY                                            Get more information on your smartphone:
· Insulated hood w/gas lifters                  · 4-wheel anti-lock brakes -inc: active
· Body-colored bumpers                          hydraulic boost braking
· Rear lip spoiler                              · Hill start assist control
· Body-colored side moldings -inc: unique       · 5-mph bumpers
design w/accents                                · Side-impact door beams
· Bright chrome door molding                    · Front/rear crumple zones
· Black-gloss front side fender garnish         · Dual advanced front airbags -inc: passenger
w/chrome accents                                occupancy sensor
· Unique grille design                          · Driver & front passenger seat-mounted side
· Clear-lens halogen automatic headlights -     airbags
inc: unique design, projection high-beams,      · Front/rear side curtain airbags
escort lighting                                 · 3-point front seat belts -inc: pretensioners,
· Rear LED high-mounted stop lamp               force limiters, height-adjustable anchors,
· LED rear combination lamp                     emergency locking retractors
· Front fog lights                              · 3-point rear seat belts w/emergency locking
· Solar glass windshield w/sunband              retractors
· Variable intermittent front windshield        · Rear child safety door locks
wipers w/jet washers -inc: aero covers          · Lower anchors & tethers for children
· Body-color door handles w/chrome trim         · Tire pressure monitoring system
                                                · Dual-note horn
ENTERTAINMENT                                   · Emergency trunk release handle
                                                · Impact-absorbing steering column
· In-glass antenna                              · Impact-triggered auto door unlocking

INTERIOR

· Front bucket seats -inc: driver pwr lumbar,
driver height adjustment, active headrests
· Fixed rear bench seat w/adjustable
outboard headrests, pass-through
· Front center console -inc: armrest,
storage, cupholder
· Rear center armrest w/cupholder
· Plastic door sill scuff plates
· Supervision instrument cluster -inc:
gauges, clock, rheostat
· Trip computer -inc: color LCD display,
distance to empty, average speed, drive
time, ambient temp, average fuel economy,
instant fuel economy

                                                                                                                                    vinscars.com
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                                                                              Ex. 1 - Page 95
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 97 of 155 Page ID
                                      #:2082
Year: 2013                                                                                       Engine: 4 Cylinder Engine
Make: Kia                                                                                        Transmission: 6-Speed A/T
Model: Optima Hybrid 4dr Sdn 2.4L Auto LX                                                        Exterior: Satin Metal Metallic
VIN: KNAGM4AD4D5046321                                                                           Interior: Black

                                                  · Tilt/telescopic 3-spoke leather-wrapped steering
MECHANICAL                                        wheel w/audio controls -inc: wheel-mounted
                                                                                                             CITY MPG                                                                           HIGHWAY MPG

· 2.4L DOHC MPI 16-valve I4 hybrid PZEV
engine -inc: continuously variable valve timing
                                                  Bluetooth controls w/voice activation button,
                                                  ECO switch, illuminated ignition
                                                  · Trip computer -inc: distance to empty, average
                                                                                                                36                                                                                          40
, permanent-magnet synchronous electric           speed, drive time, ambient temp, average fuel                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
motor, lithium polymer hybrid battery, virtual    economy, instant fuel economy
engine sound system, aluminum block & head        · Warning features -inc: parking brake on, key-
· 6-speed automatic transmission w/OD, H-         operated chime, driver seatbelt reminder, low
Matic -inc: Auto Shift lock system, ECO           washer fluid                                          New
switch                                            · Pwr windows -inc: driver/front passenger one-
· Front wheel drive                               touch auto up/down
· Push button start                               · Pwr door locks -inc: front central locking, auto     MSRP                                                                                              $25,900.00
· Active ECO system                               unlock, driver two-turn unlock, drill-protected
· Battery saver w/interior lamp auto-cut          lock
                                                                                                         INSTALLED OPTIONS
· Towing & lashing hook *Only present on          · Remote keyless entry w/panic & alarm function,       Satin Metal Metallic                                                                              $0
vehicles produced in Hwasung, South Korea*        security indicator
                                                  · Electronic fuel lid release
                                                                                                         Black, Seat Trim                                                                                  $0
· Independent MacPherson strut front
suspension w/coil springs                         · Carpeted floor mats                                  Hybrid Convenience PKG                                                                            $700
· Independent multi-link rear suspension w/coil   · Steering wheel-mounted auto cruise control                8-way pwr driver seat
springs -inc: aluminum carrier, aluminum          · Dual-zone auto climate control w/rear vents               UVO infotainment system
lower arms                                        · Rear window defroster w/timer                             rearview camera
· Dual-flow shock absorbers                       · Cooling glove box -inc: lighting                     Rear Bumper Applique                                                                              $75
· Front stabilizer bar                            · aux pwr outlets
· Electric motor-driven pwr steering              · Door map pockets -inc: integrated front/rear in-     Wheel Locks                                                                                       $55
· Pwr vented front & solid rear disc brakes       door bottle holders                                    Original Shipping Charge                                                                          $800
· Tire mobility kit                               · Artificial leather door upper trim
                                                  · Metallic paint door & center console accents         RETAIL PRICE (ORIGINALLY NEW)                                                                     $27,530.00
EXTERIOR                                          · Overhead sunglass holder
                                                  · Dual sunvisors w/illuminated covered vanity
· 16" alloy wheels                                mirrors, extensions
· P205/65R16 tires                                · Dual front assist handles
· Insulated hood w/gas lifters
· Body-colored bumpers -inc: lower sport
                                                  · Time-delay interior dome lamp -inc: auto interior
                                                  light control
                                                                                                         Get more information on your smartphone:
styling                                           · Front/rear reading lamps
· Rear lip spoiler                                · Front seatback storage pockets
· Body-colored side moldings                      · Rear coat hook
· Bright chrome door molding                      · Illuminated trunk w/hinge cover
· Black-gloss front side fender garnish
w/chrome accents                                  SAFETY
· Gloss black/chrome grille
· Clear-lens halogen automatic headlights         · 4-wheel anti-lock brakes
w/black bezel -inc: escort lighting, projection   · Electronic stability control w/traction control
high-beams                                        system
· Rear LED high-mounted stop lamp                 · Hill start assist control
· LED rear combination lamp                       · Vehicle stability management
· Front fog lights                                · 5-mph bumpers
· Body-color folding heated pwr mirrors           · Side-impact door beams
w/integrated LED turn signals                     · Front/rear crumple zones
· Solar glass windshield w/sunband                · Dual advanced front airbags -inc: passenger
· Variable intermittent front windshield wipers   occupancy sensor
w/jet washers -inc: aero covers                   · Driver & front passenger seat-mounted side
                                                  airbags
ENTERTAINMENT                                     · Front/rear side curtain airbags
                                                  · 3-point front seat belts -inc: pretensioners,
· AM/FM stereo w/CD/MP3 player -inc:              force limiters, height-adjustable anchors,
satellite radio, speakers w/tweeters              emergency locking retractors
· Aux input jack w/USB port                       · 3-point rear seat belts w/emergency locking
· Bluetooth hands-free calling                    retractors
· In-glass antenna                                · Rear child safety door locks
                                                  · Lower anchors & tethers for children
INTERIOR                                          · Tire pressure monitoring system
                                                  · Dual-note horn
· Chrome door handles                             · Emergency trunk release handle
· Front bucket seats -inc: 6-way manual driver    · Impact-absorbing steering column
seat w/height adjustment, driver pwr lumbar,      · Impact-triggered auto door unlocking
active adjustable sliding headrests
· Rear bench seat w/adjustable outboard
headrests, ski pass-thru
· Double rachel cloth seating surfaces -inc:
cloth door trim insert
· Clean Tex anti-stain fabric treatment
· Front center console -inc: armrest, storage,
cupholder
· Rear center armrest w/cupholder                                                                             Edwards Nissan/Kia
· Plastic door sill scuff plates

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                                                                                    Ex. 1 - Page 96
   Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 98 of 155 Page ID
                                      #:2083
Year: 2014                                                                                                Engine: 4 Cylinder Engine
Make: Kia                                                                                                 Transmission: 6-Speed Automatic with Sportmatic
Model: Optima Hybrid 4dr Sdn EX                                                                           Colors: Snow White Pearl / Beige
VIN: KNAGN4AD6E5072708                                                                                    Mileage: 51,838                                                                                        Stock #: 37657

                                                      · Rear Cupholder
MECHANICAL                                            · Compass                                                      CITY MPG                                                                          HIGHWAY MPG

                                                                                                                        35                                                                                         39
                                                      · Proximity Key For Doors And Push Button Start
· Front-Wheel Drive                                   · Remote Keyless Entry w/Integrated Key Transmitter,
· 3.32 Axle Ratio                                     Illuminated Entry, Illuminated Ignition Switch and Panic
· 54-Amp/Hr Maintenance-Free Battery w/Run Down       Button
Protection                                            · Remote Releases -Inc: Power Cargo Access and                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· Hybrid Electric Motor                               Power Fuel
· Gas-Pressurized Shock Absorbers                     · HomeLink Garage Door Transmitter
· Front And Rear Anti-Roll Bars                       · Cruise Control w/Steering Wheel Controls
· Electric Power-Assist Speed-Sensing Steering
· 17.2 Gal. Fuel Tank
                                                      · Dual Zone Front Automatic Air Conditioning
                                                      · HVAC -inc: Underseat Ducts and Console Ducts
                                                                                                                   New
· Single Stainless Steel Exhaust                      · Illuminated Glove Box
· Strut Front Suspension w/Coil Springs               · Driver Foot Rest
                                                                                                                   MSRP                                                                                           $31,995.00
· Multi-Link Rear Suspension w/Coil Springs           · Full Cloth Headliner
· Regenerative 4-Wheel Disc Brakes w/4-Wheel ABS,     · Leather Gear Shift Knob                                    INSTALLED OPTIONS
Front Vented Discs, Brake Assist, Hill Hold Control   · Leather Seat Trim
and Electric Parking Brake                            · Interior Trim -inc: Leatherette Instrument Panel Insert,   Snow White Pearl                                                                               $0
· Lithium Polymer Traction Battery                    Metal-Look Door Panel Insert and Chrome/Metal-Look           Beige, Leather Seat Trim                                                                       $0
                                                      Interior Accents
EXTERIOR                                              · Leatherette Door Trim Insert                               Original Shipping Charge                                                                       $800
                                                      · Driver And Passenger Visor Vanity Mirrors w/Driver
· Wheels: 17" Alloy                                   And Passenger Illumination                                   RETAIL PRICE (ORIGINALLY NEW)                                                                  $32,795.00
· Tires: P215/55R17                                   · Day-Night Auto-Dimming Rearview Mirror
· Spare Tire Mobility Kit                             · Full Floor Console w/Covered Storage, Mini Overhead
· Clearcoat Paint                                     Console w/Storage and 2 12V DC Power Outlets
· Body-Colored Front Bumper w/Metal-Look Bumper
Insert
                                                      · Front And Rear Map Lights
                                                      · Fade-To-Off Interior Lighting
                                                                                                                   Used
· Body-Colored Rear Bumper                            · Full Carpet Floor Covering -inc: Carpet Front And Rear
· Metal-Look Bodyside Insert
· Chrome Side Windows Trim and Chrome Rear
                                                      Floor Mats
                                                      · Carpet Floor Trim and Carpet Trunk Lid/Rear Cargo
                                                                                                                   PRICE                                                                                    $12,750.00
Window Trim                                           Door Trim
· Chrome Door Handles                                 · Cargo Features -inc: Spare Tire Mobility Kit
· Body-Colored Power Heated Side Mirrors w/Power      · Cargo Space Lights
Folding and Turn Signal Indicator
· Fixed Rear Window w/Defroster
                                                      · FOB Controls -inc: Trunk/Hatch/Tailgate
                                                      · Integrated Navigation System w/Voice Activation
                                                                                                                   Get more information on your smartphone:
· Light Tinted Glass                                  · Smart Device Integration
· Variable Intermittent Wipers                        · Refrigerated/Cooled Box Located In The Glovebox,
· Front Windshield -inc: Sun Visor Strip              Driver / Passenger And Rear Door Bins
· Fully Galvanized Steel Panels                       · Power 1st Row Windows w/Driver And Passenger 1-
· Black Grille w/Chrome Surround                      Touch Up/Down
· Trunk Rear Cargo Access                             · Delayed Accessory Power
· Front Fog Lamps                                     · Power Door Locks w/Autolock Feature
· Perimeter/Approach Lights                           · Trip Computer
· LED Brakelights                                     · Outside Temp Gauge
· Fully Automatic Projector Beam High Intensity Low   · Digital/Analog Display
Beam Auto-Leveling Headlamps w/Delay-Off              · Manual w/Tilt Front Head Restraints and Manual
· Laminated Glass                                     Adjustable Rear Head Restraints
                                                      · Front Center Armrest and Rear Center Armrest
ENTERTAINMENT                                         w/Pass-Thru
                                                      · 1 Seatback Storage Pocket
· Radio: Infinity AM/FM/CD/MP3 Audio System           · Perimeter Alarm
w/NAV -inc: SiriusXM, USB/auxiliary input jacks and   · 2 12V DC Power Outlets
Bluetooth wireless technology, Voice-Command          · Air Filtration
Navigation w/SiriusXM Traffic, back-up camera, HD
Radio, Infinity Premium Sound System w/8              SAFETY
Speakers, subwoofer, external amplifier and UVO
eServices                                             · Electronic Stability Control
· Radio w/Seek-Scan, Clock, Speed Compensated         · ABS And Driveline Traction Control
Volume Control, Steering Wheel Controls, Voice        · Side Impact Beams
Activation and Internal Memory                        · Dual Stage Driver And Passenger Seat-Mounted Side
· 6 Speakers                                          Airbags
· Window Grid Diversity Antenna                       · Tire Specific Low Tire Pressure Warning
· 2 LCD Monitors In The Front                         · Dual Stage Driver And Passenger Front Airbags
· Siriusxm Traffic Real-Time Traffic Display          · Curtain 1st And 2nd Row Airbags
                                                      · Airbag Occupancy Sensor
INTERIOR                                              · Rear Child Safety Locks
                                                      · Outboard Front Lap And Shoulder Safety Belts -inc:
· Heated & Ventilated Front Seats -inc: 8-way power   Rear Center 3 Point, Height Adjusters and Pretensioners
adjustable driver's seat w/power lumbar support,      · Back-Up Camera
driver seat memory and 4-way power front
passenger seat
· Bucket Front Seats
· Driver Seat
· Passenger Seat
· Bench Front Facing Heated Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Traction Battery Level,
Power/Regen, Trip Odometer and Trip Computer
· Power Rear Windows
· Heated Leather Steering Wheel
· Front Cupholder



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                                                                                            Ex. 1 - Page 97
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                                     #:2084
Year: 2015                                                                              Engine: 4 Cylinder Engine
Make: Kia                                                                               Transmission: 6-Speed A/T
Model: Optima Hybrid 4dr Sdn EX                                                         Exterior: Aurora Black Pearl
VIN: KNAGN4AD9F5082117                                                                  Interior: Black

                                               · Manual Tilt/Telescoping Steering Column
                                                                                                   CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                     · Front Cupholder

· Front-Wheel Drive
                                               · Rear Cupholder
                                               · Remote Releases -Inc: Power Cargo Access
                                               and Power Fuel
                                                                                                      35                                                                                          39
· 3.32 Axle Ratio
· 54-Amp/Hr Maintenance-Free Battery           · Cruise Control w/Steering Wheel Controls                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

w/Run Down Protection                          · Dual Zone Front Automatic Air Conditioning
· Hybrid Electric Motor                        · HVAC -inc: Underseat Ducts and Console
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                               Ducts
                                               · Illuminated Glove Box                           New
· Electric Power-Assist Speed-Sensing          · Driver Foot Rest
Steering                                       · Interior Trim -inc: Leatherette Instrument
                                                                                                 MSRP                                                                                            $32,150.00
· 17.2 Gal. Fuel Tank                          Panel Insert, Metal-Look Door Panel Insert
· Single Stainless Steel Exhaust               and Chrome/Metal-Look Interior Accents            INSTALLED OPTIONS
· Strut Front Suspension w/Coil Springs        · Full Cloth Headliner                            Aurora Black Pearl                                                                              $295
· Multi-Link Rear Suspension w/Coil            · Leatherette Door Trim Insert
Springs                                        · Leather Gear Shift Knob                         Black, Leather Seat Trim                                                                        $0
· Regenerative 4-Wheel Disc Brakes w/4-        · Day-Night Auto-Dimming Rearview Mirror          Cargo Net                                                                                       $50
Wheel ABS, Front Vented Discs, Brake           · Driver And Passenger Visor Vanity Mirrors
                                               w/Driver And Passenger Illumination
                                                                                                 Original Shipping Charge                                                                        $825
Assist, Hill Hold Control and Electric
Parking Brake                                  · Full Floor Console w/Covered Storage, Mini      RETAIL PRICE (ORIGINALLY NEW)                                                                   $33,320.00
· Lithium Polymer Traction Battery             Overhead Console w/Storage and 2 12V DC
                                               Power Outlets
EXTERIOR                                       · Front And Rear Map Lights
                                               · Fade-To-Off Interior Lighting
                                               · Full Carpet Floor Covering -inc: Carpet Front
· Wheels: 17" Alloy
                                               And Rear Floor Mats                               Get more information on your smartphone:
· Tires: P215/55R17
· Spare Tire Mobility Kit                      · Carpet Floor Trim and Carpet Trunk Lid/Rear
· Clearcoat Paint                              Cargo Door Trim
· Body-Colored Front Bumper w/Metal-Look       · Cargo Features -inc: Spare Tire Mobility Kit
Bumper Insert                                  · Cargo Space Lights
· Body-Colored Rear Bumper                     · Smart Device Integration
· Metal-Look Bodyside Insert                   · Refrigerated/Cooled Box Located In The
· Chrome Side Windows Trim and Chrome          Glovebox, Driver / Passenger And Rear Door
Rear Window Trim                               Bins
· Chrome Door Handles                          · Delayed Accessory Power
· Body-Colored Power Heated Side Mirrors       · Outside Temp Gauge
w/Power Folding and Turn Signal Indicator      · Digital/Analog Display
· Fixed Rear Window w/Defroster                · Manual w/Tilt Front Head Restraints and
· Light Tinted Glass                           Manual Adjustable Rear Head Restraints
· Variable Intermittent Wipers                 · 1 Seatback Storage Pocket
· Front Windshield -inc: Sun Visor Strip       · Perimeter Alarm
· Fully Galvanized Steel Panels                · 2 12V DC Power Outlets
· Black Grille w/Chrome Surround               · Air Filtration
· Trunk Rear Cargo Access
· Fully Automatic Projector Beam High          SAFETY
Intensity Low Beam Auto-Leveling
Headlamps w/Delay-Off                          · Side Impact Beams
· Front Fog Lamps                              · Dual Stage Driver And Passenger Seat-
· Perimeter/Approach Lights                    Mounted Side Airbags
· LED Brakelights                              · Tire Specific Low Tire Pressure Warning
· Laminated Glass                              · Dual Stage Driver And Passenger Front
                                               Airbags
ENTERTAINMENT                                  · Curtain 1st And 2nd Row Airbags
                                               · Airbag Occupancy Sensor
· 6 Speakers                                   · Rear Child Safety Locks
· Window Grid Diversity Antenna                · Outboard Front Lap And Shoulder Safety
· 2 LCD Monitors In The Front                  Belts -inc: Rear Center 3 Point, Height
· Siriusxm Traffic Real-Time Traffic Display   Adjusters and Pretensioners
                                               · Back-Up Camera
INTERIOR

· Heated & Ventilated Front Seats -inc: 10-
way power adjustable driver's seat w/power
lumbar support, driver seat memory and 4-
way power front passenger seat
· Bucket Front Seats




                                                                            MonroneyLabels.com
                                                                             Ex. 1 - Page 98
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                                     #:2085
Year: 2016                                                                                    Engine: 4 Cylinder Engine
Make: Kia                                                                                     Transmission: 6-Speed A/T
Model: Optima Hybrid 4dr Sdn                                                                  Exterior: Aluminum Silver
VIN: KNAGM4AD9G5096054                                                                        Interior: Black

                                                  · Rear Cupholder
MECHANICAL                                        · Proximity Key For Doors And Push Button Start
                                                                                                         CITY MPG                                                                          HIGHWAY MPG

· Front-Wheel Drive
· 3.32 Axle Ratio
                                                  · Remote Keyless Entry w/Integrated Key
                                                  Transmitter, Illuminated Entry, Illuminated
                                                  Ignition Switch and Panic Button
                                                                                                            36                                                                                         40
· 54-Amp/Hr Maintenance-Free Battery w/Run        · Remote Releases -Inc: Power Cargo Access                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                   and Power Fuel
· Hybrid Electric Motor                           · Cruise Control w/Steering Wheel Controls
· Gas-Pressurized Shock Absorbers                 · Dual Zone Front Automatic Air Conditioning
· Front And Rear Anti-Roll Bars                   · HVAC -inc: Underseat Ducts and Console             New
· Electric Power-Assist Speed-Sensing             Ducts
Steering                                          · Illuminated Glove Box
· 17.2 Gal. Fuel Tank                             · Driver Foot Rest                                   MSRP                                                                                           $25,995.00
· Single Stainless Steel Exhaust                  · Interior Trim -inc: Metal-Look Door Panel Insert
· Strut Front Suspension w/Coil Springs           and Chrome/Metal-Look Interior Accents
                                                                                                       INSTALLED OPTIONS
· Multi-Link Rear Suspension w/Coil Springs       · Full Cloth Headliner                               Aluminum Silver                                                                                $0
· Regenerative 4-Wheel Disc Brakes w/4-           · Cloth Door Trim Insert
Wheel ABS, Front Vented Discs, Brake Assist       · Leather Gear Shift Knob
                                                                                                       Black, Cloth Seat Trim                                                                         $0
and Hill Hold Control                             · Cloth Seat Trim -inc: Clean Tex technology            Clean Tex technology
· Lithium Polymer Traction Battery                · Day-Night Rearview Mirror                          Original Shipping Charge                                                                       $850
                                                  · Driver And Passenger Visor Vanity Mirrors
EXTERIOR                                          w/Driver And Passenger Illumination                  RETAIL PRICE (ORIGINALLY NEW)                                                                  $26,845.00
                                                  · Full Floor Console w/Covered Storage, Mini
· Wheels: 16" Alloy                               Overhead Console w/Storage and 2 12V DC
· Tires: P205/65R16                               Power Outlets
· Spare Tire Mobility Kit                         · Front And Rear Map Lights
· Clearcoat Paint
· Body-Colored Front Bumper w/Metal-Look
                                                  · Fade-To-Off Interior Lighting
                                                  · Full Carpet Floor Covering -inc: Carpet Front
                                                                                                       Get more information on your smartphone:
Bumper Insert                                     And Rear Floor Mats
· Body-Colored Rear Bumper                        · Carpet Floor Trim and Carpet Trunk Lid/Rear
· Metal-Look Bodyside Insert                      Cargo Door Trim
· Chrome Side Windows Trim and Chrome             · Cargo Features -inc: Spare Tire Mobility Kit
Rear Window Trim                                  · Cargo Space Lights
· Chrome Door Handles                             · FOB Controls -inc: Trunk/Hatch/Tailgate
· Body-Colored Power Heated Side Mirrors          · Instrument Panel Bin, Refrigerated/Cooled Box
w/Manual Folding and Turn Signal Indicator        Located In The Glovebox, Driver / Passenger
· Fixed Rear Window w/Defroster                   And Rear Door Bins
· Light Tinted Glass                              · Power 1st Row Windows w/Driver And
· Variable Intermittent Wipers                    Passenger 1-Touch Up/Down
· Front Windshield -inc: Sun Visor Strip          · Delayed Accessory Power
· Fully Galvanized Steel Panels                   · Power Door Locks w/Autolock Feature
· Black Grille w/Chrome Surround                  · Trip Computer
· Trunk Rear Cargo Access                         · Outside Temp Gauge
· Fully Automatic Projector Beam Halogen          · Digital/Analog Display
Headlamps w/Delay-Off                             · Manual w/Tilt Front Head Restraints and
· Front Fog Lamps                                 Manual Adjustable Rear Head Restraints
· Perimeter/Approach Lights                       · Front Center Armrest and Rear Center Armrest
· LED Brakelights                                 w/Pass-Thru
                                                  · 1 Seatback Storage Pocket
ENTERTAINMENT                                     · Perimeter Alarm
                                                  · 2 12V DC Power Outlets
· Radio: AM/FM/CD/MP3 Audio System -inc: 6        · Air Filtration
speakers, Sirius satellite radio, USB/auxiliary
input jacks and Bluetooth connectivity            SAFETY
· Radio w/Seek-Scan, Clock, Speed
Compensated Volume Control and Steering           · Electronic Stability Control
Wheel Controls                                    · ABS And Driveline Traction Control
· Window Grid Antenna                             · Side Impact Beams
· 1 LCD Monitor In The Front                      · Dual Stage Driver And Passenger Seat-
                                                  Mounted Side Airbags
INTERIOR                                          · Tire Specific Low Tire Pressure Warning
                                                  · Dual Stage Driver And Passenger Front Airbags
· Front Bucket Seats -inc: power driver lumbar    · Curtain 1st And 2nd Row Airbags
support                                           · Airbag Occupancy Sensor
· Driver Seat                                     · Rear Child Safety Locks
· Passenger Seat                                  · Outboard Front Lap And Shoulder Safety Belts -
· Bench Front Facing Rear Seat                    inc: Rear Center 3 Point, Height Adjusters and
· Manual Tilt/Telescoping Steering Column         Pretensioners


                                                                                                             IE Auto X - Colton
· Gauges -inc: Speedometer, Odometer,
Engine Coolant Temp, Tachometer, Traction
Battery Level, Power/Regen, Trip Odometer
and Trip Computer
· Power Rear Windows                                                                                                                   ieautox.com
· Leather Steering Wheel
· Front Cupholder                                                                                                                     909-839-6779
                                                                                 MonroneyLabels.com
                                                                                  Ex. 1 - Page 99
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 101 of 155 Page ID
                                     #:2086
Year: 2012                                                                          Engine: V6 Cylinder Engine
Make: Kia                                                                           Transmission: 6-Speed A/T
Model: Sedona 4dr Wgn LX                                                            Exterior: Bright Silver
VIN: KNDMG4C78C6430695                                                              Interior: Gray

                                            · 4-spoke tilt steering wheel w/audio              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  controls

· 3.5L V6 engine
                                            · EcoMinder indicator
                                            · Auto cruise control                                 18                                                                                         25
· 6-speed automatic Tiptronic               · Front/rear manual air conditioning -inc:
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
transmission w/Sportmatic                   rear seat ducts, air filter
· Front wheel drive                         · Electric rear window defroster w/timer
· Battery saver                             · Lockable illuminated glove box
· MacPherson strut front suspension         · Illuminated cigar lighter                      New
w/coil springs                              · Color-keyed door handles
· Multi-link rear suspension w/coil         · Chrome door handles
                                                                                             MSRP                                                                                           $24,900.00
springs                                     · Overhead console -inc: sunglass case,
· Pwr steering                              conversation mirror                              INSTALLED OPTIONS
· Front/rear disc brakes                    · Dual visor vanity mirrors                      Bright Silver                                                                                  $0
                                            · Assist handles -inc: (1) front, (4) rear       Gray, Seat Trim                                                                                $0
EXTERIOR                                    · Cloth roof lining
                                            · Lighting -inc: front courtesy, room lamps      Original Shipping Charge                                                                       $850
· P225/70R16 tires                          in all rows, cargo lamp                          RETAIL PRICE (ORIGINALLY NEW)                                                                  $25,750.00
· Temporary spare tire                      · 2nd row reading lamp
· Roof rails                                · Front seatback pocket
· Body-color bumpers -inc: rear step        · Side-folding front tray
plate                                       · (2) sets 3rd row coat hooks
· Body-color side molding & sills           · 3rd row rear shopping hook                     Get more information on your smartphone:
· Body-color rear garnish
· Body-color door glass outline w/black     SAFETY
taping
· Projection-type headlights                · Anti-lock brakes (ABS) -inc: brake assist
· High-mounted LED stop lamp                (BA), electronic brake force distribution
· Body-color pwr mirrors -inc: integrated   (EBD)
turn signals                                · Electronic stability control (ESC)
· Heated tinted front windshield            w/traction control (TC)
w/sunband -inc: tinted front door           · 2.5-MPH impact bumpers
windows                                     · Dual front advanced airbags -inc:
· Rear privacy glass                        passenger occupancy sensor
· Variable intermittent front windshield    · Front seat side mounted airbags
wipers w/time adjuster                      · Front/rear side curtain airbags
· Rear window intermittent wiper/washer     · Back-up warning system
· Body-color door handles                   · 1st & 2nd row 3-point seat belts for all
                                            seating positions -inc: height adjustment
ENTERTAINMENT                               for outboard positions
                                            · Rear child door locks
· (6) speakers                              · ISOFIX child seat anchor system
· SIRIUS satellite radio                    · Tire pressure monitoring system (TPMS)
· Bluetooth w/voice recognition             · Impact-absorbing steering column
· Roof-mounted antenna

INTERIOR

· 3rd row double-reclining 60/40 split-
folding bench seat -inc: adjustable
headrests, fold-in-the-floor capability
· Double raschel cloth seat trim
· Carpeted floor mats




                                                                                                   Mullinax Ford New
                                                                                                    Smyrna Beach
                                                                        MonroneyLabels.com
                                                                        Ex. 1 - Page 100
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 102 of 155 Page ID
                                     #:2087
Year: 2014                                                                              Engine: V6 Cylinder Engine
Make: Kia                                                                               Transmission: Automatic 6-spd
Model: Sedona 4dr Wgn LX                                                                Exterior: Silverstone Beige
VIN: KNDMG4C71E6556657                                                                  Interior: Beige

                                               · Driver And Front Passenger Armrests and
                                                                                                   CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                     Rear Seat Mounted Armrest

· 3.041 Axle Ratio
                                               · Manual Tilt Steering Column
                                               · Fixed 60-40 Split-Bench 3rd Row Seat Front,
                                               Manual Recline, Manual Fold Into Floor, 3
                                                                                                      17                                                                                         23
· GVWR: 5,853 lbs
· Front-Wheel Drive                            Manual and Adjustable Head Restraints                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 80-Amp/Hr 660CCA Maintenance-Free            · Front Cupholder
Battery w/Run Down Protection                  · Rear Cupholder
· 130 Amp Alternator
· Gas-Pressurized Shock Absorbers
                                               · Front Cigar Lighter
                                               · Ashtray                                         New
· Front And Rear Anti-Roll Bars                · Remote Releases -Inc: Power Fuel
· Hydraulic Power-Assist Speed-Sensing         · Cruise Control w/Steering Wheel Controls
                                                                                                 MSRP                                                                                           $25,900.00
Steering                                       · HVAC -inc: Underseat Ducts and
· 19.8 Gal. Fuel Tank                          Headliner/Pillar Ducts                            INSTALLED OPTIONS
· Single Stainless Steel Exhaust               · Illuminated Locking Glove Box                   Silverstone Beige                                                                              $0
· Strut Front Suspension w/Coil Springs        · Driver Foot Rest
· Multi-Link Rear Suspension w/Coil            · Full Cloth Headliner                            Beige, Moquette Cloth Seat Trim                                                                $0
Springs                                        · Cloth Door Trim Insert                          Original Shipping Charge                                                                       $895
· 4-Wheel Disc Brakes w/4-Wheel ABS,           · Urethane Gear Shift Knob
Front Vented Discs and Brake Assist            · Day-Night Rearview Mirror                       RETAIL PRICE (ORIGINALLY NEW)                                                                  $26,795.00
                                               · Driver And Passenger Visor Vanity Mirrors
EXTERIOR                                       w/Driver And Passenger Auxiliary Mirror
                                               · Mini Overhead Console w/Storage,
· Steel Spare Wheel                            Conversation Mirror, Attached To Seat
· Compact Spare Tire Stored Underbody          Console w/Storage and 3 12V DC Power              Get more information on your smartphone:
w/Crankdown                                    Outlets
· Clearcoat Paint                              · Front And Rear Map Lights
· Body-Colored Front Bumper                    · Fade-To-Off Interior Lighting
· Body-Colored Rear Step Bumper                · Full Carpet Floor Covering -inc: Carpet Front
· Body-Colored Bodyside Moldings               And Rear Floor Mats
· Black Side Windows Trim and Black Front      · Carpet Floor Trim
Windshield Trim                                · Cargo Space Lights
· Body-Colored Door Handles                    · Instrument Panel Covered Bin, Interior
· Body-Colored Power Side Mirrors              Concealed Storage, Driver And Passenger
w/Manual Folding and Turn Signal Indicator     Door Bins
· Fixed Rear Window w/Fixed Interval           · Delayed Accessory Power
Wiper and Defroster                            · Analog Display
· Deep Tinted Glass                            · Manual Anti-Whiplash Adjustable Front Head
· Variable Intermittent Wipers                 Restraints and Manual Adjustable Rear Head
· Front Windshield -inc: Electrically Heated   Restraints
Glass and Sun Visor Strip                      · 2 Seatback Storage Pockets
· Fully Galvanized Steel Panels                · Perimeter Alarm
· Black Grille w/Chrome Surround               · 3 12V DC Power Outlets
· Liftgate Rear Cargo Access                   · Air Filtration
· Roof Rack Rails Only
· Projector Beam Halogen Headlamps             SAFETY
· Front Fog Lamps
                                               · Side Impact Beams
ENTERTAINMENT                                  · Dual Stage Driver And Passenger Seat-
                                               Mounted Side Airbags
· Radio: AM/FM/CD/MP3/SiriusXM Audio           · Rear Parking Sensors
System -inc: 6 speakers and USB/auxiliary      · Low Tire Pressure Warning
input jacks                                    · Dual Stage Driver And Passenger Front
· Radio w/Seek-Scan, Clock and Steering        Airbags
Wheel Controls                                 · Curtain 1st, 2nd And 3rd Row Airbags
· Wireless Streaming                           · Airbag Occupancy Sensor
· Fixed Antenna                                · Rear Child Safety Locks
· Bluetooth Wireless Phone Connectivity        · Outboard Front Lap And Shoulder Safety
                                               Belts -inc: Height Adjusters and Pretensioners
INTERIOR

· 7-Passenger Seating -inc: 6-way drivers
seat w/lumbar support, 6-way adjustable
2nd-row captains chairs and 4-way
adjustable front passengers seat
· Removable Front Facing Rear Seat




                                                                                                     Mullinax Kissimmee
                                                                            MonroneyLabels.com
                                                                            Ex. 1 - Page 101
aa
MECHANICAL FEATURES
 FRONT MACPHERSON STRUTS

 aa
 ELECTRIC POWER STEERING

   aa
EXTERIOR FEATURES




CONVENIENCE FEATURES
                        f
2014LN41BCVT5-A02--D1416X




                         g
                         b
                        k7
                         edc
 REAR MULTI-LINK SUSPENSION
 ANTI-LOCK BRAKES W/ EBD

  aa
 REAR DRUM BRAKES
 FRONT STABILIZER BAR

   a
 ECO DRIVER INDICATOR LIGHT

                           5
 AUTO-OFF HALOGEN HEADLIGHTS

    aa
 CHROME ACCENT FRONT GRILLE
 SIDE SILL EXTENSIONS
                            2014 LANCER ES
                            4-DOOR SEDAN
                            COSMIC BLUE / BLACK

                            2.0L DOHC I4 MIVEC
                            CONTINUOUSLY VARIABLE TRANSMISSION
                            50-STATE EMISSIONS STANDARD




 COLOR KEYED SIDE-VIEW MIRRORS &

     aa
 DOOR HANDLES
 205/60 R16 ALL SEASON TIRES
 16" STEEL WHEELS W/ WHEEL COVERS

      aa
INTERIOR FEATURES
 AIR CONDITIONING W/ MICRON FILTER

       aa
 MULTI-INFORMATION DISPLAY
 HEIGHT ADJUSTABLE STEERING COLUMN

        aa
 FRONT MAP LIGHTS
 6-WAY ADJUSTABLE DRIVER SEAT

         aa
 CENTER CONSOLE W/ ARMREST
 DRIVER'S SEATBACK POCKET
 60/40 SPLIT FOLD DOWN REAR
  SEATBACK
          aa
 REAR HEATER FLOOR DUCTS
 FLOOR MATS


           a
 STEERING WHEEL MOUNTED CRUISE

           a
 CONTROL & AUDIO SWITCHES
 CD/MP3 AUDIO HEAD UNIT W/
 4 SPEAKERS
           aa
 RETRACTABLE ASSIST GRIPS

            aa
 DUAL FRONT CUP HOLDERS
 REAR CENTER ARMREST W/ CUP HOLDERS
 POWER DOOR LOCKS, WINDOWS,

             aa
 & SIDE-VIEW MIRRORS
 12 VOLT ACCESSORY OUTLET

              a
 REMOTE KEYLESS ENTRY SYSTEM
 PREWIRED FOR BLUETOOTH®
 (ADDITIONAL EQUIPMENT REQUIRED)

              aa
SAFETY & SECURITY FEATURES
 ADVANCED DUAL FRONT AIRBAGS

               aa
 FRONT SEAT MOUNTED SIDE AIRBAGS
 SIDE CURTAIN AIRBAGS

                aa
 DRIVER'S SIDE KNEE AIRBAG
 FRONT CRUMPLE ZONES

                 aa
 ADJUSTABLE REAR HEADRESTS
 LATCH SYSTEM FOR CHILD SEATS

                  aa
 TIRE PRESSURE MONITORING SYSTEM
 ENGINE IMMOBILIZER

                   aa
 ANTI-THEFT ALARM SYSTEM
 ACTIVE STABILITY CONTROL
 TRACTION CONTROL
                                                                  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 103 of 155 Page ID




                                                 Visit us at www.mitsubishicars.com
                                                                                      a
                                                                                                      #:2088


                                                                                      Optional Equipment
                                                                                      FULL TANK OF GAS
                                                                                      FUSE HANDSFREE LINK SYSTEM®
                                                                                       W/ USB PORT




                                                                                                             MSRP*: $18,095.00
                                                                                          Total Optional Equipment:    $405.00
                                                                                                           Subtotal: $18,500.00
                                                                                              Destination/Handling:     $810.00
                                                                                                       Total MSRP*: $19,310.00
                                                                                                                                        INCLUDED
                                                                                                                                             $405.00




                                                                                                         *MSRP (Manufacturer's Suggested Retail Price)




                                                                                                                                 Ex. 1 - Page 102
                                                                                                                                                            $1,800



                                                                                                                                                         POWERTRAIN

                                                                                                                                                         5 /60,000
                                                                                                                                                          YEAR
                                                                                                                                                                       Fuel Economy and Environment
                                                                                                                                                                    Fuel Economy




                                                                                                                                                                    29
                                                                                                                                                                    combined city/hwy


                                                                                                                                                                    3.4
                                                                                                                                                          Annual fuel




                                                                                                                                                         BUMPER-TO-BUMPER




                                                                                                                                                             Engine:
                                                                                                                                                             JAPAN
                                                                                                                                                                      Point:
                                                                                                                                                                                gallons per 100 miles




                                                                                                                                                                              MILE




                                                                                                                                                                      Country of Origin:




                                                                                                                                                                    MITSUBISHI
                                                                                                                                                          25053 6300 E. 87TH STREET
                                                                                                                                                                                            cost
                                                                                                                                                                                                          MPG




                                                                                                                                                         Calculate personalized estimates and compare vehicles



                                                                                                                                                           10-year
                                                                                                                                                                100,000-mile
                                                                                                                                                           LIMITED POWERTRAIN WARRANTY



                                                                                                                                                         10 /100,000
                                                                                                                                                             YEAR                    MILE
                                                                                                                                                                                            7 /100,000
                                                                                                                                                                                              YEAR
                                                                                                                                                                                                                  26
                                                                                                                                                                                                                  city




                                                                                                                                                                                            ANTI-CORROSION/PERFORATION

                                                                                                                                                                                            5 /UNLIMITED


                                                                                                                                                                    Parts Content Information
                                                                                                                                                                                              YEAR


                                                                                                                                                                                            ROADSIDE ASSISTANCE
                                                                                                                                                                     *See participating Retailer for Limited Warranty
                                                                                                                                                                     and Roadside Assistance terms and conditions.




                                                                                                                                                                  For vehicles in this carline:
                                                                                                                                                          U.S./Canadian
                                                                                                                                                          Parts Content:
                                                                                                                                                                1%
                                                                                                                                                                                Major Sources of
                                                                                                                                                                             Foreign Parts Content:
                                                                                                                                                                                   JAPAN 97%
                                                                                                                                                                       For this vehicle:
                                                                                                                                                            Final Assembly KURASHIKI, JAPAN


                                                                                                                                                                                     Transmission:




                                                                                                                                                                  KANSAS CITY, MO 64138
                                                                                                                                                                                        JAPAN
                                                                                                                                                         Note: Parts content does not include final assembly,
                                                                                                                                                               distribution, or other non-parts costs.


                                                                                                                                                         Ship To: (DBA) JEREMY FRANKLIN




                                                                                                                                                           Cumulative Accessory Weight is                        5.9 lbs
                                                                                                                                                                                                                               MILE
                                                                                                                                                                                                                                      34
                                                                                                                                                                                                                                        Compact Cars range from 14 to 105 MPG.
                                                                                                                                                                                                                                        The best vehicle rates 119 MPGe.




                                                                                                                                                                                                                                      highway




                                                                                                                                                                                                                          Fuel Economy & Greenhouse Gas Rating (tailpipe only)




                                                                                                                                                                                                                                          Crash



                                                                                                                                                                                                                                          Crash

                                                                                                                                                                                                                                          Rollover
                                                                                                                                                                                                                                                                               Location : D-C-003




                                                                                                                                                                                                                                                                            Passenger
                                                                                                                                                                                                                                          Based on the risk of injury in a frontal impact.
                                                                                                                                                                                                                                                                                            You

                                                                                                                                                                                                                                                                                            $2,500
                                                                                                                                                                                                                                                                                                      save
                                                                                                                                                                                                                                                                                                  in fuel costs
                                                                                                                                                                                                                                                                                                  over 5 years
                                                                                                                                                                                                                                                                                                  compared to the
                                                                                                                                                                                                                                                                                                  average new vehicle.

                                                                                                                                                                                                                                                                                                        Smog Rating (tailpipe only)




                                                                                                                                                                                                                          This vehicle emits 307 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                          distributing fuel also create emissions; learn more at fueleconomy.gov.
                                                                                                                                                         Actual results will vary for many reasons, including driving conditions and how you drive and maintain
                                                                                                                                                         your vehicle. The average new vehicle gets 23 MPG and costs $11,500 to fuel over 5 years. Cost estimates
                                                                                                                                                         are based on 15,000 miles per year at $3.50 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
                                                                                                                                                         emissions are a significant cause of climate change and smog.


                                                                                                                                                         fueleconomy.gov


                                                                                                                                                                                                                        MILE
                                                                                                                                                                                                                                             GOVERNMENT 5-STAR SAFETY RATINGS
                                                                                                                                                                                                                                          Overall Vehicle Score
                                                                                                                                                                                                                                          Based on the combined ratings of frontal, side and rollover.




                                                                                                                                                                                                                                                                                                            Smartphone
                                                                                                                                                                                                                                                                                                            QR Code™
                                                                                                                                                                                                                                          Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                          Frontal                           Driver


                                                                                                                                                                                                                                          Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                          Side                              Front seat
                                                                                                                                                                                                                                                                            Rear seat
                                                                                                                                                                                                                                          Based on the risk of injury in a side impact.


                                                                                                                                                                                                                                          Based on the risk of rollover in a single-vehicle crash.




                                                                                                                                                                                                                                          Star ratings range from 1 to 5 stars (




                                                                                                                                                                                                                               Sold To: (Same unless indicated)



                                                                                                                                                                                                                                      Method of Transport:
                                                                                                                                                                                                                                      Plant/Port of Entry:
                                                                                                                                                                                                                                                             RAIL
                                                                                                                                                                                                                                                             TACOMA, WA
                                                                                                                                                                                                                                                                                 VIN
                                                                                                                                                                                                                                                                                         ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                               ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                               ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                               ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                               ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                               ⋆⋆⋆
                                                                                                                                                                                                                                                                                                               ⋆⋆⋆⋆

                                                                                                                                                                                                                                                                                      ) with 5 being the highest.
                                                                                                                                                                                                                                             Source: National Highway Traffic Safety Administration (NHTSA).
                                                                                                                                                                                                                                                           www.safercar.gov or 1-888-327-4236



                                                                                                                                                                                                                                                                                 *JA32U2FU3EU022723*
                                                                                                                                                                                                                                                                                            : JA32U2FU3EU022723
                                                                                                                                                                                                                                                                                 Route Code : RKC
                                                                                                                                                         Gasoline, license and title fees, applicable federal, state and local taxes and dealer and distributor installed options and accessories are not included
                                                                                                                                                         in the manufacturer’s suggested retail price. This label has been applied to this vehicle pursuant to federal law and cannot be moved or altered prior
                                                                                                                                                         to delivery to the ultimate purchaser.


                                                                                                                                                          Cumulative Accessory Weight is                                                       5.9 lbs
aa
Mechanical Features
                       fg
                        b
                       k7
                        edc
                          5
    2015LN41BCVTC-A02--A3147X




 2.0L MIVEC DOHC 16-valve 4-cylinder

 aa
 Electric Power Steering




 High mount rear stop light
 Rear combination taillights

    a
 Side air dams
                                    2015 LANCER ES
                                    4-DOOR SEDAN
                                    APEX SILVER / BLACK

                                    2.0L DOHC I4 MIVEC
                                    CONTINUOUSLY VARIABLE TRANSMISSION
                                    CALIFORNIA EMISSIONS STANDARD




 MacPherson strut front suspension with stabilizer bar

  a
 Multi-link rear suspension
 Front Wheel Drive (FWD)


  aa
Exterior Features
 Auto-off halogen headlights

   aa
 Color-keyed power side-view mirrors with turn

    aa
 indicators
 Heated side-view mirrors

     aa
 Color-keyed outer door handles
 Front upper grille with chrome accents

      a
 Short pole antenna
 Front windshield variable intermittent wipers and

      aa
 washers
 Rear window defroster with timer

       aa
 16" steel wheel with full wheel covers
 P205/60R16 tires
 Space saver temporary spare tire


        aa
Interior Features
  Monochromatic multi-information display

         aa
  ECO Status indicator light (CVT/SST only)
  Front map lights

          aa
  Trunk light
  Deluxe fabric seating surfaces

           aa
  6-way adjustable driver's seat
  4-way adjustable front passenger seat

            aa
  Driver's seatback pocket
  60/40 split folding rear seat

             aa
  Rear seat adjustable head restraints
  Manual air-conditioning

              aa
  Micron air filtration
  Rear heater floor ducts

               aa
  Urethane-wrapped steering wheel with silver accent
  Adjustable tilt steering wheel

                aa
  Silver painted meter bezel
  Urethane shift knob

                 aa
  Dark silver painted I/P and front door accents
  Material-color inner door handle

                  aa
  Vinyl door trim inserts
  Carpeted floor mats
  Remote trunk and fuel lid release lever


                   a
Convenience Features
 140-watt AM/FM/CD/MP3 audio system with 4
 speakers
                   a
 Steering wheel mounted audio and cruise controls.



This vehicle is equipped with bumpers that can withstand
an impact of 2.5 miles per hour with no damage to the
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a




vehicle’s body and safety systems, although the bumper and
related components may sustain damage. The bumper system
on this vehicle conforms to the current federal bumper
standard of 2.5 miles per hour.
                                                                                     Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 104 of 155 Page ID




                                                         Convenience Features (cont'd)


                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                          Prewired for Bluetooth® (additional equipment
                                                          required)
                                                          Keyless entry with panic alarm feature
                                                          Power windows with driver's side auto down/up
                                                          Power door locks
                                                          12-volt accessory outlets
                                                          Floor center console box with armrest lid
                                                          Front cup holders
                                                          Door trim pocket with bottle holder
                                                          Rear center armrest with cup holders
                                                         Safety & Security


                                                         a
                                                          Anti-lock Braking System with Electronic Brakeforce
                                                          Distribution and brake assist
                                                          Active Stability Control
                                                          Traction Control Logic
                                                          Tire Pressure Monitoring System
                                                          Side curtain airbags
                                                          Front seat-mounted side airbags
                                                          Driver's side knee airbag
                                                          Advanced dual-stage front airbags with occupant seat
                                                          position sensors
                                                          Three-point seatbelts and head restraints for all
                                                          seating positions
                                                          Height-adjustable front shoulder belts with
                                                          pretensioner
                                                          LATCH child-restraint system
                                                          Child safety rear door locks
                                                          Anti-theft security alarm system
                                                          Anti-theft engine immobilizer
                                                          RISE body construction
                                                                                                                         #:2089


                                                                                                                 Optional Equipment




                                                                                                                                       MSRP*: $18,295.00
                                                                                                                    Total Optional Equipment:        $.00
                                                                                                                                     Subtotal: $18,295.00
                                                                                                                        Destination/Handling:     $810.00
                                                                                                                                 Total MSRP*: $19,105.00
                                                                                                                                  *MSRP (Manufacturer's Suggested Retail Price)

                                                                                                          Visit us at www.mitsubishicars.com


                                                                                                                                                          Ex. 1 - Page 103
                                                                                                                                                                                     $1,800
                                                                                                                                                                                             29
                                                                                                                                                                                             3.4
                                                                                                                                                                                   Annual fuel
                                                                                                                                                                                                Fuel Economy and Environment
                                                                                                                                                                                             Fuel Economy




                                                                                                                                                                                             combined city/hwy




                                                                                                                                                                                  fueleconomy.gov
                                                                                                                                                                                                         gallons per 100 miles




                                                                                                                                                                                    LIMITED POWERTRAIN WARRANTY



                                                                                                                                                                                  10 /100,000
                                                                                                                                                                                      YEAR


                                                                                                                                                                                  POWERTRAIN

                                                                                                                                                                                  5 /60,000
                                                                                                                                                                                   YEAR


                                                                                                                                                                                  BUMPER-TO-BUMPER




                                                                                                                                                                                   Parts Content:
                                                                                                                                                                                         1%




                                                                                                                                                                                      Engine:
                                                                                                                                                                                      JAPAN
                                                                                                                                                                                                       MILE
                                                                                                                                                                                                              MILE
                                                                                                                                                                                                                     cost




                                                                                                                                                                                                                     7 /100,000




                                                                                                                                                                                             Parts Content Information
                                                                                                                                                                                                                       YEAR
                                                                                                                                                                                                                                   MPG




                                                                                                                                                                                  Calculate personalized estimates and compare vehicles



                                                                                                                                                                                    10-year
                                                                                                                                                                                         100,000-mile
                                                                                                                                                                                                                                           26
                                                                                                                                                                                                                                           city




                                                                                                                                                                                                                     ANTI-CORROSION/PERFORATION

                                                                                                                                                                                                                     5 /UNLIMITED
                                                                                                                                                                                                                       YEAR


                                                                                                                                                                                                                     ROADSIDE ASSISTANCE
                                                                                                                                                                                              *See participating Retailer for Limited Warranty
                                                                                                                                                                                              and Roadside Assistance terms and conditions.




                                                                                                                                                                                           For vehicles in this carline:
                                                                                                                                                                                   U.S./Canadian         Major Sources of
                                                                                                                                                                                                      Foreign Parts Content:
                                                                                                                                                                                                            JAPAN 97%
                                                                                                                                                                                                For this vehicle:
                                                                                                                                                                                     Final Assembly KURASHIKI, JAPAN
                                                                                                                                                                                               Point:
                                                                                                                                                                                               Country of Origin:
                                                                                                                                                                                                              Transmission:




                                                                                                                                                                                  Ship To: AVIS RAC-LOS ANGELES
                                                                                                                                                                                           5740 ARBOR VITAE
                                                                                                                                                                                   05KLL LOS ANGELES, CA 90045
                                                                                                                                                                                                                 JAPAN
                                                                                                                                                                                  Note: Parts content does not include final assembly,
                                                                                                                                                                                        distribution, or other non-parts costs.




                                                                                                                                                                                    Cumulative Accessory Weight is                        5.5 lbs
                                                                                                                                                                                                                                                 MILE




                                                                                                                                                                                                                                                        MILE
                                                                                                                                                                                                                                                               34
                                                                                                                                                                                                                                                                 Compact Cars range from 14 to 116 MPG.
                                                                                                                                                                                                                                                                 The best vehicle rates 119 MPGe.




                                                                                                                                                                                                                                                               highway




                                                                                                                                                                                                                                                   Fuel Economy & Greenhouse Gas Rating (tailpipe only)
                                                                                                                                                                                                                                                                                                        Location :




                                                                                                                                                                                                                                                                                                                     You

                                                                                                                                                                                                                                                                                                                     $2,000




                                                                                                                                                                                                                                                                   Based on the combined ratings of frontal, side and rollover.
                                                                                                                                                                                                                                                                                                                               save
                                                                                                                                                                                                                                                                                                                           in fuel costs
                                                                                                                                                                                                                                                                                                                           over 5 years
                                                                                                                                                                                                                                                                                                                           compared to the
                                                                                                                                                                                                                                                                                                                           average new vehicle.

                                                                                                                                                                                                                                                                                                                                 Smog Rating (tailpipe only)




                                                                                                                                                                                                                                                   This vehicle emits 306 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                                   distributing fuel also create emissions; learn more at fueleconomy.gov.
                                                                                                                                                                                  Actual results will vary for many reasons, including driving conditions and how you drive and maintain
                                                                                                                                                                                  your vehicle. The average new vehicle gets 24 MPG and costs $11,000 to fuel over 5 years. Cost estimates
                                                                                                                                                                                  are based on 15,000 miles per year at $3.50 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
                                                                                                                                                                                  emissions are a significant cause of climate change and smog.




                                                                                                                                                                                                                                                                      GOVERNMENT 5-STAR SAFETY RATINGS
                                                                                                                                                                                                                                                                   Overall Vehicle Score




                                                                                                                                                                                                                                                                                                                                     Smartphone
                                                                                                                                                                                                                                                                                                                                     QR Code™
                                                                                                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                                                   Frontal
                                                                                                                                                                                                                                                                   Crash
                                                                                                                                                                                                                                                                                                     Driver
                                                                                                                                                                                                                                                                                                     Passenger
                                                                                                                                                                                                                                                                   Based on the risk of injury in a frontal impact.
                                                                                                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                                                   Side
                                                                                                                                                                                                                                                                   Crash
                                                                                                                                                                                                                                                                                                     Front seat
                                                                                                                                                                                                                                                                                                     Rear seat
                                                                                                                                                                                                                                                                   Based on the risk of injury in a side impact.
                                                                                                                                                                                                                                                                   Rollover
                                                                                                                                                                                                                                                                   Based on the risk of rollover in a single-vehicle crash.




                                                                                                                                                                                                                                                                   Star ratings range from 1 to 5 stars (




                                                                                                                                                                                                                                                        Sold To: (DBA) MOMENTUM MITSUBISHI
                                                                                                                                                                                                                                                        05448

                                                                                                                                                                                                                                                               Method of Transport:
                                                                                                                                                                                                                                                               Plant/Port of Entry:
                                                                                                                                                                                                                                                                                      TRUCK
                                                                                                                                                                                                                                                                                      HUENEME, CA
                                                                                                                                                                                                                                                                                                                  ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆

                                                                                                                                                                                                                                                                                                               ) with 5 being the highest.
                                                                                                                                                                                                                                                                      Source: National Highway Traffic Safety Administration (NHTSA).
                                                                                                                                                                                                                                                                                    www.safercar.gov or 1-888-327-4236



                                                                                                                                                                                                                                                                                                          *JA32U2FU4FU009481*
                                                                                                                                                                                                                                                                                                          VIN        : JA32U2FU4FU009481
                                                                                                                                                                                                                                                                                                          Route Code : TMP
                                                                                                                                                                                  Gasoline, license and title fees, applicable federal, state and local taxes and dealer and distributor installed options and accessories are not included
                                                                                                                                                                                  in the manufacturer’s suggested retail price. This label has been applied to this vehicle pursuant to federal law and cannot be moved or altered prior
                                                                                                                                                                                  to delivery to the ultimate purchaser.


                                                                                                                                                                                   Cumulative Accessory Weight is                                                       5.5 lbs
aa
Mechanical Features




Exterior Features




Interior Features
                         fg
                          b
                         k7
                          edc
 Auto-off halogen headlights

   aa
 Fog lights
 LED running lights

    aa
 High mount rear stop light
 Rear combination taillights

     a
 Side air dams
                            5
     2016LN41ACVTF-A02--P2644L




 2.0L MIVEC DOHC 16-valve 4-cylinder

 aa
 Electric Power Steering
                                    2016 LANCER 2.0 ES
                                    4-DOOR SEDAN
                                    RALLY RED / BLACK

                                    2.0L DOHC I4 MIVEC
                                    CONTINUOUSLY VARIABLE TRANSMISSION
                                    FEDERAL EMISSIONS STANDARD




 MacPherson strut front suspension with stabilizer bar

  a
 Multi-link rear suspension
 Front Wheel Drive (FWD)


  aa

 Color-keyed power side-view mirrors with turn

     aa
 indicators
 Heated side-view mirrors

      aa
 Color-keyed outer door handles
 Short pole antenna
 Front windshield variable intermittent wipers and

       aa
 washers
 Rear window defroster with timer

        aa
 16-inch alloy wheels
 P205/60R16 tires
 Space saver temporary spare tire


         aa
  Color LCD multi-information display

          aa
  High-contrast speedometer/ tachometer gauge cluster
  Front map lights

           aa
  Trunk light
  Fabric seating surfaces

            aa
  6-way adjustable driver's seat
  4-way adjustable front passenger seat

             aa
  Driver's seatback pocket
  60/40 split folding rear seat

              aa
  Rear seat adjustable head restraints
  Automatic climate control

               aa
  Micron air filtration
  Rear heater floor ducts

                aa
  Adjustable tilt steering wheel
  Silver painted meter bezel

                 aa
  Gloss black I/P and front door accents
  Soft-touch front upper door trim




 speakers
                  a
  Chrome-plated inside door handle
  Carpeted floor mats


                  a
Convenience Features
 140-watt AM/FM/CD/MP3 audio system with 4

                  a
 FUSE Hands-free Link System® with Bluetooth®

                  a
 technology, and USB port
 Steering wheel mounted audio, cruise control, and

                  aa
 Bluetooth® hands-free system controls
 Keyless entry with panic alarm feature

 Power door locks  aa
 Power windows with driver's side auto up/down


                    aa
 12-volt accessory outlets
 Floor center console box with armrest lid
 Front lower console accessory box
                                                         a

                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                                                     Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 105 of 155 Page ID




                                                         Convenience Features (cont'd)

                                                         a
                                                         a
                                                         a
                                                          Front cup holders
                                                          Door trim pocket with bottle holder
                                                          Rear center armrest with cup holders
                                                         Safety & Security


                                                         a
                                                          Anti-lock Braking System with Electronic Brakeforce
                                                          Distribution and brake assist
                                                          Active Stability Control
                                                          Traction Control Logic
                                                          Tire Pressure Monitoring System
                                                          Side curtain airbags
                                                          Front seat-mounted side airbags
                                                          Driver's side knee airbag
                                                          Advanced dual-stage front airbags with occupant seat
                                                          position sensors
                                                          Three-point seatbelts and head restraints for all
                                                          seating positions
                                                          Height-adjustable front shoulder belts with
                                                          pretensioner
                                                          LATCH child-restraint system
                                                          Child safety rear door locks
                                                          Anti-theft security alarm system
                                                          Anti-theft engine immobilizer
                                                          RISE body construction




                                                            Visit us at www.mitsubishicars.com
                                                                                                                         #:2090


                                                                                                                 Optional Equipment
                                                                                                                 FULL TANK OF GAS

                                                                                                                 ACCY REAR LIP SPOILER

                                                                                                                 ACCY WHEEL LOCKS

                                                                                                                 ACCY LED FOG LIGHTS




                                                                                                                                       MSRP*: $18,595.00
                                                                                                                    Total Optional Equipment:    $665.00
                                                                                                                                     Subtotal: $19,260.00
                                                                                                                        Destination/Handling:     $835.00
                                                                                                                                 Total MSRP*: $20,095.00
                                                                                                                                                                   INCLUDED

                                                                                                                                                                        $290.00

                                                                                                                                                                         $55.00

                                                                                                                                                                        $320.00




                                                                                                                                    *MSRP (Manufacturer's Suggested Retail Price)




                                                                                                                                                            Ex. 1 - Page 104
                                                                                                                                                                                       $1,500
                                                                                                                                                                                                  Fuel Economy and Environment
                                                                                                                                                                                               Fuel Economy




                                                                                                                                                                                               30
                                                                                                                                                                                               combined city/hwy


                                                                                                                                                                                               3.3
                                                                                                                                                                                     Annual fuel




                                                                                                                                                                                           100,000-mile
                                                                                                                                                                                                           gallons per 100 miles




                                                                                                                                                                                      LIMITED POWERTRAIN WARRANTY



                                                                                                                                                                                    10 /100,000
                                                                                                                                                                                        YEAR


                                                                                                                                                                                    POWERTRAIN

                                                                                                                                                                                    5 /60,000
                                                                                                                                                                                     YEAR


                                                                                                                                                                                    BUMPER-TO-BUMPER




                                                                                                                                                                                           1%




                                                                                                                                                                                        Engine:
                                                                                                                                                                                        JAPAN
                                                                                                                                                                                                         MILE
                                                                                                                                                                                                                MILE




                                                                                                                                                                                                              JAPAN 97%
                                                                                                                                                                                                  For this vehicle:
                                                                                                                                                                                       Final Assembly KURASHIKI, JAPAN
                                                                                                                                                                                                 Point:
                                                                                                                                                                                                 Country of Origin:
                                                                                                                                                                                                                       cost




                                                                                                                                                                                                                       7 /100,000
                                                                                                                                                                                                                         YEAR
                                                                                                                                                                                                                                     MPG

                                                                                                                                                                                                                                             27
                                                                                                                                                                                                                                             city




                                                                                                                                                                                                                       ANTI-CORROSION/PERFORATION

                                                                                                                                                                                                                       5 /UNLIMITED
                                                                                                                                                                                                                         YEAR


                                                                                                                                                                                                                       ROADSIDE ASSISTANCE
                                                                                                                                                                                                *See participating Retailer for Limited Warranty
                                                                                                                                                                                                and Roadside Assistance terms and conditions.



                                                                                                                                                                                               Parts Content Information
                                                                                                                                                                                             For vehicles in this carline:
                                                                                                                                                                                     U.S./Canadian
                                                                                                                                                                                     Parts Content:
                                                                                                                                                                                                           Major Sources of
                                                                                                                                                                                                        Foreign Parts Content:




                                                                                                                                                                                                                Transmission:
                                                                                                                                                                                                                   JAPAN
                                                                                                                                                                                    Note: Parts content does not include final assembly,
                                                                                                                                                                                          distribution, or other non-parts costs.


                                                                                                                                                                                    Ship To: (DBA) UNIVERSITY MITSUBISHI-FL
                                                                                                                                                                                             5395 S. UNIVERSITY DRIVE
                                                                                                                                                                                     10336 DAVIE, FL 33328


                                                                                                                                                                                      Cumulative Accessory Weight is                       12.4 lbs
                                                                                                                                                                                                                                                   MILE




                                                                                                                                                                                                                                                          MILE
                                                                                                                                                                                                                                                                 35
                                                                                                                                                                                                                                                                   Compact Cars range from 14 to 116 MPG.
                                                                                                                                                                                                                                                                   The best vehicle rates 119 MPGe.




                                                                                                                                                                                                                                                                 highway




                                                                                                                                                                                                                                                     Fuel Economy & Greenhouse Gas Rating (tailpipe only)




                                                                                                                                                                                                                                                                     Overall Vehicle Score
                                                                                                                                                                                                                                                                                                          Location : L2L33




                                                                                                                                                                                                                                                                                                                       You

                                                                                                                                                                                                                                                                                                                       $1,500




                                                                                                                                                                                                                                                                     Based on the combined ratings of frontal, side and rollover.
                                                                                                                                                                                                                                                                                                                                 save
                                                                                                                                                                                                                                                                                                                             in fuel costs
                                                                                                                                                                                                                                                                                                                             over 5 years
                                                                                                                                                                                                                                                                                                                             compared to the
                                                                                                                                                                                                                                                                                                                             average new vehicle.

                                                                                                                                                                                                                                                                                                                                   Smog Rating (tailpipe only)




                                                                                                                                                                                                                                                     This vehicle emits 293 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                                     distributing fuel also create emissions; learn more at fueleconomy.gov.
                                                                                                                                                                                    Actual results will vary for many reasons, including driving conditions and how you drive and maintain
                                                                                                                                                                                    your vehicle. The average new vehicle gets 25 MPG and costs $9,000 to fuel over 5 years. Cost estimates
                                                                                                                                                                                    are based on 15,000 miles per year at $3.00 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
                                                                                                                                                                                    emissions are a significant cause of climate change and smog.


                                                                                                                                                                                    fueleconomy.gov
                                                                                                                                                                                    Calculate personalized estimates and compare vehicles



                                                                                                                                                                                      10-year                                                                           GOVERNMENT 5-STAR SAFETY RATINGS




                                                                                                                                                                                                                                                                                                                                       Smartphone
                                                                                                                                                                                                                                                                                                                                       QR Code™
                                                                                                                                                                                                                                                                     Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                                                     Frontal
                                                                                                                                                                                                                                                                     Crash
                                                                                                                                                                                                                                                                                                       Driver
                                                                                                                                                                                                                                                                                                       Passenger
                                                                                                                                                                                                                                                                     Based on the risk of injury in a frontal impact.
                                                                                                                                                                                                                                                                     Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                                                     Side
                                                                                                                                                                                                                                                                     Crash

                                                                                                                                                                                                                                                                     Rollover
                                                                                                                                                                                                                                                                                                       Front seat
                                                                                                                                                                                                                                                                                                       Rear seat
                                                                                                                                                                                                                                                                     Based on the risk of injury in a side impact.


                                                                                                                                                                                                                                                                     Based on the risk of rollover in a single-vehicle crash.




                                                                                                                                                                                                                                                                     Star ratings range from 1 to 5 stars (




                                                                                                                                                                                                                                                          Sold To: (Same unless indicated)



                                                                                                                                                                                                                                                                 Method of Transport:
                                                                                                                                                                                                                                                                 Plant/Port of Entry:
                                                                                                                                                                                                                                                                                        TRUCK          VIN
                                                                                                                                                                                                                                                                                        JACKSONVILLE,FLRoute
                                                                                                                                                                                                                                                                                                                    ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                          ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                          ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                          ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                          ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                          ⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                          ⋆⋆⋆⋆

                                                                                                                                                                                                                                                                                                                 ) with 5 being the highest.
                                                                                                                                                                                                                                                                        Source: National Highway Traffic Safety Administration (NHTSA).
                                                                                                                                                                                                                                                                                      www.safercar.gov or 1-888-327-4236



                                                                                                                                                                                                                                                                                                            *JA32U2FU5GU009863*
                                                                                                                                                                                                                                                                                                                           : JA32U2FU5GU009863
                                                                                                                                                                                                                                                                                                                      Code : THT
                                                                                                                                                                                    Gasoline, license and title fees, applicable federal, state and local taxes and dealer and distributor installed options and accessories are not included
                                                                                                                                                                                    in the manufacturer’s suggested retail price. This label has been applied to this vehicle pursuant to federal law and cannot be moved or altered prior
                                                                                                                                                                                    to delivery to the ultimate purchaser.


                                                                                                                                                                                     Cumulative Accessory Weight is                                                      12.4 lbs
aa
Mechanical Features




 Fog lights
 LED running lights

    aa
 High mount rear stop light




Interior Features
                           f
 Rear combination taillights

     a
 Side air dams
                            g
                            b
                           k7
                            edc
     2017LN41ACVT5-A01--U1772X




                              5
 2.0L MIVEC DOHC 16-valve 4-cylinder

 aa
 Electric Power Steering
                                    2017 LANCER 2.0 ES
                                    4-DOOR SEDAN
                                    MERCURY GRAY / BLACK

                                    2.0L DOHC I4 MIVEC
                                    CONTINUOUSLY VARIABLE TRANSMISSION
                                    50-STATE EMISSIONS STANDARD




 MacPherson strut front suspension with stabilizer bar

  a
 Multi-link rear suspension
 Front Wheel Drive (FWD)


  aa
Exterior Features
 Auto-off halogen headlights

   aa
 Color-keyed power side-view mirrors with turn

     aa
 indicators
 Heated side-view mirrors

      aa
 Color-keyed outer door handles
 Short pole antenna
 Front windshield variable intermittent wipers and

       aa
 washers
 Rear window defroster with timer

        aa
 16-inch two-tone alloy wheels
 P205/60R16 tires
 Space saver temporary spare tire


         aa
  Color LCD multi-information display

          aa
  High-contrast speedometer/ tachometer gauge cluster
  Key cylinder illumination

           aa
  Front map lights
  Trunk light

            aa
  Fabric seating surfaces
  6-way adjustable driver's seat

             aa
  4-way adjustable front passenger seat
  Driver's seatback pocket

              aa
  60/40 split folding rear seat
  Rear seat adjustable head restraints

               aa
  Automatic climate control
  Micron air filtration

                aa
  Rear heater floor ducts
  Adjustable tilt steering wheel

                 aa
  Silver painted meter bezel
  Gloss black I/P and front door accents

                  aa
  Soft-touch front upper door trim
  Chrome-plated inside door handle
  Carpeted floor mats


                   aa
Convenience Features
 6.1" Touch panel display audio system

                    a
 4 speaker audio system
 FUSE Hands-free Link System® with Bluetooth®

                    aa
 technology, and USB port
 Rear-view camera system
 Steering wheel mounted audio, cruise control, and

                     aa
 Bluetooth® hands-free system controls
 Keyless entry with panic alarm feature

                      aa
 Power windows with driver's auto up/down
 Power door locks
 12-volt accessory outlets
                                                         a
                                                         Convenience Features (cont'd)

                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         a
                                                         aRISE body construction
                                                                                      Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 106 of 155 Page ID




                                                          Floor center console box with armrest lid
                                                          Front lower console accessory box
                                                          Front cup holders
                                                          Door trim pocket with bottle holder
                                                          Rear center armrest with cup holders
                                                         Safety & Security
                                                          Anti-lock Braking System with Electronic Brakeforce
                                                          Distribution and brake assist
                                                          Active Stability Control
                                                          Traction Control Logic
                                                          Tire Pressure Monitoring System
                                                          Side curtain airbags
                                                          Front seat-mounted side airbags
                                                          Driver's side knee airbag
                                                          Advanced dual-stage front airbags with occupant seat
                                                          position sensors
                                                          Three-point seatbelts and head restraints for all
                                                          seating positions
                                                          Height-adjustable front shoulder belts with
                                                          pretensioner
                                                          LATCH child-restraint system
                                                          Child safety rear door locks
                                                          Anti-theft security alarm system
                                                          Anti-theft engine immobilizer




                                                            Visit us at www.mitsubishicars.com
                                                                                                                          #:2091


                                                                                                                 Optional Equipment




                                                                                                                                       MSRP*: $18,795.00
                                                                                                                    Total Optional Equipment:        $.00
                                                                                                                                     Subtotal: $18,795.00
                                                                                                                        Destination/Handling:     $835.00
                                                                                                                                 Total MSRP*: $19,630.00
                                                                                                                                  *MSRP (Manufacturer's Suggested Retail Price)




                                                                                                                                                          Ex. 1 - Page 105
                                                                                                                                                                                     $1,200
                                                                                                                                                                                             30
                                                                                                                                                                                             3.3
                                                                                                                                                                                   Annual fuel
                                                                                                                                                                                                Fuel Economy and Environment
                                                                                                                                                                                             Fuel Economy




                                                                                                                                                                                             combined city/hwy


                                                                                                                                                                                                     gallons per 100 miles




                                                                                                                                                                                    LIMITED POWERTRAIN WARRANTY



                                                                                                                                                                                  10 /100,000
                                                                                                                                                                                      YEAR


                                                                                                                                                                                  POWERTRAIN

                                                                                                                                                                                  5 /60,000
                                                                                                                                                                                   YEAR


                                                                                                                                                                                  BUMPER-TO-BUMPER




                                                                                                                                                                                         1%

                                                                                                                                                                                  Final Assembly
                                                                                                                                                                                   Point:
                                                                                                                                                                                  Country     Engine:
                                                                                                                                                                                                       MILE
                                                                                                                                                                                                              MILE




                                                                                                                                                                                                            JAPAN 95%
                                                                                                                                                                                               For this vehicle:
                                                                                                                                                                                                                     7 /100,000




                                                                                                                                                                                                      KURASHIKI, JAPAN




                                                                                                                                                                                  Ship To: BUDGET RAC - HEBRON
                                                                                                                                                                                           3256 LOOMIS ROAD
                                                                                                                                                                                   18KBJ HEBRON, KY 41018
                                                                                                                                                                                                               JAPAN
                                                                                                                                                                                   of Origin: Transmission: JAPAN
                                                                                                                                                                                                                       YEAR
                                                                                                                                                                                                                                   MPG

                                                                                                                                                                                                                                           27
                                                                                                                                                                                                                                           city




                                                                                                                                                                                  emissions are a significant cause of climate change and smog.


                                                                                                                                                                                  fueleconomy.gov
                                                                                                                                                                                  Calculate personalized estimates and compare vehicles



                                                                                                                                                                                    10-year
                                                                                                                                                                                         100,000-mile


                                                                                                                                                                                                                     ANTI-CORROSION/PERFORATION

                                                                                                                                                                                                                     5 /UNLIMITED
                                                                                                                                                                                                                       YEAR


                                                                                                                                                                                                                     ROADSIDE ASSISTANCE
                                                                                                                                                                                              *See participating Retailer for Limited Warranty
                                                                                                                                                                                              and Roadside Assistance terms and conditions.



                                                                                                                                                                                             Parts Content Information
                                                                                                                                                                                           For vehicles in this carline:
                                                                                                                                                                                   U.S./Canadian
                                                                                                                                                                                   Parts Content:
                                                                                                                                                                                                         Major Sources of
                                                                                                                                                                                                      Foreign Parts Content:




                                                                                                                                                                                  Note: Parts content does not include final assembly,
                                                                                                                                                                                        distribution, or other non-parts costs.




                                                                                                                                                                                    Cumulative Accessory Weight is                        5.5 lbs
                                                                                                                                                                                                                                                 MILE




                                                                                                                                                                                                                                                        MILE
                                                                                                                                                                                                                                                               34

                                                                                                                                                                                             These estimates reflect new EPA methods beginning with 2017 models.


                                                                                                                                                                                                                     cost
                                                                                                                                                                                                                                                                 Compact Cars range from 14 to 107 MPG.
                                                                                                                                                                                                                                                                 The best vehicle rates 119 MPGe.




                                                                                                                                                                                                                                                               highway




                                                                                                                                                                                                                                                   Fuel Economy & Greenhouse Gas Rating (tailpipe only)
                                                                                                                                                                                                                                                                                                        Location : E304




                                                                                                                                                                                                                                                                                                                     You

                                                                                                                                                                                                                                                                                                                     $1,000




                                                                                                                                                                                                                                                                   Based on the combined ratings of frontal, side and rollover.
                                                                                                                                                                                                                                                                                                                               save
                                                                                                                                                                                                                                                                                                                           in fuel costs
                                                                                                                                                                                                                                                                                                                           over 5 years
                                                                                                                                                                                                                                                                                                                           compared to the
                                                                                                                                                                                                                                                                                                                           average new vehicle.

                                                                                                                                                                                                                                                                                                                                 Smog Rating (tailpipe only)




                                                                                                                                                                                                                                                   This vehicle emits 295 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                                                   distributing fuel also create emissions; learn more at fueleconomy.gov.
                                                                                                                                                                                  Actual results will vary for many reasons, including driving conditions and how you drive and maintain
                                                                                                                                                                                  your vehicle. The average new vehicle gets 26 MPG and costs $7,000 to fuel over 5 years. Cost estimates
                                                                                                                                                                                  are based on 15,000 miles per year at $2.45 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle




                                                                                                                                                                                                                                                                      GOVERNMENT 5-STAR SAFETY RATINGS
                                                                                                                                                                                                                                                                   Overall Vehicle Score




                                                                                                                                                                                                                                                                                                                                     Smartphone
                                                                                                                                                                                                                                                                                                                                     QR Code™
                                                                                                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                                                   Frontal
                                                                                                                                                                                                                                                                   Crash
                                                                                                                                                                                                                                                                                                     Driver
                                                                                                                                                                                                                                                                                                     Passenger
                                                                                                                                                                                                                                                                   Based on the risk of injury in a frontal impact.
                                                                                                                                                                                                                                                                   Should ONLY be compared to other vehicles of similar size and weight.
                                                                                                                                                                                                                                                                   Side
                                                                                                                                                                                                                                                                   Crash

                                                                                                                                                                                                                                                                   Rollover
                                                                                                                                                                                                                                                                                                     Front seat
                                                                                                                                                                                                                                                                                                     Rear seat
                                                                                                                                                                                                                                                                   Based on the risk of injury in a side impact.


                                                                                                                                                                                                                                                                   Based on the risk of rollover in a single-vehicle crash.




                                                                                                                                                                                                                                                                   Star ratings range from 1 to 5 stars (




                                                                                                                                                                                                                                                        Sold To: (DBA) MOMENTUM MITSUBISHI
                                                                                                                                                                                                                                                        05448

                                                                                                                                                                                                                                                               Method of Transport:
                                                                                                                                                                                                                                                               Plant/Port of Entry:
                                                                                                                                                                                                                                                                                      TRUCK          VIN
                                                                                                                                                                                                                                                                                      JACKSONVILLE,FLRoute
                                                                                                                                                                                                                                                                                                                  ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆
                                                                                                                                                                                                                                                                                                                                        ⋆⋆⋆⋆

                                                                                                                                                                                                                                                                                                               ) with 5 being the highest.
                                                                                                                                                                                                                                                                      Source: National Highway Traffic Safety Administration (NHTSA).
                                                                                                                                                                                                                                                                                    www.safercar.gov or 1-888-327-4236



                                                                                                                                                                                                                                                                                                          *JA32U2FU4HU005420*
                                                                                                                                                                                                                                                                                                                         : JA32U2FU4HU005420
                                                                                                                                                                                                                                                                                                                    Code : THT
                                                                                                                                                                                  Gasoline, license and title fees, applicable federal, state and local taxes and dealer and distributor installed options and accessories are not included
                                                                                                                                                                                  in the manufacturer’s suggested retail price. This label has been applied to this vehicle pursuant to federal law and cannot be moved or altered prior
                                                                                                                                                                                  to delivery to the ultimate purchaser.


                                                                                                                                                                                   Cumulative Accessory Weight is                                                       5.5 lbs
aa
MECHANICAL FEATURES




 FOG LIGHTS
 FLARED FENDERS

        aa
                       f
 LARGE REAR WING SPOILER
 ALUMINUM ROOF PANEL

         a
                        g
                        b
                       k4
                        e
                        d
                        c
                        k
                        5
2014LE41B5MT5-A10--U0284L




 TWIN SCROLL TURBOCHARGER
 FRONT MOUNTED INTERCOOLER
                           2014 LANCER EVOLUTION GSR
                           4-DOOR SEDAN
                           PHANTOM BLACK / RECARO BLACK FABRIC

                           2.0L DOHC I4 MIVEC TURBO
                           5-SPEED O/D MANUAL TRANSMISSION
                           50-STATE EMISSIONS STANDARD



 SUPER ALL WHEEL CONTROL (S-AWC)

 aa
 BREMBO® VENTILATED DISC BRAKES W/

  aa
  SPORT ABS + EBD
 REAR AIR DIFFUSER

   aa
 REAR MOUNTED BATTERY
 INVERTED FRONT SHOCK ABSORBERS

    aa
 FRONT STRUT TOWER BAR
 FRONT & REAR STABILIZER BARS
 FRONT HELICAL LIMITED SLIP

     aa
  DIFFERENTIAL
 ACTIVE CENTER DIFFERENTIAL
 ACTIVE YAW CONTROL REAR
  DIFFERENTIAL

      aa
EXTERIOR FEATURES
 AUTO-OFF HALOGEN HEADLIGHTS

       aa
 ALUMINUM FRONT FENDERS W/ VENTS
 ALUMINUM HOOD W/ HEAT EXTRACTOR
  VENTS
         aa
 245/40 R18 YOKOHAMA ADVAN® TIRES
 18" ALLOY WHEELS


          aa
INTERIOR FEATURES
 AUTO A/C W/ MICRON FILTER
 LEATHER WRAPPED STEERING WHEEL

           aa
  AND SHIFT KNOB
 HIGH CONTRAST SPORT METER GAUGES

            aa
 COLOR MULTI-INFORMATION DISPLAY
 FRONT MAP LIGHTS

             aa
 RECARO® FRONT SPORT SEATS
 CENTER CONSOLE W/ ARMREST STORAGE
 FLOOR MATS

              a
CONVENIENCE FEATURES
 STEERING WHEEL MOUNTED CRUISE

              aa
  CONTROL & AUDIO SWITCHES
 6.1" TOUCH SCREEN DISPLAY AUDIO
 CD/MP3 AUDIO HEAD UNIT W/
  6 SPEAKERS
               a
 FUSE HANDSFREE LINK SYSTEM® W/
  USB PORT
               a
 SIRIUSXM® SATELLITE RADIO W/

               aa
  3 MONTH SUBSCRIPTION
 DIGITAL HD RADIO®

                aa
 DUAL FRONT CUP HOLDERS
 DUAL VISOR VANITY MIRRORS
 POWER DOOR LOCKS, WINDOWS,

                 aa
  & SIDE-VIEW MIRRORS
 12 VOLT ACCESSORY OUTLET
 REMOTE KEYLESS ENTRY SYSTEM

                  aa
SAFETY & SECURITY FEATURES
 ADVANCED DUAL FRONT AIRBAGS

                   a
 FRONT SEAT MOUNTED SIDE AIRBAGS
 SIDE CURTAIN AIRBAGS
                                             a
                                             a
                                             a
                                             a
                                             a
                                             a
                                                                    Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 107 of 155 Page ID




                                             SAFETY & SECURITY FEATURES (cont'd)

                                             aDRIVER'S SIDE KNEE AIRBAG
                                              ADJUSTABLE REAR HEADRESTS
                                              LATCH SYSTEM FOR CHILD SEATS
                                              TIRE PRESSURE MONITORING SYSTEM
                                              ENGINE IMMOBILIZER
                                              ACTIVE STABILITY CONTROL
                                              TRACTION CONTROL




                                                 Visit us at www.mitsubishicars.com
                                                                                      Optional Equipment
                                                                                      FULL TANK OF GAS




                                                                                      a
                                                                                      a
                                                                                      a
                                                                                      a
                                                                                      a
                                                                                      a
                                                                                      a
                                                                                       HID HEADLIGHTS
                                                                                                        #:2092




                                                                                      PREMIUM PAINT CHARGE

                                                                                      a
                                                                                      SIGHT & SOUND PACKAGE

                                                                                      a

                                                                                       FRONT, SIDE, AND REAR AIRDAMS
                                                                                       BRAKE AIR GUIDES
                                                                                       REAR SPOILER EXTENSION
                                                                                      ACCY RALLIART WHEEL LOCKS
                                                                                       W/ FLUTED LUGNUTS
                                                                                      INTERIOR PACKAGE (GSR)
                                                                                       ALUMINUM 5MT SHIFT KNOB
                                                                                       ALUMINUM / LEATHER BRAKE GRIP
                                                                                                                        $2,000.00

                                                                                       710-WATT ROCKFORD FOSGATE® PREMIUM
                                                                                        SOUND SYSTEM W/ 9 SPEAKERS INC
                                                                                        10IN SUBWOOFER W/ PUNCH CONTROL®,
                                                                                        DTS® NEURAL SURROUND,PREMIDIA-
                                                                                        WIDE SURROUND, AND DOLBY® VOLUME
                                                                                       FAST KEY ENTRY SYSTEM
                                                                                      EXTERIOR PACKAGE




                                                                                                             MSRP*: $34,995.00
                                                                                          Total Optional Equipment: $4,320.00
                                                                                                           Subtotal: $39,315.00
                                                                                              Destination/Handling:     $810.00
                                                                                                       Total MSRP*: $40,125.00
                                                                                                                                        INCLUDED
                                                                                                                                             $250.00




                                                                                                                                           $1,500.00




                                                                                                                                             $145.00

                                                                                                                                             $425.00




                                                                                                         *MSRP (Manufacturer's Suggested Retail Price)




                                                                                                                                  Ex. 1 - Page 106
                                                                                                                                                          Annual fuel


                                                                                                                                                            $2,950
                                                                                                                                                                      Fuel Economy and Environment
                                                                                                                                                                 Fuel Economy




                                                                                                                                                                 19
                                                                                                                                                                 combined city/hwy


                                                                                                                                                                 5.3          gallons per 100 miles




                                                                                                                                                                                      cost
                                                                                                                                                                                                        MPG




                                                                                                                                                         Calculate personalized estimates and compare vehicles



                                                                                                                                                                 5-year




                                                                                                                                                         3 /36,000
                                                                                                                                                          YEAR




                                                                                                                                                                0%




                                                                                                                                                             Engine:
                                                                                                                                                             JAPAN
                                                                                                                                                                      60,000-mile
                                                                                                                                                           LIMITED POWERTRAIN WARRANTY



                                                                                                                                                         5 /60,000
                                                                                                                                                          YEAR


                                                                                                                                                         POWERTRAIN


                                                                                                                                                         BUMPER-TO-BUMPER




                                                                                                                                                                      Point:
                                                                                                                                                                            MILE




                                                                                                                                                                            MILE
                                                                                                                                                                                         7 /100,000




                                                                                                                                                                                   JAPAN 96%
                                                                                                                                                                       For this vehicle:
                                                                                                                                                            Final Assembly KURASHIKI, JAPAN

                                                                                                                                                                      Country of Origin:
                                                                                                                                                                                            YEAR
                                                                                                                                                                                                                17
                                                                                                                                                                                                                city




                                                                                                                                                                                         ANTI-CORROSION/PERFORATION

                                                                                                                                                                                         5 /UNLIMITED
                                                                                                                                                                                            YEAR


                                                                                                                                                                                         ROADSIDE ASSISTANCE
                                                                                                                                                                   *See participating Retailer for Limited Warranty
                                                                                                                                                                   and Roadside Assistance terms and conditions.



                                                                                                                                                                 Parts Content Information
                                                                                                                                                                  For vehicles in this carline:
                                                                                                                                                          U.S./Canadian
                                                                                                                                                          Parts Content:
                                                                                                                                                                                Major Sources of
                                                                                                                                                                             Foreign Parts Content:




                                                                                                                                                                                     Transmission:




                                                                                                                                                         Ship To: (DBA) D & E MITSUBISHI
                                                                                                                                                                  6220 MARKET STREET
                                                                                                                                                          28088 WILMINGTON, NC 28405
                                                                                                                                                                                        JAPAN
                                                                                                                                                         Note: Parts content does not include final assembly,
                                                                                                                                                               distribution, or other non-parts costs.




                                                                                                                                                           Cumulative Accessory Weight is                     40.0 lbs
                                                                                                                                                                                                                      MILE




                                                                                                                                                                                                                             MILE
                                                                                                                                                                                                                                    23
                                                                                                                                                                                                                                      Compact Cars range from 14 to 105 MPG.
                                                                                                                                                                                                                                      The best vehicle rates 119 MPGe.




                                                                                                                                                                                                                                    highway




                                                                                                                                                                                                                        Fuel Economy & Greenhouse Gas Rating (tailpipe only)




                                                                                                                                                                                                                             Sold To: (Same unless indicated)



                                                                                                                                                                                                                                    Method of Transport:
                                                                                                                                                                                                                                    Plant/Port of Entry:
                                                                                                                                                                                                                                                           TRUCK
                                                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                           GOVERNMENT 5-STAR SAFETY RATINGS
                                                                                                                                                                                                                                                                             Location : EP57




                                                                                                                                                                                                                                                                                          You

                                                                                                                                                                                                                                                                                          $3,250
                                                                                                                                                                                                                                                                                                    spend
                                                                                                                                                                                                                                                                                                more in fuel costs
                                                                                                                                                                                                                                                                                                over 5 years
                                                                                                                                                                                                                                                                                                compared to the
                                                                                                                                                                                                                                                                                                average new vehicle.

                                                                                                                                                                                                                                                                                                      Smog Rating (tailpipe only)




                                                                                                                                                                                                                        This vehicle emits 464 grams CO2 per mile. The best emits 0 grams per mile (tailpipe only). Producing and
                                                                                                                                                                                                                        distributing fuel also create emissions; learn more at fueleconomy.gov.
                                                                                                                                                         Actual results will vary for many reasons, including driving conditions and how you drive and maintain
                                                                                                                                                         your vehicle. The average new vehicle gets 23 MPG and costs $11,500 to fuel over 5 years. Cost estimates
                                                                                                                                                         are based on 15,000 miles per year at $3.75 per gallon. MPGe is miles per gasoline gallon equivalent. Vehicle
                                                                                                                                                         emissions are a significant cause of climate change and smog.


                                                                                                                                                         fueleconomy.gov


                                                                                                                                                                                                                                           This vehicle has not been rated by the government for overall
                                                                                                                                                                                                                                           vehicle score, frontal crash, side crash, or rollover risk.


                                                                                                                                                                                                                                        Source: National Highway Traffic Safety Administration (NHTSA).
                                                                                                                                                                                                                                                      www.safercar.gov or 1-888-327-4236




                                                                                                                                                                                                                                                                          VIN
                                                                                                                                                                                                                                                           JACKSONVILLE,FLRoute
                                                                                                                                                                                                                                                                               *JA32W8FV9EU025065*




                                                                                                                                                                                                                                                                                                          Smartphone
                                                                                                                                                                                                                                                                                                          QR Code™
                                                                                                                                                                                                                                                                                              : JA32W8FV9EU025065
                                                                                                                                                                                                                                                                                         Code : THT
                                                                                                                                                         Gasoline, license and title fees, applicable federal, state and local taxes and dealer and distributor installed options and accessories are not included
                                                                                                                                                         in the manufacturer’s suggested retail price. This label has been applied to this vehicle pursuant to federal law and cannot be moved or altered prior
                                                                                                                                                         to delivery to the ultimate purchaser.


                                                                                                                                                          Cumulative Accessory Weight is                                                    40.0 lbs
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 108 of 155 Page ID
                                     #:2093
Year: 2013                                                                            Engine: V6 Cylinder Engine
Make: Toyota                                                                          Transmission: 6AT
Model: Avalon LIMITED                                                                 Exterior: Moulin Rouge Mica
VIN: 4T1BK1EB6DU020105                                                                Interior: Almond

                                              · Rear defogger w/timer                            CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Illuminated glove box

· 3.5L DOHC EFI 24-valve V6 engine
                                              · Wood-grain style trim -inc: smoked
                                              chrome interior accents & door handles                21                                                                                         31
· Dual variable valve timing                  · Overhead console w/front map lights &
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
w/intelligence                                sunglasses storage
· Push button start                           · Dual sun visors w/illuminated visor vanity
· 6-speed automatic transmission              mirrors
w/sequential shift -inc: flex-start lock-up   · Rear passenger reading lamps                   New
clutch, transmission fluid warmer
· Front wheel drive                           SAFETY                                           MSRP                                                                                           $30,990.00
· Battery saver
· MacPherson strut front suspension -         · 4-wheel anti-lock brake system (ABS)           INSTALLED OPTIONS
inc: offset coil springs, stabilizer bar      · Smart stop technology                          [FEM] 50 State Emissions                                                                       $0
· Dual-link independent MacPherson            · Electronic brakeforce distribution (EBD)       [CF] Carpeted Floor & Cargo Mat Set                                                            $225
strut rear suspension -inc: offset coil       w/brake assist (BA)
springs, stabilizer bar                       · Front/rear crumple zones                       Original Shipping Charge                                                                       $810
· Variable-assist pwr rack & pinion           · Side-impact door beams                         RETAIL PRICE (ORIGINALLY NEW)                                                                  $32,025.00
steering                                      · Driver & front passenger advanced
· Pwr ventilated front/solid rear disc        airbags -inc: occupant sensor
brakes                                        · Driver & front passenger seat-mounted
· Dual chrome-tipped integrated exhaust       side-impact airbags
                                              · Front & rear side curtain airbags              Get more information on your smartphone:
EXTERIOR                                      · Driver knee airbag
                                              · 3-point seatbelts for all passenger seating
· Temporary spare tire                        positions -inc: front adjustable shoulder
· Color-keyed bumpers                         belt anchors, emergency locking retractor
· LED taillights                              (ELR), passenger automatic locking
· Acoustic noise-reducing windshield          retractors (ALR)
                                              · Outboard front seatbelt pretensioners
INTERIOR                                      w/force limiters
                                              · Child restraint system -inc: rear seat lower
· Rear seat -inc: center armrest w/(2) cup    anchors, tether anchor brackets
holders, trunk pass through                   · Child protector rear door locks
· Center console w/sliding cover/armrest      · Tire pressure monitor system
-inc: storage compartment, dual cup           · Internal trunk-release handle
holders, 12V aux pwr outlet                   · Whiplash-lessening front seats
· eBin sliding electronic device holder -
inc: wire management feature,
illuminated interior storage, aux audio
jack, USB port, (2) 12V aux pwr outlets
· Multi-information display -inc: twin
tripmeters, outside temp display, fuel
economy history, avg fuel economy,
distance-to-empty
· Pwr windows -inc: auto up/down, jam
protection, retained pwr
· Pwr door locks w/anti-lockout feature
· Pwr trunk & fuel-filler door releases




                                                                                                                     floridafinecars.com
                                                                          MonroneyLabels.com
                                                                           Ex. 1 - Page 107
  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 109 of 155 Page ID
                                      #:2094
Year: 2014                                                                                               Engine: V6 Cylinder Engine
Make: Toyota                                                                                             Transmission: 6AT
Model: Avalon XLE                                                                                        Exterior: Blizzard Pearl
VIN: 4T1BK1EB1EU115320                                                                                   Interior: Black

                                                        · Remote Releases -Inc: Power Cargo Access
MECHANICAL                                              · Cruise Control w/Steering Wheel Controls                   CITY MPG                                                                          HIGHWAY MPG

                                                                                                                       21                                                                                          31
                                                        · Dual Zone Front Automatic Air Conditioning
· Front-Wheel Drive                                     · HVAC -inc: Underseat Ducts and Console Ducts
· 3.24 Axle Ratio                                       · Illuminated Locking Glove Box
· 582CCA Maintenance-Free Battery w/Run Down            · Driver Foot Rest
Protection                                              · Interior Trim -inc: Simulated Wood/Metal-Look                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 4590# Gvwr                                            Instrument Panel Insert, Chrome Interior Accents and
· Gas-Pressurized Shock Absorbers                       Leatherette Upholstered Dashboard
· Front And Rear Anti-Roll Bars                         · Full Cloth Headliner
· Electric Power-Assist Speed-Sensing Steering
· 17 Gal. Fuel Tank
                                                        · Leatherette Door Trim Insert
                                                        · Leather/Simulated Wood Gear Shift Knob
                                                                                                                  New
· Quasi-Dual Stainless Steel Exhaust w/Chrome           · Leather Seat Trim
Tailpipe Finisher                                       · Driver And Passenger Visor Vanity Mirrors w/Driver
                                                                                                                  MSRP                                                                                            $31,590.00
· Strut Front Suspension w/Coil Springs                 And Passenger Illumination
· Strut Rear Suspension w/Coil Springs                  · Day-Night Rearview Mirror                               INSTALLED OPTIONS
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front Vented       · Inner Mirror EC Delete
Discs and Brake Assist                                  · Full Floor Console w/Covered Storage, Mini Overhead     [FE0] 50 State Emissions                                                                        $0
                                                        Console w/Storage and 3 12V DC Power Outlets              [XL] Xle Package                                                                                $0
EXTERIOR                                                · Front And Rear Map Lights
                                                        · Fade-To-Off Interior Lighting                               2 door smart key
· Wheels: 17" x 7.0" 10 Spoke Silver-Painted Alloy      · Full Carpet Floor Covering                              [PC0] Special ColorBlizzard Pearl                                                               $395
· Tires: P215/55R17 AS                                  · Carpet Floor Trim and Carpet Trunk Lid/Rear Cargo
· Steel Spare Wheel                                     Door Trim                                                 Original Shipping Charge                                                                        $825
· Compact Spare Tire Mounted Inside Under Cargo         · Cargo Area Concealed Storage
· Clearcoat Paint                                       · Cargo Space Lights                                      RETAIL PRICE (ORIGINALLY NEW)                                                                   $32,810.00
· Body-Colored Front Bumper w/Chrome Rub                · FOB Controls -inc: Trunk/Hatch/Tailgate
Strip/Fascia Accent                                     · Garage Opener Delete
· Body-Colored Rear Bumper w/Black Rub                  · Instrument Panel Covered Bin, Driver / Passenger And
Strip/Fascia Accent                                     Rear Door Bins
· Chrome Side Windows Trim                              · Power 1st Row Windows w/Front And Rear 1-Touch
· Chrome Door Handles                                   Up/Down                                                   Get more information on your smartphone:
· Body-Colored Power Heated Side Mirrors w/Manual       · Delayed Accessory Power
Folding and Turn Signal Indicator                       · Power Door Locks w/Autolock Feature
· Fixed Rear Window w/Defroster                         · Trip Computer
· Light Tinted Glass                                    · Outside Temp Gauge
· Front Windshield -inc: Sun Visor Strip                · Analog Display
· Variable Intermittent Wipers                          · Manual Adjustable Front Head Restraints and Manual
· Fully Galvanized Steel Panels                         Adjustable Rear Head Restraints
· Chrome Grille                                         · Front Center Armrest and Rear Center Armrest
· Trunk Rear Cargo Access                               w/Pass-Thru
· LED Brakelights                                       · 2 Seatback Storage Pockets
· Fully Automatic Projector Beam Halogen                · Perimeter Alarm
Headlamps w/Delay-Off                                   · 3 12V DC Power Outlets
· Laminated Glass                                       · Air Filtration
· De-Content Grade Package
                                                        SAFETY
ENTERTAINMENT
                                                        · Electronic Stability Control
· Radio: Display Audio -inc: 6.1" touch-screen,         · ABS And Driveline Traction Control
AM/FM CD player w/MP3/WMA playback capability,          · Side Impact Beams
8 speakers, auxiliary audio jack, USB port w/iPod       · Dual Stage Driver And Passenger Seat-Mounted Side
connectivity and control, vehicle information           Airbags
w/customizable settings, and hands-free phone           · Low Tire Pressure Warning
capability, phone book access and music streaming       · Dual Stage Driver And Passenger Front Airbags
via Bluetooth wireless technology                       · Curtain 1st And 2nd Row Airbags
· Radio w/Seek-Scan, Clock, Speed Compensated           · Airbag Occupancy Sensor
Volume Control, Steering Wheel Controls and Radio       · Driver And Passenger Knee Airbag and Rear Side-
Data System                                             Impact Airbag
· Window Grid Antenna                                   · Rear Child Safety Locks
                                                        · Outboard Front Lap And Shoulder Safety Belts -inc:
INTERIOR                                                Rear Center 3 Point, Height Adjusters and Pretensioners
                                                        · Back-Up Camera
· Multi-Stage Heated Front Bucket Seats -inc: 8-way
power adjustable driver's seat w/power lumbar and 4-
way power adjustable front passenger seat
· Bench Front Facing Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and Trip
Computer
· Power Rear Windows
· Leather Steering Wheel
· Front Cupholder
· Rear Cupholder
· Proximity Key For Doors And Push Button Start
· Valet Function
· Power Fuel Flap Locking Type
· Remote Keyless Entry w/Integrated Key
Transmitter, 2 Door Curb/Courtesy, Illuminated Entry,
Illuminated Ignition Switch and Panic Button

                                                                                                                                         floridafinecars.com
                                                                                          MonroneyLabels.com
                                                                                          Ex. 1 - Page 108
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 110 of 155 Page ID
                                     #:2095
Year: 2015                                                                       Engine: V6 Cylinder Engine
Make: Toyota                                                                     Transmission: 6AT
Model: Avalon LIMITED                                                            Exterior: Cosmic Gray Mica
VIN: 4T1BK1EB4FU174850                                                           Interior: Black

                                           · Remote Releases -Inc: Power Cargo               CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 Access

· Front-Wheel Drive
                                           · Cruise Control w/Steering Wheel Controls
                                           · Dual Zone Front Automatic Air                      21                                                                                         31
· 3.24 Axle Ratio                          Conditioning
                                                                                                  Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 582CCA Maintenance-Free Battery          · HVAC -inc: Underseat Ducts and
w/Run Down Protection                      Console Ducts
· 4590# Gvwr                               · Illuminated Locking Glove Box
· Gas-Pressurized Shock Absorbers          · Driver Foot Rest                              New
· Front And Rear Anti-Roll Bars            · Interior Trim -inc: Simulated Wood/Metal-
· Electric Power-Assist Speed-Sensing      Look Instrument Panel Insert, Chrome
                                                                                           MSRP                                                                                           $39,980.00
Steering                                   Interior Accents and Leatherette
· 17 Gal. Fuel Tank                        Upholstered Dashboard                           INSTALLED OPTIONS
· Quasi-Dual Stainless Steel Exhaust       · Full Cloth Headliner                          [FE0] 50 State Emissions                                                                       $0
w/Chrome Tailpipe Finisher                 · Leatherette Door Trim Insert                  [CF0] Carpet Floor Mats & Carpet Trunk Mat                                                     $225
· Strut Front Suspension w/Coil Springs    · Leather/Simulated Wood Gear Shift Knob
· Strut Rear Suspension w/Coil Springs     · Driver And Passenger Visor Vanity             Original Shipping Charge                                                                       $835
· 4-Wheel Disc Brakes w/4-Wheel ABS,       Mirrors w/Driver And Passenger                  RETAIL PRICE (ORIGINALLY NEW)                                                                  $41,040.00
Front Vented Discs and Brake Assist        Illumination
                                           · Full Floor Console w/Covered Storage,
EXTERIOR                                   Mini Overhead Console w/Storage and 3
                                           12V DC Power Outlets
· Steel Spare Wheel                        · Front And Rear Map Lights                     Get more information on your smartphone:
· Compact Spare Tire Mounted Inside        · Fade-To-Off Interior Lighting
Under Cargo                                · Full Carpet Floor Covering
· Clearcoat Paint                          · Carpet Floor Trim and Carpet Trunk
· Body-Colored Front Bumper w/Chrome       Lid/Rear Cargo Door Trim
Rub Strip/Fascia Accent                    · Cargo Area Concealed Storage
· Body-Colored Rear Bumper w/Black         · Cargo Space Lights
Rub Strip/Fascia Accent                    · Instrument Panel Covered Bin, Driver /
· Chrome Side Windows Trim                 Passenger And Rear Door Bins
· Chrome Door Handles                      · Delayed Accessory Power
· Light Tinted Glass                       · Outside Temp Gauge
· Front Windshield -inc: Sun Visor Strip   · Analog Display
· Fully Galvanized Steel Panels            · Manual Adjustable Front Head Restraints
· Chrome Grille                            and Manual Adjustable Rear Head
· Trunk Rear Cargo Access                  Restraints
· LED Brakelights                          · Front Center Armrest and Rear Center
· Laminated Glass                          Armrest w/Pass-Thru
                                           · 2 Seatback Storage Pockets
ENTERTAINMENT                              · Perimeter Alarm
                                           · 3 12V DC Power Outlets
· Radio w/Seek-Scan, Clock, Speed          · Air Filtration
Compensated Volume Control, Steering
Wheel Controls, Voice Activation and       SAFETY
Radio Data System
· Window Grid Antenna                      · Side Impact Beams
                                           · Low Tire Pressure Warning
INTERIOR                                   · Dual Stage Driver And Passenger Front
                                           Airbags
· Manual Tilt/Telescoping Steering         · Curtain 1st And 2nd Row Airbags
Column                                     · Airbag Occupancy Sensor
· Leather Steering Wheel                   · Rear Child Safety Locks
· Front Cupholder                          · Outboard Front Lap And Shoulder Safety
· Rear Cupholder                           Belts -inc: Rear Center 3 Point, Height
· Valet Function                           Adjusters and Pretensioners
· Power Fuel Flap Locking Type




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                                     #:2096
Year: 2016                                                                       Engine: V6 Cylinder Engine
Make: Toyota                                                                     Transmission: 6AT
Model: Avalon LIMITED                                                            Exterior: Blizzard Pearl
VIN: 4T1BK1EBXGU197003                                                           Interior: Light Gray

                                           · Remote Releases -Inc: Power Cargo                CITY MPG                                                                             HIGHWAY MPG
MECHANICAL                                 Access

· Front-Wheel Drive
                                           · Cruise Control w/Steering Wheel Controls
                                           · Dual Zone Front Automatic Air                         21                                                                                          30
· 3.24 Axle Ratio                          Conditioning
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 575CCA Maintenance-Free Battery          · HVAC -inc: Underseat Ducts and
w/Run Down Protection                      Console Ducts
· 100 Amp Alternator                       · Illuminated Locking Glove Box
· 4590# Gvwr                               · Driver Foot Rest                              New
· Gas-Pressurized Shock Absorbers          · Interior Trim -inc: Simulated Wood/Metal-
· Front And Rear Anti-Roll Bars            Look Instrument Panel Insert,
                                                                                           MSRP                                                                                               $40,450.00
· Electric Power-Assist Speed-Sensing      Chrome/Metal-Look Interior Accents and
Steering                                   Leatherette Upholstered Dashboard               INSTALLED OPTIONS
· 17 Gal. Fuel Tank                        · Full Cloth Headliner                          [FE0] 50 State Emissions                                                                           $0
· Quasi-Dual Stainless Steel Exhaust       · Leatherette Door Trim Insert                  [TY] Toyota Safety Sense Package                                                                   $500
w/Chrome Tailpipe Finisher                 · Leather/Chrome Gear Shift Knob
                                                                                                  Automatic High Beam
· Strut Front Suspension w/Coil Springs    · Driver And Passenger Visor Vanity                    Dynamic Radar Cruise Control
· Strut Rear Suspension w/Coil Springs     Mirrors w/Driver And Passenger                         Pre-Collision System w/Pedestrian Detection
· 4-Wheel Disc Brakes w/4-Wheel ABS,       Illumination                                           Lane Departure Alert w/Steering Assist
Front Vented Discs and Brake Assist        · Front And Rear Map Lights                     [PC]Special Color                                                                                  $395
                                           · Fade-To-Off Interior Lighting                 Original Shipping Charge                                                                           $895
EXTERIOR                                   · Full Carpet Floor Covering
                                           · Carpet Floor Trim and Carpet Trunk            RETAIL PRICE (ORIGINALLY NEW)                                                                      $42,240.00
· Steel Spare Wheel                        Lid/Rear Cargo Door Trim
· Compact Spare Tire Mounted Inside        · Cargo Area Concealed Storage
Under Cargo                                · Cargo Space Lights
· Clearcoat Paint                          · Instrument Panel Covered Bin, Driver /
· Body-Colored Front Bumper                Passenger And Rear Door Bins
                                                                                           Get more information on your smartphone:
· Body-Colored Rear Bumper w/Black         · Delayed Accessory Power
Rub Strip/Fascia Accent and Chrome         · Outside Temp Gauge
Bumper Insert                              · Analog Display
· Chrome Side Windows Trim                 · Manual Adjustable Front Head Restraints
· Chrome Door Handles                      and Manual Adjustable Rear Head
· Light Tinted Glass                       Restraints
· Front Windshield -inc: Sun Visor Strip   · Front Center Armrest and Rear Center
· Fully Galvanized Steel Panels            Armrest w/Pass-Thru
· Trunk Rear Cargo Access                  · 2 Seatback Storage Pockets
· LED Brakelights                          · Perimeter Alarm
· Laminated Glass                          · Air Filtration

ENTERTAINMENT                              SAFETY

· Window Grid Antenna                      · Side Impact Beams
                                           · Tire Specific Low Tire Pressure Warning
INTERIOR                                   · Dual Stage Driver And Passenger Front
                                           Airbags
· Manual Tilt/Telescoping Steering         · Curtain 1st And 2nd Row Airbags
Column                                     · Airbag Occupancy Sensor
· Leather Steering Wheel                   · Rear Child Safety Locks
· Front Cupholder                          · Outboard Front Lap And Shoulder Safety
· Rear Cupholder                           Belts -inc: Rear Center 3 Point, Height
· Valet Function                           Adjusters and Pretensioners
· Power Fuel Flap Locking Type




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                                      #:2097
Year: 2017                                                                                                Engine: V6 Cylinder Engine
Make: Toyota                                                                                              Transmission: 6AT
Model: Avalon XLE                                                                                         Exterior: Magnetic Gray Met.
VIN: 4T1BK1EB3HU245443                                                                                    Interior: Black

                                                        · Garage Door Transmitter
MECHANICAL                                              · Cruise Control w/Steering Wheel Controls                    CITY MPG                                                                          HIGHWAY MPG

                                                                                                                         21                                                                                         30
                                                        · Distance Pacing
· Front-Wheel Drive                                     · Dual Zone Front Automatic Air Conditioning
· 3.24 Axle Ratio                                       · HVAC -inc: Underseat Ducts and Console Ducts
· 575CCA Maintenance-Free Battery w/Run Down            · Illuminated Locking Glove Box
Protection                                              · Driver Foot Rest
                                                                                                                           Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 100 Amp Alternator                                    · Interior Trim -inc: Simulated Wood/Metal-Look
· 4590# Gvwr                                            Instrument Panel Insert, Chrome/Metal-Look Interior
· Gas-Pressurized Shock Absorbers                       Accents and Leatherette Upholstered Dashboard
                                                        · Full Cloth Headliner
                                                                                                                    New
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering          · Leatherette Door Trim Insert
· 17.2 Gal. Fuel Tank                                   · Leather/Chrome Gear Shift Knob
· Quasi-Dual Stainless Steel Exhaust w/Chrome           · Leather Seat Trim
Tailpipe Finisher                                       · Driver And Passenger Visor Vanity Mirrors w/Driver And
· Strut Front Suspension w/Coil Springs                 Passenger Illumination                                      MSRP                                                                                           $33,300.00
· Strut Rear Suspension w/Coil Springs                  · Day-Night Rearview Mirror
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front Vented       · Full Floor Console w/Covered Storage, Mini Overhead       INSTALLED OPTIONS
Discs and Brake Assist                                  Console w/Storage and 3 12V DC Power Outlets
                                                        · Front And Rear Map Lights                                 [FE0] 50 State Emissions                                                                       $0
EXTERIOR                                                · Fade-To-Off Interior Lighting
                                                        · Full Carpet Floor Covering                                [XL] Xle Package                                                                               $0
· Wheels: 17" x 7.0" Dark Gray-Painted Alloy -inc:      · Carpet Floor Trim and Carpet Trunk Lid/Rear Cargo
                                                        Door Trim
                                                                                                                    Original Shipping Charge                                                                       $895
machined finish
                                                        · Cargo Area Concealed Storage
· Tires: P215/55R17 AS
                                                        · Cargo Space Lights
                                                                                                                    RETAIL PRICE (ORIGINALLY NEW)                                                                  $34,195.00
· Steel Spare Wheel
· Compact Spare Tire Mounted Inside Under Cargo         · FOB Controls -inc: Trunk/Hatch/Tailgate
· Clearcoat Paint                                       · Instrument Panel Covered Bin, Driver / Passenger And
· Body-Colored Front Bumper                             Rear Door Bins
· Body-Colored Rear Bumper w/Black Rub Strip/Fascia     · Power 1st Row Windows w/Front And Rear 1-Touch
Accent and Chrome Bumper Insert                         Up/Down
· Chrome Side Windows Trim
· Chrome Door Handles
                                                        · Delayed Accessory Power
                                                        · Power Door Locks w/Autolock Feature
                                                                                                                    Get more information on your smartphone:
· Body-Colored Power Heated Side Mirrors w/Manual       · Trip Computer
Folding and Turn Signal Indicator                       · Outside Temp Gauge
· Fixed Rear Window w/Defroster                         · Analog Display
· Light Tinted Glass                                    · Manual Adjustable Front Head Restraints and Manual
· Front Windshield -inc: Sun Visor Strip                Adjustable Rear Head Restraints
· Variable Intermittent Wipers                          · Front Center Armrest and Rear Center Armrest w/Pass-
· Fully Galvanized Steel Panels                         Thru
· Colored Grille w/Chrome Surround                      · 2 Seatback Storage Pockets
· Trunk Rear Cargo Access                               · Perimeter Alarm
· LED Brakelights                                       · Air Filtration
· Fully Automatic Projector Beam Halogen Auto High-     · 3 12V DC Power Outlets
Beam Headlamps w/Delay-Off
· Laminated Glass                                       SAFETY

ENTERTAINMENT                                           · Electronic Stability Control
                                                        · ABS And Driveline Traction Control
· Radio: Entune Audio Plus w/Connected Nav App -inc:    · Side Impact Beams
Entune multimedia bundle, 7" high resolution touch-     · Dual Stage Driver And Passenger Seat-Mounted Side
screen display, AM/FM CD player, MP3/WMA playback       Airbags
capability, 8 speakers, auxiliary audio jack, USB 2.0   · Lane Departure Alert w/Steering Assist Lane Keeping
port w/iPod connectivity and control, advanced voice    Assist
recognition, hands-free phone capability, phone book    · Lane Departure Alert w/Steering Assist Lane Departure
access and music streaming via Bluetooth wireless       Warning
technology, Scout GPS link app, Siri Eyes Free,         · Pre-Collision System Forward Collision
SiriusXM Satellite Radio w/3-month complimentary        · Tire Specific Low Tire Pressure Warning
SiriusXM All Access trial, HD Radio, HD Radio traffic   · Dual Stage Driver And Passenger Front Airbags
and weather in major metro areas, and integrated        · Curtain 1st And 2nd Row Airbags
backup camera display w/projected path                  · Airbag Occupancy Sensor
· Radio w/Seek-Scan, Clock, Speed Compensated           · Driver And Passenger Knee Airbag and Rear Side-
Volume Control, Steering Wheel Controls and Radio       Impact Airbag
Data System                                             · Rear Child Safety Locks
· Window Grid Antenna                                   · Outboard Front Lap And Shoulder Safety Belts -inc: Rear
                                                        Center 3 Point, Height Adjusters and Pretensioners
INTERIOR

· Multi-Stage Heated Front Bucket Seats -inc: 8-way
power adjustable driver's seat w/power lumbar and 4-
way power adjustable front passenger seat
· Bench Front Facing Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and Trip
Computer
· Power Rear Windows
· Leather Steering Wheel
· Front Cupholder
· Rear Cupholder
· Proximity Key For Doors And Push Button Start
· Valet Function
· Power Fuel Flap Locking Type
· Remote Keyless Entry w/Integrated Key Transmitter,
2 Door Curb/Courtesy, Illuminated Entry, Illuminated
Ignition Switch and Panic Button
· Remote Releases -Inc: Power Cargo Access


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                                      #:2098
Year: 2018                                                                                                  Engine: V6 Cylinder Engine
Make: Toyota                                                                                                Transmission: 6AT
Model: Avalon XLE                                                                                           Exterior: Celestial Silver Metallic
VIN: 4T1BK1EB1JU288328                                                                                      Interior: Black

                                                        · Remote Keyless Entry w/Integrated Key Transmitter, 2
MECHANICAL                                              Door Curb/Courtesy, Illuminated Entry, Illuminated Ignition     CITY MPG                                                                           HIGHWAY MPG

                                                                                                                           21                                                                                          30
                                                        Switch and Panic Button
· Front-Wheel Drive                                     · Remote Releases -Inc: Power Cargo Access
· 3.24 Axle Ratio                                       · Cruise Control w/Steering Wheel Controls
· 575CCA Maintenance-Free Battery w/Run Down            · Distance Pacing
Protection                                              · Dual Zone Front Automatic Air Conditioning
                                                                                                                              Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 100 Amp Alternator                                    · HVAC -inc: Underseat Ducts and Console Ducts
· Gas-Pressurized Shock Absorbers                       · Illuminated Locking Glove Box
· Front And Rear Anti-Roll Bars                         · Driver Foot Rest
                                                        · Interior Trim -inc: Simulated Wood/Metal-Look
                                                                                                                      New
· Electric Power-Assist Speed-Sensing Steering
· 17 Gal. Fuel Tank                                     Instrument Panel Insert, Chrome/Metal-Look Interior
· Quasi-Dual Stainless Steel Exhaust w/Chrome           Accents and Leatherette Upholstered Dashboard
Tailpipe Finisher                                       · Full Cloth Headliner
· Strut Front Suspension w/Coil Springs                 · Leatherette Door Trim Insert
· Strut Rear Suspension w/Coil Springs                  · Leather/Chrome Gear Shift Knob                              MSRP                                                                                            $33,500.00
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front Vented       · Leather Seat Trim
Discs and Brake Assist                                  · Driver And Passenger Visor Vanity Mirrors w/Driver And      INSTALLED OPTIONS
                                                        Passenger Illumination
EXTERIOR                                                · Day-Night Rearview Mirror                                   [FE0] 50 State Emissions                                                                        $0
                                                        · Full Floor Console w/Covered Storage, Mini Overhead
                                                        Console w/Storage and 3 12V DC Power Outlets                  [XL] Xle Package                                                                                $0
· Wheels: 17" x 7.0" Dark Gray-Painted Alloy -inc:
machined finish                                         · Front And Rear Map Lights
                                                                                                                      [RETTMS] Fleet Credit                                                                           $0
· Tires: P215/55R17 AS                                  · Fade-To-Off Interior Lighting
· Steel Spare Wheel                                     · Full Carpet Floor Covering                                  Original Shipping Charge                                                                        $930
· Compact Spare Tire Mounted Inside Under Cargo         · Carpet Floor Trim and Carpet Trunk Lid/Rear Cargo
· Clearcoat Paint                                       Door Trim
                                                        · Cargo Area Concealed Storage
                                                                                                                      RETAIL PRICE (ORIGINALLY NEW)                                                                   $34,430.00
· Body-Colored Front Bumper
· Body-Colored Rear Bumper w/Black Rub Strip/Fascia     · Cargo Space Lights
Accent and Chrome Bumper Insert                         · FOB Controls -inc: Trunk/Hatch/Tailgate
· Chrome Side Windows Trim                              · Instrument Panel Covered Bin, Driver / Passenger And
· Chrome Door Handles                                   Rear Door Bins
· Body-Colored Power Heated Side Mirrors w/Manual       · Power 1st Row Windows w/Front And Rear 1-Touch
Folding and Turn Signal Indicator                       Up/Down
                                                        · Delayed Accessory Power
                                                                                                                      Get more information on your smartphone:
· Fixed Rear Window w/Defroster
· Light Tinted Glass                                    · Power Door Locks w/Autolock Feature
· Front Windshield -inc: Sun Visor Strip                · Trip Computer
· Variable Intermittent Wipers                          · Outside Temp Gauge
· Fully Galvanized Steel Panels                         · Analog Display
· Chrome Grille                                         · Manual Adjustable Front Head Restraints and Manual
· Trunk Rear Cargo Access                               Adjustable Rear Head Restraints
· LED Brakelights                                       · Front Center Armrest and Rear Center Armrest w/Pass-
· Fully Automatic Projector Beam Halogen Auto High-     Thru
Beam Headlamps w/Delay-Off                              · 2 Seatback Storage Pockets
· Laminated Glass                                       · Perimeter Alarm
                                                        · Air Filtration
ENTERTAINMENT                                           · 3 12V DC Power Outlets

· Radio: Entune Audio Plus w/Connected Nav App -inc:    SAFETY
Entune multimedia bundle, 7" high resolution touch-
screen display, AM/FM CD player, MP3/WMA playback       · Electronic Stability Control
capability, 8 speakers, auxiliary audio jack, USB 2.0   · ABS And Driveline Traction Control
port w/iPod connectivity and control, advanced voice    · Side Impact Beams
recognition, handsfree phone capability, phone book     · Dual Stage Driver And Passenger Seat-Mounted Side
access and music streaming via Bluetooth wireless       Airbags
technology, Scout GPS link app, Siri Eyes Free,         · Lane Departure Alert w/Steering Assist Lane Keeping
SiriusXM Satellite Radio w/3-month complimentary        Assist
SiriusXM All Access trial, HD Radio, HD Radio traffic   · Lane Departure Alert w/Steering Assist Lane Departure
and weather in major metro areas, and integrated        Warning
backup camera display w/projected path                  · Toyota Safety Sense P
· Radio w/Seek-Scan, Clock, Speed Compensated           · Tire Specific Low Tire Pressure Warning
Volume Control, Steering Wheel Controls and Radio       · Dual Stage Driver And Passenger Front Airbags
Data System                                             · Curtain 1st And 2nd Row Airbags
· Window Grid Antenna                                   · Airbag Occupancy Sensor
· 2 LCD Monitors In The Front                           · Driver And Passenger Knee Airbag and Rear Side-
                                                        Impact Airbag
INTERIOR                                                · Rear Child Safety Locks
                                                        · Outboard Front Lap And Shoulder Safety Belts -inc: Rear
· Multi-Stage Heated Front Bucket Seats -inc: 8-way     Center 3 Point, Height Adjusters and Pretensioners
power adjustable driver's seat w/power lumbar and 4-
way power adjustable front passenger seat
· Driver Seat
· Passenger Seat
· Bench Front Facing Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and Trip
Computer
· Power Rear Windows
· Leather Steering Wheel
· Front Cupholder
· Rear Cupholder
· Proximity Key For Doors And Push Button Start


                                                                                                                       Reed Nissan Clermont
· Valet Function
· Power Fuel Flap Locking Type




                                                                                                                              (iRide)
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                                     #:2099
Year: 2013                                                                          Engine: 4 Cylinder Engine
Make: Toyota                                                                        Transmission: CVT
Model: Avalon Hybrid TOURING                                                        Exterior: Sizzling Crimson Mic
VIN: 4T1BD1EB1DU017607                                                              Interior: Black

                                            · Illuminated glove box                             CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                  · Wood-grain style trim -inc: smoked

· 2.5L DOHC 16-valve VVT-i Atkinson-
                                            chrome interior accents & door handles
                                            · Overhead console w/front map lights &                 40                                                                                         39
cycle I4 hybrid engine                      sunglasses storage
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Continuously variable transmission        · Dual sun visors w/illuminated visor vanity
(ECVT)                                      mirrors
· Front wheel drive                         · Rear passenger reading lamps
· Battery saver                                                                              New
· MacPherson strut front suspension -       SAFETY
inc: offset coil springs, stabilizer bar
                                                                                             MSRP                                                                                             $35,555.00
· Dual-link independent MacPherson          · 4-wheel anti-lock brake system (ABS)
strut rear suspension -inc: offset coil     · Smart stop technology                          INSTALLED OPTIONS
springs, stabilizer bar                     · Electronic brakeforce distribution (EBD)       [TR] Touring PKG                                                                                 $0
· Variable-assist pwr rack & pinion         w/brake assist (BA)                                  wide angle front fog lamp
steering                                    · Front/rear crumple zones                           (9) speaker audio system w/deluxe display
· Pwr ventilated front/solid rear disc      · Side-impact door beams                             navigation
                                                                                                 front seat & exterior mirror memory
brakes                                      · Driver & front passenger advanced                  blind spot monitor w/rear cross traffic alert
· Hidden exhaust w/chrome-accented          airbags -inc: occupant sensor                    [FEM] 50 State Emissions                                                                         $0
cover                                       · Driver & front passenger seat-mounted
                                            side-impact airbags
                                                                                             [CF]Carpeted Floor & Cargo Mat Set                                                               $225
EXTERIOR                                    · Front & rear side curtain airbags              Original Shipping Charge                                                                         $810
                                            · Driver knee airbag                                                                                                                              $36,590.00
                                                                                             RETAIL PRICE (ORIGINALLY NEW)
· 17" x 7.0" alloy wheels                   · Collision sensors -inc: high-voltage
· P215/55R17 all-season tires               battery deactivation
· Temporary spare tire                      · 3-point seatbelts for all passenger seating
· Pwr tilt/slide moonroof -inc: sliding     positions -inc: front adjustable shoulder
sunshade                                    belt anchors, emergency locking retractor        Get more information on your smartphone:
· Color-keyed bumpers                       (ELR), passenger automatic locking
· LED taillights                            retractors (ALR)
· Acoustic noise-reducing windshield        · Outboard front seatbelt pretensioners
                                            w/force limiters
INTERIOR                                    · Child restraint system w/rear seat lower
                                            anchors, tether anchor brackets
· Fold-down rear seats -inc: center         · Child protector rear door locks
armrest w/(2) cup holders, trunk pass       · Direct tire pressure monitor system
through                                     · Internal trunk-release handle
· Center console w/sliding cover/armrest    · Whiplash-lessening front seats
-inc: storage compartment, dual cup
holders, 12V aux pwr outlet
· eBin sliding electronic device holder -
inc: wire management feature,
illuminated interior storage, aux audio
jack, USB port, (2) 12V aux pwr outlets
· Multi-information display -inc: twin
tripmeters, outside temp display, fuel
economy history, avg fuel economy,
distance-to-empty
· Pwr windows -inc: auto up/down, jam
protection, retained pwr
· Rear defogger w/timer




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                                     #:2100
Year: 2015                                                                       Engine: 4 Cylinder Engine
Make: Toyota                                                                     Transmission: Automatic (AV-S6)
Model: Avalon Hybrid TOURING                                                     Exterior: Blizzard Pearl
VIN: 4T1BD1EB6FU036981                                                           Interior: Almond

                                           · Valet Function                                   CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 · Power Fuel Flap Locking Type

· Front-Wheel Drive
                                           · Remote Releases -Inc: Power Cargo
                                           Access                                               40                                                                                          39
· 3.54 Axle Ratio                          · Cruise Control w/Steering Wheel Controls
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Battery w/Run Down Protection            · Dual Zone Front Automatic Air
· Hybrid Electric Motor                    Conditioning
· 4700# Gvwr                               · HVAC -inc: Underseat Ducts and
· Gas-Pressurized Shock Absorbers          Console Ducts                                   New
· Front And Rear Anti-Roll Bars            · Illuminated Locking Glove Box
· Electric Power-Assist Speed-Sensing      · Driver Foot Rest
                                                                                           MSRP                                                                                            $37,800.00
Steering                                   · Interior Trim -inc: Simulated Wood/Metal-
· 17 Gal. Fuel Tank                        Look Instrument Panel Insert, Chrome            INSTALLED OPTIONS
· Single Stainless Steel Exhaust           Interior Accents and Leatherette                [FE0] 50 State Emissions                                                                        $0
· Strut Front Suspension w/Coil Springs    Upholstered Dashboard                           [TR0] Touring Package                                                                           $0
· Strut Rear Suspension w/Coil Springs     · Full Cloth Headliner
                                                                                               Blind Spot Monitor & Cross Traffic Warning
· Regenerative 4-Wheel Disc Brakes         · Leatherette Door Trim Insert                      8-Way Driver & 4-Way Passenger Memory Package
w/4-Wheel ABS, Front Vented Discs,         · Leather/Simulated Wood Gear Shift Knob        [PC0] Special Color                                                                             $395
Brake Assist and Hill Hold Control         · Driver And Passenger Visor Vanity
· Nickel Metal Hydride Traction Battery    Mirrors w/Driver And Passenger                  Original Shipping Charge                                                                        $835
                                           Illumination                                    RETAIL PRICE (ORIGINALLY NEW)                                                                   $39,030.00
EXTERIOR                                   · Full Floor Console w/Covered Storage,
                                           Mini Overhead Console w/Storage and 3
· Wheels: 17" x 7" Silver-Painted Alloy    12V DC Power Outlets
· Tires: P215/55R17 AS                     · Front And Rear Map Lights
· Steel Spare Wheel                        · Fade-To-Off Interior Lighting                 Get more information on your smartphone:
· Compact Spare Tire Mounted Inside        · Full Carpet Floor Covering
Under Cargo                                · Carpet Floor Trim and Carpet Trunk
· Clearcoat Paint                          Lid/Rear Cargo Door Trim
· Body-Colored Front Bumper w/Chrome       · Cargo Area Concealed Storage
Rub Strip/Fascia Accent                    · Cargo Space Lights
· Body-Colored Rear Bumper w/Black         · Instrument Panel Covered Bin, Driver /
Rub Strip/Fascia Accent                    Passenger And Rear Door Bins
· Chrome Side Windows Trim                 · Delayed Accessory Power
· Chrome Door Handles                      · Outside Temp Gauge
· Light Tinted Glass                       · Analog Display
· Front Windshield -inc: Sun Visor Strip   · Manual Adjustable Front Head Restraints
· Fully Galvanized Steel Panels            and Manual Adjustable Rear Head
· Chrome Grille                            Restraints
· Trunk Rear Cargo Access                  · Front Center Armrest and Rear Center
· LED Brakelights                          Armrest w/Pass-Thru
· Laminated Glass                          · 2 Seatback Storage Pockets
                                           · Perimeter Alarm
ENTERTAINMENT                              · 3 12V DC Power Outlets
                                           · Air Filtration
· Radio w/Seek-Scan, Clock, Speed
Compensated Volume Control, Steering       SAFETY
Wheel Controls, Voice Activation and
Radio Data System                          · Side Impact Beams
· Window Grid Antenna                      · Low Tire Pressure Warning
                                           · Dual Stage Driver And Passenger Front
INTERIOR                                   Airbags
                                           · Curtain 1st And 2nd Row Airbags
· Manual Tilt/Telescoping Steering         · Airbag Occupancy Sensor
Column                                     · Rear Child Safety Locks
· Leather Steering Wheel                   · Outboard Front Lap And Shoulder Safety
· Front Cupholder                          Belts -inc: Rear Center 3 Point, Height
· Rear Cupholder                           Adjusters and Pretensioners
· Compass




                                                                                                www.motorcarsofnashville.com
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                                                                      Ex. 1 - Page 114
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                                     #:2101
Year: 2011                                                                              Engine: 4 Cylinder Engine
Make: Toyota                                                                            Transmission: 4-Speed Automatic
Model: Corolla LE                                                                       Colors: Black Sand Pearl / Ash
VIN: 2T1BU4EE4BC593105                                                                  Mileage: 128,490                                                                                    Stock #: 89882A

                                              · Cruise control                                     CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Remote keyless entry -inc: panic feature,

· 1.8L DOHC SFI 16-valve VVT-i I4
                                              remote illumination
                                              · Anti-theft system w/engine immobilizer                26                                                                                         34
engine                                        · Air conditioning w/air filtration
                                                                                                        Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 4-speed automatic transmission w/OD -       · HD rear window defogger w/timer
inc: intelligence (ECT-i)                     · Front & rear door pockets w/bottle holder
· Front wheel drive                           · Dual glove compartments
· Independent MacPherson strut front          · (4) cup holders                                  New
suspension                                    · Metallic interior trim & door handle
· Torsion beam rear suspension                accents
                                                                                                 MSRP                                                                                           $17,600.00
· Front & rear stabilizer bars                · 12V aux pwr outlet
· Electric-assist pwr steering                · Dual visor vanity mirrors                        INSTALLED OPTIONS
· Front disc/rear drum brakes                 · Dual front map lights                            [FE] 50 State Emissions                                                                        $0
                                              · Trunk lamp                                       Original Shipping Charge                                                                       $760
EXTERIOR
                                              SAFETY                                             RETAIL PRICE (ORIGINALLY NEW)                                                                  $18,360.00
· 15" x 6" steel wheels -inc: full wheel
covers                                        · 4-wheel anti-lock brakes -inc: brake
· P195/65R15 all-season tires                 assist, electronic brake force distribution
· Temporary spare tire                        · Smart Stop braking technology
· Color-keyed front grille                    · Vehicle stability control w/traction control -   Get more information on your smartphone:
· Multi-reflector halogen headlamps           inc: off switch
· Color-keyed heated pwr fold away            · Front/rear crumple zones
mirrors                                       · Daytime running lamps
· Variable intermittent wipers -inc: mist     · Side-impact door beams
cycle                                         · Dual front airbags w/occupant sensors
· Chrome rear license plate garnish           · Front seat-mounted side airbags
· Color-keyed door handles                    · Front & rear side curtain airbags
                                              · ALR/ELR 3-point front & rear seatbelts -
ENTERTAINMENT                                 inc: front adjustable shoulder belt anchors,
                                              pretensioners, force limiters
· AM/FM stereo w/CD player -inc:              · Child restraint system w/LATCH anchors
MP3/WMA capability, satellite radio           · Child protector rear door locks
capability, aux audio input, auto sound       · Direct tire pressure monitor
leveling, CD-text display, (6) speakers       · Internal trunk release
                                              · Front seat active headrests
INTERIOR                                      · Energy-absorbing steering column

· Front cloth bucket seats -inc: 6-way
adjustable driver seat, 4-way adjustable
passenger seat, passenger seatback
pocket
· 60/40 split-folding rear bench seat
· Center console -inc: side pockets,
storage
· 3-spoke tilt/telescoping steering wheel -
inc: audio controls
· Multi-information display -inc: average
fuel economy, driving range, average
speed, travel distance
· Instrumentation -inc: amber-illuminated
gauges, tachometer, twin tripmeters,
outside temp indicator
· Digital clock
· Remote releases -inc: hood, trunk
w/cancel, fuel door
· Auto-locking pwr door locks
· Pwr windows w/driver one-touch down


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                                     #:2102
Year: 2012                                                                              Engine: 4 Cylinder Engine
Make: Toyota                                                                            Transmission: 4AT
Model: Corolla LE                                                                       Exterior: Barcelona Red Metallic
VIN: 2T1BU4EE8CC799707                                                                  Interior: Bisque

                                              · Pwr windows w/driver one-touch down                CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                    · Cruise control

· 1.8L DOHC SFI 16-valve VVT-i I4
                                              · Remote keyless entry -inc: panic feature,
                                              remote illumination                                     27                                                                                          34
engine                                        · Air conditioning w/air filtration
                                                                                                         Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 4-speed automatic transmission w/OD -       · HD rear window defogger w/timer
inc: intelligence (ECT-i)                     · Front & rear door pockets w/bottle holder
· Front wheel drive                           · Dual glove compartments
· Independent MacPherson strut front          · (4) cup holders                                  New
suspension                                    · 12V aux pwr outlet
· Torsion beam rear suspension                · Dual visor vanity mirrors
                                                                                                 MSRP                                                                                            $17,910.00
· Front & rear stabilizer bars                · Dual front map lights
· Electric-assist pwr steering                · Trunk lamp                                       INSTALLED OPTIONS
· Front ventilated disc & rear drum                                                              [FE] 50 State Emissions                                                                         $0
brakes                                        SAFETY                                             Original Shipping Charge                                                                        $795
EXTERIOR                                      · 4-wheel anti-lock brakes -inc: brake             RETAIL PRICE (ORIGINALLY NEW)                                                                   $18,705.00
                                              assist, electronic brake force distribution
· 16" x 6.5" steel wheels -inc: full wheel    · Smart Stop braking technology
covers                                        · Vehicle stability control w/traction control -
· P205/55R16 all-season tires                 inc: off switch
· Temporary spare tire                        · Front/rear crumple zones                         Get more information on your smartphone:
· Color-keyed front grille                    · Daytime running lamps
· Multi-reflector halogen headlamps           · Side-impact door beams
· Color-keyed heated pwr fold away            · Dual front airbags w/occupant sensors
mirrors                                       · Front seat-mounted side airbags
· Variable intermittent wipers -inc: mist     · Front & rear side curtain airbags
cycle                                         · ALR/ELR 3-point front & rear seatbelts -
· Chrome rear license plate garnish           inc: front adjustable shoulder belt anchors,
· Color-keyed door handles                    pretensioners, force limiters
                                              · Child restraint system w/LATCH anchors
ENTERTAINMENT                                 · Child protector rear door locks
                                              · Direct tire pressure monitor
· AM/FM stereo w/CD player -inc:              · Internal trunk release
MP3/WMA capability, aux audio input,          · Front seat active headrests
auto sound leveling, USB port w/iPod          · Energy-absorbing steering column
connectivity, hands-free phone
capability, phone book access, iPod
interface, (6) speakers

INTERIOR

· Front cloth bucket seats -inc: 6-way
adjustable driver seat, 4-way adjustable
passenger seat, passenger seatback
pocket
· Driver seat height adjustment
· 60/40 split-folding rear bench seat
· Center console -inc: side pockets,
storage
· 3-spoke tilt/telescoping steering wheel -
inc: audio controls
· Multi-information display -inc: average
fuel economy, driving range, average
speed, travel distance
· Black instrumentation -inc: tachometer,
twin tripmeters, outside temp indicator
· Digital clock
· Remote releases -inc: hood, trunk
w/cancel, fuel door
· Auto-locking pwr door locks



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                                     #:2103
Year: 2013                                                                           Engine: 4 Cylinder Engine
Make: Toyota                                                                         Transmission: 4AT
Model: Corolla LE                                                                    Exterior: Super White
VIN: 5YFBU4EEXDP123213                                                               Interior: Bisque

                                              · Digital clock                                   CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                    · Auto-locking pwr door locks

· 1.8L DOHC SFI 16-valve VVT-i I4
                                              · Remote keyless entry -inc: panic feature,
                                              remote illumination, trunk-release                   26                                                                                         33
engine                                        · Pwr windows w/driver one-touch down
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 4-speed automatic transmission w/OD -       · Cruise control
inc: intelligence (ECT-i)                     · Air conditioning w/air filtration
· Front wheel drive                           · Rear window defogger w/timer
· Independent MacPherson strut front          · Front & rear door pockets w/bottle holder     New
suspension                                    · Dual glove compartments
· Torsion beam rear suspension                · (4) cup holders
                                                                                              MSRP                                                                                           $18,180.00
· Front & rear stabilizer bars                · 12V aux pwr outlet
· Electric-assist pwr steering                · Dual visor vanity mirrors                     INSTALLED OPTIONS
· Front ventilated disc & rear drum           · Dual front map lights                         [FE] 50 State Emissions                                                                        $0
brakes                                                                                        Original Shipping Charge                                                                       $810
                                              SAFETY
EXTERIOR                                                                                      RETAIL PRICE (ORIGINALLY NEW)                                                                  $18,990.00
                                              · Star safety system -inc: enhanced vehicle
· 16" x 6.5" steel wheels -inc: full wheel    stability control (VSC), traction control
covers                                        (TRAC), anti-lock brake system (ABS),
· P205/55R16 all-season tires                 electronic brake-force distribution (EBD),
· Temporary spare tire                        brake assist (BA), Smart Stop Technology        Get more information on your smartphone:
· Chrome beltline moldings                    (SST)
· Color-keyed front grille -inc: chrome       · Front/rear crumple zones
accents                                       · Side-impact door beams
· Multi-reflector halogen headlamps           · Daytime running lamps
· Color-keyed heated fold away pwr            · Dual front airbags w/occupant sensors
mirrors                                       · Front seat-mounted side airbags
· Variable intermittent wipers                · Front & rear side curtain airbags
· Chrome rear license plate garnish           · ALR/ELR 3-point front & rear seatbelts -
· Color-keyed door handles                    inc: front adjustable shoulder belt anchors,
                                              pretensioners, force limiters
ENTERTAINMENT                                 · Child restraint system w/LATCH anchors
                                              · Child protector rear door locks
· AM/FM stereo w/CD player -inc:              · Tire pressure monitor system
MP3/WMA capability, 6.1" touch-screen         · Front seat active headrests
w/vehicle info, USB port w/iPod               · Energy-absorbing steering column
connectivity, aux audio input, Bluetooth
hands-free phone & music streaming,
Bluetooth steering wheel controls,
phone book access, (6) speakers
· In-glass antenna

INTERIOR

· Front cloth bucket seats -inc: 6-way
adjustable driver seat, 4-way adjustable
passenger seat, passenger seatback
pocket
· 60/40 split-folding rear bench seat
· Center console w/storage compartment
· 3-spoke tilt/telescoping steering wheel -
inc: metallic accents, audio steering
wheel controls
· Multi-info display -inc: outside temp,
current/average fuel economy, average
speed, travel distance, trip computer
· Black instrumentation -inc: tachometer,
twin tripmeters




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                                     #:2104
Year: 2014                                                                                      Engine: 4 Cylinder Engine
Make: Toyota                                                                                    Transmission: CVT
Model: Corolla LE                                                                               Colors: White / Ash
VIN: 2T1BURHEXEC130852                                                                          Mileage: 54,792                                                                                     Stock #: 116965

                                                   · Cruise Control w/Steering Wheel Controls
MECHANICAL                                         · Automatic Air Conditioning
                                                                                                           CITY MPG                                                                          HIGHWAY MPG

                                                                                                             29                                                                                          38
                                                   · HVAC -inc: Underseat Ducts
· Front-Wheel Drive                                · Locking Glove Box
· 4.76 Axle Ratio                                  · Driver Foot Rest
· 390CCA Maintenance-Free Battery w/Run            · Interior Trim -inc: Piano Black Instrument Panel
                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                    Insert, Metal-Look Console Insert and Chrome
· 80 Amp Alternator                                Interior Accents
· Gas-Pressurized Shock Absorbers                  · Full Cloth Headliner
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                   · Cloth Door Trim Insert
                                                   · Urethane Gear Shift Knob
                                                                                                        New
· 13.2 Gal. Fuel Tank                              · Fabric Seat Trim
· Single Stainless Steel Exhaust                   · Day-Night Rearview Mirror
· Strut Front Suspension w/Coil Springs            · Driver And Passenger Visor Vanity Mirrors          MSRP                                                                                            $18,300.00
· Torsion Beam Rear Suspension w/Coil Springs      · Full Floor Console w/Covered Storage and 1 12V     INSTALLED OPTIONS
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,       DC Power Outlet
Front Vented Discs and Brake Assist                · Front Map Lights                                   [FE0] 50 State Emissions                                                                        $0
                                                   · Fade-To-Off Interior Lighting
                                                                                                        Original Shipping Charge                                                                        $825
EXTERIOR                                           · Full Carpet Floor Covering
                                                   · Carpet Floor Trim and Carpet Trunk Lid/Rear        RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,125.00
· Wheels: 16" x 6.5" Steel -inc: wheel covers      Cargo Door Trim
· Tires: P205/55R16 All-Season                     · Cargo Space Lights
· Steel Spare Wheel                                · FOB Controls -inc: Trunk/Hatch/Tailgate
· Compact Spare Tire Mounted Inside Under          · Instrument Panel Covered Bin, Driver / Passenger
Cargo                                              And Rear Door Bins
· Clearcoat Paint                                  · Power 1st Row Windows w/Driver 1-Touch             Get more information on your smartphone:
· Body-Colored Front Bumper                        Up/Down
· Body-Colored Rear Bumper                         · Delayed Accessory Power
· Chrome Side Windows Trim                         · Power Door Locks w/Autolock Feature
· Body-Colored Door Handles                        · Trip Computer
· Body-Colored Power Heated Side Mirrors           · Outside Temp Gauge
w/Manual Folding                                   · Analog Display
· Fixed Rear Window w/Defroster                    · Seats w/Cloth Back Material
· Light Tinted Glass                               · Manual Adjustable Front Head Restraints and
· Variable Intermittent Wipers                     Manual Adjustable Rear Head Restraints
· Fully Galvanized Steel Panels                    · Front Center Armrest w/Storage
· Black Grille                                     · 1 Seatback Storage Pocket
· Trunk Rear Cargo Access                          · 1 12V DC Power Outlet
· Auto Off Projector Beam Led Low Beam             · Air Filtration
Daytime Running Headlamps w/Delay-Off
                                                   SAFETY
ENTERTAINMENT
                                                   · Electronic Stability Control
· Radio: AM/FM/CD Player w/6.1" Touch Screen -     · ABS And Driveline Traction Control
inc: Entune multimedia bundle, MP3/WMA             · Side Impact Beams
playback capability, 6 speakers, auxiliary audio   · Dual Stage Driver And Passenger Seat-Mounted
jack, USB 2.0 port w/iPod connectivity and         Side Airbags
control, hands-free phone capability, phone book   · Low Tire Pressure Warning
access and music streaming via Bluetooth           · Dual Stage Driver And Passenger Front Airbags
wireless technology, and advanced voice            · Curtain 1st And 2nd Row Airbags
recognition, See Toyota.com/Entune for details     · Airbag Occupancy Sensor
· Radio w/Seek-Scan, Clock, Speed                  · Driver Knee Airbag and Passenger Cushion Front
Compensated Volume Control, Steering Wheel         Airbag
Controls and Radio Data System                     · Rear Child Safety Locks
· Automatic Equalizer                              · Outboard Front Lap And Shoulder Safety Belts -
· Window Grid Antenna                              inc: Rear Center 3 Point, Height Adjusters and
                                                   Pretensioners
INTERIOR                                           · Back-Up Camera

· Front Bucket Seats -inc: 6-way adjustable
driver's seat and 4-way adjustable front
passenger seat
· 6-Way Driver Seat
· 4-Way Passenger Seat
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder
· Remote Keyless Entry w/Integrated Key
Transmitter, Illuminated Entry and Panic Button
· Remote Releases -Inc: Mechanical Cargo
Access and Mechanical Fuel                                                                                                     www.easterns.com
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                                     #:2105
Year: 2015                                                                                      Engine: 4 Cylinder Engine
Make: Toyota                                                                                    Transmission: CVT
Model: Corolla LE                                                                               Exterior: Black Mc.
VIN: 2T1BURHEXFC411535                                                                          Interior: Gray

                                                   · Cruise Control w/Steering Wheel Controls
MECHANICAL                                         · Automatic Air Conditioning
                                                                                                           CITY MPG                                                                          HIGHWAY MPG

                                                                                                             27                                                                                          36
                                                   · HVAC -inc: Underseat Ducts
· Front-Wheel Drive                                · Locking Glove Box
· 4.76 Axle Ratio                                  · Driver Foot Rest
· 390CCA Maintenance-Free Battery w/Run            · Interior Trim -inc: Piano Black Instrument Panel
                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                    Insert, Metal-Look Console Insert and Chrome
· 80 Amp Alternator                                Interior Accents
· 3820# Gvwr                                       · Full Cloth Headliner
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                                   · Cloth Door Trim Insert
                                                   · Urethane Gear Shift Knob
                                                                                                        New
· Electric Power-Assist Speed-Sensing Steering     · Fabric Seat Trim
· 13.2 Gal. Fuel Tank                              · Day-Night Rearview Mirror
· Single Stainless Steel Exhaust                   · Driver And Passenger Visor Vanity Mirrors          MSRP                                                                                            $18,565.00
· Strut Front Suspension w/Coil Springs            · Full Floor Console w/Covered Storage and 1 12V     INSTALLED OPTIONS
· Torsion Beam Rear Suspension w/Coil Springs      DC Power Outlet
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,       · Front Map Lights                                   [FE0] 50 State Emissions                                                                        $0
Front Vented Discs and Brake Assist                · Fade-To-Off Interior Lighting
                                                                                                        [EF] Rear Bumper Protector                                                                      $79
                                                   · Full Carpet Floor Covering
EXTERIOR                                           · Carpet Floor Trim and Carpet Trunk Lid/Rear        [CF0] Carpeted Floor Mats & Trunk Mat                                                           $225
                                                   Cargo Door Trim
· Wheels: 16" x 6.5" Steel -inc: wheel covers      · Cargo Space Lights
                                                                                                        Original Shipping Charge                                                                        $835
· Tires: P205/55R16 All-Season                     · FOB Controls -inc: Trunk/Hatch/Tailgate            RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,704.00
· Steel Spare Wheel                                · Instrument Panel Covered Bin, Driver / Passenger
· Compact Spare Tire Mounted Inside Under          And Rear Door Bins
Cargo                                              · Power 1st Row Windows w/Driver 1-Touch
· Clearcoat Paint                                  Up/Down
· Body-Colored Front Bumper                        · Delayed Accessory Power
· Body-Colored Rear Bumper                         · Power Door Locks w/Autolock Feature                Get more information on your smartphone:
· Body-Colored Door Handles                        · Trip Computer
· Black Side Windows Trim                          · Outside Temp Gauge
· Body-Colored Power Heated Side Mirrors           · Analog Display
w/Manual Folding                                   · Seats w/Cloth Back Material
· Fixed Rear Window w/Defroster                    · Manual Adjustable Front Head Restraints and
· Light Tinted Glass                               Manual Adjustable Rear Head Restraints
· Variable Intermittent Wipers                     · Front Center Armrest w/Storage and Rear Center
· Fully Galvanized Steel Panels                    Armrest
· Argent Grille                                    · 1 12V DC Power Outlet
· Trunk Rear Cargo Access                          · Air Filtration
· Auto Off Projector Beam Led Low Beam
Daytime Running Headlamps w/Delay-Off              SAFETY

ENTERTAINMENT                                      · Electronic Stability Control
                                                   · ABS And Driveline Traction Control
· Radio: AM/FM/CD Player w/6.1" Touch Screen -     · Side Impact Beams
inc: Entune multimedia bundle, MP3/WMA             · Dual Stage Driver And Passenger Seat-Mounted
playback capability, 6 speakers, auxiliary audio   Side Airbags
jack, USB 2.0 port w/iPod connectivity and         · Low Tire Pressure Warning
control, hands-free phone capability, phone book   · Dual Stage Driver And Passenger Front Airbags
access and music streaming via Bluetooth           · Curtain 1st And 2nd Row Airbags
wireless technology, and advanced voice            · Airbag Occupancy Sensor
recognition, See Toyota.com/Entune for details     · Driver Knee Airbag and Passenger Cushion Front
· Radio w/Seek-Scan, Clock, Speed                  Airbag
Compensated Volume Control, Steering Wheel         · Rear Child Safety Locks
Controls and Radio Data System                     · Outboard Front Lap And Shoulder Safety Belts -
· Automatic Equalizer                              inc: Rear Center 3 Point, Height Adjusters and
· Window Grid Antenna                              Pretensioners
                                                   · Back-Up Camera
INTERIOR

· Front Bucket Seats -inc: 6-way adjustable
driver's seat, 4-way adjustable front passenger
seat, and seatback pocket
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder
· Remote Releases -Inc: Mechanical Cargo
Access and Mechanical Fuel


                                                                                                                            OffleaseOnly
· Remote Keyless Entry w/Integrated Key
Transmitter, Illuminated Entry and Panic Button


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                                     #:2106
Year: 2016                                                                                      Engine: 4 Cylinder Engine
Make: Toyota                                                                                    Transmission: CVT
Model: Corolla LE                                                                               Exterior: Classic Silver Met
VIN: 2T1BURHE1GC608157                                                                          Interior: Ash

                                                   · Cruise Control w/Steering Wheel Controls
MECHANICAL                                         · Automatic Air Conditioning
                                                                                                            CITY MPG                                                                          HIGHWAY MPG

                                                                                                               28                                                                                         36
                                                   · HVAC -inc: Underseat Ducts
· Front-Wheel Drive                                · Locking Glove Box
· 4.76 Axle Ratio                                  · Driver Foot Rest
· 390CCA Maintenance-Free Battery w/Run            · Interior Trim -inc: Piano Black Instrument Panel
                                                                                                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                    Insert, Metal-Look Console Insert and Chrome
· 80 Amp Alternator                                Interior Accents
· Gas-Pressurized Shock Absorbers                  · Full Cloth Headliner
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                   · Cloth Door Trim Insert
                                                   · Urethane Gear Shift Knob
                                                                                                        New
· 13.2 Gal. Fuel Tank                              · Fabric Seat Trim
· Single Stainless Steel Exhaust                   · Day-Night Rearview Mirror
· Strut Front Suspension w/Coil Springs            · Driver And Passenger Visor Vanity Mirrors          MSRP                                                                                             $18,735.00
· Torsion Beam Rear Suspension w/Coil Springs      · Full Floor Console w/Covered Storage and 1 12V     INSTALLED OPTIONS
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,       DC Power Outlet
Front Vented Discs, Brake Assist and Hill Hold     · Front Map Lights                                   [FE0] 50 State Emissions                                                                         $0
Control                                            · Fade-To-Off Interior Lighting
                                                                                                        Original Shipping Charge                                                                         $895
                                                   · Full Carpet Floor Covering
EXTERIOR                                           · Carpet Floor Trim and Carpet Trunk Lid/Rear        RETAIL PRICE (ORIGINALLY NEW)                                                                    $19,630.00
                                                   Cargo Door Trim
· Wheels: 16" x 6.5" Steel -inc: wheel covers      · Cargo Space Lights
· Tires: P205/55R16 All-Season                     · FOB Controls -inc: Trunk/Hatch/Tailgate
· Steel Spare Wheel                                · Instrument Panel Covered Bin, Driver / Passenger
· Compact Spare Tire Mounted Inside Under          And Rear Door Bins
Cargo                                              · Power 1st Row Windows w/Driver 1-Touch             Get more information on your smartphone:
· Clearcoat Paint                                  Up/Down
· Body-Colored Front Bumper                        · Delayed Accessory Power
· Body-Colored Rear Bumper                         · Power Door Locks w/Autolock Feature
· Body-Colored Door Handles                        · Trip Computer
· Black Side Windows Trim                          · Outside Temp Gauge
· Body-Colored Power Heated Side Mirrors           · Analog Display
w/Manual Folding                                   · Seats w/Cloth Back Material
· Fixed Rear Window w/Defroster                    · Manual Adjustable Front Head Restraints and
· Light Tinted Glass                               Manual Adjustable Rear Head Restraints
· Variable Intermittent Wipers                     · Front Center Armrest w/Storage and Rear Center
· Fully Galvanized Steel Panels                    Armrest
· Argent Grille                                    · 1 Seatback Storage Pocket
· Trunk Rear Cargo Access                          · 1 12V DC Power Outlet
· Auto Off Projector Beam Led Low Beam             · Air Filtration
Daytime Running Headlamps w/Delay-Off
                                                   SAFETY
ENTERTAINMENT
                                                   · Electronic Stability Control
· Radio: AM/FM/CD Player w/6.1" Touch Screen -     · ABS And Driveline Traction Control
inc: Entune multimedia bundle, MP3/WMA             · Side Impact Beams
playback capability, 6 speakers, auxiliary audio   · Dual Stage Driver And Passenger Seat-Mounted
jack, USB 2.0 port w/iPod connectivity and         Side Airbags
control, hands-free phone capability, phone book   · Low Tire Pressure Warning
access and music streaming via Bluetooth           · Dual Stage Driver And Passenger Front Airbags
wireless technology, and advanced voice            · Curtain 1st And 2nd Row Airbags
recognition, See Toyota.com/Entune for details     · Airbag Occupancy Sensor
· Radio w/Seek-Scan, Clock, Speed                  · Driver Knee Airbag and Passenger Cushion Front
Compensated Volume Control, Steering Wheel         Airbag
Controls and Radio Data System                     · Rear Child Safety Locks
· Automatic Equalizer                              · Outboard Front Lap And Shoulder Safety Belts -
· Window Grid Antenna                              inc: Rear Center 3 Point, Height Adjusters and
                                                   Pretensioners
INTERIOR                                           · Back-Up Camera

· Front Bucket Seats -inc: 6-way adjustable
driver's seat and 4-way adjustable front
passenger seat
· 6-Way Driver Seat
· 4-Way Passenger Seat
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder


                                                                                                                             OffleaseOnly
· Remote Releases -Inc: Mechanical Cargo
Access and Mechanical Fuel
· Remote Keyless Entry w/Integrated Key
Transmitter, Illuminated Entry and Panic Button
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                                     #:2107
Year: 2017                                                                                      Engine: 4 Cylinder Engine
Make: Toyota                                                                                    Transmission: CVT
Model: Corolla LE                                                                               Exterior: Slate Metallic
VIN: 5YFBURHE2HP726980                                                                          Interior: Black

                                                   · Cruise Control w/Steering Wheel Controls
MECHANICAL                                         · Distance Pacing
                                                                                                           CITY MPG                                                                          HIGHWAY MPG

                                                                                                             28                                                                                          36
                                                   · Automatic Air Conditioning
· Front-Wheel Drive                                · HVAC -inc: Underseat Ducts
· 4.76 Axle Ratio                                  · Locking Glove Box
· 390CCA Maintenance-Free Battery w/Run            · Driver Foot Rest
                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                    · Full Cloth Headliner
· 80 Amp Alternator                                · Cloth Door Trim Insert
· Gas-Pressurized Shock Absorbers                  · Urethane Gear Shift Knob
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                   · Interior Trim -inc: Piano Black Instrument Panel
                                                   Insert, Metal-Look Console Insert and Chrome
                                                                                                        New
· 13.2 Gal. Fuel Tank                              Interior Accents
· Single Stainless Steel Exhaust                   · Fabric Seat Trim
· Strut Front Suspension w/Coil Springs            · Day-Night Rearview Mirror                          MSRP                                                                                            $18,935.00
· Torsion Beam Rear Suspension w/Coil Springs      · Driver And Passenger Visor Vanity Mirrors          INSTALLED OPTIONS
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,       · Full Floor Console w/Covered Storage and 1 12V
Front Vented Discs, Brake Assist and Hill Hold     DC Power Outlet                                      [FE0] 50 State Emissions                                                                        $0
Control                                            · Front Map Lights
                                                                                                        Original Shipping Charge                                                                        $895
                                                   · Fade-To-Off Interior Lighting
EXTERIOR                                           · Full Carpet Floor Covering                         RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,830.00
                                                   · Carpet Floor Trim and Carpet Trunk Lid/Rear
· Wheels: 16" x 6.5" Wide Vent Steel               Cargo Door Trim
· Tires: P205/55R16 All-Season                     · Cargo Space Lights
· Steel Spare Wheel                                · FOB Controls -inc: Trunk/Hatch/Tailgate
· Compact Spare Tire Mounted Inside Under          · Instrument Panel Covered Bin, Driver / Passenger
Cargo                                              And Rear Door Bins                                   Get more information on your smartphone:
· Clearcoat Paint                                  · Power 1st Row Windows w/Driver 1-Touch
· Body-Colored Front Bumper                        Up/Down
· Body-Colored Rear Bumper                         · Delayed Accessory Power
· Black Side Windows Trim                          · Power Door Locks w/Autolock Feature
· Body-Colored Door Handles                        · Trip Computer
· Body-Colored Power Heated Side Mirrors           · Outside Temp Gauge
w/Manual Folding                                   · Analog Display
· Fixed Rear Window w/Defroster                    · Seats w/Cloth Back Material
· Light Tinted Glass                               · Manual Adjustable Front Head Restraints and
· Variable Intermittent Wipers                     Manual Adjustable Rear Head Restraints
· Fully Galvanized Steel Panels                    · Front Center Armrest w/Storage and Rear Center
· Black Grille                                     Armrest
· Trunk Rear Cargo Access                          · 1 Seatback Storage Pocket
· Fully Automatic Projector Beam Led Low/High      · 1 12V DC Power Outlet
Beam Auto High-Beam Headlamps w/Delay-Off          · Air Filtration
· LED Daytime Running Lights -inc: Integrated
into bumper                                        SAFETY

ENTERTAINMENT                                      · Electronic Stability Control
                                                   · ABS And Driveline Traction Control
· Radio: Entune Audio w/6.1" Screen -inc: Entune   · Side Impact Beams
Multimedia Bundle and Siri Eyes Free               · Dual Stage Driver And Passenger Seat-Mounted
· Radio w/Seek-Scan, MP3 Player, Clock, Speed      Side Airbags
Compensated Volume Control, Steering Wheel         · Pre-Collision System
Controls and Radio Data System                     · Lane Departure Alert w/Steering Assist Lane
· Automatic Equalizer                              Keeping Assist
· Streaming Audio                                  · Lane Departure Alert w/Steering Assist Lane
· 6 Speakers                                       Departure Warning
· Window Grid Antenna                              · Low Tire Pressure Warning
                                                   · Dual Stage Driver And Passenger Front Airbags
INTERIOR                                           · Curtain 1st And 2nd Row Airbags
                                                   · Airbag Occupancy Sensor
· Front Bucket Seats -inc: 6-way adjustable        · Driver Knee Airbag and Passenger Cushion Front
driver's seat and 4-way adjustable front           Airbag
passenger seat                                     · Rear Child Safety Locks
· 6-Way Driver Seat                                · Outboard Front Lap And Shoulder Safety Belts -
· 4-Way Passenger Seat                             inc: Rear Center 3 Point, Height Adjusters and
· 60-40 Folding Bench Front Facing Fold            Pretensioners
Forward Seatback Rear Seat                         · Back-Up Camera
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder
· Remote Releases -Inc: Mechanical Cargo
Access and Mechanical Fuel
· Remote Keyless Entry w/Integrated Key
Transmitter, Illuminated Entry and Panic Button


                                                                                                            Mullinax Kissimmee
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                                     #:2108
Year: 2018                                                                                      Engine: 4 Cylinder Engine
Make: Toyota                                                                                    Transmission: CVT
Model: Corolla LE                                                                               Exterior: Black Sand Pearl
VIN: 5YFBURHEXJP750188                                                                          Interior: Ash

                                                   · Distance Pacing
MECHANICAL                                         · Automatic Air Conditioning
                                                                                                           CITY MPG                                                                          HIGHWAY MPG

                                                                                                              27                                                                                         35
                                                   · HVAC -inc: Underseat Ducts
· Front-Wheel Drive                                · Locking Glove Box
· 4.76 Axle Ratio                                  · Driver Foot Rest
· 390CCA Maintenance-Free Battery w/Run            · Full Cloth Headliner
                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                    · Cloth Door Trim Insert
· 80 Amp Alternator                                · Urethane Gear Shift Knob
· 3820# Gvwr                                       · Interior Trim -inc: Piano Black Instrument Panel
· Gas-Pressurized Shock Absorbers
· Front And Rear Anti-Roll Bars
                                                   Insert, Metal-Look Console Insert and Chrome
                                                   Interior Accents
                                                                                                        New
· Electric Power-Assist Speed-Sensing Steering     · Fabric Seat Trim
· 13.2 Gal. Fuel Tank                              · Day-Night Rearview Mirror
· Single Stainless Steel Exhaust                   · Driver And Passenger Visor Vanity Mirrors          MSRP                                                                                            $19,035.00
· Strut Front Suspension w/Coil Springs            w/Driver And Passenger Illumination                  INSTALLED OPTIONS
· Torsion Beam Rear Suspension w/Coil Springs      · Full Floor Console w/Covered Storage and 1 12V
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,       DC Power Outlet                                      [FE0] 50 State Emissions                                                                        $0
Front Vented Discs, Brake Assist and Hill Hold     · Front Map Lights
                                                                                                        Original Shipping Charge                                                                        $895
Control                                            · Fade-To-Off Interior Lighting
                                                   · Full Carpet Floor Covering                         RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,930.00
EXTERIOR                                           · Carpet Floor Trim and Carpet Trunk Lid/Rear
                                                   Cargo Door Trim
· Wheels: 16" x 6.5" Wide Vent Steel               · Cargo Space Lights
· Tires: P205/55R16 All-Season                     · FOB Controls -inc: Trunk/Hatch/Tailgate
· Steel Spare Wheel                                · Instrument Panel Covered Bin, Driver / Passenger
· Compact Spare Tire Mounted Inside Under          And Rear Door Bins                                   Get more information on your smartphone:
Cargo                                              · Power 1st Row Windows w/Driver 1-Touch
· Clearcoat Paint                                  Up/Down
· Body-Colored Front Bumper                        · Delayed Accessory Power
· Body-Colored Rear Bumper                         · Power Door Locks w/Autolock Feature
· Black Side Windows Trim                          · Trip Computer
· Body-Colored Door Handles                        · Outside Temp Gauge
· Body-Colored Power Heated Side Mirrors           · Analog Display
w/Manual Folding                                   · Seats w/Cloth Back Material
· Fixed Rear Window w/Defroster                    · Manual Adjustable Front Head Restraints and
· Light Tinted Glass                               Manual Adjustable Rear Head Restraints
· Variable Intermittent Wipers                     · Front Center Armrest w/Storage and Rear Center
· Fully Galvanized Steel Panels                    Armrest
· Black Grille                                     · 1 Seatback Storage Pocket
· Trunk Rear Cargo Access                          · 1 12V DC Power Outlet
· Fully Automatic Projector Beam Led Low/High      · Air Filtration
Beam Auto High-Beam Headlamps w/Delay-Off
· LED Daytime Running Lights -inc: Integrated      SAFETY
into bumper
                                                   · Electronic Stability Control
ENTERTAINMENT                                      · ABS And Driveline Traction Control
                                                   · Side Impact Beams
· Radio: Entune Audio w/6.1" Screen -inc: Entune   · Dual Stage Driver And Passenger Seat-Mounted
Multimedia Bundle and Siri Eyes Free               Side Airbags
· Radio w/Seek-Scan, Clock, Speed                  · Pre-Collision System Forward Collision
Compensated Volume Control, Steering Wheel         · Lane Departure Alert w/Steering Assist Lane
Controls and Radio Data System                     Keeping Assist
· Automatic Equalizer                              · Lane Departure Alert w/Steering Assist Lane
· Window Grid Antenna                              Departure Warning
· 1 LCD Monitor In The Front                       · Low Tire Pressure Warning
                                                   · Dual Stage Driver And Passenger Front Airbags
INTERIOR                                           · Curtain 1st And 2nd Row Airbags
                                                   · Airbag Occupancy Sensor
· Front Bucket Seats -inc: 6-way adjustable        · Driver Knee Airbag and Passenger Cushion Front
driver's seat and 4-way adjustable front           Airbag
passenger seat                                     · Rear Child Safety Locks
· 60-40 Folding Bench Front Facing Fold            · Outboard Front Lap And Shoulder Safety Belts -
Forward Seatback Rear Seat                         inc: Rear Center 3 Point, Height Adjusters and
· Manual Tilt/Telescoping Steering Column          Pretensioners
· Gauges -inc: Speedometer, Odometer, Engine       · Back-Up Camera
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder
· Remote Releases -Inc: Mechanical Cargo
Access and Mechanical Fuel
· Remote Keyless Entry w/Integrated Key
Transmitter, Illuminated Entry and Panic Button


                                                                                                                            OffleaseOnly
· Cruise Control w/Steering Wheel Controls




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                                     #:2109
Year: 2019                                                                                      Engine: 4 Cylinder Engine
Make: Toyota                                                                                    Transmission: CVT
Model: Corolla LE                                                                               Exterior: Barcelona Red Met.
VIN: 2T1BURHE3KC182335                                                                          Interior: Flaxen

                                                   · Cruise Control w/Steering Wheel Controls
MECHANICAL                                         · Distance Pacing
                                                                                                           CITY MPG                                                                          HIGHWAY MPG

                                                                                                              28                                                                                         36
                                                   · HVAC -inc: Underseat Ducts
· Front-Wheel Drive                                · Automatic Air Conditioning
· 4.76 Axle Ratio                                  · Locking Glove Box
· 390CCA Maintenance-Free Battery w/Run            · Driver Foot Rest
                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                    · Full Cloth Headliner
· 80 Amp Alternator                                · Cloth Door Trim Insert
· Gas-Pressurized Shock Absorbers                  · Urethane Gear Shift Knob
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                   · Fabric Seat Trim
                                                   · Interior Trim -inc: Piano Black Instrument Panel
                                                                                                         New
· 13.2 Gal. Fuel Tank                              Insert, Metal-Look Console Insert and
· Single Stainless Steel Exhaust                   Chrome/Metal-Look Interior Accents
· Strut Front Suspension w/Coil Springs            · Day-Night Rearview Mirror                           MSRP                                                                                           $19,135.00
· Torsion Beam Rear Suspension w/Coil Springs      · Driver And Passenger Visor Vanity Mirrors           INSTALLED OPTIONS
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,       w/Driver And Passenger Illumination
Front Vented Discs, Brake Assist and Hill Hold     · Full Floor Console w/Covered Storage and 1 12V      [FE0] 50 State Emissions                                                                       $0
Control                                            DC Power Outlet
                                                                                                         [LL0] Le Premium Package                                                                       $1,215
                                                   · Front Map Lights
EXTERIOR                                           · Fade-To-Off Interior Lighting                          Radio: Entune Audio Plus w/Connected Navigation
                                                   · Full Carpet Floor Covering -inc: Carpet Front And      Entune multimedia bundle (7" high resolution touch-
                                                                                                            screen display
· Wheels: 16" x 6.5" Wide Vent Steel               Rear Floor Mats                                          AM/FM CD player
· Tires: P205/55R16 All-Season                     · Carpet Floor Trim and Carpet Trunk Lid/Rear            6 speakers
· Wheels w/Full Wheel Covers                       Cargo Door Trim                                          auxiliary audio jack
· Steel Spare Wheel                                · Cargo Space Lights                                     USB 2.0 port w/iPod connectivity and control
· Compact Spare Tire Mounted Inside Under          · FOB Controls -inc: Trunk/Hatch/Tailgate                advanced voice recognition
Cargo                                              · Instrument Panel Bin, Driver / Passenger And Rear      hands-free phone capability
· Clearcoat Paint                                  Door Bins                                                phone book access and music streaming via
                                                                                                            Bluetooth wireless technology)
· Body-Colored Front Bumper                        · Power 1st Row Windows w/Driver 1-Touch
                                                                                                            connected navigation Scout GPS link app
· Body-Colored Rear Bumper                         Up/Down                                                  Siri Eyes Free
· Black Side Windows Trim                          · Delayed Accessory Power                                SiriusXM All Access radio w/3-month complimentary
· Body-Colored Door Handles                        · Power Door Locks w/Autolock Feature                    trial and Gracenote album cover art
· Body-Colored Power Heated Side Mirrors           · Trip Computer                                          HD radio
w/Manual Folding                                   · Outside Temp Gauge                                     HD radio traffic and weather in major metro areas
· Fixed Rear Window w/Defroster                    · Analog Display                                         Wheels: 16" x 6.5" Alloy
· Light Tinted Glass                               · Seats w/Cloth Back Material
                                                                                                            center ornament wheel caps
· Variable Intermittent Wipers                     · Manual Adjustable Front Head Restraints and         Original Shipping Charge                                                                       $930
· Fully Galvanized Steel Panels                    Fixed Rear Head Restraints
· Black Grille                                     · Front Center Armrest w/Storage and Rear Center      RETAIL PRICE (ORIGINALLY NEW)                                                                  $21,280.00
· Trunk Rear Cargo Access                          Armrest
· Fully Automatic Projector Beam Led Low/High      · 1 Seatback Storage Pocket
Beam Auto High-Beam Headlamps w/Delay-Off          · 1 12V DC Power Outlet
· LED Daytime Running Lights -inc: Integrated      · Air Filtration
into bumper
                                                   SAFETY
                                                                                                         Get more information on your smartphone:
ENTERTAINMENT
                                                   · Electronic Stability Control
· Radio: Entune Audio w/6.1" Screen -inc: Entune   · ABS And Driveline Traction Control
multimedia bundle and Siri Eyes Free               · Side Impact Beams
· Radio w/Seek-Scan, Clock, Speed                  · Dual Stage Driver And Passenger Seat-Mounted
Compensated Volume Control, Steering Wheel         Side Airbags
Controls and Radio Data System                     · Toyota Safety Sense P
· Automatic Equalizer                              · Lane Departure Alert w/Steering Assist Lane
· Window Grid Antenna                              Keeping Assist
· 1 LCD Monitor In The Front                       · Lane Departure Alert w/Steering Assist Lane
                                                   Departure Warning
INTERIOR                                           · Low Tire Pressure Warning
                                                   · Dual Stage Driver And Passenger Front Airbags
· Front Bucket Seats -inc: 6-way adjustable        · Curtain 1st And 2nd Row Airbags
driver's seat and 4-way adjustable front           · Airbag Occupancy Sensor
passenger seat                                     · Driver Knee Airbag and Passenger Cushion Front
· Driver Seat                                      Airbag
· Passenger Seat                                   · Rear Child Safety Locks
· 60-40 Folding Bench Front Facing Fold            · Outboard Front Lap And Shoulder Safety Belts -
Forward Seatback Rear Seat                         inc: Rear Center 3 Point, Height Adjusters and
· Manual Tilt/Telescoping Steering Column          Pretensioners
· Gauges -inc: Speedometer, Odometer, Engine       · Back-Up Camera
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Front Cupholder
· Rear Cupholder

                                                                                                                 Arlington Toyota
· Remote Releases -Inc: Mechanical Cargo
Access and Mechanical Fuel
· Remote Keyless Entry w/Integrated Key
Transmitter, Illuminated Entry and Panic Button
                                                                                                                              arlingtontoyota.com
                                                                                                                                  904-302-9611
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                                     #:2110
Year: 2011                                                                            Engine: 4 Cylinder Engine
Make: Toyota                                                                          Transmission: 4AT
Model: Corolla S                                                                      Exterior: Classic Silver Metallic
VIN: 2T1BU4EE8BC560060                                                                Interior: Dark Charcoal

                                            · 12V aux pwr outlet                                  CITY MPG                                                                             HIGHWAY MPG
MECHANICAL                                  · Dual visor vanity mirrors

· 1.8L DOHC SFI 16-valve VVT-i I4
                                            · Dual front map lights
                                            · Trunk lamp                                               28                                                                                          35
engine
                                            SAFETY
                                                                                                          Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive
· Independent MacPherson strut front
suspension                                  · 4-wheel anti-lock brakes -inc: brake
· Torsion beam rear suspension              assist, electronic brake force distribution        New
· Front & rear stabilizer bars              · Smart Stop braking technology
· Electric-assist pwr steering              · Vehicle stability control w/traction control -
                                                                                               MSRP                                                                                               $17,770.00
· Front disc/rear drum brakes               inc: off switch
                                            · Front/rear crumple zones                         INSTALLED OPTIONS
EXTERIOR                                    · Daytime running lamps                            [FE] 50 State Emissions                                                                            $0
                                            · Side-impact door beams                           [SR] PWR Tilt/Slide Moonroof                                                                       $890
· Temporary spare tire                      · Dual front airbags w/occupant sensors
                                                                                                      sunshade
· Color-keyed front grille                  · Front seat-mounted side airbags
· Chrome rear license plate garnish         · Front & rear side curtain airbags
                                                                                               [EX]   Am/Fm Stereo W/CD/MP3 Player                                                                $570
· Color-keyed door handles                  · ALR/ELR 3-point front & rear seatbelts -                aux audio jack
                                                                                                      USB port w/iPod connectivity
                                            inc: front adjustable shoulder belt anchors,              Bluetooth hands-free phone & music streaming
INTERIOR                                    pretensioners, force limiters                             XM satellite radio w/(3) months subscription
                                            · Child restraint system w/LATCH anchors                  (6) speakers
                                                                                                      CD text display
· 60/40 split-folding rear bench seat       · Child protector rear door locks                         auto sound leveling
· Center console -inc: side pockets,        · Direct tire pressure monitor                     Original Shipping Charge                                                                           $760
storage                                     · Internal trunk release
· Multi-information display -inc: average   · Front seat active headrests                      RETAIL PRICE (ORIGINALLY NEW)                                                                      $19,990.00
fuel economy, driving range, average        · Energy-absorbing steering column
speed, travel distance
· Remote releases -inc: hood, trunk
w/cancel, fuel door
· Air conditioning w/air filtration                                                            Get more information on your smartphone:
· HD rear window defogger w/timer
· Front & rear door pockets w/bottle
holder
· Dual glove compartments
· (4) cup holders




                                                                                                      Mullinax Kissimmee
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                                     #:2111
Year: 2012                                                                            Engine: 4 Cylinder Engine
Make: Toyota                                                                          Transmission: Automatic 4-spd
Model: Corolla S                                                                      Exterior: Magnetic Gray Met.
VIN: 5YFBU4EE5CP051951                                                                Interior: Dark Charcoal

                                            · Remote releases -inc: hood, trunk                  CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  w/cancel, fuel door

· 1.8L DOHC SFI 16-valve VVT-i I4
                                            · Pwr door locks
                                            · Pwr windows w/driver one-touch down                   26                                                                                         34
engine                                      · Cruise control
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 5-speed manual transmission w/OD          · Remote keyless entry -inc: panic feature,
· Front wheel drive                         remote illumination
· Independent MacPherson strut front        · Air conditioning w/air filtration
suspension                                  · HD rear window defogger w/timer                  New
· Torsion beam rear suspension              · Front & rear door pockets w/bottle holder
· Front & rear stabilizer bars              · Dual glove compartments
                                                                                               MSRP                                                                                           $17,990.00
· Electric-assist pwr steering              · (4) cup holders
· Front ventilated disc & rear drum         · Metallic interior trim & door handle             INSTALLED OPTIONS
brakes                                      accents                                            [FE] 50 State Emissions                                                                        $0
· Chrome exhaust tips                       · 12V aux pwr outlet                               Original Shipping Charge                                                                       $795
                                            · Dual visor vanity mirrors
EXTERIOR                                    · Dual front map lights                            RETAIL PRICE (ORIGINALLY NEW)                                                                  $18,785.00
                                            · Trunk lamp
· 16" x 6.5" 5-spoke alloy wheels
· P205/55R16 all-season tires               SAFETY
· Temporary spare tire
· Color-keyed front & rear underbody        · 4-wheel anti-lock brakes -inc: brake             Get more information on your smartphone:
spoiler                                     assist, electronic brake force distribution
· Color-keyed rear spoiler                  · Smart Stop braking technology
· Rocker moldings                           · Vehicle stability control w/traction control -
· Color-keyed front grille                  inc: off switch
· Multi-reflector halogen headlamps         · Front/rear crumple zones
w/smoked lenses                             · Daytime running lamps
· Fog/driving lamps                         · Side-impact door beams
· Color-keyed heated pwr fold away          · Dual front airbags w/occupant sensors
mirrors                                     · Front seat-mounted side airbags
· Intermittent wipers                       · Front & rear side curtain airbags
· Chrome rear license plate garnish         · ALR/ELR 3-point front & rear seatbelts -
· Color-keyed door handles                  inc: front adjustable shoulder belt anchors,
                                            pretensioners, force limiters
ENTERTAINMENT                               · Child restraint system w/LATCH anchors
                                            · Child protector rear door locks
· AM/FM stereo w/CD player -inc:            · Direct tire pressure monitor
MP3/WMA capability, aux audio input,        · Internal trunk release
auto sound leveling, USB port w/iPod        · Front seat active headrests
connectivity, hands-free phone              · Energy-absorbing steering column
capability, phone book access, iPod
interface, (6) speakers

INTERIOR

· Front sport double-stitch fabric bucket
seats -inc: 6-way adjustable driver seat,
4-way adjustable passenger seat, dual
seatback pockets
· Driver seat height adjustment
· 60/40 split-folding rear bench seat
· Center console -inc: side pockets,
storage
· 3-spoke sport tilt/telescoping steering
wheel -inc: audio controls
· Multi-information display -inc: average
fuel economy, driving range, average
speed, travel distance
· Sport instrumentation -inc: tachometer,
twin tripmeters, outside temp indicator                                                          Mullinax Ford Lincoln
                                                                                                        Mobile
                                                                                                                              251-344-4000
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                                     #:2112
Year: 2013                                                                         Engine: 4 Cylinder Engine
Make: Toyota                                                                       Transmission: Automatic 4-spd
Model: Corolla S                                                                   Exterior: Super White
VIN: 5YFBU4EE0DP170119                                                             Interior: Dark Charcoal

                                            · Multi-info display -inc: outside temp,          CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  current/average fuel economy, average

· 1.8L DOHC SFI 16-valve VVT-i I4
                                            speed, travel distance, trip computer
                                            · Sport instrumentation -inc: tachometer,            26                                                                                         33
engine                                      twin tripmeters
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 5-speed manual transmission w/OD          · Digital clock
· Front wheel drive                         · Remote keyless entry -inc: panic feature,
· Independent MacPherson strut front        remote illumination, trunk-release
suspension                                  · Pwr door locks                                New
· Torsion beam rear suspension              · Pwr windows w/driver one-touch down
· Front & rear stabilizer bars              · Cruise control
                                                                                            MSRP                                                                                           $18,230.00
· Electric-assist pwr steering              · Air conditioning w/air filtration
· Front ventilated disc & rear drum         · Rear window defogger w/timer                  INSTALLED OPTIONS
brakes                                      · Front & rear door pockets w/bottle holder     [FE] 50 State Emissions                                                                        $0
· Chrome exhaust tips                       · Dual glove compartments                       Original Shipping Charge                                                                       $810
                                            · (4) cup holders
EXTERIOR                                    · Metallic interior trim & door handle          RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,040.00
                                            accents
· 16" x 6.5" 5-spoke alloy wheels           · 12V aux pwr outlet
· P205/55R16 all-season tires               · Dual visor vanity mirrors
· Temporary spare tire                      · Dual front map lights
· Color-keyed front & rear underbody                                                        Get more information on your smartphone:
spoiler                                     SAFETY
· Color-keyed rear spoiler
· Rocker moldings                           · Star safety system -inc: enhanced vehicle
· Color-keyed front grille                  stability control (VSC), traction control
· Multi-reflector halogen headlamps         (TRAC), anti-lock brake system (ABS),
w/black sport trim                          electronic brake-force distribution (EBD),
· Fog lights                                brake assist (BA), Smart Stop Technology
· Color-keyed heated fold away pwr          (SST)
mirrors                                     · Front/rear crumple zones
· Intermittent wipers                       · Side-impact door beams
· Chrome rear license plate garnish         · Daytime running lamps
· Color-keyed door handles                  · Dual front airbags w/occupant sensors
                                            · Front seat-mounted side airbags
ENTERTAINMENT                               · Front & rear side curtain airbags
                                            · ALR/ELR 3-point front & rear seatbelts -
· AM/FM stereo w/CD player -inc:            inc: front adjustable shoulder belt anchors,
MP3/WMA capability, 6.1" touch-screen       pretensioners, force limiters
w/vehicle info, USB port w/iPod             · Child restraint system w/LATCH anchors
connectivity, aux audio input, Bluetooth    · Child protector rear door locks
hands-free phone & music streaming,         · Tire pressure monitor system
Bluetooth steering wheel controls,          · Front seat active headrests
phone book access, (6) speakers             · Energy-absorbing steering column
· In-glass antenna

INTERIOR

· Front sport double-stitch fabric bucket
seats -inc: 6-way adjustable driver seat,
4-way adjustable passenger seat, dual
seatback pockets
· 60/40 split-folding rear bench seat
· Center console w/storage compartment
· 3-spoke sport tilt/telescoping steering
wheel -inc: metallic accents, audio
steering wheel controls




                                                                                            Mullinax Ford of Central
                                                                                               Florida (Apopka)
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 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 128 of 155 Page ID
                                     #:2113
Year: 2014                                                                                       Engine: 4 Cylinder Engine
Make: Toyota                                                                                     Transmission: CVT
Model: Corolla S                                                                                 Exterior: Black Sand Pearl
VIN: 2T1BURHE2EC207357                                                                           Interior: Steel Blue

                                                    · Rear Cupholder
MECHANICAL                                          · Remote Keyless Entry w/Integrated Key
                                                                                                            CITY MPG                                                                          HIGHWAY MPG

                                                                                                               27                                                                                         35
                                                    Transmitter, Illuminated Entry and Panic Button
· Front-Wheel Drive                                 · Remote Releases -Inc: Mechanical Cargo Access
· 4.76 Axle Ratio                                   and Mechanical Fuel
· 390CCA Maintenance-Free Battery w/Run             · Cruise Control w/Steering Wheel Controls
                                                                                                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                     · Automatic Air Conditioning
· 80 Amp Alternator                                 · HVAC -inc: Underseat Ducts
· Gas-Pressurized Shock Absorbers                   · Locking Glove Box
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                    · Driver Foot Rest
                                                    · Full Cloth Headliner
                                                                                                         New
· 13.2 Gal. Fuel Tank                               · Cloth Door Trim Insert
· Single Stainless Steel Exhaust w/Chrome           · Urethane Gear Shift Knob
Tailpipe Finisher                                   · Interior Trim -inc: Metal-Look Instrument Panel    MSRP                                                                                            $19,000.00
· Strut Front Suspension w/Coil Springs             Insert, Metal-Look Door Panel Insert, Metal-Look     INSTALLED OPTIONS
· Torsion Beam Rear Suspension w/Coil Springs       Console Insert and Metal-Look Interior Accents
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front          · Sport Fabric Seat Trim -inc: sport bolsters and    [FE0] 50 State Emissions                                                                        $0
Vented Discs and Brake Assist                       sport inserts
                                                                                                         Original Shipping Charge                                                                        $825
                                                    · Day-Night Rearview Mirror
EXTERIOR                                            · Driver And Passenger Visor Vanity Mirrors          RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,825.00
                                                    · Full Floor Console w/Covered Storage and 1 12V
· Wheels: 16" x 6.5" Steel -inc: wheel covers       DC Power Outlet
· Tires: P205/55R16 All-Season                      · Front Map Lights
· Steel Spare Wheel                                 · Fade-To-Off Interior Lighting
· Compact Spare Tire Mounted Inside Under           · Full Carpet Floor Covering
Cargo                                               · Carpet Floor Trim and Carpet Trunk Lid/Rear        Get more information on your smartphone:
· Clearcoat Paint                                   Cargo Door Trim
· Body-Colored Front Bumper                         · Cargo Space Lights
· Body-Colored Rear Bumper                          · FOB Controls -inc: Trunk/Hatch/Tailgate
· Body-Colored Door Handles                         · Instrument Panel Covered Bin, Driver / Passenger
· Rocker Panel Extensions                           And Rear Door Bins
· Black Side Windows Trim                           · Power 1st Row Windows w/Driver 1-Touch
· Body-Colored Power Heated Side Mirrors            Up/Down
w/Manual Folding and Turn Signal Indicator          · Delayed Accessory Power
· Fixed Rear Window w/Defroster                     · Power Door Locks w/Autolock Feature
· Light Tinted Glass                                · Trip Computer
· Fixed Interval Wipers                             · Outside Temp Gauge
· Fully Galvanized Steel Panels                     · Analog Display
· Wing Spoiler                                      · Seats w/Cloth Back Material
· Black Grille w/Chrome Surround                    · Manual Adjustable Front Head Restraints and
· Trunk Rear Cargo Access                           Manual Adjustable Rear Head Restraints
· Auto Off Projector Beam Led Low Beam              · Front Center Armrest w/Storage
Daytime Running Headlamps w/Delay-Off               · 1 12V DC Power Outlet
· Front Fog Lamps                                   · Air Filtration

ENTERTAINMENT                                       SAFETY

· Radio: AM/FM/CD Player w/6.1" Touch Screen -      · Electronic Stability Control
inc: Entune multimedia bundle, MP3/WMA              · ABS And Driveline Traction Control
playback capability, 6 speakers, auxiliary audio    · Side Impact Beams
jack, USB 2.0 port w/iPod connectivity and          · Dual Stage Driver And Passenger Seat-Mounted
control, hands-free phone capability, phone book    Side Airbags
access and music streaming via Bluetooth            · Low Tire Pressure Warning
wireless technology, and advanced voice             · Dual Stage Driver And Passenger Front Airbags
recognition, See Toyota.com/Entune for details      · Curtain 1st And 2nd Row Airbags
· Radio w/Seek-Scan, Clock, Speed                   · Airbag Occupancy Sensor
Compensated Volume Control, Steering Wheel          · Driver Knee Airbag and Passenger Cushion Front
Controls and Radio Data System                      Airbag
· Automatic Equalizer                               · Rear Child Safety Locks
· Window Grid Antenna                               · Outboard Front Lap And Shoulder Safety Belts -
                                                    inc: Rear Center 3 Point, Height Adjusters and
INTERIOR                                            Pretensioners
                                                    · Back-Up Camera
· Front Sport Bucket Seats -inc: 6-way adjustable
driver's seat, 4-way adjustable front passenger
seat, and seatback pocket
· 6-Way Driver Seat
· 4-Way Passenger Seat
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Leather Steering Wheel
· Front Cupholder

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                                     #:2114
Year: 2015                                                                                       Engine: 4 Cylinder Engine
Make: Toyota                                                                                     Transmission: CVT
Model: Corolla S                                                                                 Exterior: Classic Silver Metallic
VIN: 5YFBURHE3FP315486                                                                           Interior: Black

                                                    · Rear Cupholder
MECHANICAL                                          · Remote Releases -Inc: Mechanical Cargo Access
                                                                                                             CITY MPG                                                                           HIGHWAY MPG

                                                                                                                27                                                                                          35
                                                    and Mechanical Fuel
· Front-Wheel Drive                                 · Remote Keyless Entry w/Integrated Key
· 4.76 Axle Ratio                                   Transmitter, Illuminated Entry and Panic Button
· 390CCA Maintenance-Free Battery w/Run             · Cruise Control w/Steering Wheel Controls
                                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
Down Protection                                     · Automatic Air Conditioning
· 80 Amp Alternator                                 · HVAC -inc: Underseat Ducts
· Gas-Pressurized Shock Absorbers                   · Locking Glove Box
· Front And Rear Anti-Roll Bars
· Electric Power-Assist Speed-Sensing Steering
                                                    · Driver Foot Rest
                                                    · Full Cloth Headliner
                                                                                                         New
· 13.2 Gal. Fuel Tank                               · Cloth Door Trim Insert
· Single Stainless Steel Exhaust w/Chrome           · Urethane Gear Shift Knob
Tailpipe Finisher                                   · Interior Trim -inc: Metal-Look Instrument Panel     MSRP                                                                                             $19,195.00
· Strut Front Suspension w/Coil Springs             Insert, Metal-Look Door Panel Insert, Metal-Look      INSTALLED OPTIONS
· Torsion Beam Rear Suspension w/Coil Springs       Console Insert and Metal-Look Interior Accents
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front          · Sport Fabric Seat Trim -inc: sport bolsters and     [FE0] 50 State Emissions                                                                         $0
Vented Discs and Brake Assist                       sport inserts
                                                                                                          Original Shipping Charge                                                                         $835
                                                    · Day-Night Rearview Mirror
EXTERIOR                                            · Driver And Passenger Visor Vanity Mirrors           RETAIL PRICE (ORIGINALLY NEW)                                                                    $20,030.00
                                                    · Full Floor Console w/Covered Storage and 1 12V
· Wheels: 16" x 6.5" Steel -inc: wheel covers       DC Power Outlet
· Tires: P205/55R16 All-Season                      · Front Map Lights
· Steel Spare Wheel                                 · Fade-To-Off Interior Lighting
· Compact Spare Tire Mounted Inside Under           · Full Carpet Floor Covering
Cargo                                               · Carpet Floor Trim and Carpet Trunk Lid/Rear        Get more information on your smartphone:
· Clearcoat Paint                                   Cargo Door Trim
· Body-Colored Front Bumper                         · Cargo Space Lights
· Body-Colored Rear Bumper                          · FOB Controls -inc: Trunk/Hatch/Tailgate
· Body-Colored Door Handles                         · Instrument Panel Covered Bin, Driver / Passenger
· Black Side Windows Trim                           And Rear Door Bins
· Rocker Panel Extensions                           · Power 1st Row Windows w/Driver 1-Touch
· Body-Colored Power Heated Side Mirrors            Up/Down
w/Manual Folding and Turn Signal Indicator          · Delayed Accessory Power
· Fixed Rear Window w/Defroster                     · Power Door Locks w/Autolock Feature
· Light Tinted Glass                                · Trip Computer
· Fixed Interval Wipers                             · Outside Temp Gauge
· Fully Galvanized Steel Panels                     · Analog Display
· Lip Spoiler                                       · Seats w/Cloth Back Material
· Black Grille w/Chrome Surround                    · Manual Adjustable Front Head Restraints and
· Trunk Rear Cargo Access                           Manual Adjustable Rear Head Restraints
· Auto Off Projector Beam Led Low Beam              · Front Center Armrest w/Storage and Rear Center
Daytime Running Headlamps w/Delay-Off               Armrest
· Front Fog Lamps                                   · 1 12V DC Power Outlet
                                                    · Air Filtration
ENTERTAINMENT
                                                    SAFETY
· Radio: AM/FM/CD Player w/6.1" Touch Screen -
inc: Entune multimedia bundle, MP3/WMA              · Electronic Stability Control
playback capability, 6 speakers, auxiliary audio    · ABS And Driveline Traction Control
jack, USB 2.0 port w/iPod connectivity and          · Side Impact Beams
control, hands-free phone capability, phone book    · Dual Stage Driver And Passenger Seat-Mounted
access and music streaming via Bluetooth            Side Airbags
wireless technology, and advanced voice             · Low Tire Pressure Warning
recognition, See Toyota.com/Entune for details      · Dual Stage Driver And Passenger Front Airbags
· Radio w/Seek-Scan, Clock, Speed                   · Curtain 1st And 2nd Row Airbags
Compensated Volume Control, Steering Wheel          · Airbag Occupancy Sensor
Controls and Radio Data System                      · Driver Knee Airbag and Passenger Cushion Front
· Automatic Equalizer                               Airbag
· Window Grid Antenna                               · Rear Child Safety Locks
                                                    · Outboard Front Lap And Shoulder Safety Belts -
INTERIOR                                            inc: Rear Center 3 Point, Height Adjusters and
                                                    Pretensioners
· Front Sport Bucket Seats -inc: 6-way adjustable   · Back-Up Camera
driver's seat, 4-way adjustable front passenger
seat, and seatback pocket
· 6-Way Driver Seat
· 4-Way Passenger Seat
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Gauges -inc: Speedometer, Odometer, Engine

                                                                                                                    Arlington Toyota
Coolant Temp, Tachometer, Trip Odometer and
Trip Computer
· Power Rear Windows
· Leather Steering Wheel
· Front Cupholder                                                                                                                arlingtontoyota.com
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                                     #:2115
Year: 2016                                                                     Engine: 4 Cylinder Engine
Make: Toyota                                                                   Transmission: CVT
Model: Corolla S                                                               Exterior: Blue Crush Metallic
VIN: 5YFBURHE3GP452316                                                         Interior: Black

                                          · Locking Glove Box                              CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                · Driver Foot Rest

· Front-Wheel Drive
                                          · Full Cloth Headliner
                                          · Cloth Door Trim Insert                           27                                                                                          36
· 390CCA Maintenance-Free Battery         · Urethane Gear Shift Knob
                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
w/Run Down Protection                     · Day-Night Rearview Mirror
· 80 Amp Alternator                       · Driver And Passenger Visor Vanity
· 3820# Gvwr                              Mirrors
· Gas-Pressurized Shock Absorbers         · Full Floor Console w/Covered Storage        New
· Front And Rear Anti-Roll Bars           and 1 12V DC Power Outlet
· Electric Power-Assist Speed-Sensing     · Front Map Lights
                                                                                        MSRP                                                                                            $17,900.00
Steering                                  · Fade-To-Off Interior Lighting
· 13.2 Gal. Fuel Tank                     · Carpet Floor Trim and Carpet Trunk          INSTALLED OPTIONS
· Strut Front Suspension w/Coil Springs   Lid/Rear Cargo Door Trim                      [FE0] 50 State Emissions                                                                        $0
· Torsion Beam Rear Suspension w/Coil     · Cargo Space Lights                          [Q2] Body Protection Package #1                                                                 $485
Springs                                   · Instrument Panel Covered Bin, Driver /
                                                                                            Door Sill Protectors
                                          Passenger And Rear Door Bins                      Rear Bumper Protector
EXTERIOR                                  · Delayed Accessory Power                         Body Side Moldings
                                          · Outside Temp Gauge                          [CFO] Carpeted Floor Mats                        & Trunk Mat                                    $225
· Steel Spare Wheel                       · Analog Display                              Original Shipping Charge                                                                        $895
· Compact Spare Tire Mounted Inside       · Seats w/Cloth Back Material
Under Cargo                               · Manual Adjustable Front Head Restraints     RETAIL PRICE (ORIGINALLY NEW)                                                                   $19,505.00
· Clearcoat Paint                         and Manual Adjustable Rear Head
· Body-Colored Front Bumper               Restraints
· Body-Colored Rear Bumper                · 1 12V DC Power Outlet
· Body-Colored Door Handles               · Air Filtration
· Black Side Windows Trim                                                               Get more information on your smartphone:
· Fixed Rear Window w/Defroster           SAFETY
· Light Tinted Glass
· Fully Galvanized Steel Panels           · Side Impact Beams
· Trunk Rear Cargo Access                 · Dual Stage Driver And Passenger Seat-
· Auto Off Projector Beam Led Low         Mounted Side Airbags
Beam Daytime Running Headlamps            · Low Tire Pressure Warning
w/Delay-Off                               · Dual Stage Driver And Passenger Front
                                          Airbags
ENTERTAINMENT                             · Curtain 1st And 2nd Row Airbags
                                          · Airbag Occupancy Sensor
· Automatic Equalizer                     · Driver Knee Airbag and Passenger
                                          Cushion Front Airbag
INTERIOR                                  · Rear Child Safety Locks
                                          · Outboard Front Lap And Shoulder Safety
· 60-40 Folding Bench Front Facing Fold   Belts -inc: Rear Center 3 Point, Height
Forward Seatback Rear Seat                Adjusters and Pretensioners
· Manual Tilt/Telescoping Steering
Column
· Front Cupholder
· Rear Cupholder
· Remote Releases -Inc: Mechanical
Cargo Access and Mechanical Fuel
· HVAC -inc: Underseat Ducts




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                                     #:2116
Year: 2019                                                                     Engine: 4 Cylinder Engine
Make: Toyota                                                                   Transmission: CVT
Model: Corolla SE                                                              Exterior: Classic Silver Met
VIN: 5YFBURHE0KP874469                                                         Interior: Black

                                          · HVAC -inc: Underseat Ducts                     CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                · Locking Glove Box

· Front-Wheel Drive
                                          · Driver Foot Rest
                                          · Full Cloth Headliner                              28                                                                                         36
· 390CCA Maintenance-Free Battery         · Cloth Door Trim Insert
                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
w/Run Down Protection                     · Urethane Gear Shift Knob
· 80 Amp Alternator                       · Day-Night Rearview Mirror
· Gas-Pressurized Shock Absorbers         · Driver And Passenger Visor Vanity
· Front And Rear Anti-Roll Bars           Mirrors w/Driver And Passenger                 New
· Electric Power-Assist Speed-Sensing     Illumination
Steering                                  · Full Floor Console w/Covered Storage
                                                                                         MSRP                                                                                           $18,700.00
· 13.2 Gal. Fuel Tank                     and 1 12V DC Power Outlet
· Strut Front Suspension w/Coil Springs   · Front Map Lights                             INSTALLED OPTIONS
· Torsion Beam Rear Suspension w/Coil     · Fade-To-Off Interior Lighting                [FE0] 50 State Emissions                                                                       $0
Springs                                   · Carpet Floor Trim and Carpet Trunk           Original Shipping Charge                                                                       $920
                                          Lid/Rear Cargo Door Trim
EXTERIOR                                  · Cargo Space Lights                           RETAIL PRICE (ORIGINALLY NEW)                                                                  $19,620.00
                                          · Instrument Panel Bin, Driver / Passenger
· Steel Spare Wheel                       And Rear Door Bins
· Compact Spare Tire Mounted Inside       · Delayed Accessory Power
Under Cargo                               · Outside Temp Gauge
· Clearcoat Paint                         · Analog Display                               Get more information on your smartphone:
· Body-Colored Front Bumper               · Seats w/Cloth Back Material
· Body-Colored Rear Bumper                · Manual Adjustable Front Head Restraints
· Black Side Windows Trim                 and Fixed Rear Head Restraints
· Body-Colored Door Handles               · 1 12V DC Power Outlet
· Fixed Rear Window w/Defroster           · Air Filtration
· Light Tinted Glass
· Fully Galvanized Steel Panels           SAFETY
· Black Grille
· Trunk Rear Cargo Access                 · Side Impact Beams
                                          · Dual Stage Driver And Passenger Seat-
ENTERTAINMENT                             Mounted Side Airbags
                                          · Toyota Safety Sense P
· Automatic Equalizer                     · Low Tire Pressure Warning
· Window Grid Antenna                     · Dual Stage Driver And Passenger Front
                                          Airbags
INTERIOR                                  · Curtain 1st And 2nd Row Airbags
                                          · Airbag Occupancy Sensor
· Driver Seat                             · Driver Knee Airbag and Passenger
· Passenger Seat                          Cushion Front Airbag
· 60-40 Folding Bench Front Facing Fold   · Rear Child Safety Locks
Forward Seatback Rear Seat                · Outboard Front Lap And Shoulder Safety
· Manual Tilt/Telescoping Steering        Belts -inc: Rear Center 3 Point, Height
Column                                    Adjusters and Pretensioners
· Front Cupholder                         · Back-Up Camera
· Rear Cupholder
· Remote Releases -Inc: Mechanical
Cargo Access and Mechanical Fuel
· Cruise Control w/Steering Wheel
Controls
· Distance Pacing




                                                                                                 Arlington Toyota
                                                                                                              arlingtontoyota.com
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 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 132 of 155 Page ID
                                     #:2117
Year: 2017                                                                                        Engine: 4 Cylinder Engine
Make: Toyota                                                                                      Transmission: CVT
Model: Corolla iM                                                                                 Colors: Black Sand Pearl / Black
VIN: JTNKARJE4HJ530039                                                                            Mileage: 11,443                                                                                         Stock #: 39992

                                                      · Front Cupholder
MECHANICAL                                            · Rear Cupholder
                                                                                                             CITY MPG                                                                           HIGHWAY MPG

                                                                                                                28                                                                                          36
                                                      · Remote Releases -Inc: Mechanical Fuel
· Front-Wheel Drive                                   · Cruise Control w/Steering Wheel Controls
· Battery w/Run Down Protection                       · Dual Zone Front Automatic Air Conditioning
· Gas-Pressurized Shock Absorbers                     · HVAC -inc: Underseat Ducts
                                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front And Rear Anti-Roll Bars                       · Illuminated Glove Box
· Electric Power-Assist Speed-Sensing Steering        · Driver Foot Rest
· 14 Gal. Fuel Tank                                   · Interior Trim -inc: Piano Black Instrument Panel
· Single Stainless Steel Exhaust w/Chrome
Tailpipe Finisher
                                                      Insert, Metal-Look Door Panel Insert, Metal-Look
                                                      Console Insert and Piano Black/Metal-Look Interior
                                                                                                           New
· Strut Front Suspension w/Coil Springs               Accents
· Double Wishbone Rear Suspension w/Coil              · Full Cloth Headliner
Springs                                               · Cloth Door Trim Insert                             MSRP                                                                                            $19,490.00
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front            · Leather Gear Shift Knob                            INSTALLED OPTIONS
Vented Discs, Brake Assist and Hill Hold Control      · Day-Night Rearview Mirror
                                                      · Driver And Passenger Visor Vanity Mirrors          [FE0] 50 State Emissions                                                                        $0
EXTERIOR                                              w/Driver And Passenger Illumination
                                                                                                           [CF] Carpet Mat Package                                                                         $185
                                                      · Full Floor Console w/Covered Storage, Mini
· Wheels: 17" x 7" Alloy                              Overhead Console w/Storage and 1 12V DC Power            Carpet Cargo Mat
· Tires: 225/45R17 All-Season                         Outlet                                                   Carpet Floor Mats
· Wheels w/Machined Accents                           · Front Map Lights                                   Original Shipping Charge                                                                        $895
· Steel Spare Wheel                                   · Fade-To-Off Interior Lighting
· Compact Spare Tire Mounted Inside Under             · Carpet Floor Trim                                  RETAIL PRICE (ORIGINALLY NEW)                                                                   $20,570.00
Cargo                                                 · Rigid Cargo Cover
· Clearcoat Paint                                     · Cargo Space Lights
· Body-Colored Front Bumper
· Body-Colored Rear Bumper
                                                      · Instrument Panel Covered Bin, Driver / Passenger
                                                      And Rear Door Bins                                   Used
· Rocker Panel Extensions                             · Delayed Accessory Power
· Black Side Windows Trim                             · Outside Temp Gauge
· Body-Colored Door Handles                           · Analog Display                                     PRICE                                                                                     $14,937.00
· Body-Colored Power Heated Side Mirrors              · Seats w/Cloth Back Material
w/Power Folding and Turn Signal Indicator             · Manual Adjustable Front Head Restraints and
· Fixed Rear Window w/Fixed Interval Wiper,           Manual Adjustable Rear Head Restraints
Heated Wiper Park and Defroster                       · Front Center Armrest w/Storage and Rear Center
· Light Tinted Glass                                  Armrest                                              Get more information on your smartphone:
· Variable Intermittent Wipers                        · 2 Seatback Storage Pockets
· Fully Galvanized Steel Panels                       · 1 12V DC Power Outlet
· Black Grille                                        · Air Filtration
· Liftgate Rear Cargo Access
· Fully Automatic Projector Beam Halogen              SAFETY
Daytime Running Auto High-Beam Headlamps
w/Delay-Off                                           · Side Impact Beams
· LED Brakelights                                     · Dual Stage Driver And Passenger Seat-Mounted
                                                      Side Airbags
ENTERTAINMENT                                         · Forward Collision Mitigation
                                                      · Lane Departure Warning
· Radio: 7" Toyota iM Display Audio -inc:             · Low Tire Pressure Warning
AM/FM/HD featuring Aha, 7" touch-screen               · Dual Stage Driver And Passenger Front Airbags
display, 6-speaker Pioneer sound system,              · Curtain 1st And 2nd Row Airbags
auxiliary audio jack, USB 2.0 port w/iPod             · Airbag Occupancy Sensor
connectivity and control, advanced voice              · Driver Knee Airbag and Passenger Cushion Front
recognition, hands-free phone capability, phone       Airbag
book access, music streaming via Bluetooth            · Rear Child Safety Locks
wireless technology and Gracenote album cover         · Outboard Front Lap And Shoulder Safety Belts -
art                                                   inc: Rear Center 3 Point, Height Adjusters and
· Radio w/Seek-Scan, Clock, Speed                     Pretensioners
Compensated Volume Control, Steering Wheel            · Back-Up Camera
Controls and Radio Data System
· Automatic Equalizer
· Digital Signal Processor
· Integrated Roof Antenna
· 2 LCD Monitors In The Front

INTERIOR

· Front Bucket Seats -inc: height adjustable driver
seat, 6-way driver seat and 4-way front-
passenger seat w/active headrests
· Driver Seat
· Passenger Seat
· 60-40 Folding Bench Front Facing Fold
Forward Seatback Rear Seat
· Manual Tilt/Telescoping Steering Column
· Leather Steering Wheel




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                                     #:2118
Year: 2012                                                                           Engine: 4 Cylinder Engine
Make: Toyota                                                                         Transmission: 4AT
Model: Matrix BASE                                                                   Exterior: Classic Silver Met
VIN: 2T1KU4EE4CC898492                                                               Interior: Graphite

                                            · Pwr windows w/driver 1-touch down                  CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Cruise control

· 1.8L DOHC 16-valve 4-cyl engine
                                            · Anti-theft engine immobilizer
                                            · Air conditioning w/air filtration                     25                                                                                         32
w/VVT-i                                     · Rear window defogger w/timer
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Dual glove compartment
· Independent MacPherson strut front        · (4) cup holders
suspension                                  · 12V pwr outlet
· Torsion beam rear suspension              · Driver/front passenger sun visors              New
· Front & rear stabilizer bars              w/mirrors
· Electric pwr-assist rack & pinion         · Front map lights
                                                                                             MSRP                                                                                             $18,845.00
steering                                    · Illuminated entry
· Vented front/solid rear disc brakes       · Anti-slip cargo area trim                      INSTALLED OPTIONS
w/pwr assist                                · Tonneau cover                                  [FEM] 50 State Emissions                                                                         $0
                                                                                             [CFN] 5 Piece Carpeted Floor Mats                                                                $225
EXTERIOR                                    SAFETY
                                                                                             Original Shipping Charge                                                                         $795
· 16" steel wheels w/full wheel covers      · 4-wheel anti-lock brakes                       RETAIL PRICE (ORIGINALLY NEW)                                                                    $19,865.00
· Temporary spare tire                      · Electronic brake-force distribution
· Color-keyed side rocker panels            · Brake assist
· Color-keyed front bumper                  · Smart stop technology
· Multi-reflector halogen headlamps         · Daytime running lights
· Color-keyed heated pwr mirrors            · High tensile strength steel body panels        Get more information on your smartphone:
· Front intermittent wipers w/mist cycle    · Side-impact door beams
· Rear intermittent wiper                   · Front & rear energy-absorbing crumple
· License plate bracket                     zones
· Color-keyed door handles                  · Front advanced airbags w/occupant
· Wrap guard body protection film           classification sensor
                                            · Front seat side-impact airbags
ENTERTAINMENT                               · Front & rear side curtain airbags
                                            · 3-point ALR/ELR seat belts for all
· AM/FM stereo w/CD player -inc:            positions -inc: front pretensioners, front
MP3/WMA playback capability, auto           force limiters, front adjustable shoulder belt
sound leveling, (4) speakers                anchors
· Auxiliary audio input                     · LATCH lower anchors & top tether
· Roof mounted AM/FM antenna                anchors
                                            · Child-protector rear door locks
INTERIOR                                    · Energy-absorbing steering column
                                            · Tire pressure monitoring system
· Front sport bucket seats -inc: active
head restraints
· Rear 60/40-split folding bench seat
· Front console w/storage box
· Carpeted floor
· 3-spoke tilt/telescoping sport steering
wheel -inc: metallic accents, audio
controls
· Optitron instrumentation -inc:
speedometer,tachometer, coolant
temperature gauge, fuel gauge, LCD
odometer display, LCD tripmeters
display, LCD outside temperature
display, warning messages
· Remote keyless entry w/panic feature




                                                                                                  Pilson Auto Centers
                                                                                                                           pilsonauto.com
                                                                                                                            217-234-6461
                                                                        MonroneyLabels.com
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                                     #:2119
Year: 2012                                                                           Engine: 4 Cylinder Engine
Make: Toyota                                                                         Transmission: 4AT
Model: Matrix BASE                                                                   Exterior: Classic Silver Met
VIN: 2T1KU4EE4CC898492                                                               Interior: Graphite

                                            · Pwr windows w/driver 1-touch down                  CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                  · Cruise control

· 1.8L DOHC 16-valve 4-cyl engine
                                            · Anti-theft engine immobilizer
                                            · Air conditioning w/air filtration                     25                                                                                         32
w/VVT-i                                     · Rear window defogger w/timer
                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Front wheel drive                         · Dual glove compartment
· Independent MacPherson strut front        · (4) cup holders
suspension                                  · 12V pwr outlet
· Torsion beam rear suspension              · Driver/front passenger sun visors              New
· Front & rear stabilizer bars              w/mirrors
· Electric pwr-assist rack & pinion         · Front map lights
                                                                                             MSRP                                                                                             $18,845.00
steering                                    · Illuminated entry
· Vented front/solid rear disc brakes       · Anti-slip cargo area trim                      INSTALLED OPTIONS
w/pwr assist                                · Tonneau cover                                  [FEM] 50 State Emissions                                                                         $0
                                                                                             [CFN] 5 Piece Carpeted Floor Mats                                                                $225
EXTERIOR                                    SAFETY
                                                                                             Original Shipping Charge                                                                         $795
· 16" steel wheels w/full wheel covers      · 4-wheel anti-lock brakes                       RETAIL PRICE (ORIGINALLY NEW)                                                                    $19,865.00
· Temporary spare tire                      · Electronic brake-force distribution
· Color-keyed side rocker panels            · Brake assist
· Color-keyed front bumper                  · Smart stop technology
· Multi-reflector halogen headlamps         · Daytime running lights
· Color-keyed heated pwr mirrors            · High tensile strength steel body panels        Get more information on your smartphone:
· Front intermittent wipers w/mist cycle    · Side-impact door beams
· Rear intermittent wiper                   · Front & rear energy-absorbing crumple
· License plate bracket                     zones
· Color-keyed door handles                  · Front advanced airbags w/occupant
· Wrap guard body protection film           classification sensor
                                            · Front seat side-impact airbags
ENTERTAINMENT                               · Front & rear side curtain airbags
                                            · 3-point ALR/ELR seat belts for all
· AM/FM stereo w/CD player -inc:            positions -inc: front pretensioners, front
MP3/WMA playback capability, auto           force limiters, front adjustable shoulder belt
sound leveling, (4) speakers                anchors
· Auxiliary audio input                     · LATCH lower anchors & top tether
· Roof mounted AM/FM antenna                anchors
                                            · Child-protector rear door locks
INTERIOR                                    · Energy-absorbing steering column
                                            · Tire pressure monitoring system
· Front sport bucket seats -inc: active
head restraints
· Rear 60/40-split folding bench seat
· Front console w/storage box
· Carpeted floor
· 3-spoke tilt/telescoping sport steering
wheel -inc: metallic accents, audio
controls
· Optitron instrumentation -inc:
speedometer,tachometer, coolant
temperature gauge, fuel gauge, LCD
odometer display, LCD tripmeters
display, LCD outside temperature
display, warning messages
· Remote keyless entry w/panic feature




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                                                                                                                                            Custom Search                Search

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       Window Sticker Photos (./Window Sticker.html)      > Photo #77252772

                                                   2013 Toyota Matrix S Window Sticker Photo #77252772




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                                     #:2122
Year: 2012                                                                           Engine: 8 Cylinder Engine
Make: Toyota                                                                         Transmission: 6AT
Model: Sequoia LIMITED                                                               Exterior: Super White
VIN: 5TDKY5G18CS041524                                                               Interior: Sand Beige

                                             · Leather 60/40 split recline & pwr fold-flat      CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   3rd row bench

· 5.7L DOHC EFI 32-valve i-Force V8
                                             · Optitron instrumentation cluster -inc:
                                             speedometer, tachometer, LCD odometer                 13                                                                                         18
engine w/dual VVT-i                          & tripmeters
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 6-speed automatic transmission -inc:       · Multi-info display -inc: outside temp,
sequential shift mode, uphill/downhill       compass, current/average fuel
shift logic, tow/haul mode                   consumption, fuel range
· Rear wheel drive                           · Pwr windows -inc: front 1-touch up/down,       New
· Towing hitch receiver -inc: 4/7-pin wire   jam control
connector                                    · Cruise control
                                                                                              MSRP                                                                                           $51,040.00
· Trailer sway control                       · Automatic tri-zone front & rear automatic
· Skid plates -inc: engine                   climate control -inc: air filter                 INSTALLED OPTIONS
· Independent suspension -inc: high-         · (16) cup & bottle holders                      Original Shipping Charge                                                                       $995
mounted double-wishbone front                · Overhead console -inc: dual storage
suspension, double-wishbone rear             areas, driver/front passenger map lights         RETAIL PRICE (ORIGINALLY NEW)                                                                  $52,035.00
suspension, coil-springs, gas-filled         · Dual sliding visors w/illuminated vanity
shock absorbers                              mirrors
· Front & rear stabilizer bars               · Rear sunshades
· Speed-sensing variable flow control        · Illuminated entry system
pwr rack & pinion steering                   · Digital quartz clock
                                                                                              Get more information on your smartphone:
· Pwr front & rear disc brakes               · Grocery bag hooks

EXTERIOR                                     SAFETY

· P275/55R20 mud & snow tires                · Star Safety System -inc: vehicle stability
· Full size spare tire                       control (VSC), traction control (TRAC), anti-
· Pwr tilt & slide sunroof                   lock brake system (ABS), electronic brake-
· Rear spoiler                               force distribution (EBD), brake assist (BA),
· Roof rack                                  Smart Stop Technology (SST)
· Running boards                             · Daytime running lights
· Front & rear mudguards                     · Front energy absorbing crumple zone
· Chrome grille surround                     · Side impact door beams
· Multi-reflector halogen headlamps -inc:    · Driver & front passenger advanced
auto-off, headlamp cleaner                   airbags w/occupant classification sensor
· Front fog lamps                            · Driver & front passenger seat-mounted
· Rear privacy glass                         side airbags
· Chrome auto-dimming pwr folding pwr        · All rows side curtain airbags
heated mirrors -inc: integrated turn         · Driver & front passenger knee airbags
signals                                      · 3-point ALR/ELR seatbelts in all
· Washer-linked variable intermittent        passenger seats, ELR seatbelt in driver
windshield wipers                            seat
· Windshield wiper de-icer grid              · Driver & front passenger seatbelt
· Rear intermittent wiper                    pretensioners & force limiters
· Chrome door handles                        · 2nd & 3rd row lower anchors & tethers for
· Pwr rear door w/jam protection             children (LATCH) system
· Pwr rear window -inc: auto-up/down,        · Driver & front passenger seatbelt warning
jam protection, defogger                     sensor
                                             · Child protector rear hatch & door locks
INTERIOR                                     · Front & rear clearance sonar
                                             · Energy-dissipating interior trim
· Leather 40/20/40 split fold-flat           · Emergency trunk release
recline/slide 2nd row bench seat -inc:
3rd row 1-touch access




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                                     #:2123
Year: 2013                                                                           Engine: 8 Cylinder Engine
Make: Toyota                                                                         Transmission: 6AT
Model: Sequoia LIMITED                                                               Exterior: Silver Sky Metallic
VIN: 5TDJY5G11DS077150                                                               Interior: Gray

                                             · Leather 40/20/40 split fold-flat                  CITY MPG                                                                             HIGHWAY MPG
MECHANICAL                                   recline/slide 2nd row bench seat -inc: 3rd

· 5.7L DOHC EFI 32-valve i-Force V8
                                             row 1-touch access
                                             · Leather 60/40 split recline & pwr fold-flat            13                                                                                          17
engine w/dual VVT-i                          3rd row bench
                                                                                                         Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 6-speed automatic transmission -inc:       · Optitron instrumentation cluster -inc:
sequential shift mode, uphill/downhill       speedometer, tachometer, LCD odometer
shift logic, tow/haul mode                   & tripmeters
· Multi-Mode 4-wheel drive -inc: Torsen      · Multi-info display -inc: outside temp,         New
limited-slip locking center differential     compass, current/average fuel
· Towing hitch receiver -inc: 4/7-pin wire   consumption, fuel range
                                                                                              MSRP                                                                                               $55,165.00
connector                                    · Pwr windows -inc: front 1-touch up/down,
· Trailer sway control                       jam control                                      INSTALLED OPTIONS
· Skid plates -inc: engine, transfer case    · Cruise control                                 [FE] 50 State Emissions                                                                            $0
· Independent suspension -inc: high-         · Automatic tri-zone front & rear automatic      [NV] Voice Activated Navigation System                                                             $1,575
mounted double-wishbone front                climate control -inc: air filter
                                                                                                     touch screen DVD navigation system
suspension, double-wishbone rear             · (16) cup & bottle holders                             JBL Synthesis AM/FM stereo w/4-disc CD changer
suspension, coil-springs, gas-filled         · Overhead console -inc: dual storage                   MP3/WMA capability
shock absorbers                              areas, driver/front passenger map lights                (14) speakers w/subwoofer
                                                                                                     aux audio input
· Front & rear stabilizer bars               · Dual sliding visors w/illuminated vanity              USB input w/iPod connectivity
· Speed-sensing variable flow control        mirrors                                                 SiriusXM satellite radio & SiriusXM NavTraffic w/90-
pwr rack & pinion steering                   · Rear sunshades                                        day free subscription
                                                                                                     backup camera
· Pwr front & rear disc brakes               · Digital quartz clock                                  Bluetooth technology
                                             · Grocery bag hooks                              [EY]   Rear Seat Entertainment System                                                              $1,920
EXTERIOR                                                                                             rear Blu-ray Disc player w/9" display
                                             SAFETY                                                  (2) headsets
· P275/55R20 mud & snow tires                                                                        wireless remote
· Full size spare tire                       · Star Safety System -inc: vehicle stability            115V AC pwr outlet
                                                                                                     RCA jack
· Pwr tilt & slide moonroof -inc: sliding    control (VSC), traction control (TRAC), anti-
                                                                                              [CF]Carpet Floor Mats W/Door Sill Protector                                                        $335
sunshade                                     lock brake system (ABS), electronic brake-
· Color-keyed rear spoiler                   force distribution (EBD), brake assist (BA),     Original Shipping Charge                                                                           $995
· Roof rack                                  Smart Stop Technology (SST)                      RETAIL PRICE (ORIGINALLY NEW)                                                                      $59,990.00
· Running boards                             · Daytime running lights w/on/off feature
· Front & rear mudguards                     · Front energy absorbing crumple zone
· Chrome grille surround                     · Side impact door beams
· Multi-reflector halogen headlights -inc:   · Driver & front passenger advanced
auto-off, headlight cleaner                  airbags w/occupant classification sensor         Get more information on your smartphone:
· Integrated fog lights                      · Driver & front passenger seat-mounted
· Rear privacy glass                         side airbags
· Chrome auto-dimming pwr folding pwr        · All rows roll-sensing side curtain airbags
heated mirrors -inc: integrated turn         w/cutoff switch
signals                                      · Driver & front passenger knee airbags
· Washer-linked variable intermittent        · 3-point ALR/ELR seatbelts in all
windshield wipers                            passenger seats, ELR seatbelt in driver
· Windshield wiper de-icer grid              seat
· Rear intermittent wiper                    · Driver & front passenger seatbelt
· Chrome door handles                        pretensioners & force limiters
· Pwr liftgate w/jam protection              · 2nd & 3rd row lower anchors & tethers for
· Pwr rear window -inc: auto-up/down,        children (LATCH) system
jam protection, defogger                     · Driver & front passenger seatbelt warning
                                             sensor
INTERIOR                                     · Child protector rear hatch & door locks
                                             · Front & rear parking assist sonar
                                             · Energy-dissipating interior trim




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                                     #:2124
Year: 2014                                                                                     Engine: 8 Cylinder Engine
Make: Toyota                                                                                   Transmission: 6AT
Model: Sequoia LIMITED                                                                         Exterior: Black
VIN: 5TDJW5G18ES097080                                                                         Interior: Sand Beige

                                                 · Entune Selective Service Internet Access
MECHANICAL                                       · Fixed 60-40 Split-Bench 3rd Row Seat Front,
                                                                                                          CITY MPG                                                                          HIGHWAY MPG

                                                                                                            13                                                                                          17
                                                 Power Recline, Power Fold Into Floor, 3 Manual
· 4.30 Axle Ratio                                and Adjustable Head Restraints
· GVWR: 7,300 lbs                                · Leather Steering Wheel
· Electronic Transfer Case                       · Front Cupholder
                                                                                                               Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part And Full-Time Four-Wheel Drive            · Rear Cupholder
· 710CCA Maintenance-Free Battery w/Run          · Ashtray
Down Protection                                  · Compass
· HD 180 Amp Alternator
· Class IV Towing w/Harness, Hitch and Trailer
                                                 · Valet Function
                                                 · Remote Releases -Inc: Power Cargo Access
                                                                                                       New
Sway Control                                     · HomeLink Garage Door Transmitter
· 2 Skid Plates                                  · Cruise Control w/Steering Wheel Controls
· 1250# Maximum Payload                          · HVAC -inc: Underseat Ducts, Auxiliary Rear          MSRP                                                                                            $56,280.00
· Gas-Pressurized Shock Absorbers                Heater and Headliner/Pillar Ducts                     INSTALLED OPTIONS
· Front And Rear Anti-Roll Bars                  · Illuminated Locking Glove Box
· Hydraulic Power-Assist Speed-Sensing           · Driver Foot Rest                                    [RE] Federal Emissions                                                                          $0
Steering                                         · Full Cloth Headliner                                [EN0] Radio: Premium Display Audio                                                              $745
· 26.4 Gal. Fuel Tank                            · Leatherette Door Trim Insert
· Single Stainless Steel Exhaust                 · Leather/Metal-Look Gear Shift Knob
                                                                                                       W/Nav/Entune/Jbl
· Auto Locking Hubs                              · Interior Trim -inc: Metal-Look/Piano Black          [EY] Rear Seat Blu Ray Entertainment System                                                     $1,920
· Double Wishbone Front Suspension w/Coil        Instrument Panel Insert, Metal-Look Door Panel
Springs                                          Insert, Metal-Look Console Insert, Chrome And
                                                                                                       [CF0] Carpet Floor Mats & Door Sill Protector                                                   $335
· Double Wishbone Rear Suspension w/Coil         Metal-Look Interior Accents                           [GN] Cargo Net                                                                                  $49
Springs                                          · Day-Night Auto-Dimming Rearview Mirror
· Brake Actuated Limited Slip Differential       · Driver And Passenger Visor Vanity Mirrors
                                                                                                       Original Shipping Charge                                                                        $925
                                                 w/Driver And Passenger Illumination, Driver And       RETAIL PRICE (ORIGINALLY NEW)                                                                   $60,254.00
EXTERIOR                                         Passenger Auxiliary Mirror
                                                 · Full Floor Console w/Covered Storage, Mini
· Wheels: 20" x 8" Alloy                         Overhead Console w/Storage, Conversation Mirror
· Tires: P275/55R20 -inc: Mud and Snow rated     and 5 12V DC Power Outlets
radials                                          · Front And Rear Map Lights
· Wheels w/Silver Accents                        · Fade-To-Off Interior Lighting                       Get more information on your smartphone:
· Steel Spare Wheel                              · Full Carpet Floor Covering
· Full-Size Spare Tire Stored Underbody          · Carpet Floor Trim
w/Crankdown                                      · Cargo Area Concealed Storage
· Clearcoat Paint                                · Trunk/Hatch Auto-Latch
· Express Open/Close Sliding And Tilting Glass   · Cargo Space Lights
1st Row Sunroof w/Sunshade                       · FOB Controls -inc: Trunk/Hatch/Tailgate and Rear
· Body-Colored Front Bumper w/2 Tow Hooks        Window Only
· Body-Colored Rear Step Bumper                  · Instrument Panel Bin, Interior Concealed Storage,
· Black Side Windows Trim, Black Front           Driver / Passenger And Rear Door Bins
Windshield Trim and Black Rear Window Trim       · Delayed Accessory Power
· Chrome Door Handles                            · Outside Temp Gauge
· Chrome Power Heated Auto Dimming Side          · Analog Display
Mirrors w/Power Folding and Turn Signal          · Manual Adjustable Front Head Restraints and
Indicator                                        Manual Adjustable Rear Head Restraints
· Power Rear Window w/Fixed Interval Wiper and   · Front Center Armrest and Rear Center Armrest
Defroster                                        · 2 Seatback Storage Pockets
· Deep Tinted Glass                              · Perimeter Alarm
· Variable Intermittent Wipers w/Heated Wiper    · 5 12V DC Power Outlets
Park                                             · Air Filtration
· Front Windshield -inc: Sun Visor Strip
· Fully Galvanized Steel Panels                  SAFETY
· Splash Guards
· Lip Spoiler                                    · Side Impact Beams
· Running Boards                                 · Dual Stage Driver And Passenger Seat-Mounted
· Colored Grille w/Chrome Surround               Side Airbags
· Front License Plate Bracket                    · Front And Rear Parking Sensors
· Power Liftgate Rear Cargo Access               · Low Tire Pressure Warning
· Roof Rack                                      · Dual Stage Driver And Passenger Front Airbags
· Fully Automatic Aero-Composite Halogen         · Curtain 1st, 2nd And 3rd Row Airbags
Daytime Running Headlamps w/Washer and           · Airbag Occupancy Sensor
Delay-Off                                        · Driver And Passenger Knee Airbag
· Front Fog Lamps                                · Rear Child Safety Locks
                                                 · Outboard Front Lap And Shoulder Safety Belts -
ENTERTAINMENT                                    inc: Rear Center 3 Point, Height Adjusters and
                                                 Pretensioners
· Wireless Streaming                             · Back-Up Camera
· Window Grid Diversity Antenna
· 440w Regular Amplifier
· Bluetooth Wireless Phone Connectivity

INTERIOR

· 40-20-40 Folding Split-Bench Front Facing
Manual Reclining Fold Forward Seatback Rear
Seat w/Manual Fore/Aft
· Manual Tilt/Telescoping Steering Column


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                                     #:2125
Year: 2015                                                                                     Engine: 8 Cylinder Engine
Make: Toyota                                                                                   Transmission: 6AT
Model: Sequoia LIMITED                                                                         Exterior: Silver Sky Metallic
VIN: 5TDJW5G12FS121911                                                                         Interior: Gray

                                                 · Manual Tilt/Telescoping Steering Column
MECHANICAL                                       · Entune Selective Service Internet Access
                                                                                                           CITY MPG                                                                           HIGHWAY MPG

                                                                                                              13                                                                                          17
                                                 · Fixed 60-40 Split-Bench 3rd Row Seat Front,
· 4.30 Axle Ratio                                Power Recline, Power Fold Into Floor, 3 Manual
· GVWR: 7,300 lbs                                and Adjustable Head Restraints
· Electronic Transfer Case                       · Leather Steering Wheel
                                                                                                                 Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part And Full-Time Four-Wheel Drive            · Front Cupholder
· 710CCA Maintenance-Free Battery w/Run          · Rear Cupholder
Down Protection                                  · Ashtray
· HD 180 Amp Alternator
· Class IV Towing Equipment -inc: Hitch and
                                                 · Compass
                                                 · Valet Function
                                                                                                       New
Trailer Sway Control                             · Remote Releases -Inc: Power Cargo Access
· Trailer Wiring Harness                         · Cruise Control w/Steering Wheel Controls
· 2 Skid Plates                                  · HVAC -inc: Underseat Ducts, Auxiliary Rear           MSRP                                                                                             $56,580.00
· 1250lbs. Maximum Payload                       Heater and Headliner/Pillar Ducts                      INSTALLED OPTIONS
· Gas-Pressurized Shock Absorbers                · Illuminated Locking Glove Box
· Front And Rear Anti-Roll Bars                  · Driver Foot Rest                                     [RE] Federal Emissions                                                                           $0
· Hydraulic Power-Assist Speed-Sensing           · Full Cloth Headliner                                 [EN0] Radio: Premium Display Audio                                                               $745
Steering                                         · Leatherette Door Trim Insert
· 26.4 Gal. Fuel Tank                            · Interior Trim -inc: Metal-Look/Piano Black
                                                                                                        W/Nav/Entune/Jbl
· Single Stainless Steel Exhaust                 Instrument Panel Insert, Metal-Look Door Panel         [BU] 2 ND Row Captains Seats                                                                     $0
· Auto Locking Hubs                              Insert, Metal-Look Console Insert and
· Double Wishbone Front Suspension w/Coil        Chrome/Metal-Look Interior Accents
                                                                                                        [Z1] Preferred Accessory Package                                                                 $413
Springs                                          · Leather/Metal-Look Gear Shift Knob                   [S0] Skid Plate                                                                                  $425
· Double Wishbone Rear Suspension w/Coil         · Driver And Passenger Visor Vanity Mirrors
Springs                                          w/Driver And Passenger Illumination, Driver And
                                                                                                        Original Shipping Charge                                                                         $995
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front       Passenger Auxiliary Mirror                             RETAIL PRICE (ORIGINALLY NEW)                                                                    $59,158.00
And Rear Vented Discs and Brake Assist           · Day-Night Rearview Mirror
· Brake Actuated Limited Slip Differential       · Full Floor Console w/Covered Storage, Mini
                                                 Overhead Console w/Storage, Conversation Mirror
EXTERIOR                                         and 5 12V DC Power Outlets
                                                 · Front And Rear Map Lights
· Wheels: 20" x 8" Alloy                         · Fade-To-Off Interior Lighting                       Get more information on your smartphone:
· Tires: P275/55R20 -inc: Mud and Snow rated     · Full Carpet Floor Covering
radials                                          · Carpet Floor Trim
· Wheels w/Silver Accents                        · Trunk/Hatch Auto-Latch
· Steel Spare Wheel                              · Cargo Area Concealed Storage
· Full-Size Spare Tire Stored Underbody          · Cargo Space Lights
w/Crankdown                                      · FOB Controls -inc: Trunk/Hatch/Tailgate and Rear
· Clearcoat Paint                                Window Only
· Express Open/Close Sliding And Tilting Glass   · Instrument Panel Bin, Interior Concealed Storage,
1st Row Sunroof w/Sunshade                       Driver / Passenger And Rear Door Bins
· Body-Colored Front Bumper w/2 Tow Hooks        · Delayed Accessory Power
· Body-Colored Rear Step Bumper                  · Outside Temp Gauge
· Black Side Windows Trim, Black Front           · Analog Display
Windshield Trim and Black Rear Window Trim       · Manual Adjustable Front Head Restraints and
· Chrome Door Handles                            Manual Adjustable Rear Head Restraints
· Chrome Power Heated Auto Dimming Side          · 2 Seatback Storage Pockets
Mirrors w/Power Folding and Turn Signal          · Front Center Armrest and Rear Center Armrest
Indicator                                        · Perimeter Alarm
· Power Rear Window w/Fixed Interval Wiper and   · Air Filtration
Defroster                                        · 5 12V DC Power Outlets
· Deep Tinted Glass
· Variable Intermittent Wipers w/Heated Wiper    SAFETY
Park
· Front Windshield -inc: Sun Visor Strip         · Side Impact Beams
· Fully Galvanized Steel Panels                  · Dual Stage Driver And Passenger Seat-Mounted
· Splash Guards                                  Side Airbags
· Lip Spoiler                                    · Front And Rear Parking Sensors
· Running Boards                                 · Low Tire Pressure Warning
· Colored Grille w/Chrome Surround               · Dual Stage Driver And Passenger Front Airbags
· Front License Plate Bracket                    · Curtain 1st, 2nd And 3rd Row Airbags
· Power Liftgate Rear Cargo Access               · Airbag Occupancy Sensor
· Roof Rack                                      · Driver And Passenger Knee Airbag
· Fully Automatic Aero-Composite Halogen         · Rear Child Safety Locks
Daytime Running Headlamps w/Washer and           · Outboard Front Lap And Shoulder Safety Belts -
Delay-Off                                        inc: Rear Center 3 Point, Height Adjusters and
· Front Fog Lamps                                Pretensioners
                                                 · Back-Up Camera
ENTERTAINMENT

· Streaming Audio
                                                                                                             Mark Mitsubishi Kia
                                                                                                                 Scottsdale
· Window Grid Diversity Antenna
· 8 Speakers
· Bluetooth Wireless Phone Connectivity

INTERIOR                                                                                                      markmitsubishiscottsdale.com
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                                     #:2126
Year: 2016                                                                                     Engine: 8 Cylinder Engine
Make: Toyota                                                                                   Transmission: 6AT
Model: Sequoia LIMITED                                                                         Exterior: Sizzling Crimson Mica
VIN: 5TDJW5G14GS129283                                                                         Interior: Stratus Gray W/linear Woo

                                                 · Manual Tilt/Telescoping Steering Column
MECHANICAL                                       · Entune Selective Service Internet Access
                                                                                                          CITY MPG                                                                           HIGHWAY MPG

                                                                                                             13                                                                                          17
                                                 · Fixed 60-40 Split-Bench 3rd Row Seat Front,
· 4.30 Axle Ratio                                Power Recline, Power Fold Into Floor, 3 Manual
· GVWR: 7,300 lbs                                and Adjustable Head Restraints
· Electronic Transfer Case                       · Leather Steering Wheel
                                                                                                                Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part And Full-Time Four-Wheel Drive            · Front Cupholder
· 710CCA Maintenance-Free Battery w/Run          · Rear Cupholder
Down Protection                                  · Ashtray
· HD 180 Amp Alternator
· Class IV Towing w/Harness, Hitch and Trailer
                                                 · Compass
                                                 · Valet Function
                                                                                                       New
Sway Control                                     · Remote Releases -Inc: Power Cargo Access
· 2 Skid Plates                                  · Cruise Control w/Steering Wheel Controls
· 1315# Maximum Payload                          · HVAC -inc: Underseat Ducts, Auxiliary Rear          MSRP                                                                                             $57,340.00
· Gas-Pressurized Shock Absorbers                Heater and Headliner/Pillar Ducts                     INSTALLED OPTIONS
· Front And Rear Anti-Roll Bars                  · Illuminated Locking Glove Box
· Hydraulic Power-Assist Speed-Sensing           · Driver Foot Rest                                    [RE] Federal Emissions                                                                           $0
Steering                                         · Full Cloth Headliner
                                                                                                       Original Shipping Charge                                                                         $1,295
· 26.4 Gal. Fuel Tank                            · Leatherette Door Trim Insert
· Single Stainless Steel Exhaust                 · Interior Trim -inc: Metal-Look/Piano Black          RETAIL PRICE (ORIGINALLY NEW)                                                                    $58,635.00
· Auto Locking Hubs                              Instrument Panel Insert, Metal-Look Door Panel
· Double Wishbone Front Suspension w/Coil        Insert, Metal-Look Console Insert, Chrome And
Springs                                          Metal-Look Interior Accents
· Double Wishbone Rear Suspension w/Coil         · Leather/Metal-Look Gear Shift Knob
Springs                                          · Driver And Passenger Visor Vanity Mirrors
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front       w/Driver And Passenger Illumination, Driver And       Get more information on your smartphone:
And Rear Vented Discs and Brake Assist           Passenger Auxiliary Mirror
· Brake Actuated Limited Slip Differential       · Day-Night Rearview Mirror
                                                 · Full Floor Console w/Covered Storage, Mini
EXTERIOR                                         Overhead Console w/Storage, Conversation Mirror
                                                 and 5 12V DC Power Outlets
· Wheels: 20" x 8" Alloy                         · Front And Rear Map Lights
· Tires: P275/55R20 -inc: Mud and Snow rated     · Fade-To-Off Interior Lighting
radials                                          · Full Carpet Floor Covering
· Wheels w/Silver Accents                        · Carpet Floor Trim
· Steel Spare Wheel                              · Trunk/Hatch Auto-Latch
· Full-Size Spare Tire Stored Underbody          · Cargo Area Concealed Storage
w/Crankdown                                      · Cargo Space Lights
· Clearcoat Paint                                · FOB Controls -inc: Trunk/Hatch/Tailgate and Rear
· Express Open/Close Sliding And Tilting Glass   Window Only
1st Row Sunroof w/Sunshade                       · Instrument Panel Bin, Interior Concealed Storage,
· Body-Colored Front Bumper w/2 Tow Hooks        Driver / Passenger And Rear Door Bins
· Body-Colored Rear Step Bumper                  · Delayed Accessory Power
· Black Side Windows Trim, Black Front           · Outside Temp Gauge
Windshield Trim and Black Rear Window Trim       · Analog Display
· Chrome Door Handles                            · Manual Adjustable Front Head Restraints and
· Chrome Power Heated Auto Dimming Side          Manual Adjustable Rear Head Restraints
Mirrors w/Power Folding and Turn Signal          · 2 Seatback Storage Pockets
Indicator                                        · Front Center Armrest and Rear Center Armrest
· Power Rear Window w/Fixed Interval Wiper and   · Perimeter Alarm
Defroster                                        · Air Filtration
· Deep Tinted Glass                              · 5 12V DC Power Outlets
· Variable Intermittent Wipers w/Heated Wiper
Park                                             SAFETY
· Front Windshield -inc: Sun Visor Strip
· Fully Galvanized Steel Panels                  · Side Impact Beams
· Splash Guards                                  · Dual Stage Driver And Passenger Seat-Mounted
· Lip Spoiler                                    Side Airbags
· Running Boards                                 · Front And Rear Parking Sensors
· Colored Grille w/Chrome Surround               · Low Tire Pressure Warning
· Front License Plate Bracket                    · Dual Stage Driver And Passenger Front Airbags
· Power Liftgate Rear Cargo Access               · Curtain 1st, 2nd And 3rd Row Airbags
· Roof Rack                                      · Airbag Occupancy Sensor
· Fully Automatic Aero-Composite Halogen         · Driver And Passenger Knee Airbag
Daytime Running Headlamps w/Washer and           · Rear Child Safety Locks
Delay-Off                                        · Outboard Front Lap And Shoulder Safety Belts -
· Front Fog Lamps                                inc: Rear Center 3 Point, Height Adjusters and
                                                 Pretensioners
ENTERTAINMENT                                    · Back-Up Camera

· 440w Regular Amplifier
· Wireless Streaming
· Window Grid Diversity Antenna
· Bluetooth Wireless Phone Connectivity

INTERIOR                                                                                                                    OffleaseOnly
· 40-20-40 Folding Split-Bench Front Facing
Manual Reclining Fold Forward Seatback Rear                                                                                       offleaseonly.com
Seat w/Manual Fore/Aft

                                                                                 MonroneyLabels.com
                                                                                 Ex. 1 - Page 140
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 142 of 155 Page ID
                                     #:2127
Year: 2012                                                                             Engine: 4-CYL
Make: Toyota                                                                           Transmission: 5MT
Model: Tacoma BASE                                                                     Exterior: Super White
VIN: 5TFTX4CN6CX014455                                                                 Interior: Dark Charcoal

                                             · (4) fixed cargo bed tie-down points                CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                   · Dual rear-hinged access doors

· 2.7L DOHC EFI 16-valve I4 VVT-i            INTERIOR                                                21                                                                                          25
engine
                                                                                                        Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Automatic rear limited slip differential   · Fold-up rear seats w/underseat storage
· Rear wheel drive                           · Center console -inc: covered armrest,
· 1-piece frame rails w/(8) cross            storage compartment
members & fully boxed front sub-frame        · (5) cup holders & bottle holders                New
· Coil-spring double-wishbone front          · Full carpeting
suspension                                   · Tilt & telescopic steering wheel
                                                                                               MSRP                                                                                             $19,915.00
· Rear leaf-spring suspension                · Gauges -inc: LCD display, tachometer,
w/staggered outboard-mounted gas             coolant temp, fuel level, tripmeter, digital      INSTALLED OPTIONS
shock absorbers                              clock                                             [FEE] 50 State Emissions                                                                         $0
· Front & rear stabilizer bars               · Pwr windows                                     [SL] SR5 PKG                                                                                     $1,755
· Variable-assist pwr rack & pinion          · Air conditioning
steering                                     · Dual 12V aux pwr outlets                        [RL] Daytime Running Lights                                                                      $40
· 4-wheel anti-lock brakes                   · Overhead console -inc: maplights,               Original Shipping Charge                                                                         $845
· Pwr ventilated front disc & rear drum      sunglasses storage
                                                                                               RETAIL PRICE (ORIGINALLY NEW)                                                                    $22,555.00
w/rear tandem booster brakes
                                             SAFETY
EXTERIOR
                                             · Brake assist
· 15" styled steel wheels
· P215/70R15 all-season tires
                                             · Electronic brake-force distribution
                                             · Side-door impact door beams
                                                                                               Get more information on your smartphone:
· Full-size spare tire                       · Driver & front passenger advanced
· Rear mudguards                             airbags w/passenger airbag cut-off switch
· Black grille insert & argent surround      · Driver & front passenger seat-mounted
· Black bumpers, mirrors & door handles      side airbags
· Multi-reflector halogen headlamps          · Front & rear side curtain airbags
· 2-speed windshield wipers                  · 3-point seat belts w/emergency locking
· Fiber-reinforced sheet-molded              retractor at all seating positions -inc: front
composite bed -inc: steel outer panels,      seat belt pretensioners, force limiters &
storage compartments, rail caps,             adjustable shoulder anchors,
removable tailgate                           automatic/emergency locking retractor for
· Deck rail system w/(4) adjustable tie-     front passenger & rear seat belts
down cleats                                  · LATCH lower & top tether anchors for
                                             front & rear passenger seats
                                             · Tire pressure monitor system




                                                                                                         Arlington Toyota
                                                                                                                      arlingtontoyota.com
                                                                                                                          904-302-9611
                                                                          MonroneyLabels.com
                                                                           Ex. 1 - Page 141
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                                     #:2128
Year: 2013                                                                           Engine: V6 Cylinder Engine
Make: Toyota                                                                         Transmission: Automatic 5-spd
Model: Tacoma BASE                                                                   Exterior: Super White
VIN: 3TMMU4FN2DM053429                                                               Interior: Graphite

                                           · 60/40 split rear bench seat w/adjustable           CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                 headrests, underseat storage

· 4.0L DOHC EFI 24-valve V6 VVT-i
                                           · Center console -inc: covered armrest,
                                           storage compartment                                    16                                                                                          21
engine                                     · (5) cup holders & bottle holders
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· 5-speed electronically controlled        · Full carpeting
automatic transmission w/(ECT-i)           · Tilt & telescopic steering wheel
· 2-speed electronically controlled        · Gauges -inc: tachometer, coolant temp,
transfer case                              fuel level, LCD display, tripmeter, digital       New
· Automatic limited slip differential      clock
· 4WDemand part-time 4-wheel drive         · Pwr windows
                                                                                             MSRP                                                                                            $28,185.00
· 1-piece frame rails w/(8) cross          · Air conditioning
members & fully boxed front sub-frame      · Dual 12V aux pwr outlets                        INSTALLED OPTIONS
· Coil-spring double-wishbone front        · Overhead console -inc: maplights,               [FEE] 50 State Emissions                                                                        $0
suspension                                 sunglasses storage                                [PY] TRD Sport PKG                                                                              $3,200
· Rear leaf-spring suspension              · Rear bulkhead storage
                                                                                             [TO] Towing PKG                                                                                 $650
w/staggered outboard-mounted gas
shock absorbers                            SAFETY                                            [CF] Carpet Floor Mats & Door Sill Protectors                                                   $195
· Front & rear stabilizer bars                                                               [WI] Spare Tire Lock                                                                            $73
· Variable-assist pwr rack & pinion        · 4-wheel anti-lock brakes                        [WL] Alloy Wheel Locks                                                                          $81
steering                                   · Brake assist
                                                                                             Original Shipping Charge                                                                        $860
· Pwr ventilated front disc & rear drum    · Electronic brake-force distribution
w/rear tandem booster brakes               · Smart stop technology                           RETAIL PRICE (ORIGINALLY NEW)                                                                   $33,244.00
                                           · Side-door impact door beams
EXTERIOR                                   · Daytime running lights
                                           · Driver & front passenger advanced
· P245/75R16 mud & snow tires              airbags w/passenger airbag cut-off switch
· Full-size spare tire                     · Driver & front passenger seat-mounted           Get more information on your smartphone:
· Front & rear mudguards                   side airbags
· Black grille insert & argent surround    · Front & rear side curtain airbags
· Black bumpers, mirrors, door handles &   · 3-point seat belts w/emergency locking
overfenders                                retractor at all seating positions -inc: front
· Multi-reflector halogen headlamps        seat belt pretensioners, force limiters &
· Pwr mirrors                              adjustable shoulder anchors,
· 2-speed windshield wipers                automatic/emergency locking retractor for
· Fiber-reinforced sheet-molded            front passenger & rear seat belts
composite bed -inc: steel outer panels,    · LATCH lower & top tether anchors for
storage compartments, rail caps,           front passenger seat & all rear seats
removable tailgate                         · Rear door child safety locks
· Deck rail system w/(4) adjustable tie-   · Tire pressure monitor system
down cleats
· (4) fixed cargo bed tie-down points

ENTERTAINMENT

· Bluetooth wireless technology

INTERIOR




                                                                        MonroneyLabels.com
                                                                         Ex. 1 - Page 142
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 144 of 155 Page ID
                                     #:2129
Year: 2014                                                                        Engine: V6 Cylinder Engine
Make: Toyota                                                                      Transmission: 5AT
Model: Tacoma BASE                                                                Exterior: Super White
VIN: 5TFLU4EN5EX090399                                                            Interior: Graphite

                                             · 6 Speakers                                     CITY MPG                                                                           HIGHWAY MPG
MECHANICAL

· 3.727 Axle Ratio
                                             INTERIOR
                                                                                                 16                                                                                          21
· GVWR: 5,500 lbs                            · 4-Way Passenger Seat -inc: Manual
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Electronic Transfer Case                   Recline and Fore/Aft Movement
· Part-Time Four-Wheel Drive                 · 60-40 Folding Split-Bench Front Facing
· 65-Amp/Hr 582CCA Maintenance-Free          Flip Forward Cushion/Seatback Rear Seat
Battery w/Run Down Protection                · Manual Tilt/Telescoping Steering Column      New
· 1 Skid Plate                               · Gauges -inc: Speedometer, Odometer,
· Gas-Pressurized Shock Absorbers            Engine Coolant Temp, Tachometer and
                                                                                            MSRP                                                                                            $27,005.00
· Front Anti-Roll Bar                        Trip Odometer
· Hydraulic Power-Assist Speed-Sensing       · Entune Selective Service Internet Access     INSTALLED OPTIONS
Steering                                     · Front Cupholder                              [FE0] 50 State Emissions                                                                        $0
· 21.1 Gal. Fuel Tank                        · Rear Cupholder                               [SL] SR5 Package                                                                                $1,580
· Single Stainless Steel Exhaust             · Front Cigar Lighter(s)
· Auto Locking Hubs                          · Manual Air Conditioning                      [AL] Wheels: 16" Alloy                                                                          $400
· Double Wishbone Front Suspension           · HVAC -inc: Underseat Ducts                   [ED] Radio: Entune Audio Plus                                                                   $680
w/Coil Springs                               · Glove Box                                        AM/FM stereo w/CD player
· Leaf Rear Suspension w/Leaf Springs        · Driver Foot Rest                                 MP3/WMA playback capability
· Front Disc/Rear Drum Brakes w/4-           · Interior Trim -inc: Metal-Look Interior          high-resolution 6.1" touch-screen display
                                                                                                auxiliary audio jack
Wheel ABS, Front Vented Discs, Brake         Accents                                            USB 2.0 port
Assist, Hill Descent Control and Hill Hold   · Full Cloth Headliner                             iPod connectivity and control
Control                                      · Cloth Door Trim Insert                           iTunes Tagging
                                                                                                Bluetooth hands-free phone capability
· Brake Actuated Limited Slip Differential   · Urethane Gear Shift Knob                         phone book access
                                             · Day-Night Rearview Mirror                        advanced voice recognition and music streaming
                                                                                                SiriusXM Satellite Radio
EXTERIOR                                     · 2 12V DC Power Outlets                           90-day free trial
                                             · Mini Overhead Console w/Storage and 2            HD Radio
· Tires: P245/75R16 Mud & Snow               12V DC Power Outlets                               HD traffic and weather in major metro areas
· Regular Composite Box Style                · Regular Dome Lighting                        Original Shipping Charge                                                                        $885
· Steel Spare Wheel                          · Front Map Lights
                                                                                            RETAIL PRICE (ORIGINALLY NEW)                                                                   $30,550.00
· Full-Size Spare Tire Stored Underbody      · Full Carpet Floor Covering
w/Crankdown                                  · Instrument Panel Covered Bin, Interior
· Clearcoat Paint                            Concealed Storage, Driver / Passenger
· Black Rear Step Bumper                     And Rear Door Bins and 2nd Row
· Black Side Windows Trim, Black Front       Underseat Storage                              Get more information on your smartphone:
Windshield Trim and Black Rear               · Delayed Accessory Power
Window Trim                                  · Analog Display
· Black Door Handles                         · Front Center Armrest
· Black Fender Flares                        · Manual Adjustable Rear Head Restraints
· Fixed Rear Window                          · Air Filtration
· Light Tinted Glass
· Front Windshield -inc: Sun Visor Strip     SAFETY
· Fully Galvanized Steel Panels
· Argent Grille                              · Side Impact Beams
· Splash Guards                              · Dual Stage Driver And Passenger Seat-
· Tailgate Rear Cargo Access                 Mounted Side Airbags
· Integrated Storage                         · Low Tire Pressure Warning
· Auto Off Aero-Composite Halogen            · Dual Stage Driver And Passenger Front
Daytime Running Headlamps                    Airbags
· LED Brakelights                            · Airbag Occupancy Sensor
                                             · Curtain 1st And 2nd Row Airbags
ENTERTAINMENT                                · Rear Child Safety Locks
                                             · Outboard Front Lap And Shoulder Safety
· Radio w/Seek-Scan, Clock and Speed         Belts -inc: Rear Center 3 Point, Height
Compensated Volume Control                   Adjusters and Pretensioners
· Fixed Antenna




                                                                                              Mullinax Ford Lincoln
                                                                                                     Mobile
                                                                                                                            251-344-4000
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 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 145 of 155 Page ID
                                     #:2130
Year: 2015                                                                       Engine: V6 Cylinder Engine
Make: Toyota                                                                     Transmission: 6MT
Model: Tacoma BASE                                                               Exterior: Super White
VIN: 5TFLU4EN7FX118141                                                           Interior: Graphite

                                             · 60-40 Folding Split-Bench Front Facing         CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   Flip Forward Cushion/Seatback Rear Seat

· 3.727 Axle Ratio
                                             · Manual Tilt/Telescoping Steering Column
                                             · Gauges -inc: Speedometer, Odometer,              15                                                                                          19
· Electronic Transfer Case                   Engine Coolant Temp, Tachometer and
                                                                                                   Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part-Time Four-Wheel Drive                 Trip Odometer
· 65-Amp/Hr 582CCA Maintenance-Free          · Front Cupholder
Battery w/Run Down Protection                · Rear Cupholder
· 1 Skid Plate                               · Front Cigar Lighter(s)                      New
· Front Anti-Roll Bar                        · Manual Air Conditioning
· Hydraulic Power-Assist Speed-Sensing       · HVAC -inc: Underseat Ducts
                                                                                           MSRP                                                                                            $28,235.00
Steering                                     · Glove Box
· 21.1 Gal. Fuel Tank                        · Driver Foot Rest                            INSTALLED OPTIONS
· Auto Locking Hubs                          · Full Cloth Headliner                        [FE0] 50 State Emissions                                                                        $0
· Double Wishbone Front Suspension           · Cloth Door Trim Insert                      [TO] Towing Package                                                                             $650
w/Coil Springs                               · Front Map Lights
                                                                                           [SL] SR5 Package                                                                                $1,530
· Leaf Rear Suspension w/Leaf Springs        · Regular Dome Lighting
· Front Disc/Rear Drum Brakes w/4-           · Instrument Panel Covered Bin, Interior      [ED] Radio: Entune Audio Plus                                                                   $680
Wheel ABS, Front Vented Discs, Brake         Concealed Storage, Driver / Passenger         [E5] Exhaust Tip (E5)                                                                           $85
Assist, Hill Descent Control and Hill Hold   And Rear Door Bins and 2nd Row                [CT0] All Weather Floor Mats W/Door Sill                                                        $165
Control                                      Underseat Storage                             Protectors
                                             · Delayed Accessory Power
                                                                                           Original Shipping Charge                                                                        $900
EXTERIOR                                     · Analog Display
                                             · Front Center Armrest                        RETAIL PRICE (ORIGINALLY NEW)                                                                   $32,245.00
· Regular Composite Box Style                · 2 12V DC Power Outlets
· Steel Spare Wheel                          · Air Filtration
· Full-Size Spare Tire Stored Underbody
w/Crankdown                                  SAFETY
· Black Side Windows Trim, Black Front                                                     Get more information on your smartphone:
Windshield Trim and Black Rear               · Side Impact Beams
Window Trim                                  · Dual Stage Driver And Passenger Seat-
· Black Door Handles                         Mounted Side Airbags
· Fixed Rear Window                          · Low Tire Pressure Warning
· Light Tinted Glass                         · Curtain 1st And 2nd Row Airbags
· Front Windshield -inc: Sun Visor Strip     · Airbag Occupancy Sensor
· Fully Galvanized Steel Panels              · Dual Stage Driver And Passenger Front
· Splash Guards                              Airbags
· Tailgate Rear Cargo Access                 · Rear Child Safety Locks
· Integrated Storage                         · Outboard Front Lap And Shoulder Safety
· Auto Off Aero-Composite Halogen            Belts -inc: Rear Center 3 Point, Height
Daytime Running Headlamps                    Adjusters and Pretensioners
· LED Brakelights

ENTERTAINMENT

· Fixed Antenna

INTERIOR




                                                                      MonroneyLabels.com
                                                                       Ex. 1 - Page 144
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 146 of 155 Page ID
                                     #:2131
Year: 2016                                                                                          Engine: V6 Cylinder Engine
Make: Toyota                                                                                        Transmission: 6AT
Model: Tacoma SR5                                                                                   Exterior: Super White
VIN: 5TFSZ5AN1GX009362                                                                              Interior: Black For Limited/trail B

                                                      · 4-Way Driver Seat -inc: Manual Recline, Fore/Aft
MECHANICAL                                            Movement and Manual Lumbar Support
                                                                                                                 CITY MPG                                                                          HIGHWAY MPG

                                                                                                                    18                                                                                         23
                                                      · 4-Way Passenger Seat -inc: Manual Recline and
· Axle Ratio: 3.91                                    Fore/Aft Movement
· GVWR: 5,600 lbs                                     · Jump Front Facing Fold-Up Cushion Rear Seat
· Electronic Transfer Case                            · Manual Tilt/Telescoping Steering Column
                                                                                                                      Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part-Time Four-Wheel Drive                          · Gauges -inc: Speedometer, Odometer, Engine
· Battery w/Run Down Protection                       Coolant Temp, Tachometer, Trip Odometer and Trip
· Gas-Pressurized Shock Absorbers                     Computer
· Front Anti-Roll Bar
· Hydraulic Power-Assist Speed-Sensing
                                                      · Fixed Rear Windows
                                                      · Entune Selective Service Internet Access
                                                                                                             New
Steering                                              · Leather/Metal-Look Steering Wheel
· 21.1 Gal. Fuel Tank                                 · Front Cupholder
· Single Stainless Steel Exhaust                      · Rear Cupholder                                       MSRP                                                                                             $30,530.00
· Auto Locking Hubs                                   · Remote Keyless Entry w/Illuminated Entry and         INSTALLED OPTIONS
· Double Wishbone Front Suspension w/Coil             Panic Button
Springs                                               · Cruise Control w/Steering Wheel Controls             [FE0] 50 State Emissions                                                                         $0
· Leaf Rear Suspension w/Leaf Springs                 · Manual Air Conditioning                              [DN] SR5 Appearance Package (DN)                                                                 $1,625
· Front Disc/Rear Drum Brakes w/4-Wheel ABS,          · Locking Glove Box
Front Vented Discs, Brake Assist, Hill Descent        · Driver Foot Rest                                     [TO] Towing Package                                                                              $650
Control and Hill Hold Control                         · Interior Trim -inc: Cloth Instrument Panel Insert,   [CT] All Weather Mats                                                                            $179
· Brake Actuated Limited Slip Differential            Metal-Look Door Panel Insert, Metal-Look Console
                                                      Insert and Chrome/Metal-Look Interior Accents          Original Shipping Charge                                                                         $995
EXTERIOR                                              · Full Cloth Headliner
                                                                                                             RETAIL PRICE (ORIGINALLY NEW)                                                                    $33,979.00
                                                      · Cloth Door Trim Insert
· Wheels: 16" x 7J+30 Style Steel Disc                · Urethane Gear Shift Knob
· Tires: P245/75R16 AS                                · Fabric Seat Trim
· Regular Composite Box Style                         · Day-Night Rearview Mirror
· Steel Spare Wheel                                   · Full Floor Console w/Covered Storage, Mini
· Full-Size Spare Tire Stored Underbody
w/Crankdown
                                                      Overhead Console w/Storage, Rear Console
                                                      w/Storage and 2 12V DC Power Outlets
                                                                                                             Get more information on your smartphone:
· Clearcoat Paint                                     · Front Map Lights
· Body-Colored Front Bumper w/1 Tow Hook              · Fade-To-Off Interior Lighting
· Chrome Rear Step Bumper w/Black Rub                 · Full Carpet Floor Covering
Strip/Fascia Accent                                   · Instrument Panel Bin, Interior Concealed Storage,
· Black Side Windows Trim, Black Front                Driver / Passenger And Rear Door Bins and 2nd
Windshield Trim and Black Rear Window Trim            Row Underseat Storage
· Body-Colored Door Handles                           · Power 1st Row Windows w/Driver 1-Touch Down
· Body-Colored Manual Remote Side Mirrors             · Delayed Accessory Power
w/Manual Folding                                      · Power Door Locks w/Autolock Feature
· Sliding Rear Window                                 · Trip Computer
· Deep Tinted Glass                                   · Outside Temp Gauge
· Variable Intermittent Wipers                        · Analog Display
· Fully Galvanized Steel Panels                       · Manual Anti-Whiplash Adjustable Front Head
· Black Grille w/Chrome Surround                      Restraints and Fixed Rear Head Restraints
· Reverse Opening Rear Doors                          · Front Center Armrest
· Tailgate Rear Cargo Access                          · 2 12V DC Power Outlets
· Tailgate/Rear Door Lock Included w/Power            · Air Filtration
Door Locks
· Integrated Storage                                  SAFETY
· Auto Off Projector Beam Halogen Daytime
Running Headlamps                                     · Electronic Stability Control
· Front Fog Lamps                                     · ABS And Driveline Traction Control
· LED Brakelights                                     · Side Impact Beams
                                                      · Dual Stage Driver And Passenger Seat-Mounted
ENTERTAINMENT                                         Side Airbags
                                                      · Low Tire Pressure Warning
· Radio: Entune Plus AM/FM/CD w/Connected             · Dual Stage Driver And Passenger Front Airbags
Navigation -inc: 6-speakers, 6.1" touch-screen        w/Passenger Off Switch
display w/split screen, auxiliary audio jack, USB     · Curtain 1st And 2nd Row Airbags
2.0 port, iPod connectivity and control, integrated   · Airbag Occupancy Sensor
backup camera display, Bluetooth hands-free           · Driver And Passenger Knee Airbag
phone capability, phone book access, voice            · Outboard Front Lap And Shoulder Safety Belts -
recognition and music streaming, Connected            inc: Height Adjusters and Pretensioners
Navigation Scout GPS Link App, Siri eyes free,
SiriusXM satellite radio , HD Radio, HD traffic
and weather
· Radio w/Seek-Scan, Clock, Speed
Compensated Volume Control, Steering Wheel
Controls and Voice Activation
· Streaming Audio
· Integrated Roof Antenna
· Real-Time Traffic Display

INTERIOR

· Front Bucket Seats -inc: 4-way adjustable front                                                                                  www.BillMarsh.com
seats w/drivers lumbar support
· Front Seats w/Cloth Back Material and Manual
Driver Lumbar
                                                                                                                                     800-596-2774
                                                                                      MonroneyLabels.com
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                                     #:2132
Year: 2017                                                                           Engine: V6 Cylinder Engine
Make: Toyota                                                                         Transmission: 6AT
Model: Tacoma LIMITED                                                                Exterior: Magnetic Gray Met.
VIN: 5TFGZ5AN3HX068663                                                               Interior: Sand Beige

                                              · Manual Tilt/Telescoping Steering Column
MECHANICAL                                    · Entune Selective Service Internet Access
                                              · Leather/Metal-Look Steering Wheel               CITY MPG                                                                           HIGHWAY MPG
· Axle Ratio: 3.91                            · Front Cupholder
· GVWR: 5,600 lbs                             · Rear Cupholder
· Electronic Transfer Case                    · Compass                                               Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· Part-Time Four-Wheel Drive                  · HomeLink Garage Door Transmitter
· Battery w/Run Down Protection               · Cruise Control w/Steering Wheel Controls
· 1175# Maximum Payload
· Gas-Pressurized Shock Absorbers
                                              · Dual Zone Front Automatic Air Conditioning
                                              · HVAC -inc: Underseat Ducts                    New
· Front Anti-Roll Bar                         · Locking Glove Box
· Hydraulic Power-Assist Speed-Sensing        · Driver Foot Rest
                                                                                              MSRP                                                                                            $39,250.00
Steering                                      · Full Cloth Headliner
· 21.1 Gal. Fuel Tank                         · Leather/Metal-Look Gear Shift Knob            INSTALLED OPTIONS
· Single Stainless Steel Exhaust w/Chrome     · Interior Trim -inc: Leatherette Instrument    [FE0] 50 State Emissions                                                                        $0
Tailpipe Finisher                             Panel Insert, Metal-Look Door Panel Insert,
· Auto Locking Hubs                           Metal-Look Console Insert and Chrome/Metal-     [TO0] Tow Package                                                                               $650
· Double Wishbone Front Suspension            Look Interior Accents                               4- and 7-pin connector w/converter
w/Coil Springs                                · Leatherette Door Trim Insert                      Class IV Hitch Receiver
                                              · Day-Night Auto-Dimming Rearview Mirror            ATF Cooler
· Leaf Rear Suspension w/Leaf Springs                                                             Trailer Sway Control
· Front Disc/Rear Drum Brakes w/4-Wheel       · Driver And Passenger Visor Vanity Mirrors         130 Amp Alternator
ABS, Front Vented Discs, Brake Assist, Hill   · Full Floor Console w/Covered Storage, Mini        Power Steering Cooler
Descent Control and Hill Hold Control         Overhead Console w/Storage, 2 12V DC                Engine Oil Cooler
· Brake Actuated Limited Slip Differential    Power Outlets and 1 AC Power Outlet             Original Shipping Charge                                                                        $995
                                              · Front Map Lights
                                              · Fade-To-Off Interior Lighting                 RETAIL PRICE (ORIGINALLY NEW)                                                                   $40,895.00
EXTERIOR
                                              · Full Carpet Floor Covering
· Wheels: 18" x 7.5" Polished Alloy           · Instrument Panel Bin, Interior Concealed
· Tires: P265/60R18 AS                        Storage, Driver / Passenger And Rear Door
· Regular Composite Box Style                 Bins and 2nd Row Underseat Storage
· Steel Spare Wheel                           · Delayed Accessory Power                       Get more information on your smartphone:
· Full-Size Spare Tire Stored Underbody       · Outside Temp Gauge
w/Crankdown                                   · Analog Display
· Clearcoat Paint                             · Front Center Armrest
· Express Open/Close Sliding And Tilting      · Seats w/Leatherette Back Material
Glass 1st Row Sunroof w/Sunshade              · Manual Anti-Whiplash Adjustable Front Head
· Body-Colored Front Bumper w/1 Tow           Restraints and Manual Adjustable Rear Head
Hook                                          Restraints
· Body-Colored Rear Step Bumper w/Black       · 2 12V DC Power Outlets
Rub Strip/Fascia Accent                       · Air Filtration
· Black Side Windows Trim, Black Front        · 2 12V DC Power Outlets and 1 AC Power
Windshield Trim and Black Rear Window         Outlet
Trim
· Body-Colored Fender Flares                  SAFETY
· Chrome Door Handles
· Chrome Power Side Mirrors w/Manual          · Side Impact Beams
Folding and Turn Signal Indicator             · Dual Stage Driver And Passenger Seat-
· Power Rear Window                           Mounted Side Airbags
· Deep Tinted Glass                           · Rear Parking Sensors
· Variable Intermittent Wipers                · Blind Spot Sensor
· Fully Galvanized Steel Panels               · Rear Collision Warning
· Black Grille w/Chrome Surround              · Low Tire Pressure Warning
· Tailgate Rear Cargo Access                  · Curtain 1st And 2nd Row Airbags
· Integrated Storage                          · Airbag Occupancy Sensor
· LED Brakelights                             · Driver And Passenger Knee Airbag
· Auto Off Projector Beam Halogen Daytime     · Dual Stage Driver And Passenger Front
Running Headlamps                             Airbags
· Front Fog Lamps                             · Rear Child Safety Locks
                                              · Outboard Front Lap And Shoulder Safety
ENTERTAINMENT                                 Belts -inc: Rear Center 3 Point, Height
                                              Adjusters and Pretensioners
· Integrated Roof Antenna                     · Back-Up Camera
· 2 LCD Monitors In The Front

INTERIOR

· Front Bucket Seats -inc: 4-way adjustable
front seats w/driver lumbar support
· Driver Seat
· Passenger Seat
                                                                                                  www.automotiveavenuesnj.com
· 60-40 Folding Split-Bench Front Facing
Flip Forward Cushion/Seatback Rear Seat
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                                     #:2133
Year: 2018                                                                         Engine: V6 Cylinder Engine
Make: Toyota                                                                       Transmission: 6AT
Model: Tacoma LIMITED                                                              Exterior: Super White
VIN: 3TMGZ5AN8JM160590                                                             Interior: Black/black

                                             · Distance Pacing                                 CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · HVAC -inc: Underseat Ducts

· GVWR: 5,600 lbs
                                             · Locking Glove Box
                                             · Driver Foot Rest                                   18                                                                                         22
· Electronic Transfer Case                   · Full Cloth Headliner
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part-Time Four-Wheel Drive                 · Front Map Lights
· Battery w/Run Down Protection              · Fade-To-Off Interior Lighting
· Class IV Towing Equipment -inc:            · Full Carpet Floor Covering
Harness, Hitch and Trailer Sway Control      · Instrument Panel Bin, Interior Concealed      New
· Front Anti-Roll Bar                        Storage, Driver / Passenger And Rear
· Hydraulic Power-Assist Speed-Sensing       Door Bins and 2nd Row Underseat
                                                                                             MSRP                                                                                           $31,665.00
Steering                                     Storage
· 21.1 Gal. Fuel Tank                        · Delayed Accessory Power                       INSTALLED OPTIONS
· Auto Locking Hubs                          · Outside Temp Gauge                            [FEA] 50 State Emissions                                                                       $0
· Front Disc/Rear Drum Brakes w/4-           · Analog Display                                Original Shipping Charge                                                                       $1,045
Wheel ABS, Front Vented Discs, Brake         · Front Center Armrest
Assist, Hill Descent Control and Hill Hold   · Manual Anti-Whiplash Adjustable Front         RETAIL PRICE (ORIGINALLY NEW)                                                                  $32,710.00
Control                                      Head Restraints and Manual Adjustable
                                             Rear Head Restraints
EXTERIOR                                     · 2 12V DC Power Outlets
                                             · Air Filtration
· Regular Composite Box Style                                                                Get more information on your smartphone:
· Steel Spare Wheel                          SAFETY
· Full-Size Spare Tire Stored Underbody
w/Crankdown                                  · Electronic Stability Control (ESC)
· Black Side Windows Trim, Black Front       · Side Impact Beams
Windshield Trim and Black Rear               · Dual Stage Driver And Passenger Seat-
Window Trim                                  Mounted Side Airbags
· Fully Galvanized Steel Panels              · Lane Departure Alert (LDA) Lane
· Tailgate Rear Cargo Access                 Departure Warning
· Integrated Storage                         · Low Tire Pressure Warning
· LED Brakelights                            · Curtain 1st And 2nd Row Airbags
                                             · Airbag Occupancy Sensor
ENTERTAINMENT                                · Driver And Passenger Knee Airbag
                                             · Dual Stage Driver And Passenger Front
· Radio w/Seek-Scan, Clock, Speed            Airbags
Compensated Volume Control and               · Rear Child Safety Locks
Steering Wheel Controls                      · Outboard Front Lap And Shoulder Safety
· Integrated Roof Antenna                    Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners
INTERIOR

· Driver Seat
· Passenger Seat
· 60-40 Folding Split-Bench Front Facing
Flip Forward Cushion/Seatback Rear
Seat
· Manual Tilt/Telescoping Steering
Column
· Front Cupholder
· Rear Cupholder
· Cruise Control w/Steering Wheel
Controls




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                                     #:2134
Year: 2019                                                                         Engine: V6 Cylinder Engine
Make: Toyota                                                                       Transmission: 6AT
Model: Tacoma LIMITED                                                              Exterior: Cement Gray Me.
VIN: 3TMGZ5AN5KM196383                                                             Interior: Black/black

                                             · Distance Pacing                                 CITY MPG                                                                          HIGHWAY MPG
MECHANICAL                                   · HVAC -inc: Underseat Ducts

· GVWR: 5,600 lbs
                                             · Locking Glove Box
                                             · Driver Foot Rest                                   18                                                                                         22
· Electronic Transfer Case                   · Full Cloth Headliner
                                                                                                    Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Part-Time Four-Wheel Drive                 · Front Map Lights
· Battery w/Run Down Protection              · Fade-To-Off Interior Lighting
· 130 Amp Alternator                         · Full Carpet Floor Covering
· Class IV Towing Equipment -inc:            · Instrument Panel Bin, Interior Concealed      New
Harness, Hitch and Trailer Sway Control      Storage, Driver / Passenger And Rear
· Front Anti-Roll Bar                        Door Bins and 2nd Row Underseat
                                                                                             MSRP                                                                                           $31,815.00
· Hydraulic Power-Assist Speed-Sensing       Storage
Steering                                     · Delayed Accessory Power                       INSTALLED OPTIONS
· 21.1 Gal. Fuel Tank                        · Outside Temp Gauge                            [FEA] 50 State Emissions                                                                       $0
· Auto Locking Hubs                          · Analog Display                                Original Shipping Charge                                                                       $1,045
· Front Disc/Rear Drum Brakes w/4-           · Front Center Armrest
Wheel ABS, Front Vented Discs, Brake         · Manual Anti-Whiplash Adjustable Front         RETAIL PRICE (ORIGINALLY NEW)                                                                  $32,860.00
Assist, Hill Descent Control and Hill Hold   Head Restraints and Manual Adjustable
Control                                      Rear Head Restraints
                                             · 2 12V DC Power Outlets
EXTERIOR                                     · Air Filtration
                                                                                             Get more information on your smartphone:
· Regular Composite Box Style                SAFETY
· Steel Spare Wheel
· Full-Size Spare Tire Stored Underbody      · Electronic Stability Control (ESC)
w/Crankdown                                  · Side Impact Beams
· Black Side Windows Trim, Black Front       · Dual Stage Driver And Passenger Seat-
Windshield Trim and Black Rear               Mounted Side Airbags
Window Trim                                  · Lane Departure Alert (LDA) Lane
· Fully Galvanized Steel Panels              Departure Warning
· Tailgate Rear Cargo Access                 · Low Tire Pressure Warning
· Integrated Storage                         · Curtain 1st And 2nd Row Airbags
· LED Brakelights                            · Airbag Occupancy Sensor
                                             · Driver And Passenger Knee Airbag
ENTERTAINMENT                                · Dual Stage Driver And Passenger Front
                                             Airbags
· Integrated Roof Antenna                    · Rear Child Safety Locks
                                             · Outboard Front Lap And Shoulder Safety
INTERIOR                                     Belts -inc: Rear Center 3 Point, Height
                                             Adjusters and Pretensioners
· Driver Seat
· Passenger Seat
· 60-40 Folding Split-Bench Front Facing
Flip Forward Cushion/Seatback Rear
Seat
· Manual Tilt/Telescoping Steering
Column
· Front Cupholder
· Rear Cupholder
· Cruise Control w/Steering Wheel
Controls




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                                     #:2135
Year: 2012                                                                            Engine: 8 Cylinder Engine
Make: Toyota                                                                          Transmission: 6AT
Model: Tundra LIMITED                                                                 Exterior: Black
VIN: 5TFHW5F19CX226029                                                                Interior: Black Upper/seat Graphite

                                            · 10-way driver & 4-way front passenger              CITY MPG                                                                             HIGHWAY MPG
MECHANICAL                                  pwr adjustable seats -inc: driver & front

· 5.7L FFV DOHC 32-valve i-Force V8
                                            passenger pwr lumbar w/drivers pwr thigh
                                            support                                                   13                                                                                          18
engine -inc: dual independent variable      · Sliding & reclining fold-flat rear seats
                                                                                                         Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
valve timing w/intelligence, acoustically   · Center console -inc: covered storage,
controlled induction                        removable utility tray, 12V pwr outlet, file
· Automatic limited-slip differential       folder storage, 2nd row vents
· 4WDemand 4-wheel drive system             · Carpet flooring                                 New
w/electronically controlled 2-speed         · Optitron instrumentation -inc: color
transfer case                               illumination, tachometer, voltmeter, coolant
                                                                                              MSRP                                                                                               $43,595.00
· HD battery                                temp gauge, auto transmission fluid, fuel &
· HD starter                                engine oil temp gauges, digital clock             INSTALLED OPTIONS
· Front tow hooks                           · LCD multi-information display -inc:             [RE] 50 State Emissions                                                                            $0
· Trailer sway control                      customizable settings, odometer, tripmeter,       [MO] Memory PKG                                                                                    $465
· Independent coil-spring high-mounted      instant & average fuel economy, distance
                                                                                                     2-position driver seat memory
double wishbone front suspension            to empty, average speed, trip timer                      2-position exterior mirror memory
w/low-pressure nitrogen gas shocks,         · Cruise control                                         2-position steering wheel memory
stabilizer bar                              · Dual zone air conditioning w/automatic          [AL]   20" 5 Spoke Alloy Wheels                                                                    $920
· Trapezoidal multi-leaf live axle rear     climate control                                          P275/55R20 tires
suspension w/staggered low-pressure         · Rear glass defroster                            [SR]PWR Tilt & Slide Moonroof W/Sliding                                                            $810
nitrogen gas shocks                         · (3) front & (2) rear cup holders
                                                                                              Sunshade
· Hydraulic pwr rack & pinion steering      · Overhead console w/sunglass storage
· Pwr vented disc brakes                    · Front & rear map lamps                          Original Shipping Charge                                                                           $995
                                                                                              RETAIL PRICE (ORIGINALLY NEW)                                                                      $46,785.00
EXTERIOR                                    SAFETY

· P275/65R18 tires                          · 4-wheel anti-lock brakes w/brake assist
· 18" spare wheel & full-size tire          · Smart stop technology
· Color-keyed front bumper                  · Electronic brake-force distribution             Get more information on your smartphone:
· Chrome rear bumper                        · Daytime running lights
· Front & rear mudguards                    · Driver & front passenger advanced
· Chrome grille surround w/matte-silver     airbags w/passenger cutoff switch
bullet-style inner grille                   · Driver & front passenger seat mounted
· Multi-reflector halogen headlamps         side airbags
w/manual headlamp adjust                    · Front & rear roll-sensing side curtain
· Fog lamps                                 airbags
· Pwr sliding rear privacy glass            · Driver & front passenger knee airbags
· High solar energy-absorbing glass         · Front & rear parking assist sonar
· Variable intermittent windshield wipers   · 3-point seatbelts in all seating positions -
· Windshield wiper de-icer                  inc: auto & emergency locking retractors,
· Tailgate assist                           driver & front passenger pretensioners
· Deck rail system w/(4) adjustable tie-    w/force limiters, driver emergency locking
down cleats                                 retractor
· Deck rail & tailgate caps                 · Child-protector rear door locks
                                            · Child restraint system top tether anchors
INTERIOR                                    for rear center seat
                                            · Rear outboard seat LATCH anchors
                                            · Tire pressure monitor system




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                                     #:2136
Year: 2013                                                                            Engine: 8 Cylinder Engine
Make: Toyota                                                                          Transmission: 6AT
Model: Tundra GRD                                                                     Exterior: Magnetic Gray Metallic
VIN: 5TFCW5F13DX015274                                                                Interior: Graphite

                                            · Deck rail & tailgate caps                           CITY MPG                                                                             HIGHWAY MPG
MECHANICAL

· 5.7L FFV DOHC 32-valve i-Force V8
                                            INTERIOR
                                                                                                       13                                                                                          17
engine -inc: dual independent variable      · 8-way adjustable driver & 4-way front
                                                                                                          Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
valve timing w/intelligence, acoustically   passenger seats
controlled induction                        · Split fold-up rear seat
· Automatic limited-slip differential       · Carpet flooring
· 4WDemand 4-wheel drive system             · Urethane tilt 4-spoke steering wheel             New
w/electronically controlled 2-speed         w/column shifter
transfer case                               · Analog instrumentation -inc: color
                                                                                               MSRP                                                                                               $33,095.00
· HD battery                                illumination, tachometer, voltmeter, coolant
· HD starter                                temp gauge, auto transmission fluid, fuel &        INSTALLED OPTIONS
· Front tow hooks                           engine oil temp gauges, digital clock              [RE] 50 State Emissions                                                                            $0
· Trailer sway control                      · LCD display -inc: odometer, tripmeter            [CP] Convenience PKG                                                                               $385
· Independent coil-spring high-mounted      · Pwr windows w/drivers 1-touch auto
                                                                                                      sliding rear window w/privacy glass
double wishbone front suspension            down                                                      under seat storage tray
w/low-pressure nitrogen gas shocks,         · Dual zone air conditioning                              rear privacy glass
stabilizer bar                              · (4) front & (2) rear cup holders                        center console gated shift lever
· Trapezoidal multi-leaf live axle rear     · (2) front pwr points & (1) rear pwr point        [TM]   PWR Heated Tow Mirrors                                                                      $60
suspension w/staggered low-pressure                                                                manually extendable
nitrogen gas shocks                         SAFETY                                                 turn signals
· Hydraulic pwr rack & pinion steering                                                         [DSA] Deck Rail System                                                                             $135
· Pwr vented disc brakes                    · 4-wheel anti-lock brakes w/brake assist          [EV]   Am/Fm Stereo W/Cd/Wma/Mp3 Player                                                            $510
                                            · Smart stop technology                                   (6) speakers
EXTERIOR                                    · Electronic brake-force distribution                     integrated SiriusXM satellite radio w/(3) month
                                            · Daytime running lights                                  subscription
                                                                                                      Bluetooth capability
· 18" steel wheels                          · Driver & front passenger advanced                       aux & USB audio inputs w/iPod connectivity
· P255/70R18 all-season tires               airbags w/passenger cutoff switch                  Original Shipping Charge                                                                           $995
· Full-size spare wheel & tire              · Driver & front passenger seat mounted
· Color-keyed upper & chrome lower          side airbags                                       RETAIL PRICE (ORIGINALLY NEW)                                                                      $35,180.00
front bumper                                · Front & rear roll-sensing side curtain
· Chrome rear bumper                        airbags
· Front & rear mudguards                    · Driver & front passenger knee airbags
· Chrome grille surround                    · 3-point seatbelts in all seating positions -
· Multi-reflector halogen headlamps         inc: auto & emergency locking retractors,          Get more information on your smartphone:
w/manual headlamp adjust                    driver & front passenger pretensioners
· High solar energy-absorbing glass         w/force limiters, driver emergency locking
· Variable intermittent windshield wipers   retractor
· Windshield wiper de-icer                  · Child-protector rear door locks
· Tailgate assist                           · Child restraint system top tether anchors
                                            for rear center seat
                                            · Rear outboard seat LATCH anchors
                                            · Tire pressure monitor system




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                                      #:2137
Year: 2014                                                                                                 Engine: 8 Cylinder Engine
Make: Toyota                                                                                               Transmission: 6AT
Model: Tundra SR5                                                                                          Exterior: Blue Ribbon Met
VIN: 5TFUY5F1XEX357675                                                                                     Interior: Graphite

                                                        · 3-Passenger Front Bench Seat -inc: 40/20/40 split fold-
MECHANICAL                                              down, 4-way manual adjustable front seats                      CITY MPG                                                                          HIGHWAY MPG

                                                                                                                          13                                                                                         17
                                                        · Driver Seat
· 4.30 Axle Ratio                                       · Passenger Seat
· GVWR: 7,100 lbs                                       · 60-40 Folding Split-Bench Front Facing Fold-Up
· Electronic Transfer Case                              Cushion Rear Seat
· Part-Time Four-Wheel Drive                            · Manual Tilt Steering Column                                       Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 710CCA Maintenance-Free Battery                       · Gauges -inc: Speedometer, Odometer, Voltmeter, Oil
· 170 Amp Alternator                                    Pressure, Engine Coolant Temp, Tachometer and Trip
· Class IV Towing Equipment -inc: Hitch and Trailer     Odometer
Sway Control
· Trailer Wiring Harness
                                                        · Power Rear Windows
                                                        · Front Cupholder
                                                                                                                     New
· 1 Skid Plate                                          · Rear Cupholder
· 1500lbs. Maximum Payload                              · Remote Keyless Entry w/4 Door Curb/Courtesy and
                                                                                                                     MSRP                                                                                           $34,295.00
· Gas-Pressurized Shock Absorbers                       Panic Button
· Front Anti-Roll Bar                                   · Cruise Control w/Steering Wheel Controls                   INSTALLED OPTIONS
· Hydraulic Power-Assist Speed-Sensing Steering         · Manual Air Conditioning
· 26.4 Gal. Fuel Tank                                   · HVAC -inc: Underseat Ducts                                 Original Shipping Charge                                                                       $1,100
· Single Stainless Steel Exhaust                        · Illuminated Locking Glove Box
· Auto Locking Hubs                                     · Driver Foot Rest                                           RETAIL PRICE (ORIGINALLY NEW)                                                                  $35,395.00
· Double Wishbone Front Suspension w/Coil Springs       · Full Cloth Headliner
· Leaf Rear Suspension w/Leaf Springs                   · Urethane Gear Shift Knob
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front And          · Interior Trim -inc: Metal-Look Instrument Panel Insert,
Rear Vented Discs and Brake Assist                      Metal-Look Door Panel Insert and Metal-Look Interior
· Brake Actuated Limited Slip Differential              Accents
                                                        · Fabric Seat Trim                                           Get more information on your smartphone:
EXTERIOR                                                · Day-Night Rearview Mirror
                                                        · Driver And Passenger Visor Vanity Mirrors
· Wheels: 18" x 8J Styled Steel                         · Mini Overhead Console w/Storage and 3 12V DC
· Tires: P255/70R18 AS BSW                              Power Outlets
· Regular Box Style                                     · Delay Off Interior Lighting
· Steel Spare Wheel                                     · Front And Rear Map Lights
· Full-Size Spare Tire Stored Underbody                 · Illuminated Entry System -inc: illumination for room and
w/Crankdown                                             feet
· Clearcoat Paint                                       · Full Carpet Floor Covering
· Black Front Bumper w/Chrome Rub Strip/Fascia          · Pickup Cargo Box Lights
Accent and 2 Tow Hooks                                  · Dashboard Storage, Driver / Passenger And Rear Door
· Black Rear Step Bumper w/Chrome Rub                   Bins and 1st Row Underseat Storage
Strip/Fascia Accent                                     · Power Door Locks w/Autolock Feature
· Black Side Windows Trim, Black Front Windshield       · Power 1st Row Windows w/Driver 1-Touch Down
Trim and Black Rear Window Trim                         · Delayed Accessory Power
· Black Door Handles                                    · Systems Monitor
· Black Power Heated Side Mirrors w/Manual Folding      · Outside Temp Gauge
· Sliding Rear Window                                   · Analog Display
· Front Windshield -inc: Sun Visor Strip                · Manual Adjustable Front Head Restraints and Manual
· Variable Intermittent Wipers w/Heated Wiper Park      Adjustable Rear Head Restraints
· Sliding Rear Window w/Privacy Glass -inc: rear side   · 1 Seatback Storage Pocket
privacy glass                                           · Air Filtration
· Fully Galvanized Steel Panels                         · 3 12V DC Power Outlets
· Splash Guards
· Black Grille w/Chrome Surround                        SAFETY
· Tailgate Rear Cargo Access
· Manual Tailgate/Rear Door Lock                        · Electronic Stability Control
· Manual-Leveling Auto Off Aero-Composite Halogen       · ABS And Driveline Traction Control
Daytime Running Headlamps                               · Side Impact Beams
· Cargo Lamp w/High Mount Stop Light                    · Dual Stage Driver And Passenger Seat-Mounted Side
· Clear Front Fog & Driving Lights                      Airbags
                                                        · Low Tire Pressure Warning
ENTERTAINMENT                                           · Dual Stage Driver And Passenger Front Airbags
                                                        · Airbag Occupancy Sensor
· Radio: Entune Audio Display AM/FM/HD w/CD             · Driver And Passenger Knee Airbag
Player -inc: MP3/WMA playback capability, high-         · Curtain 1st And 2nd Row Airbags
resolution 7" touch-screen display, auxiliary audio     · Rear Child Safety Locks
jack, USB 2.0 port, iPod connectivity and control,      · Outboard Front Lap And Shoulder Safety Belts -inc:
iTunes Tagging, traffic and weather, Bluetooth hands-   Rear Center 3 Point, Height Adjusters and Pretensioners
free phone capability, phone book access, voice         · Back-Up Camera
recognition and music streaming, SIRIUSXM Satellite
Radio, 90-day free trial
· Radio w/Clock, Speed Compensated Volume
Control and External Memory Control
· Fixed Antenna
· 6 Speakers
· Streaming Audio
· Bluetooth Wireless Phone Connectivity

INTERIOR




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                                      #:2138
Year: 2015                                                                                                Engine: 8 Cylinder Engine
Make: Toyota                                                                                              Transmission: 6AT
Model: Tundra SR5                                                                                         Exterior: Black
VIN: 5TFDY5F14FX452105                                                                                    Interior: Black

                                                        · Passenger Seat
MECHANICAL                                              · 60-40 Folding Split-Bench Front Facing Fold-Up               CITY MPG                                                                          HIGHWAY MPG

                                                                                                                         13                                                                                          17
                                                        Cushion Rear Seat w/Manual Fore/Aft
· 4.30 Axle Ratio                                       · Manual Tilt Steering Column
· GVWR: 7,200 lbs                                       · Gauges -inc: Speedometer, Odometer, Voltmeter, Oil
· Electronic Transfer Case                              Pressure, Engine Coolant Temp, Tachometer and Trip
· Part-Time Four-Wheel Drive                            Odometer                                                            Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 710CCA Maintenance-Free Battery                       · Power Rear Windows
· 170 Amp Alternator                                    · Front Cupholder
· Class IV Towing Equipment -inc: Hitch and Trailer     · Rear Cupholder
Sway Control
· Trailer Wiring Harness
                                                        · Remote Keyless Entry w/4 Door Curb/Courtesy,
                                                        Illuminated Entry and Panic Button
                                                                                                                    New
· 1 Skid Plate                                          · Cruise Control w/Steering Wheel Controls
· 1575lbs. Maximum Payload                              · Manual Air Conditioning                                   MSRP                                                                                            $37,030.00
· Gas-Pressurized Shock Absorbers                       · HVAC -inc: Underseat Ducts
· Front Anti-Roll Bar                                   · Illuminated Locking Glove Box                             INSTALLED OPTIONS
· Hydraulic Power-Assist Speed-Sensing Steering         · Driver Foot Rest
· 26.4 Gal. Fuel Tank                                   · Full Cloth Headliner                                      [FE0] 50 State Emissions                                                                        $0
· Single Stainless Steel Exhaust                        · Urethane Gear Shift Knob                                  [OF] TRD Off Road Package                                                                       $2,030
· Auto Locking Hubs                                     · Interior Trim -inc: Metal-Look Instrument Panel Insert,
· Double Wishbone Front Suspension w/Coil Springs       Metal-Look Door Panel Insert and Metal-Look Interior        [SP] SR5 Upgrade Package                                                                        $1,015
· Leaf Rear Suspension w/Leaf Springs                   Accents                                                     [DS0] Deck Rail System                                                                          $125
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front And          · Fabric Seat Trim
Rear Vented Discs and Brake Assist                      · Day-Night Rearview Mirror                                 [WL0] Alloy Wheel Locks                                                                         $80
· Brake Actuated Limited Slip Differential              · Driver And Passenger Visor Vanity Mirrors
                                                        · Full Overhead Console w/Storage and 3 12V DC
                                                                                                                    [WI0] Spare Tire Lock                                                                           $75
EXTERIOR                                                Power Outlets                                               Exhaust Tip                                                                                     $99
                                                        · Delay Off Interior Lighting
· Wheels: 18" x 8J Styled Steel                         · Front And Rear Map Lights                                 [LB0] Spray In Bedliner                                                                         $529
· Tires: P255/70R18 AS Michelin                         · Full Carpet Floor Covering                                [CF0] Carpet Floor Mats & Door Sill Protector                                                   $195
· Regular Box Style                                     · Pickup Cargo Box Lights
· Steel Spare Wheel                                     · Dashboard Storage, Driver / Passenger And Rear Door       Original Shipping Charge                                                                        $1,195
· Full-Size Spare Tire Stored Underbody                 Bins and 1st Row Underseat Storage
w/Crankdown                                             · Power 1st Row Windows w/Driver 1-Touch Down               RETAIL PRICE (ORIGINALLY NEW)                                                                   $42,373.00
· Clearcoat Paint                                       · Power Door Locks w/Autolock Feature
· Black Front Bumper w/Chrome Rub Strip/Fascia          · Delayed Accessory Power
Accent and 2 Tow Hooks                                  · Systems Monitor
· Black Rear Step Bumper w/Chrome Rub                   · Outside Temp Gauge
Strip/Fascia Accent                                     · Analog Display
· Black Side Windows Trim, Black Front Windshield       · 1 Seatback Storage Pocket                                 Get more information on your smartphone:
Trim and Black Rear Window Trim                         · Manual Adjustable Front Head Restraints and Manual
· Black Door Handles                                    Adjustable Rear Head Restraints
· Black Power Heated Side Mirrors w/Manual Folding      · Rear Center Armrest
· Power Rear Window w/Defroster                         · Air Filtration
· Front Windshield -inc: Sun Visor Strip                · 3 12V DC Power Outlets
· Deep Tinted Glass
· Variable Intermittent Wipers w/Heated Wiper Park      SAFETY
· Fully Galvanized Steel Panels
· Splash Guards                                         · Electronic Stability Control
· Black Grille w/Chrome Surround                        · ABS And Driveline Traction Control
· Tailgate Rear Cargo Access                            · Side Impact Beams
· Manual Tailgate/Rear Door Lock                        · Dual Stage Driver And Passenger Seat-Mounted Side
· Manual-Leveling Auto Off Aero-Composite Halogen       Airbags
Daytime Running Headlamps                               · Low Tire Pressure Warning
· Cargo Lamp w/High Mount Stop Light                    · Dual Stage Driver And Passenger Front Airbags
· Front Fog Lamps                                       · Airbag Occupancy Sensor
                                                        · Driver And Passenger Knee Airbag
ENTERTAINMENT                                           · Curtain 1st And 2nd Row Airbags
                                                        · Rear Child Safety Locks
· Radio: Entune Audio Display AM/FM/HD w/CD             · Outboard Front Lap And Shoulder Safety Belts -inc:
Player -inc: MP3/WMA playback capability, high-         Rear Center 3 Point, Height Adjusters and Pretensioners
resolution 7" touch-screen display, auxiliary audio     · Back-Up Camera
jack, USB 2.0 port, iPod connectivity and control,
iTunes Tagging, traffic and weather, Bluetooth hands-
free phone capability, phone book access, voice
recognition and music streaming, SIRIUSXM Satellite
Radio, 90-day free trial
· Radio w/Clock
· Fixed Antenna

INTERIOR

· 3-Passenger Front Bench Seat -inc: 40/20/40 split
fold-down, 4-way manual adjustable front seats
· Driver Seat



                                                                                                                                 OCX - Fullerton
                                                                                                                                                    ocautox.com
                                                                                                                                                    714-515-6200
                                                                                           MonroneyLabels.com
                                                                                            Ex. 1 - Page 152
 Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 154 of 155 Page ID
                                     #:2139
Year: 2016                                                                         Engine: 8 Cylinder Engine
Make: Toyota                                                                       Transmission: 6AT
Model: Tundra SR5                                                                  Exterior: Super White
VIN: 5TFEW5F18GX208467                                                             Interior: Graphite

                                             · Front Cupholder                                 CITY MPG                                                                           HIGHWAY MPG
MECHANICAL                                   · Rear Cupholder

· 4.30 Axle Ratio
                                             · Cruise Control w/Steering Wheel Controls
                                             · Manual Air Conditioning                            13                                                                                          18
· GVWR: 7,000 lbs (3,175 kgs)                · HVAC -inc: Underseat Ducts
                                                                                                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition
· Rear-Wheel Drive                           · Illuminated Locking Glove Box
· 710CCA Maintenance-Free Battery            · Driver Foot Rest
· 170 Amp Alternator                         · Full Cloth Headliner
· Class IV Towing w/Harness, Hitch,          · Urethane Gear Shift Knob                     New
Brake Controller and Trailer Sway            · Interior Trim -inc: Metal-Look Instrument
Control                                      Panel Insert, Metal-Look Door Panel Insert
                                                                                            MSRP                                                                                             $34,970.00
· 1650# Maximum Payload                      and Metal-Look Interior Accents
· Gas-Pressurized Shock Absorbers            · Day-Night Rearview Mirror                    INSTALLED OPTIONS
· Front Anti-Roll Bar                        · Driver And Passenger Visor Vanity            [RE] Federal Emissions                                                                           $0
· Hydraulic Power-Assist Speed-Sensing       Mirrors                                        [SP] SR5 Upgrade Package                                                                         $1,220
Steering                                     · Full Overhead Console w/Storage and 3
                                                                                                front console box w/3 cupholders and replaces
· 26.4 Gal. Fuel Tank                        12V DC Power Outlets                               standard equipment column shifter w/center console
· Single Stainless Steel Exhaust             · Delay Off Interior Lighting                      gated urethane shift lever and knob
                                                                                                HomeLink Universal Transceiver
· Double Wishbone Front Suspension           · Front And Rear Map Lights                        Urethane Tilt/Telescopic 4-Spoke Steering Wheel
w/Coil Springs                               · Full Carpet Floor Covering                       Compass
· Leaf Rear Suspension w/Leaf Springs        · Pickup Cargo Box Lights                          Electrochromic Rearview Mirror
                                                                                                Anti-Theft Immobilizer w/Alarm
· 4-Wheel Disc Brakes w/4-Wheel ABS,         · Dashboard Storage, Driver / Passenger            Front Bucket Seats
Front And Rear Vented Discs and Brake        And Rear Door Bins and 1st Row                     8-way power adjustable driver's seat w/power
Assist                                       Underseat Storage                                  lumbar and 4-way manual adjustable front
                                                                                                passenger seat
· Brake Actuated Limited Slip Differential   · Delayed Accessory Power                          38 Gallon Fuel Tank Capacity
                                             · Systems Monitor                              [DS0] Deck Rail System                                                                           $125
EXTERIOR                                     · Outside Temp Gauge                               4 adjustable tie-down cleats
                                             · Analog Display                               Original Shipping Charge                                                                         $1,295
· Regular Box Style                          · 1 Seatback Storage Pocket
· Steel Spare Wheel                          · Manual Adjustable Front Head Restraints      RETAIL PRICE (ORIGINALLY NEW)                                                                    $37,610.00
· Full-Size Spare Tire Stored Underbody      and Manual Adjustable Rear Head
w/Crankdown                                  Restraints
· Clearcoat Paint                            · Front Center Armrest w/Storage and Rear
· Black Front Bumper w/Chrome Rub            Center Armrest
Strip/Fascia Accent                          · Air Filtration                               Get more information on your smartphone:
· Black Rear Step Bumper w/Chrome            · 3 12V DC Power Outlets
Rub Strip/Fascia Accent
· Black Side Windows Trim, Black Front       SAFETY
Windshield Trim and Black Rear
Window Trim                                  · Side Impact Beams
· Black Door Handles                         · Dual Stage Driver And Passenger Seat-
· Power Rear Window w/Defroster              Mounted Side Airbags
· Front Windshield -inc: Sun Visor Strip     · Low Tire Pressure Warning
· Variable Intermittent Wipers w/Heated      · Dual Stage Driver And Passenger Front
Wiper Park                                   Airbags
· Fully Galvanized Steel Panels              · Airbag Occupancy Sensor
· Splash Guards                              · Driver And Passenger Knee Airbag
· Chrome Grille                              · Curtain 1st And 2nd Row Airbags
· Tailgate Rear Cargo Access                 · Rear Child Safety Locks
· Manual-Leveling Auto Off Aero-             · Outboard Front Lap And Shoulder Safety
Composite Halogen Daytime Running            Belts -inc: Rear Center 3 Point, Height
Headlamps                                    Adjusters and Pretensioners
· Cargo Lamp w/High Mount Stop Light         · Back-Up Camera
· Front Fog Lamps

ENTERTAINMENT

· Radio w/Clock
· Fixed Antenna

INTERIOR

· 60-40 Folding Split-Bench Front Facing
Fold-Up Cushion Rear Seat w/Manual                                                                               OffleaseOnly
Fore/Aft
                                                                                                                       offleaseonly.com
                                                                       MonroneyLabels.com
                                                                        Ex. 1 - Page 153
  Case 2:19-ml-02905-JAK-FFM Document 119-4 Filed 05/26/20 Page 155 of 155 Page ID
                                      #:2140
Year: 2017                                                                                                 Engine: 8 Cylinder Engine
Make: Toyota                                                                                               Transmission: 6AT
Model: Tundra SR5                                                                                          Exterior: Inferno
VIN: 5TFRM5F17HX115075                                                                                     Interior: Black

                                                        · Gauges -inc: Speedometer, Odometer, Voltmeter, Oil
MECHANICAL                                              Pressure, Engine Coolant Temp, Tachometer and Trip              CITY MPG                                                                           HIGHWAY MPG

                                                                                                                           15                                                                                          19
                                                        Odometer
· 3.91 Axle Ratio                                       · Power Rear Windows
· GVWR: 6,700 lbs                                       · Front Cupholder
· Rear-Wheel Drive                                      · Rear Cupholder
· 710CCA Maintenance-Free Battery                       · Remote Keyless Entry w/4 Door Curb/Courtesy and                     Actual mileage will vary with options, driving conditions, driving habits and vehicle's condition

· 100 Amp Alternator                                    Panic Button
· Class III Towing w/Harness, Hitch and Trailer Sway    · Cruise Control w/Steering Wheel Controls
Control                                                 · Manual Air Conditioning
· 1 Skid Plate
· 1600# Maximum Payload
                                                        · HVAC -inc: Underseat Ducts
                                                        · Illuminated Locking Glove Box
                                                                                                                     New
· Gas-Pressurized Shock Absorbers                       · Driver Foot Rest
· Front Anti-Roll Bar                                   · Full Cloth Headliner
                                                                                                                     MSRP                                                                                             $31,930.00
· Hydraulic Power-Assist Speed-Sensing Steering         · Urethane Gear Shift Knob
· 26.4 Gal. Fuel Tank                                   · Interior Trim -inc: Metal-Look Instrument Panel Insert,    INSTALLED OPTIONS
· Single Stainless Steel Exhaust                        Metal-Look Door Panel Insert and Metal-Look Interior
· Double Wishbone Front Suspension w/Coil Springs       Accents                                                      [FE0] 50 State Emissions                                                                         $0
· Leaf Rear Suspension w/Leaf Springs                   · Fabric Seat Trim                                           [SL] SR5 Package                                                                                 $0
· 4-Wheel Disc Brakes w/4-Wheel ABS, Front And          · Day-Night Rearview Mirror
Rear Vented Discs and Brake Assist                      · Driver And Passenger Visor Vanity Mirrors                  [SP0] SR5 Upgrade Package                                                                        $1,015
· Brake Actuated Limited Slip Differential              · Mini Overhead Console w/Storage and 3 12V DC
                                                                                                                         front console box w/3 cupholders and replaces
                                                        Power Outlets                                                    standard equipment column shifter w/center console
EXTERIOR                                                · Delay Off Interior Lighting                                    gated urethane shift lever and knob
                                                        · Front And Rear Map Lights                                      HomeLink Universal Transceiver
· Wheels: 18" x 8J Styled Steel                         · Illuminated Entry System -inc: illumination for room and       Urethane Tilt/Telescopic 4-Spoke Steering Wheel
· Tires: P255/70R18 AS BSW                              feet                                                             Compass
· Regular Box Style                                     · Full Carpet Floor Covering                                     Electrochromic Rearview Mirror
· Steel Spare Wheel                                     · Pickup Cargo Box Lights                                        Anti-Theft Immobilizer w/Alarm
· Full-Size Spare Tire Stored Underbody                 · Dashboard Storage, Driver / Passenger And Rear Door            Front Bucket Seats
w/Crankdown                                             Bins and 1st Row Underseat Storage                               10-way power adjustable driver's seat w/power
                                                                                                                         lumbar and 4-way manual adjustable front
· Clearcoat Paint                                       · Power 1st Row Windows w/Driver 1-Touch Down                    passenger seat
· Black Front Bumper w/Chrome Rub Strip/Fascia          · Power Door Locks w/Autolock Feature
Accent                                                  · Delayed Accessory Power
                                                                                                                     [DS0] Deck Rail System                                                                           $125
· Black Rear Step Bumper w/Chrome Rub                   · Systems Monitor                                                4 adjustable tie-down cleats
Strip/Fascia Accent                                     · Outside Temp Gauge                                         Original Shipping Charge                                                                         $1,295
· Black Side Windows Trim, Black Front Windshield       · Analog Display
Trim and Black Rear Window Trim                         · 1 Seatback Storage Pocket                                  RETAIL PRICE (ORIGINALLY NEW)                                                                    $34,365.00
· Black Door Handles                                    · Seats w/Cloth Back Material
· Black Power Heated Side Mirrors w/Manual Folding      · Manual Adjustable Front Head Restraints and Manual
· Sliding Rear Window                                   Adjustable Rear Head Restraints
· Front Windshield -inc: Sun Visor Strip                · Rear Under Seat Storage Tray
· Variable Intermittent Wipers w/Heated Wiper Park      · Air Filtration
· Sliding Rear Window w/Privacy Glass -inc: rear side
privacy glass
                                                        · 3 12V DC Power Outlets
                                                                                                                     Get more information on your smartphone:
· Fully Galvanized Steel Panels                         SAFETY
· Splash Guards
· Chrome Grille                                         · Electronic Stability Control
· Tailgate Rear Cargo Access                            · ABS And Driveline Traction Control
· Manual Tailgate/Rear Door Lock                        · Side Impact Beams
· Manual-Leveling Auto Off Aero-Composite Halogen       · Dual Stage Driver And Passenger Seat-Mounted Side
Daytime Running Headlamps                               Airbags
· Cargo Lamp w/High Mount Stop Light                    · Low Tire Pressure Warning
· Clear Front Fog & Driving Lights                      · Dual Stage Driver And Passenger Front Airbags
                                                        · Airbag Occupancy Sensor
ENTERTAINMENT                                           · Driver And Passenger Knee Airbag
                                                        · Curtain 1st And 2nd Row Airbags
· Radio: Entune Audio Display AM/FM/HD w/CD             · Rear Child Safety Locks
Player -inc: connected navigation Scout GPS Link        · Outboard Front Lap And Shoulder Safety Belts -inc:
app, MP3/WMA playback capability, 6 speakers,           Rear Center 3 Point, Height Adjusters and Pretensioners
high-resolution 7" touch-screen display, auxiliary      · Back-Up Camera
audio jack, USB 2.0 port, iPod connectivity and
control, HD traffic and weather in major metro areas,
Bluetooth hands-free phone capability, phone book
access, advanced voice recognition and music
streaming, Siri Eyes Free, integrated backup camera
display and subscription free access to Enture App
Suite
· Radio w/Clock
· Fixed Antenna
· SIRIUSXM Satellite Radio -inc: Gracenote album
cover art and 3-month complimentary SiriusXM all
access radio trial, NOTE: Access to Entune App
Suite is subscription free, See toyota.com/entune for
details

INTERIOR

· 3-Passenger Front Bench Seat -inc: 40/20/40 split
                                                                                                                              Springhill Toyota
fold-down, 4-way manual adjustable front seats
· 60-40 Folding Split-Bench Front Facing Fold-Up                                                                                www.springhilltoyota.com/
Cushion Cloth Rear Seat
· Manual Tilt Steering Column                                                                                                        251-378-2935
                                                                                            MonroneyLabels.com
                                                                                            Ex. 1 - Page 154
